          Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2139 Page 1 of 316



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                    10   Tel: +1.415.442.1000
                         Fax: +1.415.442.1001
                    11
                         Attorneys for Defendant,
                    12   BMW OF NORTH AMERICA, LLC
                    13
                                             UNITED STATES DISTRICT COURT
                    14
                                           SOUTHERN DISTRICT OF CALIFORNIA
                    15

                    16
                         FREDERICK J. JUROSKY,                Case No. 3:19-cv-00706-JM-BGS
                    17
                                            Plaintiff,        Judges: District Judge Jeffrey T. Miller and
                    18                                        Magistrate Judge Bernard G. Skomal
                                  vs.
                    19                                        DECLARATION OF GARRICK Y. CHAN IN
                         BMW OF NORTH AMERICA,                SUPPORT OF DEFENDANT BMW OF
                    20   LLC; and DOES 1 through 10,          NORTH AMERICA, LLC’S OPPOSITION TO
                         inclusive,                           PLAINTIFF’S MOTION FOR ATTORNEY
                    21                                        FEES, COSTS AND EXPENSES
                                            Defendant.
                    22                                        [Filed concurrently with Opposition; Request for
                                                              Judicial Notice; Objection to Request for Judicial
                    23                                        Notice; Objection to the Declaration of Jacob
                                                              Cutler; Objection to the Declaration of Michael H.
                    24                                        Rosenstein; Objection to the Declaration of Dara
                                                              Tabesh; and Objection to the Declaration of Payam
                    25                                        Shahian]
                    26                                        Date:           June 8, 2020
                                                              Time:           10:00 a.m.
                    27                                        Dept.:          5D
                    28
MORGAN, LEWIS &
 BOCKIUS LLP                DECLARATION OF GARRICK Y. CHAN IN SUPPORT OF DEFENDANT BMW OF NORTH AMERICA,
 ATTORNEYS AT LAW
 SAN FRANCISCO
                             LLC’S OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                         DB2/ 38975893.1
          Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2140 Page 2 of 316



                     1                           DECLARATION OF GARRICK Y. CHAN
                     2            I, Garrick Y. Chan, declare:
                     3            1.       I am an attorney at law, duly admitted before all the courts of the State
                     4   of California and the United States District Court for the Southern District of
                     5   California. I am an associate of the law firm of Morgan, Lewis and Bockius LLP
                     6   counsel for Defendant, BMW of North America, LLC (“BMW NA”), in the above-
                     7   referenced matter. I have personal knowledge of the facts set forth in this
                     8   declaration, and if I were called as a witness, I could and would testify competently
                     9   to them.
                    10            2.       Upon information and belief, Strategic Legal Practices, APC has sued
                    11   BMW NA in at least 24 other cases that involve the N63 engine with substantially
                    12   similar allegations. These cases include, without limitation: McDonald v. BMW
                    13   NA (July 15, 2017), San Diego Superior Court, Case Number 37-2017-00025907-
                    14   CU-BC-CTL; Kostabi v. BMW NA (August 15, 2017), Los Angeles Superior Court,
                    15   Case Number BC672322; Yi v. BMW NA (August 31, 2017), Central District of
                    16   California, Case Number 2:17-CV-06467-SVW; Urquiza v. BMW NA (October 18.
                    17   2017), Los Angeles Superior Court, Case Number BC680074; Ouzdin v. BMW NA
                    18   (December 12, 2017), Los Angeles Superior Court, Case Number BC686084;
                    19   Hammond v. BMW NA (January 10, 2018), Central District of California, Case No.
                    20   2:18-cv-00226-DSF-MRW; Jensen v. BMW NA (August 14, 2017), Southern
                    21   District of California, Case Number 18-cv-103-WQH; Broadhag v. BMW of North
                    22   America et al., (October 3, 2017), Los Angeles Superior Court, Case Number
                    23   BC677890; Zargarian v. BMW NA (December 27, 2017), Central District of
                    24   California, Case No. 2:18-cv-04857-RSWL-PLA; and Huang v. BMW NA
                    25   (December 18, 2018), Los Angeles Superior Court, Case Number 18STCV08842;.
                    26            3.       Attached hereto as Exhibit A are true and correct copies of webpages
                    27   from Strategic Legal Practices’ website, available at the URL:
                    28
MORGAN, LEWIS &
                                                                        1
 BOCKIUS LLP                DECLARATION OF GARRICK Y. CHAN IN SUPPORT OF DEFENDANT BMW OF NORTH AMERICA,
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 SAN FRANCISCO
                             LLC’S OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
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          Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2141 Page 3 of 316



                     1   https://www.slpattorney.com/.
                     2            4.       Attached hereto as Exhibit B is a true and correct copy of the
                     3   complaint filed in this case.
                     4            5.       Attached hereto as Exhibit C is a true and correct copy of Plaintiff’s
                     5   Requests for Production of Documents propounded in this matter.
                     6            6.       Attached hereto as Exhibit D are true and correct copies of Requests
                     7   for Production of Documents propounded in McDonald v. BMW NA, San Diego
                     8   Superior Court, Case Number 37-2017-00025907-CU-BC-CTL; Yi v. BMW NA,
                     9   Central District of California, Case Number 2:17-cv-06467-SVW-SK and Ouzdin v.
                    10   BMW NA, Los Angeles Superior Court, Case Number BC686084.
                    11            7.       Attached hereto as Exhibit E is a true and correct copy of the notice of
                    12   deposition of Michael Murray in this case.
                    13            8.       Attached hereto as Exhibit F is a true and correct copy of the notice of
                    14   deposition of Michael Murray in McDonald v. BMW NA, San Diego Superior
                    15   Court, Case Number 37-2017-00025907-CU-BC-CTL; and Kostabi v. BMW NA,
                    16   Los Angeles Superior Court, Case Number BC672322.
                    17            9.       Attached hereto as Exhibit G is a true and correct copy of the Wolters
                    18   Kluwer “2018 Real Rate Report: The Industry’s Leading Analysis of Law Firm
                    19   Rates, Trends, and Practices” (“2018 Real Rate Report”). The 2018 Real Rate
                    20   Report includes “Consumer Related Claims” in the “General Liability” category.
                    21   Exh. G, p. 169. According to the 2018 Real Rate Report, for Los Angeles General
                    22   Liability attorneys at firms with 50 attorneys or less, the median rates were $263 for
                    23   partners and $200 for associates. Exh. G, p. 116.
                    24            I declare under penalty of perjury that the foregoing is true and correct.
                    25            Executed on this 22nd day of May 2020, in San Francisco, California.
                                                                        /s/ Garrick Y. Chan
                    26                                                  Garrick Y. Chan
                    27

                    28
MORGAN, LEWIS &
                                                                        2
 BOCKIUS LLP                DECLARATION OF GARRICK Y. CHAN IN SUPPORT OF DEFENDANT BMW OF NORTH AMERICA,
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                     EXHIBIT A
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            You may be eligible for a refund, a replacement or
            a cash settlement under California's Lemon Laws.
             If you believe that your vehicle is a lemon and need help,
             contact our Los Angeles office for a free consultation.

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                         California I


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       From our office in Los Angeles, California, Strategic Legal Practices provides skilled legal representation for
        clients in a range of consumer protection and civil litigation matters. Our founding and principal attorney,
                       Payam Shahian. has a detailed understanding of California state and federal law.

      If you have made unsuccessful warranty repair visits for one or more problems with your vehicle, you may be
                  eligible for a refund, a replacement, or a cash settlement under California's Lemon Laws.

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                                                                          Lemon Lawyers in California Page 6 of 316



           Ex-Ford AttorneY. Reinstated in Lemon Law
                     Suit Against Carmaker
          Founder, Mr. Payam Shahian, allowed to represent consumers
              bringing breach-of-warranty allegations against Ford.
      See Khani v. Ford Motor Company, 215 Cal. App. 4th 916 (April 2, 2013). On appeal, in a precedent-setting decision, the
        California Court of Appeal held that Ford cannot prevent Mr. Shahian from representing a consumer suing Ford, even
                though he previously represented Ford against the same type of claim and/or in the same area of law.




   Consumer Protection                                              Lemon Law
   When consumers make purchases, they put trust in                 Nothing is more frustrating than buying a new car,
   businesses and corporations to provide a safe,                   lease car, or truck, that turns out to be a lemon.
   effective and reliable product or service. When these            Fortunately, consumer protection statutes. also
   corporations fail to provide properly functioning                known as lemon laws, provide a remedy for people
   products, it impacts your financial situation.                   affected by defective motor vehicles.

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                                                                                 Phone Number
  If you have made unsuccessful warranty repair visits for one or
  more problems with your vehicle, you may be eligible for a                     Emall Address

  refund, a replacement, or a cash settlement under California's
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                                                                                 Message



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  free at 888-757-5366                                                       Agree to Disclaimer *
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  Class Action Cases & Results                                                                                           View All




    Bourne-Miller v.                            Keegan v. American Honda Motor Co, Inc.
    BMW of North                                We served as class counsel on behalf of current and former owners of
    America, LLC                                certain Honda Civic vehicles allegedly experiencing a suspension issue
                                                which may result in uneven or premature tire wear. In doing so, we
    We served as class counsel on
                                                achieved multi-state class certification and negotiated a nationwide
    behalf of current and former
                                                settlement that provides for free replacement of the vehicles' control
    owners of certain MINI vehicles
                                                arms. reimbursement for previous control arm replacements, and
    allegedly suffering from a
                                                reimbursement for tires replaced due to premature tire wear.
    continuously variable
    transmission (CVT) defect that
    causes them to prematurely
    break down. In doing so, we
    negotiated a nationwide class
    settlement that provides for.
                                                Kennedy-Lebar v. Volkswagen Group of
    among other things,                         America, Inc.
    reimbursement for the costs of
                                                We served as class counsel on behalf of current and former owners of
    repairing or replacing the CVT. a
                                                certain Audi and Volkswagen vehicles allegedly equipped with
     3-year/50,000-mile parts
                                                defective headlights. In doing so, we negotiated a nationwide class
    warranty for any CVT repaired
                                                settlement that provides for, among other things, full reimbursement
    or replaced at a MINI Dealership
                                                for the costs of repairing or replacing the headlights and a 5-
    or BMW Center, and
                                                year/50,000-mile warranty extension for headlight parts.
    reimbursement for the costs of
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   selling a vehicle for $4,000 or
   less as a result of an ur-repaired
   CVT-related problem.




     CHECK US OUT ON
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                                 I             What our Clients Are Saying
         y,erp~~:                              My whole family owes SLP a big ''Thank You"! We had purchased 3 cars
                                               that started having problems in the first 6 months. SLP took our case and

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                                               all we had to do is give them the infonnation about our purchase and the
                                               problems with the cars and we were done. SLP told us, "If you win nothing,
                                               we get nothing". After about 1 year, we got a call from SLP with the terms
     5-STAR RATINGS                            of a fantastic settlement Now, we are just waiting to hear where to tum in
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                                               Valley.CA


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 representation for clients in a range of consumer protection and civil litigation matters. Our
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 and the University of California, Hastings College of the Law, Mr. Shahian brings knowledge,
                                                                                                                            VIEW MORE
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 We specialize in Lemon Law Litigation                                                                          Have a
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 to resolve issues dealing with:
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 We offer a free initial consultation, and in most cases we will work on your behalf without
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                                                                                                      Attorney

                                                                                                          April 25, 2013


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 Problems                                                                                                                      10/3/2019

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 If you have made a reasonable number of repair attempts under warranty for one or more                                      didn’t have to worry
                                                                                                                             about anything,
 problems that substantially impair your use, value and/or safety of your vehicle, then you may                              t...Read More
 qualify for a refund, replacement or cash settlement under California Lemon Law. Even if you
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 Nothing is more frustrating than buying or leasing a new car, SUV, or a truck, that turns out to be
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 for people affected by defective motor vehicles. At vehicle’s owner or lessee’s option, these laws
 can force a manufacturer to buy back or replace the lemon vehicle.
                                                                                                                 Have a
 At Strategic Legal Practices, we have helped many car owners get relief through the California                  Question?
 Lemon Law. We helped them and we may be able to help you recover the thousands of dollars
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 A purchaser or lessee of a motor vehicle (car, truck, motorcycle, RV, etc.) has various legal rights
 under both state and federal law if the vehicle does not perform as expected under the                              Message
 manufacturer’s express warranty. For example, the Song-Beverly Consumer Warranty Act, also
 known as the “California Lemon Law”, requires manufacturers to repurchase or replace vehicles
 that their dealers were unable to repair after a reasonable number of repair attempts. Typically, a
 car may be considered a “Lemon” if:
                                                                                                                 Disclaimer
     or 18,000 miles, or
                                                                                                                     Any information you gain
  • The dealer was unable to repair a serious safety problem after two or more attempts, or                          from this website is not legal

  • The dealer was unable to repair any other defect after three or more attempts                                    advice. You should consult


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 that you speak with a knowledgeable consumer rights attorney for legal advice about your
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 vehicle’s issues.
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 your best interest; arbitration is not required – it is your right to pursue legal action and the right
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 lawyer on your side makes all the difference. We understand how to work with dealers and                California Court of
 manufacturers to get the results you deserve. If we take your case, you will not pay us any             Appeal Overturns

 upfront fees and we will not take any money from you while your case is pending.                        Trial Court Order
                                                                                                         Disqualifying
                                                                                                         Former Ford
                                                                                                         Attorney

                                                                                                             April 25, 2013


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                                                                                                               10/23/2019

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                                                                                                             complaints. From the
        Diana Rivero                 Julian Moore              Sanchez
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        Evan Greene                  Jacob Cutler                    Natasha Bhushan
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        Esther Kim                   Kyle Tracy                      Otis Hayes III
        Gregory Sogoyan              Karen Wallace                   Payam Shahian
                                     Matthew Pardo                   Sean Crandall               Have a
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                       EXHIBIT B
                 TO CHAN DECLARATION
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                                                                            Service of Process
                                                                            Transmittal
                                                                            07/23/2018
                                                                            CT Log Number 533743397
     TO:     Howard Harris
             BMW of North America, LLC
             300 Chestnut Ridge Road
             Woodcliff Lake, NJ 07677-7731

     RE:     Process Served in California

     FOR:    BMW of North America, LLC (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                 FREDERICK J. JUROSKY, PLTF. vs. BMW OF NORTH AMERICA, LLC, ET AL., DFTS.
     DOCUMENT(S) SERVED:              SUMMONS, COMPLAINT, NOTICE, ATTACHMENT(S)
     COURT/AGENCY:                    Sacramento County - Superior Court - Sacramento, CA
                                      Case # 34201800237014
     NATURE OF ACTION:                Product Liability Litigation - Breach of Warranty - 2010 BMW 750Li, VIN:
                                      WBAKB8C52ACY63565
     ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
     DATE AND HOUR OF SERVICE:        By Process Server on 07/23/2018 at 14:10
     JURISDICTION SERVED :            California
     APPEARANCE OR ANSWER DUE:        Within 30 Calender days after this summons
     ATTORNEY(S) / SENDER(S):         Tionna Dolin
                                      Strategic Legal Practices A Professional Corporation
                                      1840 Century Park East, Suite 430
                                      Los Angeles, CA 90067
                                      310-929-4900
     REMARKS:                         The document(s) received have been modified to reflect the name of the entity
                                      being served.
     ACTION ITEMS:                    CT has retained the current log, Retain Date: 07/24/2018, Expected Purge Date:
                                      07/29/2018

                                      Image SOP

                                      Email Notification, Barry Chen Barry.chen@bmwnaext.com

                                      Email Notification, Diane Carbone Diane.Carbone@bmwna.com

                                      Email Notification, Gino Palacios Gino.Palacios@bmwnaext.com

                                      Email Notification, WR Litigation WR_LITIGATION@bmwna.com

     SIGNED:                          C T Corporation System
     ADDRESS:                         818 West Seventh Street
                                      Los Angeles, CA 90017
     TELEPHONE:                       213-337-4615




                                                                            Page 1 of 1 / DR
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
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                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2157 Page 19 of 316




                                           SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                         (SOLO PARAUSOOELA cofire
                    (CITACION JUDICIAL)
                                                                                                                     N
  NOTICE TO DEFENDANT:
  (AVISO AL DEMANDADO):
  BMW OF NORTH AMERICA, LLC; BOB SMITH BMW; and
                                                                                                                           JUL 17 2018
  DOES l through to, inc lusive,
  YOU ARE BEING SUED BY PLAINTIFF:
  (LOESTA DEMAWD44NDO EL DEMANDANTE):
  FREDERICK J. JUROSKY

                                sued. The court may decide against you without your being heard unless you
   below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use For your response. You can find these court rorinsland more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.go/sellhelp), your county law library, or the courthouse dearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (wii,'w.lawhefpcafifornia.org). the California Courts Online Self-Help Center
  (vw'w,courlinfo.ca.gov/s&Thelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case,
  jAY/SO! Lo han demandado. Si no responde denIm de 30 dies, Is code puede decidir an su contra sin escuchar su version. Lea Is informatiOn a
  con finuaciOn.
     none 30 014$ OE CALENDARtO despuOs do qua he enfreguen es/a citation y papeles toga/es pave presenter una respuesta pot escd/o an esfa
  carte y hater qua Se en/rogue tins copia at demandante. Una cans o una Ilamada telefOnica no to p,o/egen. Sri respuesta por escrito tiene qua es/ar
  an tomato legal con'ec/o si desea qua pmcesen su caso an la code. Es posible quo hays un form ulario quo us/ed pueda user pars su respuesta.
  Puede encon/rar es/os fom,ufados de Is torte ymis infomiacion an at Contra do Ayuda de las Codes de California frww.sucorte.ca.gov), an Is
  biblioteca Ce 'eyes Ce su condadoo an (scone qua Is queCe mis coma. Si no puede pager la cuota Ce presentation, piCa at secreteS de Is torte
  quo (a dO un formulaS de exenciOn de pago Ce cuotas. Si no presen/a su respuesta a/tempo, puede perdere/ caso por incumplimien/o yla cotta le
  podri qui/ar su sueldo, Cinero y bienes sin mis advenencia.
    Hay 0/mis requisitos legates. Es recomendabte qua flame a un abogado inmediatamente, Si no conoce a un abogado, puede tlamar a un se,vicio Ce
  remisiOn a sbogados, Si no puede pager a un abogado, as posible qua cumpla con los requisitos pars obtener servicios legates gratui/os Ce on
  programs de servic/os legates sin fines Ce Iucro, Puede encontrsr es/os grupos sin fines de lucro an el sitio web de California Legal Services,
  (www.lawhelpcalifornla.org), an el Centro do Ayuda de las Cottes de California, (www.sucorte.ca.gov) 0 poniOn dose an con/a do con Is cot/a o a!
  colegio de abogaCos locales, .4VlSO: Per lay, to cone /iene Cerecho a reclamar las duo/as y /05 cos/os wren/os por imponer un gravamen score
  cuatquier recuperation de 510,0006 mis de valor recibiCo medisnte un acuerCo 0 una concesiOn de arbitrsje an un caso de Corecho civil, Tiene qua
  pager el gravamen de Is torte antes de qua Is code pueCa Cesechar el caso.

 The name and address of the court is:                                                                    ICASE NuMBER:
 (El nombre y direcciOn de he torte es):       Sacramento County Superior Court
  720 9th Street
  Sacramento, California 95814
                                                                                                         m-2p1p-pp                                  —
                                                                                                                                                                       4
 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
 (El nombm, la direccion ye! nOmero do told fono del abogado del demon dante, o dol demandante qua no tiene abogado, es):
  Strategic Legal Practices APC, 1840 Century Park East, Ste 430, Los Angeles, CA 90067; Tel: (310) 929-4900

 DATE:                                                                          Clerk, by                                                            ,   Deputy
 (Fecha)            JUL 1 7 2018                          .                     (Secm/ado)                         ,-    MORA                         (Adjun/o)
 (For proof of selvice of this summons, use Proof of Service of Summons (form P03-010).)
 (Pars prueba do en/rega do es/a citatiOn use at formu!ario Proof of Service of Summons, (POS-010)).
                                   •IrvrIrr'rnrLrc flcflcflkl ocatien . V#..
                                             I ¼) I fl rflo¼),.           I JU a, cac,vcu


                                          Ei as an individual defendant,
             couRr 01                            as the person sued under the fictitious name of (specify):


                                      3, = on behalf of (specify):

                                          under:   E1 CCP 416,10 (corporation)                                      CCP 416,60 (minor)
                                                   C CCP 416.20 (defunct corporation)        t:J                    CCP 416,70 (Conservatee)
                                                   C CCP 416.40 (association or partnership) LII                    CCP 416,90 (authorized person)

                                                    J other (specify):

 Form Adopted tar Mandatory Lisa
                                                 by personal delivery on (date):
                                                                                             / /     I                                                   Papaloll
                                                                                                                                cods 01 civi pmccdure §S 412 20.465
                                                                        SUMMONS
   Judidal couridi of cat/aria                                                                                                                 www r,,ofl,nlo Ca 9OY
   sum loo IRO) My 1. 20091
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2158 Page 20 of 316




                                        (Name. &ote Bar numbet, a Sdmz*                                                      FOR COURT USE ONLY




       TIILEPIIONENO.: (310) 929-4900         FN0.: (310) 943-3838
       t1EYFOR(NBt FREDERICK J. JUROSKY
     ERIOR COURT OF CALIFORNIA. COUNTY OF SAUKAMJ
                                                                                                                                    lENDeRS
       STREETADORESs:




   CASE NAME:
                        720 9th Street
      ItAdLING ADDRESS: 720 9th Street
     CITY ANDZJP CODE: Sacramento. California



   JUROSKY v. BMW OF NORTH AMERICA, [IC; et al.
                                                         95814
                                                                                                                  By: -
                                                                                                                          EE
                                                                                                                          -__         J. Man,
                                                                                                                                                2018
                                                                                                                                                       7


      CIVIL CASE COVER SHEET                        I                                                      CASE       lift
                                                               Complex Case Designation
 EZJ    Unlimited
        (Amount
                          C      Limited
                                 (Amount            I
                                                                 Counter        c:i       Joinder   '
                                                                                                          -   2              8-00237 0 1
                                                                                                           JuE:
        demanded                 demand ed is    I        Filed with first appearance by defendant
        exceeds $25000)          $25000 or less)    I         (Cal. Rules of Court. rule 3.402)               DEFT:

    Check one box below For the case type that ,est describes this case:
    Auto Tort                                   Contract                                            Provisionally Complex Civil Litigation
    C    Auto (22)                                    Breath of contractAvarranty (06)              (Cal. Rules of Court, rules 3.400-4.403)
    [111
     ±] Uninsured motorist (46)                         C Rule 3.740 collections (09)               C Antitrust/Trade regulation (03)
    Other PI/PDIWD (Personal Injury/Properly            [JOther collections (09)                    L) Construction defect (10)
    Damage/Wrongful Death) Tort                                Insurance coverage (18)              C Mass tort (40)
    LJ    Asbestos (04)                                 C Other contract (37)                       C Securities litigation (28)
    LJ    Product liability (24)                        Real Property                               C Environmental/Toxic tort (30)
    C     Medical malpractice (45)                      LIII Eminent  domalMnverse                  C above
                                                                                                       insurance coverage claims arising from the
    LI] Other PI/PDMD (23)                                    condemnatIon (14)                              listed provisionally complex case
                                                                                                          types (41)
     Non-PIIPDfWD (Other) Tort                          C      Wrongful eviction (33)
    C Business tort/unfair business practice (07)       C      Other real property (26)             Enforcement of Judgment
    [III
     ±) Civil rights (08)                                Unlawful Dotainor                          C     Enforcement of judgment (20)
    C Defamation (13)                                   LIII Commercial (31)                        Miscellaneous Civil Complaint
    [III] Fraud (16)                                    111111 Residential (32)                     C RICO (27)
            Intellectual property (19)                  LI] Drugs (38)                              C Other complaint (not specified above) (42)
    LIII    Professional negligence (25)                Judicial Review                             Miscellaneous Civil Petition
    LIII)   Other non-PllPDMO tort (35)                 C Asset forfeiture (05)                     C Partnership and corporate governance (21)
                                                        C Petition re: arbitration award (Ii)       C Other petition (not specified above) (43)
    L.....J Wrongful termination (36)                   C Writ of mandate (02)
    [1Other employment (15)                               Other
 2. This case L...J is       Ly(—J is not complex under rule 3.400 of the California Rules of Court. lithe case is complex, mark the
    factors requiring exceptional judicial management:
    a. C     Large number of separately represented parties       d.         C
                                                                         Large number of witnesses
    b. C     Extensive motion practice raising difficult or novel e.         C
                                                                         Coordination with related actions pending in one or more courts
             Issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
    C. C     Substantial amount of documentary evidence           t          C
                                                                         Substantial postjudgment judicial supervision

 3. Remedies sought (check all that apply):        ella
                                                     monetary b. El nonmonetary; declaratory or injunctive relief                         c.   (21] punitive
 4. Number of causes of action (specify): six (6)
 5. This case     C   is      [2]is not a class action suit.
 6. if there are any known related cases, file and serve a notice of related case. (You may use
 Date: 7/17/18
 Tionna Dotin

  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.

                                                        CIVIL CASE COVER SHEET
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2159 Page 21 of 316

Ick




                                                                                                                                             CM-010
                                          INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
         To Plaintiffs and Others Filing Flrt Papers. If you are ruling a first paper (for example, a complaint) in a civil caâe, you must
         complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
         statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. in item 1, you must check
        one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
        check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
        To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
        sheet must be filed only with your initial paper. Failure to file a cover sheet with the firt paper filed in a civil case may subject a party,
        its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
        To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
        owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
        which property. services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
       damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
       attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
        time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
       case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
        To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
       case is complex. If a plaintiff believes the case is complex under rule 3,400 of the California Rules of Court, this must be indicated by
       completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
       complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
       plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
       the case is complex.
                                                                   CASE TYPES AND EXAMPLES
       Auto Ton                                         Contract                                           Provisionally Complex Civil Litigation (Cal.
             Auto (22)-Personal Injury/Property              Breath of contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
                    Damage/Wrongful Death                         Breath of RentaL'Lease                        Antitrust/Trade Regulation (03)
             Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
                    case involves an uninsured                           Or wrongful eviction)                   Claims Involving Mass Tort (40)
                   motorist claim subject to                     Contract/Warranty Breach-Seller                 Securities Litigation (28)
                   arbitration, check this Item                      Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
                   instead of Auto)                              Negligent Breath of Contract/                  Insurance Coverage Claims
       Other Pl/PDWD (Personal lnJuryl                               Warranty                                        (arising from provisionally complex
       Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                   case type listed above) (4 1)
       Tort                                                 Collections (e.g.. money owed, open              Enforcement of Judgment
             Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
                  Asbestos Properly Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                  Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                        Wrongful Death                               Case                                            Confession of Judgment (non-
            Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
                  toxic/envimnmental) (24)                       complex) (18)                                       Sister State Judgment
            Medical Malpractice (45)                             Auto Subrogation                                    Administrative Agency Award
                  Medical Malpractice-                           Other Coverage                                         (net unpaid taxes)
                        Physicians & Surgeons               Other Contract (37)                                      PetltloniCertificatlon of Entry of
                  Other Professional Health care                 Contractual Fraud                                      Judgment on unpaid Taxes
                        Malpractice                              Other Contract Dispute                             Other Enforcement of Judgment
            Other PI/PDMD (23)                         Real Property                                                      Case
                 Premises Liability (e.g.. slip            Eminent flomalnllnverse                          Miscellaneous Civil Complaint
                       and fall)                                 Condemnation (14)                              RICO (27)
                 Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                               Other Complaint (not spec/tied
                        (e.g., assault, vandalism)                                                                  above) (42)
                                                           Other Real Property (e.g., quiet tItle) (26)
                 Intentional Infliction of                      Writ of Possession of Real Property                 Declaratory Relief Only
                       Emotional Distress                       Mortgage Foreclosure                                Injunctive Relief Only (non-
                 Negligent Infliction of                        Quiet Title                                               harassment)
                       Emotional Distress                       Other Real Property (not eminent                    Mechanics Lien
                 Other PIJPDM/D                                 domain, landlo,z14enan1, or                         Other Commercial Complaint
      Non-PtlPD/WD (Other) Ton                                  foreclosure)                                             Case (non -todlnon-complex)
            Business Tort/unfair Business              Unlawful Dotalner                                            Other Civil Complaint
               Practice (07)                               Commercial (31)                                              (non-tort/non-complex)
            Civil Rights (e.g., discrimination,                                                             Miscellaneous Civil Petition
                                                           Residential (32)
                false arrest) (not civil                                                                       Partnership and Corporate
                                                           Drugs (38) (if the case involves Illegal                 Governance (21)
                harassment) (08)                               drugs, check this Item: otherwise,
           Defamation (e.g., slander, libel)                                                                   Other Petition (not specified
                                                               report as Commercial or Residential)
                  (13)                                                                                              above) (43)
                                                       Judicial Review
           Fraud (18)                                                                                               Civil Harassment
                                                           Asset Forfeiture (05)                                    Workplace    Violence
           Intellectual Property (19)                      Petition Re: Arbitration Award (II)
           Professional Negligence (25)                                                                             Elder/Dependent Adult
                                                           Writ of Mandate (02)
               Legal Malpractice                               Writ-Administrative Mandamus                              Abuse
               Other Professional Malpractice                                                                       Election Contest
                                                               Writ-Mandamus on Limited Court
                     (not medical or legal)                                                                         Petition for Name Change
                                                                    Case Matter                                     Petition for Relief From Late
            Other Non-PI/PO/WD Tort (35)                       Writ-Other Limited Court Case
      Employment                                                                                                         Claim
                                                                    Review                                          Other Civil Petition
          Wrongful Termination (36)
          Other Employment (15)                           Other Judicial Review (39)
                                                               Review of Health Officer Order
                                                               Notice of Appeal-Labor

           Inev. .,u,y I.zwlj                                                                                                                     2 or 2
                                                           CIVIL CASE COVER SHEET
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2160 Page 22 of 316




               TIONNA DOLIN (SBN 299010)
           1   Email: tdolin@slpattorney.com
           2   STRATEGIC LEGAL PRACTICES                                                   ED
               A PROFESSIONAL CORPORATION
           3   1840 Century Park East, Suite 430                              JUL 172018
               Los Angeles, CA 90067
           4   Telephone: (310) 929-4900
               Facsimile: (310) 943-3838
           5
               Attorney for Plaintiff FREDERICK J. JUROSKY
           6

           7
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
           8
                                           FOR THE COUNTY OF SACRAMENTO
           9
          10
               FREDERICK J. JUROSKY,                        Case No.:
C-)
          11
                              Plaintiff,                    Hon.        W4a2Oj 8°0023 mi 4
          12                                                Dept.:
                       VS.
          13                                                COMPLAINT FOR VIOLATION OF
          14                                                STATUTORY OBLIGATIONS
               BMW OF NORTH AMERICA, LLC; BOB
               SMITH BMW; and DOES I through 10,
          15   inclusive,                                   JURY TRIAL DEMANDED
fl
          16
                             Defendants.
.< 0      17
Cl)       18

          19

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                                             COMPLAINT; JURY TRIAL DEMANDED
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2161 Page 23 of 316




                        Plaintiff alleges as follows:

            2                                               PARTIES

            3           1.     As used in this Complaint, the word 'Plaintiff" shall refer to Plaintiff

            4 II FREDERICK J. JUROSKY.

            5          2.      Plaintiff is a resident of San Diego County, California.

           6           3.      As used in this Complaint, the word "Defendant" shall refer to all Defendants

            7   named in this Complaint.

            8                  Defendant BMW OF NORTH AMERICA, LLC is a corporation organized and

           9    in existence under the laws of the State of Delaware and registered with the California

                Department of Corporations to conduct business in California. At all times relevant herein,
C-)
                Defendant was engaged in the business of designing, manufacturing, constructing, assembling,

 iz;      12    marketing, distributing, and selling automobiles and other motor vehicles and motor vehicle

          13    components in Sacramento County, California.

          14                   Defendant BOB SMITH BMW is an unknown business entity conducting

          15    business in the State of California. At all times relevant herein, Defendant BOB SMITH BMW

          16    was engaged in the business of selling automobiles and automobile components and servicing

          17    and repairing automobiles in San Diego County, California.

          18                   Plaintiff is ignorant ofthe true names and capacities of the Defendants sued under

          FI,   the fictitious names DOES Ito 10. They are sued pursuant to Code of Civil Procedure section

          20    474. When Plaintiff becomes aware of the true names and capacities of the Defendants sued as

          21    DOES Ito 10, Plaintiff will amend this Complaint to state their true names and capacities.

          22                       TOLLING OF THE STATUTES OF LIMITATIONS

          23                   To the extent there are any statutes of limitation applicable to Plaintiff's claims—

          24    including, without limitation, his express warranty and implied warranty—the running of the

          25    limitation periods have been tolled by equitable tolling, class action tolling (including, but not

          26    limited to, the Bang v. BMW ofNorth America, LLC (Case No. 2:15-CV-6945) Complaint, filed

          27

          28

                                             COMPLAINT; JURY TRIAL DEMANDED
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2162 Page 24 of 316




           1   September 18, 2015, and First Amended Complaint, filed December 21, 2015, the discovery rule,

           2   fraudulent concealment rule, repair rule, and/or equitable estoppel.

           3                                    FIRST CAUSE OF ACTION

           4                       BY PLAINTIFF AGAINST DEFENDANT BMW NA

           5           VIOLATION OF SUBDIVISION (D) OF CIVIL CODE SECTION 1793.2

           6          8.      On or about March     5, 2013, Plaintiff purchased a 2010 BMW 750Li, vehicle
           7 identification number WBAKB8C52ACY63565, (hereafter Vehicle) which was

           8   manufactured and or distributed by Defendant. The Vehicle was purchased primarily for

           9   personal, family, or household purposes. Plaintiff purchased the Vehicle from a person or entity

          10   engaged in the business of manufacturing, distributing, or selling consumer goods at retail.
C-)
          11          9.      In connection with the purchase, Plaintiff received an express written warranty

          12   in which Defendant undertook to preserve or maintain the utility or performance of the Vehicle

          13   or to provide compensation if there is a failure in utility or performance for a specified period

          14   of time. The warranty provided, in relevant part, that in the event a defect developed with the

          15   Vehicle during the warranty period, Plaintiff could deliver the Vehicle for repair services to

o         16   Defendant's representative and the Vehicle would be repaired.

          17          10.     During the warranty period, the Vehicle contained or developed defects,

Cl)       18   including but not limited to, defects related to the Vehicle's engine, defects causing the

          19   Vehicle's engine to be unable to properly utilize engine oil and, in fact, to improperly burn off

          20   and/or consume abnormally high amounts of oil; defects causing the Vehicle's oil turn cover to

          21   leak oil; defects causing the Vehicle's turbochargers to leak oil; defects causing the Vehicle's

          22   coolant hoses for the turbochargers to leak coolant; defects requiring replacement of the

          23   Vehicle's auxiliary water pump; defects causing the Vehicle's battery to fail; defects causing

          24   the Vehicle's driver's seat thigh extension to fail; defects requiring replacement of the driver's

          25   seat thigh support assembly; defects causing the rear window shade to fail; defects requiring

          26   replacement of the rear window shade assembly; defects related to the Vehicle's keys; defects

          27   requiring replacement of the Vehicle's key batteries; defects causing the Vehicle's drivetrain

          28
                                                              Page 2

                                            COMPLAINT; JURY TRIAL DEMANDED
     Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2163 Page 25 of 316




          1   malfunction light to illuminate; defects causing the Vehicle to store Fault Code 140401; defects

          2   causing the Vehicle's engine cylinder to misfire; defects requiring replacement of the cylinder

          3   spark plug/or and ignition coil; defects causing the air conditioner to fail; defects requiring

          4   replacement of the air conditioner blower motor; defects causing the Vehicle's integrated

          5   automatic climate control system intake housing cover to fail; and/or any other defects described

          6   in the Vehicle's repair history. Said defects substantially impair the use, value, or safety of the

          7 I Vehicle.

          8                  Defendant and its representatives in this state have been unable to service or

          9   repair the Vehicle to conform to the applicable express warranties after a reasonable number of

         10   opportunities. Despite this fact, Defendant failed to promptly replace the Vehicle or make
C)
         11   restitution to Plaintiff as required by Civil Code section 1793.2, subdivision (d) and Civil Code

gi5      12   section 1793.1, subdivision (a)(2).

0<       13                  Plaintiff has been damaged by Defendants failure to comply with its obligations

         14   pursuant to Civil Code section 1793.2, subdivision (d) and Civil Code section 1793.1,

         15   subdivision (a)(2), and therefore bring this cause of action pursuant to Civil Code section 1794.

         16                  Plaintiff suffered damages in the sum to be proven at trial in an amount that

         17   exceeds $25,001.00.

I'       18                  Defendant's failure to comply with its obligations under Civil Code section

         V    1793.2, subdivision (d) was willful, in that Defendant and its representative were aware that

         20   they were unable to service or repair the Vehicle to conform to the applicable express warranties

         21   after a reasonable number of repair attempts, yet Defendant failed and refused to promptly

         22   replace the Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil penalty of

         23   two times Plaintiffs actual damages pursuant to Civil Code section 1794, subdivision (c).

         24                  Defendant does not maintain a qualified third-party dispute resolution process

         25   which substantially complies with Civil Code section 1793.22. Accordingly, Plaintiff is entitled

         26   to a civil penalty of two times Plaintiff's actual damages pursuant to Civil Code section 1794,

         27   subdivision (e).

         28
                                                                  3
                                           COMPLAINT; JURY TRIAL DEMANDED
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2164 Page 26 of 316




           1           16.       Plaintiff seeks civil penalties pursuant to section 1794, subdivis ions .(c), and (e)

           2   in the alternative and does not seek to cumulate civil penalties, as provided in Civil Code section

           3   1794, subdivision (f).

           4                                     SECOND CAUSE OF ACTION

           5                         BY PLAINTIFF AGAINST DEFENDANT BMW NA

           6            VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION 1793.2

           7                     Plaintiff incorporates by reference the allegations contained in the paragraphs set

           8   forth above.

           9                     Although Plaintiff presented the Vehicle to Defendant's representative in this

          10   state, Defendant and its representative failed to commence the service or repairs within a
C-)
04        11   reasonable time and failed to service or repair the Vehicle so as to conform to the applicable

          12   warranties within 30 days, in violation of Civil Code section 1793.2, subdivision (b). Plaintiff
ii
o     '   13   did not extend the time for completion of repairs beyond the 30-day requirement.

          14                     Plaintiff has been damaged by Defendant's failure to comply with its obligations

          15   pursuant to Civil Code section 1793.2(b), and therefore bring this Cause of Action pursuant to

          16   Civil Code section 1794.

          17                     Plaintiff has rightfully rejected and/or justifiably revoked acceptance of the
E.
CD        18   Vehicle and have exercised a right to cancel the sale. By serving this Complaint, Plaintiff does

          19   so again. Accordingly, Plaintiff seeks the remedies provided in California Civil Code section

          20   1794(b)(1), including the entire lease price. In the alternative, Plaintiff seeks the remedies set

          21   forth in California Civil Code section 1794(b)(2), including the diminution in value of the

          22   Vehicle resulting from its defects. Plaintiff believes that, at the present time, the Vehicle's value

          23   is c/c minimis.

          24                     Defendant's failure to comply with its obligations under Civil Code section

          25   1793.2(b) was willful, in that Defendant and its representative were aware that they were

          26   obligated to service or repair the Vehicle to conform to the applicable express warranties within

          27

          28
                                                                      4

                                              COMPLAINT; JURY TRIAL DEMANDED
     Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2165 Page 27 of 316




               30 days, yet they failed to do so. Accordingly, Plaintiff is entitled to a civil penalty of two times

          2    Plaintiff's actual damages pursuant to Civil Code section 1794(c).

          3                                     THIRD CAUSE OF ACTION

          4                        BY PLAINTIFF AGAINST DEFENDANT BMW NA

          5           VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION 1793.2

          6                   Plaintiff incorporates by reference the allegations contained in paragraphs set

          7    forth above.

          8                   In violation of Civil Code section 1793.2, subdivision (a)(3), Defendant failed to

          9    make available to its authorized service and repair facilities sufficient service literature and

         10    replacement parts to effect repairs during the express warranty period. Plaintiff has been
0
         11    damaged.by Defendant's failure to comply with its obligations pursuant to Civil Code section

         12    ]793.2(a)(3), and therefore bring this Cause of Action pursuant to Civil Code section 1794.

E        13                   Defendant's failure to comply with its obligations under Civil Code section

         14    1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its obligation to provide

fl       15    literature and replacement parts sufficient to allow its repair facilities to effect repairs during
(_)0.
         16    the warranty period, yet Defendant failed to take any action to correct its failure to comply with
Lb
         17    the law. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff's actual
Cn       18    damages; pursuant to Civil Code section 1794(c).
         in,                                  FOURTH CAUSE OF ACTION

         20                       BY PLAINTIFF AGAINST DEFENDANT BMW NA

         21                        BREACH OF EXPRESS WRITTEN WARRANTY

         22                              CIV. CODE, § 1791.2, SUBD. (a); § 1794)

         23                   Plaintiff incorporates by reference the allegations contained in paragraphs set

         24    forth above.

         25                   In accordance with Defendant's warranty, Plaintiff delivered the Vehicle to

         26    Defendant's representative in this state to perform warranty repairs. Plaintiff did so within a

         27    reasonable time. Each time Plaintiff delivered the Vehicle, Plaintiff notified Defendant and its

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                                                                    5

                                            COMPLAINT; JURY TRIAL DEMANDED
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            I   representative of the characteristics of the Defects. 1-lowever, the representative failed to repair

            2   the Vehicle, breaching the terms of the written warranty on each occasion.

            3           24.     Plaintiff has been damaged by Defendant's failure to comply with its obligations

            4   under the express warranty, and therefore bring this Cause of Action pursuant to Civil Code

            5   section 1794.

            6          25.      Defendant's failure to comply with its obligations under the express warranty was

           7    willful, in that Defendant and its authorized representative were aware that they were obligated

            8   to repair the Defects, but they intentionally refused to do so. Accordingly, Plaintiff are entitled

           9    to a civil penalty of two times of Plaintiff's actual damages pursuant to Civil Code section

          10    1794(c).
C)
P.'                                              FIFTH CAUSE OF ACTION

1iri      12                             BY PLAINTIFF AGAINST DEFENDANTS

          13               BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY

          14                                    (CIV. CODE, § 1791.1; § 1794)

          15                    Plaintiff incorporates by reference the allegations contained in the paragraphs set

          16    forth above.
E.        17                    Pursuant to Civil Code section 1792, the sale of the Vehicle was accompanied

Cn        18    by Defendants implied warranty of merchantability. Pursuant to Civil Code section 1791.1, the

          lit   duration of the implied warranty is coextensive in duration with the duration of the express

          20    written warranty provided by Defendant, except that the duration is not to exceed one year.

          21                    Pursuant to Civil Code section 1791.1 (a), the implied warranty of

          22    merchantability means and includes that the Vehicle will comply with each of the following

          23    requirements: (I) The Vehicle will pass without objection in the trade under the contract

          24    description; (2) The Vehicle is fit for the ordinary purposes for which such goods are used; (3)

          25    The Vehicle is adequately contained, packaged, and labelled; (4) The Vehicle will conform to

          26    the promises or affirmations of fact made on the container or label.

          27    I/I

          28

                                             COMPLAINT; JURY TRIAL DEMANDED
     Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2167 Page 29 of 316




          1             29.      At the time of the purchase, or within one year thereafter, the Vehicle contained

          2    or developed the defects set forth above. The existence of each of these defects constitutes a

          3    breach of the implied warranty because the Vehicle (1) does not pass without objection in the

          4    trade under the contract description, (2) is not fit for the ordinary purposes for which such goods

          5    are used, (3) is not adequately contained, packaged, and labelled, and (4) does not conform to

          6    the promises or affirmations of fact made on the container or label.

          7                      Plaintiff has been damaged by Defendant's failure to comply with its obligations

          under the implied warranty, and therefore bring this Cause of Action pursuant to Civil Code
         I
          section 1794.

          '4                                         SIXTH CAUSE OF ACTION
0
                                      BY PLAINTIFF AGAINST DEFENDANT BMW NA

         12                                                        (Fraud)

t        13                     Plaintiffs sixth cause of action applies only as to Defendant BMW NA.

         14                     Plaintiff purchased the Vehicle as manufactured with Defendant BMW NA's V-8,

         15    twin-turbocharged engine, which BMW and enthusiasts refer to as the "N63."

2        16                     Defendant BMW NA committed fraud by allowing the Vehicle to be sold to

LD             Plaintiff without disclosing that the Vehicle and its N63 engine was defective and susceptible to

         18    sudden and premature failure.

         19                     In particular, Plaintiff is informed, believe, and thereon alleges that prior to

         20    Plaintiff acquiring the Vehicle, BMW NA was well aware and knew that the N63 engine installed

         21    on the Vehicle was defective but failed to disclose this fact to Plaintiff at the time of sale and

         22    thereafter.'

         23                     Specifically, BMW NA knew (or should have known) that the twin-turbo charged

         24    engine had one or more defects that causes the subject vehicle to be unable to properly utilize the

         25    engine oil and, in fact, to improperly burn off and/or consume abnormally high amounts of oil

         26    (the "Oil Consumption Defect"). The Oil Consumption Defect decreases the lubrication available

         27
               'Indeed, Defendant has issued various internal technical bulletins to its dealers (not consumers) concerning the
         28    Engine Defect.
                                                                           7

                                                 COMPLAINT; JURY TRIAL DEMANDED
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2168 Page 30 of 316




               to engine parts, which results in premature failure. Asa consequence, the Oil Consumption Defect

           2   requires unreasonably frequent oil changes and/or the addition of oil between scheduled oil

           3   changes .2

           4                    The Oil Consumption Defect is a safety concern because it prevents the engine

           5   from maintaining the proper level of engine oil, and causes voluminous oil consumption that

           6   cannot be reasonably anticipated or predicted. Therefore, the Oil Consumption Defect is

           7   unreasonably dangerous because it can cause engine failure while the subject vehicle is in

           8   operation at any time and under any driving conditions or speeds, thereby exposing the subject

           9   vehicle's driver, passengers, and others who share the road with them, to serious risk of accidents

          10   and injury.
C-)
          11                    Plaintiff is informed, believes and thereon alleges that Defendant BMW NA

          12   acquired its knowledge of the Oil Consumption Defect prior to Plaintiff acquiring the Vehicle,
E.        13   though sources not available to consumers such as Plaintiff, including but not limited to pre-

          14   production and post-production testing data, early consumer complaints about the engine defect

          15   made directly to BMW NA and its network of dealers, aggregate warranty data compiled from

          16   BMW NA's network of dealers, testing conducted by BMW NA in response to these complaints,

          17   as well as warranty repair and parts replacement data received by BMW NA from BMW NA's

          18   network of dealers, amongst other sources of internal information.

          19                    Plaintiff is informed, believe, and thereon alleges that while Defendant BMW NA

          20   knew about the Engine Defect, and its safety risks since mid-2008, if not before, BMW NA

          21   nevertheless concealed and failed to disclose the defective nature of the Vehicle and its N63

          22   engine to Plaintiff at the time of sale and thereafter. Had Plaintiff known that the Vehicle suffered

          23   from the Oil Consumption Defect, he would not have purchased the Vehicle.

          24
          25
          26
               2
                 The Oil Consumption Defect was particularly apparent in a recent Consumer Reports study on excessive oil
          27   consumption. Consumer Reports studied 498,900 vehicles across several makes and models for complaints
               about engine oil consumption and concluded BMW's twin turbocharged engine was included on four out of the
          28   five most defective vehicles.
                                                                            8

                                               COMPLAINT; JURY TRIAL DEMANDED
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          1            39.     Indeed, Plaintiff alleges that prior to the sale of the Vehicle to Plaintiff; Defendant

          2     BMW NA knew that the Vehicle and its N63 engine suffered from an inherent defect, was

          3     defective, would fail prematurely, and was not suitable for its intended use.

          4            40.     Defendant BMW NA was under a duty to Plaintiffs to disclose the defective nature

          5     of the Vehicle and its N63 engine, its safety consequences and/or the associated repair costs

          6 I because:

          7                        Defendant BMW NA acquired its knowledge of the Oil Consumption Defect

          8                       and its potential consequences prior to Plaintiff acquiring the Vehicle, through
          S
                                  sources not available to consumers such as Plaintiff, including but not limited

         lii                      to pre-production and post-production testing data, early consumer complaints
0
04                                about the Oil Consumption Defect made directly to BMW NA and its network

'o       12                       of dealers, aggregate warranty data compiled from BMW NA's network of

E        13                       dealers, testing conducted by BMW NA in response to these complaints, as

         14                       well as warranty repair and part replacements data received by BMW NA from

         15                       its network of dealers, amongst other sources of internal information;

                                  Defendant BMW NA was in a superior position from various internal sources

<0       17                       to know (or should have known) the true state of facts about the material
Ch       18                       defects contained in vehicles equipped with N63 engine; and

         IK                       Plaintiff could not reasonably have been expected to learn or discover of the

         20                       Vehicle's Oil Consumption Defect and its potential consequences until well

         21                       after Plaintiff purchased the Vehicle.

         22            41.    In failing to disclose the defects in the Vehicle's N63 engine, Defendant BMW

         23    NA has knowingly and intentionally concealed material facts and breached its duty not to do

         24    •isJ

         25            42.    The facts concealed or not disclosed by Defendant BMW NA to Plaintiff is

         26    material in that a reasonable person would have considered them to be important in deciding

         27

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                                                                     9

                                             COMPLAINT; JURY TRIAL DEMANDED
     Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2170 Page 32 of 316




          1   whether or not to purchase the Vehicle. Had Plaintiff known that the Vehicle and its.N63 engine

          2   were defective at the time of sale, he would not have purchased the Vehicle.

          3                  Plaintiff is a reasonable consumer who does not expect his engine to fail and not

          4   work properly. Plaintiff further expects and assumes that Defendant BMW NA will not sell or

          5   lease vehicles with known material defects, including but not limited to those involving the

          6   vehicle's N63 engine and will disclose any such defect to its consumers before selling such

          7   vehicles.

          8                  As a result of Defendant BMW NA's misconduct, Plaintiff has suffered and will

          9   continue to suffer actual damages.

         10                                              PRAYER
U        11          PLAINTIFF PRAYS for judgment against Defendant as follows:

         12                         For Plaintiffs actual damages according to proof at the time of trial;
E.
         13                         For restitution;

         14                         For a civil penalty in the amount of two times Plaintiffs actual damages

         15                         pursuant to Civil Code section 1794, subdivision (c) or (e);

         16                         For any consequential and incidental damages;

         17                         For costs of the suit and Plaintiff's reasonable attorney's fees pursuant to

         18                         Civil Code section 1794, subdivision (d);

         19                     £ For prejudgment interest at the legal rate; and

         20                     g. For such other relief as the Court may deem proper.

         21   I/I

         22   I/I

         23

         24

         25   I/I

         26   I/I

         27   I/I

         28
                                                                 10

                                          COMPLAINT; JURY TRIAL DEMANDED
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2171 Page 33 of 316




           1                                  DEMAND FOR JURY TRIAL

           2          Plaintiff hereby demands ajury trial on all causes of action asserted herein.

           3

           4
               Dated: July 5, 2018                           STRATEGIC LEGAL PRACTICES,
           5

           6

           7                                        BY:
                                                            Tionna Dolin                      I
           8                                                Attorney for Plaintiff

           9

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C-)
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g.I       14
CD        15

          16
CD

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Cl)       18

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                                                            Page II

                                          COMPLAINT; JURY TRIAL DEMANDED
  Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2172 Page 34 of 316


                                                                                                 FOR COURTUSE ONLY
       UOR ecuRT OF CALIFORNIA, COUNTY OF SACRAMENTO
       ADDRESS: 720 Ninth STREET

       ADDRESS: 720 Ninth STREET


CITY AND ZIPCODE: Sacjaiuieritu. CA 95814-1311


BRANCH NAME:      Gordon 0 Schaber courthouse

PHONE NUMBER:     (916) 874-5522




 SHORT TITLE:             Jurosky vs. BMW of North America LLC


                      NOTICE OF CASE MANAGEMENT CONFERENCE                             I   CASE NUMBER:

                                     AND ORDER TO APPEAR                               I 34-2018-00237014-CU-BC-GDS



   Hearing Date
    The above entitled action has been set for a case management Conference at 08:30 AM on 01/17/2019
    in Department 39 in accordance with California Rules of Court 212. You must be familiar with the case
    and fully prepared to participate effectively in the case management conference.

   Case Management Statement
   All parties must file and serve a case management statement at least 15 calendar days before the cas
   management conference. Parties are encouraged to file a single joint case management statement.

   Minimum Requirements
   Prior to the filing of the case management statement, the parties should have done the following:
      -Served all parties named in the complaint within 60 days after the summons has been issued
      -Ensured that all defendants and cross-defendants have answered, been dismissed, or had their defaults entered
      -Met and conferred with all parties as required by CRC 212 (f) to discuss and resolve issues set forth therein.

   Tentative Ruling
   Following its review of the case management statement(s), the court may determine that a case management
   conference is not necessary.
   To determine whether an appearance is required, the parties must check the court 's tentative rulings after 2:00 p.m.
   on the Court day before the Thursday calendar by accessing the court's internet website at
   www.saccourt.ca.gov
   Case Management Orders
   At the case management conference, the court will consider whether the case should be ordered to judicial
   arbitration or referred to other forms of Alternative Dispute Resolution. Whether or not a case management
   conference is held, the court will issue a case management order shortly after the scheduled conference date.

   Service of Case Management Notice
   Unless otherwise ordered by the court, plaintiff shall serve a copy of this notice on any party to the complaint
   appearing after the court issued this notice. The cross-complainant shall have the same obligation with respect to
   the cross-complaint.

   Certification Filed in Lieu of Case Management Statement
   If parties in the action file a certification on a form provided by the court at least 15 calendar days prior to the date of
   the case management conference that the case is short cause (five hours or less of trial time), that the pleading
   stage is complete and that the case will be ready for trial within 60 days, the case will be exempted from any further
   case management requirements and will be set for trial within 60-120 days. The certification shall be filed in lieu of a
   case management statement.




                                                                                                                          Page: 1
                                   NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO APPEAR
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Complia nàe
Failure to comply with this notice or to appear at the case management conference may result in the imposition of
sanctions (including dismissal of the case, striking of the answer, or payment of money).

Continuances
Case management conference will not be continued except on a showing of good cause. If your case management
conference is continued on motion or by the court on its own motion all parties shall file and serve a new case
management statement at least 15 calendar days before the continued case management conference.



Dated: 07/18/2018
                                                                                  k&
                                                                    David W. Abbott, Judge of the Superior Court




                                                                                                            Page: 2
                NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO APPEAR
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                               SUPERIOR COURT OF CALIFORNIA
                                           COUNTY OF SACRAMENTO
                                       SACRAMENTO, CALIFORNIA, 95814
                                              916-874-5522
                                               WWW.SACCOURT.CA.GOV



                                   ALTERNATIVE DISPUTE RESOLUTION
                                        INFORMATION PACKAGE
Recognizing that many civil disputes can be resolved without the time and expense of traditional civil litigation, the
Superior Court of California, County of Sacramento (Sacramento County Superior Court), strongly encourages parties in
civil cases to explore and pursue the use of Alternative Dispute Resolution,

What is Alternative Dispute Resolution?

Alternative Dispute Resolution (ADR) is the general term applied to a wide variety of dispute resolution processes which
are alternatives to lawsuits. Types of ADR processes include:

o       Arbitration                       •   Private judging                      •   Mini-trials
•       Mediation                         •   Neutral evaluation                   •   Negotiation and hybrids of these
•       Settlement Conferences                                                         processes

All ADR processes offer a partial or complete alternative to traditional court litigation for resolving disputes. At the present
time, the Sacramento County Superior Court offers Mediation and Arbitration.

What are the advantages of using ADR?

ADR can have a number of advantages over traditional court litigation.

    • ADR can save time. .Even in a complex case, a dispute can be resolved through ADR in a matter of months or
      weeks, while a lawsuit can take years.

    • ADR can save money. By producing earlier settlements, ADR can save parties and courts money that might
      otherwise be spent on litigation costs (attorneys fees and court expenses.)

    • ADR provides more participation. Parties have more opportunity with ADR to express their own interests and
       concerns, while litigation focuses exclusively on the parties' legal rights and responsibilities.

    *   ADR provides more control and flexibility. Parties can choose the ADR process most appropriate for their
        particular situation and that will best serve their particular needs.

    *   ADA can reduce stress and provide greater satisfaction. ADR encourages cooperation and communication, while
        discouraging the adversarial atmosphere found in litigation. Surveys of disputants who have gone through ADR have
        found that satisfaction with ADR is generally high, especially among those with extensive ADR experience.

Arbitration and Mediation

Although there are many different types of ADR processes, the types most commonly used to resolve disputes In
California state courts are Arbitration and Mediation. The Sacramento County Superior Court currently offers pre-
screened panelists with experience and training in each of the following areas,

Arbitration. An Arbitrator hears evidence presented by the parties, makes legal rulings, determines facts and makes an
Arbitration award, Arbitration awards may be entered as judgments in accordance with the agieement of the parties or,
where there is no agreement, in accordance with California statutes. Arbitration can be binding if the parties so agree in
writing. If there is no such agreement, either party can reject the Arbitration award and request a trial.




                                       Alternative Dispute Resolution Information Package
CV'tE—lOO (Rev 01.01. 14)                                                                              Page 1 of 3
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Mediation. Mediation is a voluntary, informal, confidential process in which the Mediator, a neutral third party, facilitates
settlement negotiations. The Mediator improves communication by and among the parties, helps parties clarify facts,
identify legal issues, explore options and arrive at a mutually acceptable resolution of the dispute.

Litigants are encouraged to use an ADR process as early in the case as circumstances permit. All appropriate cases will
be reviewed for referral to ADR at the Case Management Conference(CMC).


                              ADR Procedures for the Sacramento County Superior Court
Upon filing a complaint or cross-complaint, the plaintiff/cross-complainant must acquire this information package from the
Courts Website, http://www.saccourt.ca.gov, or the Superior Court Clerk. Plaintiff is required to include the ADR
Information Package when he or she serves the Complaint on the Defendant.

The courts ADR Panel List is available on-line at http:/Iwww.saccourt.ca.gov or may be obtained at the Civil Filing
Counter at the Gordon D. Schaber Sacramento County Courthouse, 720 Ninth Street, Room 101, Sacramento, CA
95814.

Mediation.
All parties to the dispute may voluntarily agree to submit the case to a neutral Mediator, either through a court-
appointment or through a private arrangement. The parties may choose either of the following Mediation choices:

        Private Mediation. Parties to a civil action agree to mediate their dispute with a Mediator of their choice
        without court assistance. The cost of Mediation must be borne by the parties equally unless the parties
        agree otherwise. Parties will be charged an amount as set by the Mediator (refer to the ADR Panel List
        for current rates).

        Court Mediation. Upon stipulation of the parties, a Mediator and alternate Mediator will be selected from
        the court-approved list of neutrals (ADR Panel List). The court will confirm the selected Mediator and
        notice parties by mail.

        The Mediator Is then responsible for contacting the parties to confirm a date, time, and place for
        Mediation. Mediators on the courts approved ADR Panel List have agreed to provide up to three (3)
        hours of pro-bono Mediation. In the event the Mediation extends beyond 3 hours and parties determine it
        would be beneficial to continue the Mediation process; the parties will independently be responsible for
        compensating the Mediator in an amount as set by the Mediator.

UNLIMITED CIVIL CASES
   • A Stipulation and Order to Mediation Unlimited Civil Cases, Form CV\E-MED-179 (see attached) may be filed
                                              -


      with the court at any time up to 15 calendar days prior to the Case Management Conference.

    •   If the parties do not stipulate to Mediation prior to their CMC, they may indicate their willingness to stipulate to
        Mediation at the CMC. In that event, parties must submit a Stipulation and Order to Mediation Unlimited Civil
                                                                                                           -


        Cases within 14 calendar days after their CMC.

    •   A Mediation Statement must be flied with the Case Management Statement.

LIMITED CIVIL CASES
   • Parties may select and conduct voluntary Private Mediation without notification to the Court.

   •    Parties may stipulate to court mediation by filing a Stipulation and Order to Arbitration/Mediation Limited Civil
                                                                                                            -


        Cases form (CV\E-203) at any time after the filing of the Limited Civil Case Status Memorandum form (CE-202).
        This form Is located on the court's website at http:/Iwww.saccourt.ca.gov. A Stipulation and Order to
        Arbitration/Mediation Limited Civil Cases MUST be filed concurrently or subsequent to a Limited Civil Case
                              -


        Status Memorandum.




                                      Alternative Dispute Resolution Information Package
CV\E-100 (Rev 01.01.14)                                                                               Page 2 of
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2176 Page 38 of 316


                                                                            Court of                        Sacramento




Arbitration
UNLIMITED CIVIL CASES
   • Plaintiff may elect, the parties may stipulate, or the judge may Order the case to Arbitration. Parties will be asked
        to select an Arbitrator and three alternate Arbitrators from the courts ADR Panel List. The court will send a
        Notice of Appointment and an appropriate Order to Arbitration to all parties.

    •   Arbitrations are conducted pursuant to California Rules of Court, rules 3.610 through 3.830. and Local Rules
        Chapter 2, Part 5. Unless otherwise stipulated, an Award of Arbitrator is not binding upon the parties provided
        that they file a timely Request for Trial De Novo pursuant to California Rules of Court, rule 3.826. Upon the filing
        of a timely Request for Trial De Novo, the case will proceed to a Trial-Setting Conference. If no timely Request
        for Trial De Novo is filed, judgment based upon the Award of Arbitrator will be entered pursuant to California
        Rules of Court, rule 3.627.

LIMITED CIVIL CASES
Arbitration may occur in a limited civil case under the following circumstances:
    • When all parties stipulate to arbitration pursuant to Code of Civil Procedure section 1141.12, A stipulation for
         arbitration shall be filed using the Court's local form, Stipulation and Order to Arbitration/Mediation Limited Civil
                                                                                                                   -


         Cases form (CV\E-203). A Stipulation and Order to Arbitration/Mediation Limited Civil Cases MUST be filed
                                                                                          -


         concurrently or subsequent to a Limited Civil Case Status Memorandum form (CV\E-202).

    •   When plaintiff elects to refer the case to judicial arbitration. A written election by the plaintiff to submit an action or
        proceeding to arbitration shall be filed using the Court's local form, Limited Civil Case Status Memorandum form
        (CV\E-202).

Additional Information
For additional information regarding the Court's ADR program, please go to the Court's website
http://w.saccourt.ca.gov.




                                       Alternative Dispute Resolution Information Package
CV\E-100 (Rev 01.01.14)                                                                                  Page 3 of 3
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                        EXHIBIT C
                  TO CHAN DECLARATION
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2178 Page 40 of 316




         Plaintiff s
   Requests for Production
       of Documents
       to BMW NA
           (State)
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2179 Page 41 of 316




         Tionna Dolin (SBN 299010)
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         1840 Century Park East, Suite 430
         Los Angeles, CA 90067
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         Facsimile:    (310) 943-3838

         Attorney for Plaintiff FREDERICK J. JUROSKY

                           SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                        COUNTY OF SACRAMENTO


        FREDERICK J. JUROSKY,                        Case No.: 34-2018-00237014

                         Plaintiff,                 PLAINTIFF'S REQUESTS FOR
                                                    PRODUCTION OF DOCUMENTS TO
                                                    DEFENDANT, SET ONE
            VS,


        BMW OF NORTH AMERICA, LLC;
        BOB SMITH BMW; and DOES
        through 10, inclusive,


                       Defendants.




         PROPOUNDING PARTY:            Plaintiff FREDERICK J. JUROSKY

         RESPONDING PARTY:             Defendant BMW OF NORTH AMERICA, LLC

        SET NUMBER:                    One

                  Plaintiff FREDERICK J. JUROSKY (hereinafter "Plaintiff"), by and through his counsel

        of record, STRATEGIC LEGAL PRACTICES, APC, hereby requests, pursuant to Code of Civil

         Procedure section 2031(a)(1), that Defendant BMW OF NORTH AMERICA, LLC, respond in

        writing to said Plaintiff and produce each and every item which is either specifically described or

        reasonably particularized in a category listed below and which are within its possession, custody,


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     1   or control. Plaintiff requests that Defendant's response to this request shall be signed under oath

     2   and shall be served and produced on it no later than thirty (30) days after service of this request

     3   (plus [5] days for mailing), at Strategic Legal Practices, APC, 1840 Century Park East, Suite 430,

     4   Los Angeles, California 90067.

     5   INSTRUCTIONS

     6           1.     Answer each request separately and fully in writing and under oath, unless it is

     7   objected to, in which event the reasons for such objection must be stated in lieu of an answer.

     8           2.     If an objection is being made based on attorney-client or attorney work product

     9   privileges, please produce a privilege log identifying the date of the document, the name/type of

    10   the document, the author/publisher of the document, and the recipient of the document.

    II           3.     To the extent a particular request calls for the production electronically stored

    12   information, please identify in your responses the database which was searched and all other

    13   databases which may contain responsive documents but which have not been searched.

    14           4.     You are under a continuing duty to seasonably supplement your response with

    15   respect to any question when new or additional information becomes known. Additionally, you

    16   are under a continuing duty to seasonably amend a prior response if you obtain information upon

    17   the basis of which you know that the response was incorrect when made, or that the response,

    18   though correct when made, is no longer correct or true.

    19   DEFINITIONS AND EXPLANATIONS

    20           I.     The term "YOU," "YOUR," and "DEFENDANT" shall mean Defendant BMW OF

    21   NORTH AMERICA, LLC, and any and all agents, representatives, assigns, successors,

    22   dealerships, individuals, and/or businesses who represent themselves to be affiliated with, or work

    23   for, BMW OF NORTH AMERICA, LLC.

    24           2.     The term "DOCUMENT" shall be interpreted in accordance with California

    25   Evidence Code section 250 and also to include electronic mails and electronically stored

    26   information.

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                 3.      The term "PERSON" means and includes natural persons, corporations,

         partnerships, associations, or any type of entity, and agents, servants, employees and

         representatives thereof.

                4.       The term "SUBJECT VEHICLE" means the 2010 BMW 750Li, VIN:

         WBAKB8C52ACY63565, purchased by Plaintiff.

                 5.      The term "BMW VEHICLES" refers to all vehicles of the same make, model, and

         year as the SUBJECT VEHICLE.

                6.      The term "ENGINE DEFECT" shall be understood to mean such defects which

         result in symptoms, including illumination of the drivetrain malfunction warning light; engine

         misfires; rough running; excessive oil consumption; oil return cover leaking oil; turbochargers

         leaking oil; turbocharger coolant hoses leaking coolant; drive train malfunction light illuminated;

         storage of Fault Code 140401; engine cylinder 4 misfire; engine cylinder 3 misfire; spark plug

         failure; ignition coil failure; and/or any other similar concern identified in the repair history for the

         SUBJECT VEHICLE.

                7.      The term "REPAIR DOCUMENTS" shall mean any and all documents which

         describe, outline, detail, or otherwise specify diagnostic and repair procedures to be used by

         Defendant's technicians. Such term shall be understood to include, but not be limited to, relevant

         portions of the Workshop Manual, OASIS documents, Technical Service Bulletins, Recall Notices,

         Special Service Messages, Campaign Bulletins, Diagnostic Flow Charts, Diagnostic Trouble Code

         or Fault Code Diagnosis Keys, power point presentations, internal investigation reports, field

         reports, causal factor analyses, failed component analyses, and/or any other document which refer

         to, relate, or concern the repairs performed by Defendant's technicians.

                8.      The term "LEMON LAW DOCUMENTS" means any and all documents relating

         to Defendant's handling of state Lemon Law obligations, including describing Lemon Law

         Situations, Lemon Law Prevention, Repeat Repair Attempts, Consumer Protection Laws, Lemon

         Laws, Lemon Law Manuals, Lemon Law Complaints, and Magnusson Moss Act, State lemon

         Laws and/or Lemon Law advice. This term includes portions of any and all manuals containing


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         discussions of state Lemon Law requirements, Defendant's policies and procedures regarding

         ensuring compliance with state Lemon Law requirements, Defendant's instructions to its

         employees, agents, and representatives regarding state Lemon Law requirements, Defendant's

         policies and procedures regarding repeat repair visits, Defendant's policies and procedures

         regarding defect reporting, Defendant's policies and procedures regarding technical service

         bulletin drafting, Defendant's policies and procedures regarding recall drafting, Defendant's

         policies and procedures regarding Lemon Law prevention, Defendant's policies and procedures

         regarding warranty claims, etc.

                                        REQUESTS FOR PRODUCTION

         REQUEST FOR PRODUCTION NO. 1: All DOCUMENTS relating to, referring to, or

         concerning the SUBJECT VEHICLE.

         REQUEST FOR PRODUCTION NO. 2: All written warranties issued by YOU and/or YOUR

         authorized repair facility(s) regarding the SUBJECT VEHICLE. [This request is being made to

         obtain an authentic, unaltered copy.]

        REQUEST FOR PRODUCTION NO. 3: All manuals provided to consumers in connection

         with their purchase or lease of vehicles the same year, make, and model as the SUBJECT

         VEHICLE. [This request is being made to obtain an authentic, unaltered copy.]

        REQUEST FOR PRODUCTION NO. 4: All records, invoices, and other documentation

         relating to Plaintiff FREDERICK J. JUROSKY's (hereinafter "Plaintiff") purchase of the

         SUBJECT VEHICLE from YOUR authorized retailer.

         REQUEST FOR PRODUCTION NO. 5: All repair orders pertaining to the SUBJECT

         VEHICLE in YOUR possession, custody, or control. [This request will be interpreted to include

        any and all DOCUMENTS associated with a particular repair order, as maintained by YOUR

        authorized repair facility(s) in the regular course of business.]

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              PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET ONE
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     1   REQUEST FOR PRODUCTION NO. 6: The warranty repair history relating to the SUBJECT

     2   VEHICLE as kept in its ordinary course of business by YOU. [This request will be interpreted to

     3   include all computer records evidencing monetary amounts reimbursed to YOUR authorized repair

     4   facility(s).]

     5   REQUEST FOR PRODUCTION NO. 7: The                 Warranty   Policy   and   Procedure    Manual

     6   published by YOU and provided to YOUR authorized repair facility(s), within the state of

     7   California, from 2010 to the present. [This request will be understood to include production of

     8   any and all versions of such manual as distributed to YOUR dealerships during the relevant time

     9   frame].

    10   REQUEST FOR PRODUCTION NO. 8: Al! LEMON LAW DOCUMENTS published by

    11   YOU and provided to YOUR employees, agents, and representatives. [This request shall also be

    12   understood to include copies of any and all DOCUMENTS identified in YOUR response to

    13   Plaintiff's Special Interrogatory No. 7.1

    14   REQUEST FOR PRODUCTION NO. 9: All                REPAIR      DOCUMENTS        relating   to   the

    15   SUBJECT VEHICLE. [This request shall also be understood to include copies of any and all

    16   DOCUMENTS identified in YOUR response to Plaintiff's Special Interrogatory No. 6.]

    17   REQUEST FOR PRODUCTION NO. 10: A copy of the Workshop Manual, or comparable

    18   DOCUMENT (whether in print or electronic format), specifying diagnosis and repair procedures

    19   for BMW VEHICLES.

    20   REQUEST FOR PRODUCTION NO. 11 All DOCUMENTS reflecting any communications

    21   between YOU and YOUR authorized repair facilities concerning the SUBJECT VEHICLE.

    22   REQUEST FOR PRODUCTION NO. 12: All Technical Service Bulletins, Recalls, Special

    23   Service Messages, or other technical bulletins regarding the ENGINE DEFECT in BMW

    24   VEHICLES.

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         REQUEST FOR PRODUCTION NO. 13: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning, referring, or relating to any field technical reports
         from YOUR agents, representatives, or employees to YOU which provide YOU with information
         relating to common parts failures in BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 14: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning, referring, or relating to any field technical reports
         from YOUR agents, representatives, or employees to YOU which provide YOU with information
         relating to warranty parts replacement trends in BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 15: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning, referring, or relating to any field technical reports
         from YOUR agents, representatives, or employees to YOU which provide YOU with information
         relating to suggested repair procedures for commonly observed problems in BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 16: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning, referring, or relating to any
         field technical reports from YOUR agents, representatives, or employees to YOU which provide
         YOU with information relating to repeat repair failures in BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 17: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning any internal analysis or investigation by YOU or on
         YOUR behalf regarding the ENGINE DEFECT in BMW VEHICLES. [This request shall be
         interpreted to include, but not be limited to, any such investigation to determine the root cause of
         the ENGINE DEFECT, any such investigation to design a permanent repair procedure for the
         ENGINE DEFECT, any such investigation into the failure rates of parts associated with the
         ENGINE DEFECT, any cost analysis for implementing a proposed repair procedures, any savings
         analysis not implementing a proposed repair procedures, etc.]
         REQUEST FOR PRODUCTION NO. 18: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning any communications YOU have had regarding the
         ENGINE DEFECT in BMW VEHICLES.


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        REQUEST FOR PRODUCTION NO. 19: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning any communications YOU have had regarding
        customer concerns relating to the ENGINE DEFECT in BMW VEHICLES.
        REQUEST FOR PRODUCTION NO. 20: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning any decision to issue any notices, letters, campaigns,
        warranty extensions, technical service bulletins and recalls concerning the ENGINE DEFECT in
         BMW VEHICLES.
        REQUEST FOR PRODUCTION NO. 21: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning or relating in any way to any decision to modify the
        engine, and/or any of its component parts, in response to the ENGINE DEFECT in BMW
         VEHICLES.
        REQUEST FOR PRODUCTION NO. 22: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning customer complaints, claims, reported failures, and
        warranty claims related to the ENGINE DEFECT in BMW VEHICLES, including any databases
         in YOUR possession with information from dealers, service departments, parts departments, or
        warranty departments, and all DOCUMENTS concerning YOUR response to each complaint,
        claim or reported failure.
        REQUEST FOR PRODUCTION NO. 23: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning failure rates of BMW VEHICLES as a result of the
        ENGINE DEFECT.
        REQUEST FOR PRODUCTION NO. 24: All DOCUMENTS, including electronically stored
        information and electronic mails, concerning any fixes for the ENGINE DEFECT in BMW
        VEHICLES.
        REQUEST FOR PRODUCTION NO. 25: All Failure Mode and Effects Analysis reports (or
        comparable root cause analyses) concerning the ENGINE DEFECT in BMW VEHICLES.
        REQUEST FOR PRODUCTION NO. 26: All DOCUMENTS which refer to, reflect, or relate
        to any technical service bulletin issued, or in the process of being issued, for BMW VEHICLES.


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     1   REQUEST FOR PRODUCTION NO. 27: All DOCUMENTS which refer to, reflect, or relate

     2   to any recall issued, or in the process of being issued, for BMW VEHICLES.

     3   REQUEST FOR PRODUCTION NO. 28: All DOCUMENTS which refer to, reflect, or relate

     4   to any Special Service Message issued, or in the process of being issued, for BMW VEHICLES.

     5   REQUEST FOR PRODUCTION NO. 29: All DOCUMENTS which refer to, reflect, or relate

     6   to any Field Service Action issued, or in the process of being issued, for BMW VEHICLES.

     7   REQUEST FOR PRODUCTION NO. 30: All DOCUMENTS which refer to, reflect, or relate

     8   to any warranty extension that has been issued, or is in the process of being issued, for BMW

     9   VEHICLES.

    10   REQUEST FOR PRODUCTION NO. 31: All DOCUMENTS, including electronically stored

    11   information, setting forth YOUR document retention policy from 2010 to the present, including

    12   retention policies for electronic data and communications.

    13   REQUEST FOR PRODUCTION NO. 32: Any and all audio or video tape recordings involving

    14   any discussions concerning the SUBJECT VEHICLE.

    15   REQUEST FOR PRODUCTION NO. 33: All DOCUMENTS which refer to, reflect, or relate

    16   to any and all expert witness opinions and/or reports that YOU have used or received in any

    17   proceeding with respect to the ENGINE DEFECT in BMW VEHICLES.

    18   REQUEST FOR PRODUCTION NO. 34: All deposition transcripts for the depositions of

    19   YOUR Person Most Qualified/Knowledgeable (designated in accordance with Cal Civ. Proc. Code

    20   §2025.230 or Fed. R. Civ. Proc. 30(b)(6)) that YOU have used or received in any proceeding with

    21   respect to the ENGINE DEFECT in BMW VEHICLES.

    22   REQUEST FOR PRODUCTION NO. 35: All                DOCUMENTS       relied   upon   by YOU     in

    23   formulating YOUR Answer in the instant action, including YOUR affirmative defenses.

    24   REQUEST FOR PRODUCTION NO. 36: All DOCUMENTS relied upon by YOU in support

    25   of YOUR contention that YOU were under no obligation to promptly replace or repurchase the

    26   SUBJECT VEHICLE.

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         REQUEST FOR PRODUCTION NO. 37: All DOCUMENTS that refer to, relate to, and/or

     2   concern any communications between YOU and Plaintiff, or someone on Plaintiff's behalf,

     3   concerning the SUBJECT VEHICLE.

     4   REQUEST FOR PRODUCTION NO. 38: All DOCUMENTS that YOU reviewed in denying

     5   Plaintiffs repurchase request.

     6   REQUEST FOR PRODUCTION NO. 39: All evaluations, assessments, memoranda, and/or

     7   other report made in connection with Plaintiff's repurchase request.

     8   REQUEST FOR PRODUCTION NO. 40: All DOCUMENTS that YOU use, since 2010, to

     9   evaluate consumers' requests for repurchases pursuant to the Song Beverly Consumer Warranty

    10   Act.

    11   REQUEST FOR PRODUCTION NO. 41: All DOCUMENTS which evidence, describe, refer,

    12   or relate to YOUR rules, policies, or procedures since 2010 concerning the issuance of refunds to

    13   buyers or providing replacement vehicles to buyers in the State of California under the Song-

    14   Beverly Consumer Warranty Act.

    15   REQUEST FOR PRODUCTION NO. 42: All DOCUMENTS which evidence, describe, refer,

    16   or relate to procedures used by YOU, since 2010, for the handling of complaints by consumers

    17   regarding vehicles YOU manufactured or distributed.

    18   REQUEST FOR PRODUCTION NO. 43: All DOCUMENTS which evidence, describe, refer,

    19   or relate to scripts, job prompts, outlines, or any other tool used by YOUR customer service agents,

    20   since 2010, in response to customer calls to YOUR call center concerning BMW VEHICLES.

    21   REQUEST FOR PRODUCTION NO. 44: All DOCUMENTS issued by YOU or on YOUR

    22   behalf which evidence, describe, refer, or relate to policies, procedures, and/or instructions since

    23   2010 that YOUR employees and agents should follow when evaluating a customer request for a

    24   refund of the price paid for a vehicle or replacement of a new motor vehicle manufactured or

    25   distributed by YOU.

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                PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUM ENTS TO DEFENDANT, SET ONE
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         REQUEST FOR PRODUCTION NO. 45: All DOCUMENTS issued by YOU or on YOUR
         behalf, since 2010, which evidence, describe, refer, or relate to policies, procedures, and/or
         instructions which YOUR employees and authorized agents should follow after a decision has
         been made by YOU to authorize either a refund of the purchase price, or a replacement vehicle, to
         YOUR customer.
         REQUEST FOR PRODUCTION NO. 46: All DOCUMENTS, including electronically stored
         information and electronic mails, concerning or relating to all BMW VEHICLES, which were
         repurchased or replaced by YOU.
         REQUEST FOR PRODUCTION NO. 47: All Vehicle Warranty History Reports for the
         repurchased or replaced vehicles identified in YOUR response to the preceding request.
         REQUEST FOR PRODUCTION NO. 48: All                 DOCUMENTS         which    evidence    YOUR
         organizational charts of people within YOUR customer service call center or pre-litigation
         department since 2010.
         REQUEST FOR PRODUCTION NO. 49: All                 written   agreements   with   any     PERSON
         concerning the management, oversight, coordination, and handling of YOUR customer service call
         center since 2010.
         REQUEST FOR PRODUCTION NO. 50: All DOCUMENTS since 2010 to the present related
         to YOUR goals to reduce the number of repurchases or vehicle replacements.
         REQUEST FOR PRODUCTION NO. 51: All DOCUMENTS since 2010 to the present related
         to YOUR goals to reduce the costs associated with repurchases or replacements, including all
         warranty trend reports for this period.
         REQUEST FOR PRODUCTION NO. 52: All DOCUMENTS reflecting YOUR plans, policies,
         procedures, programs, or measures, since 2010, for achieving any of YOUR warranty buyback
         reduction goals.
         REQUEST FOR PRODUCTION NO. 53: All DOCUMENTS concerning periodic reports
         received by YOU concerning the number of repurchases or replacements authorized by YOUR
         agents, representatives, and employees since 2010 to the present.


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             PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUM ENTS TO DEFENDANT, SET ONE
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         REQUEST FOR PRODUCTION NO. 54: All DOCUMENTS relating to any qualified third
         party dispute resolution program which YOU participate in, since 2010, and which complies with
         the requirements of California Civil Code section 1793.22.
         REQUEST FOR PRODUCTION NO. 55: All DOCUMENTS provided to any qualified third
         party dispute resolution program in which YOU participate, since 2010, regarding, reflecting, or
         concerning YOUR policies and/or procedures regarding the Song Beverly Consumer Warranty
         Act.
         REQUEST FOR PRODUCTION NO. 56: All training manuals and/or other DOCUMENTS
         relating to the training given to YOUR employees, agents, and representatives, since 2010, in
         connection with handling consumer lemon law repurchase requests.
         REQUEST FOR PRODUCTION NO. 57: All DOCUMENTS, including electronically stored
         information and electronic mails, regarding any communications between YOU and any
         government agency or entity (e.g. National Highway Traffic Safety Administration) regarding the
         ENGINE DEFECT in BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 58: All National Highway Traffic Safety Administration
         complaints in YOUR possession that relate to the ENGINE DEFECT in BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 59: All Early Warning Reports YOU submitted to the
         National Highway Traffic Safety Administration concerning BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 60: All                  Transportation     Recall     Enhancement,
         Accountability, and Documentation reports YOU submitted concerning BMW VEHICLES.
         REQUEST FOR PRODUCTION NO. 61: YOUR recall policy and procedure.
         REQUEST FOR PRODUCTION NO. 62: All DOCUMENTS related to any electronic mail
         (including current, backed -up and archived programs, accounts, unified messaging, server-based
         e-mail, Web-based e-mail, dial -up e-mail, user names and addresses, domain names and addresses,
         e-mail messages, attachments, manual and automated mailing lists and mailing list addresses)
         which in any way relate to the ENGINE DEFECT in BMW VEHICLES.



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        REQUEST FOR PRODUCTION NO. 63: All DOCUMENTS, including but not limited to

        electronically stored information and electronic mails, concerning Fault Code 140401.

        REQUEST FOR PRODUCTION NO. 64: All DOCUMENTS, including electronically stored

         information and electronic mails, where the issues identified in Fault Code 140401 were discussed.


           Dated: August 13, 2018                    STRATEGIC LEGAL PRACTICES, APC



                                              By:
                                                     Tionna Dolin
                                                     Attorney for Plaintiff FREDERICK J. JUROSKY




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                                              PROOF OF SERVICE

                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                I am employed in the County of Los Angeles, State of California. I am over the age of
         18 and not a party to the within action. My business address is Strategic Legal Practices, 1840
         Century Park East, Suite 430, Los Angeles, California 90067.

         On August 13, 2018, I served the document(s) described as:

                 Plaintiff's Requests for Production of Documents to Defendant, Set One

         on the interested parties in this action by sending [ ] the original [or] V] a true copy thereof
         [it° interested parties as follows [or] [ ] as stated on the attached service list:

                  BMW of North America LLC                           BOB Smith BMW
                  CT Corporation System, Inc.                        24500 Calabasas Rd.
                  818 W. 7th St. Suite 930                           Calabasas CA 91302
                  Los Angeles CA 90017

           [X]     BY MAIL (ENCLOSED IN A SEALED ENVELOPE): I deposited the
                   envelope(s) for mailing in the ordinary course of business at Los Angeles, California.
                   I am "readily familiar" with this firm's practice of collection and processing
                   correspondence for mailing. Under that practice, sealed envelopes are deposited with
                   the U.S. Postal Service that same day in the ordinary course of business with postage
                   thereon fully prepaid at Los Angeles, California.
                   BY E-MAIL: I hereby certify that this document was served from Los Angeles,
                   California, by e-mail delivery on the parties listed herein at their most recent known
                   e-mail address or e-mail of record in this action.
                   BY FAX: I hereby certify that this document was served from Los Angeles,
                   California, by facsimile delivery on the parties listed herein at their most recent fax
                   number of record in this action.
                   BY PERSONAL SERVICE: I delivered the document, enclosed in a sealed
                   envelope, by hand to the offices of the addressee(s) named herein.
                   BY OVERNIGHT DELIVERY: I am "readily familiar" with this firm's practice of
                   collection and processing correspondence for overnight delivery. Under that
                   practice, overnight packages are enclosed in a sealed envelope with a packing slip
                   attached thereto fully prepaid. The packages are picked up by the carrier at our
                   offices or delivered by our office to a designated collection site.
                I declare under penalty of perjury under the laws of the State of California that the
         foregoing is true and correct.
                 Executed this August 13, 2018, at Los Angeles, California.


            Kelsie Jones
          Type or Print Name                                                 Signatu
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                                                         Page 13
             PLAINTIFF'S REQUESTS FOR PRODUCTION 01 DOCUMENTS TO DEFENDANT, SET ONE
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          Plaintiff s
    Request for Production
       of Documents
        to BMW NA
          (Federal)
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   1   Christine Haw (SBN 289351)
       chaw@slpattorney.com
   2   Gregory Sogoyan (SBN 316832)
   3   gsogoyan@slpattorney.com
       STRATEGIC LEGAL PRACTICES
   4   A PROFESSIONAL CORPORATION
   5   1840 Century Park East, Suite 430
       Los Angeles, CA 90067
   6   Telephone: (310) 929-4900
   7   Facsimile: (310) 943-3838

   8   Attorneys for Plaintiff FREDERICK J. JUROSKY
   9
  10                      UNITED STATES DISTRICT COURT
  11
                       SOUTHERN DISTRICT OF CALIFORNIA
  12
  13
  14   FREDERICK J. JUROSKY,                    Case No.: 3:19-cv-00706-JM(BGS)

  15                   Plaintiff,
                                                PLAINTIFF'S REQUESTS FOR
  16           VS.                              PRODUCTION TO
                                                DEFENDANT, SET ONE
  17
       BMW OF NORTH AMERICA, LLC,
  18   and DOES 1 through 10, inclusive,

  19                     Defendants.

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       PROPOUNDING PARTY:              Plaintiff, FREDERICK J. JUROSKY
  24
  25   RESPONDING PARTY:               Defendant, BMW OF NORTH AMERICA, LLC

  26   SET NUMBER:                     ONE
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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   1         Plaintiff FREDERICK J. JUROSKY, by and through his counsel of record,
   2   STRATEGIC LEGAL PRACTICES, APC, hereby requests, pursuant to Federal
   3   Rule of Civil Procedure 34, that Defendant BMW OF NORTH AMERICA, LLC,
   4   respond in writing and produce each and every item which is either specifically
   5   described or reasonably particularized in a category listed below and which are
   6   within its possession, custody, or control.      Plaintiff request that Defendant's
   7   response to this request shall be signed under oath and shall be served at Strategic
   8   Legal Practices, A Professional Corporation, 1840 Century Park East, Suite 430,
   9   Los Angeles, California 90067.
  10                                    INSTRUCTIONS
  11         1.      Answer each request separately and fully in writing and under
  12         oath, unless it is objected to, in which event the reasons for such
  13         objection must be stated in lieu of an answer.
  14         2.      If an objection is being made based on attorney-client or attorney
  15         work product privileges, please produce a privilege log identifying the
  16         date of the document, the name/type of the document, the
  17         author/publisher of the document, and the recipient of the document.
  18         3.      To the extent a particular request calls for the production
  19         electronically stored information, please identify in your responses the
  20         database which was searched and all other databases which may contain
  21         responsive documents but which have not been searched.
  22         4.      You are under a continuing duty to seasonably supplement your
  23         response with respect to any question when new or additional
  24         information becomes known. Additionally, you are under a continuing
  25         duty to seasonably amend a prior response if you obtain information
  26         upon the basis of which you know that the response was incorrect when
  27         made, or that the response, though correct when made, is no longer
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   1            correct or true.
   2                          DEFINITIONS AND EXPLANATIONS
   3      1. The term "YOU," "YOUR," and "DEFENDANT" shall mean
   4      Defendant BMW OF NORTH AMERICA, LLC; and any and all agents,
   5      representatives, assigns, successors, dealerships, individuals, and/or
   6      businesses who represent themselves to be affiliated with, or work for,
   7      either BMW OF NORTH AMERICA, LLC.
   8      2. The term "DOCUMENT" shall be interpreted in accordance with
   9      California Evidence Code section 250 and also to include electronic mails
  10      and electronically stored information.
  11      3. The term "PERSON" means and includes natural persons, corporations,
  12      partnerships, associations, or any type of entity, and agents, servants,
  13      employees and representatives thereof.
  14      4. The term "SUBJECT VEHICLE" means the 2010 BMW 750Li, VIN:
  15      WBAKB8C52ACY63565, purchased by Plaintiff
  16      5. The term "BMW VEHICLES" refers to all vehicles of the same make,
  17      model, and year as the SUBJECT VEHICLE.
  18      6. The term "ENGINE DEFECT" shall be understood to mean such
  19      defects which result in symptoms, including illumination of the drivetrain
  20      malfunction warning light; engine misfires; rough running; excessive oil
  21      consumption; oil return cover leaking oil; turbochargers leaking oil;
  22      turbocharger coolant hoses leaking coolant; drive train malfunction light
  23      illuminated; storage of Fault Code 140401; engine cylinder 4 misfire;
  24      engine cylinder 3 misfire; spark plug failure; ignition coil failure; and/or
  25      any other similar concern identified in the repair history for the SUBJECT
  26      VEHICLE.
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                  PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2196 Page 58 of 316




   1      7. The term "REPAIR DOCUMENTS" shall mean any and all documents
   2      which describe, outline, detail, or otherwise specify diagnostic and repair
   3      procedures to be used by Defendant's technicians. Such term shall be
   4      understood to include, relevant portions of the Test Plans, OASIS
   5      documents, Technical Service Bulletins, Recall Notices, Special Service
   6      Messages, Campaign Bulletins, Diagnostic Flow Charts, Diagnostic
   7      Trouble Code or Fault Code Diagnosis Keys, power point presentations,
   8      internal investigation reports, field reports, causal factor analyses, failed
   9      component analyses, and/or any other document which refer to, relate, or
  10      concern the repairs performed by Defendant's technicians.
  11      8. The term "LEMON LAW DOCUMENTS" means any and all
  12      documents relating to Defendant's handling of state Lemon Law
  13      obligations, including    documents describing Lemon Law Situations,
  14      Lemon Law Prevention, Repeat Repair Attempts, Consumer Protection
  15      Laws, Lemon Laws, Lemon Law Manuals, Lemon Law Complaints, and
  16      Magnusson Moss Act, State lemon Laws and/or Lemon Law advice. This
  17      term includes portions of any and all manuals containing discussions of
  18      state Lemon Law requirements, Defendant's policies and procedures
  19      regarding ensuring compliance with state Lemon Law requirements,
  20      Defendant's instructions to its employees, agents, and representatives
  21      regarding state Lemon Law requirements, Defendant's policies and
  22      procedures regarding repeat repair visits, Defendant's policies and
  23      procedures regarding defect reporting, Defendant's policies              and
  24      procedures regarding technical service bulletin drafting, Defendant's
  25      policies and procedures regarding recall drafting, Defendant's policies and
  26      procedures regarding Lemon Law prevention, Defendant's policies and
  27      procedures regarding warranty claims, etc.
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2197 Page 59 of 316




   1                         REQUESTS FOR PRODUCTION
   2   REQUEST FOR PRODUCTION NO. 1: All DOCUMENTS relating to, referring to,

   3   or concerning the SUBJECT VEHICLE.
   4   REQUEST FOR PRODUCTION NO. 2: All written warranties issued by YOU and/or

   5   YOUR authorized repair facility(s) regarding the SUBJECT VEHICLE.            [This
   6   request is being made to obtain an authentic, unaltered copy.]
   7   REQUEST FOR PRODUCTION NO. 3: All manuals provided to consumers in

   8   connection with their purchase or lease of vehicles the same year, make, and model
   9   as the SUBJECT VEHICLE. [This request is being made to obtain an authentic,
  10   unaltered copy.]
  11   REQUEST FOR PRODUCTION NO. 4: All              records,   invoices,   and    other
  12   documentation relating to Plaintiff FREDERICK J. JUROSKY's (hereinafter
  13   "Plaintiff') purchase of the SUBJECT VEHICLE from YOUR authorized retailer.
  14   REQUEST FOR PRODUCTION NO. 5: All repair orders pertaining to the SUBJECT
  15   VEHICLE in YOUR possession, custody, or control. [This request will be
  16   interpreted to include any and all DOCUMENTS associated with a particular repair
  17   order, as maintained by YOUR authorized repair facility(s) in the regular course of
  18   business.]
  19   REQUEST FOR PRODUCTION NO. 6: The warranty repair history relating to the

  20   SUBJECT VEHICLE as kept in its ordinary course of business by YOU. [This
  21   request will be interpreted to include all computer records evidencing monetary
  22   amounts reimbursed to YOUR authorized repair facility(s).]
  23   REQUEST FOR PRODUCTION NO. 7: The Warranty Policy and Procedure Manual
  24   published by YOU and provided to YOUR authorized repair facility(s), within the
  25   state of California, from 2010 to the present. [This request will be understood to
  26   include production of any and all versions of such manual as distributed to YOUR
  27   dealerships during the relevant time frame].
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2198 Page 60 of 316




   1   REQUEST FOR PRODUCTION NO. 8: All           LEMON        LAW      DOCUMENTS
   2   published by YOU and provided to YOUR employees, agents, and representatives.
   3   [This request shall also be understood to include copies of any and all
   4   DOCUMENTS identified in YOUR response to Plaintiff's Special Interrogatory
   5   No. 7.]
   6   REQUEST FOR PRODUCTION NO. 9: All REPAIR DOCUMENTS relating to the

   7   SUBJECT VEHICLE. [This request shall also be understood to include copies of
   8   any and all DOCUMENTS identified in YOUR response to Plaintiff's Special
   9   Interrogatory No. 6.]
  10   REQUEST FOR PRODUCTION NO. 10: A copy of the Workshop Manual, or

  11   comparable DOCUMENT (whether in print or electronic format), specifying
  12   diagnosis and repair procedures for BMW VEHICLES.
  13   REQUEST FOR PRODUCTION NO. 11: All           DOCUMENTS          reflecting    any
  14   communications between YOU and YOUR authorized repair facilities concerning
  15   the SUBJECT VEHICLE.
  16   REQUEST FOR PRODUCTION NO. 12: All Technical Service Bulletins, Recalls,

  17   Special Service Messages, or other technical bulletins regarding the ENGINE
  18   DEFECT in BMW VEHICLES.
  19   REQUEST FOR PRODUCTION NO. 13: All DOCUMENTS, including electronically

  20   stored information and electronic mails, concerning, referring, or relating to any
  21   field technical reports
  22   from YOUR agents, representatives, or employees to YOU which provide YOU
  23   with information relating to common parts failures in BMW VEHICLES.
  24   REQUEST FOR PRODUCTION NO. 14: All DOCUMENTS, including electronically
  25   stored information and electronic mails, concerning, referring, or relating to any
  26   field technical reports from YOUR agents, representatives, or employees to YOU
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                 PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2199 Page 61 of 316




   1   which provide YOU with information relating to warranty parts replacement trends
   2   in BMW VEHICLES.
   3   REQUEST FOR PRODUCTION NO. 15: All DOCUMENTS, including electronically

   4   stored information and electronic mails, concerning, referring, or relating to any
   5   field technical reports from YOUR agents, representatives, or employees to YOU
   6   which provide YOU with information relating to suggested repair procedures for
   7   commonly observed problems in BMW VEHICLES.
   8   REQUEST FOR PRODUCTION NO. 16: All DOCUMENTS, including electronically

   9   stored information and electronic mails, concerning, referring, or relating to any
  10   field technical reports from YOUR agents, representatives, or employees to YOU
  11   which provide YOU with information relating to repeat repair failures in BMW
  12   VEHICLES.
  13   REOUEST FOR PRODUCTION NO. 17: All DOCUMENTS, including electronically

  14   stored information and electronic mails, concerning any internal analysis or
  15   investigation by YOU or on YOUR behalf regarding the ENGINE DEFECT in
  16   BMW VEHICLES. [This request shall be interpreted to include, but not be limited
  17   to, any such investigation to determine the root cause of the ENGINE DEFECT,
  18   any such investigation to design a permanent repair procedure for the ENGINE
  19   DEFECT, any such investigation into the failure rates of parts associated with the
  20   ENGINE DEFECT, any cost analysis for implementing a proposed repair
  21   procedures, any savings analysis not implementing a proposed repair procedures,
  22   etc.]
  23   REQUEST FOR PRODUCTION NO. 18: All DOCUMENTS, including electronically
  24   stored information and electronic mails, concerning any communications YOU
  25   have had regarding the ENGINE DEFECT in BMW VEHICLES.
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2200 Page 62 of 316




   1   RQUEST FOR PRODUCTION NO. 19: All DOCUMENTS, including electronically

   2   stored information and electronic mails, concerning any communications YOU
   3   have had regarding customer concerns relating to the ENGINE DEFECT in BMW
   4   VEHICLES.
   5   REQUEST FOR PRODUCTION NO. 20: All DOCUMENTS, including electronically
   6   stored information and electronic mails, concerning any decision to issue any
   7   notices, letters, campaigns, warranty extensions, technical service bulletins and
   8   recalls concerning the ENGINE DEFECT in BMW VEHICLES.
   9   REQUEST FOR PRODUCTION NO. 21: All DOCUMENTS, including electronically

  10   stored information and electronic mails, concerning or relating in any way to any
  11   decision to modify the engine, and/or any of its component parts, in response to the
  12   ENGINE DEFECT in BMW VEHICLES.
  13   REQUEST FOR PRODUCTION NO. 22: All DOCUMENTS, including electronically

  14   stored information and electronic mails, concerning customer complaints, claims,
  15   reported failures, and warranty claims related to the ENGINE DEFECT in BMW
  16   VEHICLES, including any databases in YOUR possession with information from
  17   dealers, service departments, parts departments, or warranty departments, and all
  18   DOCUMENTS concerning YOUR response to each complaint, claim or reported
  19   failure.
  20   REQUEST FOR PRODUCTION NO. 23: All DOCUMENTS, including electronically
  21   stored information and electronic mails, concerning failure rates of BMW
  22   VEHICLES as a result of the ENGINE DEFECT.
  23   REQUEST FOR PRODUCTION NO. 24: All DOCUMENTS, including electronically
  24   stored information and electronic mails, concerning any fixes for the ENGINE
  25   DEFECT in BMW VEHICLES.
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  27   II/
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                  PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
             Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2201 Page 63 of 316
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                1   REQUEST FOR PRODUCTION NO. 25: All Failure Mode and Effects Analysis

                2   reports (or comparable root cause analyses) concerning the ENGINE DEFECT in
                3   BMW VEHICLES.
                4   REQUEST FOR PRODUCTION NO. 26: All DOCUMENTS which refer to, reflect, or

                5   relate to any technical service bulletin issued, or in the process of being issued, for
                6   BMW VEHICLES.
                7   REQUEST FOR PRODUCTION NO. 27: All DOCUMENTS which refer to, reflect, or

                8   relate to any recall issued, or in the process of being issued, for BMW VEHICLES.
                9   REQUEST FOR PRODUCTION NO. 28: All DOCUMENTS which refer to, reflect, or

               10   relate to any Special Service Message issued, or in the process of being issued, for
               11   BMW VEHICLES.
               12   REQUEST FOR PRODUCTION NO. 29: All DOCUMENTS which refer to, reflect, or
               13   relate to any Field Service Action issued, or in the process of being issued, for BMW
               14   VEHICLES.
               15   REQUEST FOR PRODUCTION NO. 30: All DOCUMENTS which refer to, reflect, or
               16   relate to any warranty extension that has been issued, or is in the process of being
               17   issued, for BMW VEHICLES.
               18   REQUEST FOR PRODUCTION NO. 31: All DOCUMENTS, including electronically

               19   stored information, setting forth YOUR document retention policy from 2010 to the
               20   present, including retention policies for electronic data and communications.
               21   REQUEST FOR PRODUCTION NO. 32: Any and all audio or video tape recordings
               22   involving any discussions concerning the SUBJECT VEHICLE.
               23   REQUEST FOR PRODUCTION NO. 33: All DOCUMENTS which refer to, reflect, or
               24   relate to any and all expert witness opinions and/or reports that YOU have used or
               25   received in any proceeding with respect to the ENGINE DEFECT in BMW
               26   VEHICLES.
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                             PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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   1   REQUEST FOR PRODUCTION NO. 34: All deposition transcripts for the depositions

   2   of YOUR Person Most Qualified/Knowledgeable (designated in accordance with
   3   Cal Civ. Proc. Code §2025.230 or Fed. R. Civ. Proc. 30(b)(6)) that YOU have used
   4   or received in any proceeding with respect to the ENGINE DEFECT in BMW
   5   VEHICLES.
   6   REQUEST FOR PRODUCTION NO. 35: All DOCUMENTS relied upon by YOU in
   7   formulating YOUR Answer in the instant action, including YOUR affirmative
   8   defenses.
   9   REQUEST FOR PRODUCTION NO. 36: All DOCUMENTS relied upon by YOU in
  10   support of YOUR contention that YOU were under no obligation to promptly
  11   replace or repurchase the SUBJECT VEHICLE.
  12   REQUEST FOR PRODUCTION NO. 37: All DOCUMENTS that refer to, relate to,
  13   and/or concern any communications between YOU and Plaintiff, or someone on
  14   Plaintiffs behalf, concerning the SUBJECT VEHICLE.
  15   REQUEST FOR PRODUCTION NO. 38: All DOCUMENTS that YOU reviewed in
  16   denying Plaintiff's repurchase request.
  17   REQUEST FOR PRODUCTION NO. 39: All evaluations, assessments, memoranda,

  18   and/or other report made in connection with Plaintiffs repurchase request.
  19   REQUEST FOR PRODUCTION NO. 40: All DOCUMENTS that YOU use, since

  20   2010, to evaluate consumers' requests for repurchases pursuant to the Song Beverly
  21   Consumer Warranty Act.
  22   REQUEST FOR PRODUCTION NO. 41: All             DOCUMENTS       which     evidence,
  23   describe, refer, or relate to YOUR rules, policies, or procedures since 2010
  24   concerning the issuance of refunds to buyers or providing replacement vehicles to
  25   buyers in the State of California under the Song-Beverly Consumer Warranty Act.
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2203 Page 65 of 316




   1   RQUEST FOR PRODUCTION NO. 42: All                DOCUMENTS         which     evidence,
   2   describe, refer, or relate to procedures used by YOU, since 2010, for the handling
   3   of complaints by consumers regarding vehicles YOU manufactured or distributed.
   4   REQUEST FOR PRODUCTION NO. 43: All               DOCUMENTS         which     evidence,
   5   describe, refer, or relate to scripts, job prompts, outlines, or any other tool used by
   6   YOUR customer service agents, since 2010, in response to customer calls to YOUR
   7   call center concerning BMW VEHICLES.
   8   REQUEST FOR PRODUCTION NO. 44: All DOCUMENTS issued by YOU or on
   9   YOUR behalf which evidence, describe, refer, or relate to policies, procedures,
  10   and/or instructions since 2010 that YOUR employees and agents should follow
  11   when evaluating a customer request for a refund of the price paid for a vehicle or
  12   replacement of a new motor vehicle manufactured or distributed by YOU.
  13   REQUEST FOR PRODUCTION NO. 45: All DOCUMENTS issued by YOU or on

  14   YOUR behalf, since 2010, which evidence, describe, refer, or relate to policies,
  15   procedures, and/or instructions which YOUR employees and authorized agents
  16   should follow after a decision has been made by YOU to authorize either a refund
  17   of the purchase price, or a replacement vehicle, to YOUR customer.
  18   REQUEST FOR PRODUCTION NO. 46: All DOCUMENTS, including electronically
  19   stored information and electronic mails, concerning or relating to all BMW
  20   VEHICLES, which were repurchased or replaced by YOU.
  21   REQUEST FOR PRODUCTION NO. 47: All Vehicle Warranty History Reports for
  22   the repurchased or replaced vehicles identified in YOUR response to the preceding
  23   request.
  24   REQUEST FOR PRODUCTION NO. 48: All DOCUMENTS which evidence YOUR
  25   organizational charts of people within YOUR customer service call center or pre-
  26   litigation department since 2010.
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                  PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2204 Page 66 of 316




   1   REQUEST FOR PRODUCTION NO. 49: All written agreements with any PERSON

   2   concerning the management, oversight, coordination, and handling of YOUR
   3   customer service call center since 2010.
   4   REQUEST FOR PRODUCTION NO. 50: All DOCUMENTS since 2010 to the present

   5   related to YOUR goals to reduce the number of repurchases or vehicle
   6   replacements.
   7   REQUEST FOR PRODUCTION NO. 51: All DOCUMENTS since 2010 to the present

   8   related to YOUR goals to reduce the costs associated with repurchases or
   9   replacements, including all warranty trend reports for this period.
  10   REQUEST FOR PRODUCTION NO. 52: All DOCUMENTS reflecting YOUR plans,

  11   policies, procedures, programs, or measures, since 2010, for achieving any of
  12   YOUR warranty buyback reduction goals.
  13   REQUEST FOR PRODUCTION NO. 53: All              DOCUMENTS concerning periodic
  14   reports received by YOU concerning the number of repurchases or replacements
  15   authorized by YOUR agents, representatives, and employees since 2010 to the
  16   present.
  17   REQUEST FOR PRODUCTION NO. 54: All DOCUMENTS relating to any qualified

  18   third party dispute resolution program which YOU participate in, since 2010, and
  19   which complies with the requirements of California Civil Code section 1793.22.
  20   REQUEST FOR PRODUCTION NO. 55: All              DOCUMENTS       provided       to    any
  21   qualified third party dispute resolution program in which YOU participate, since
  22   2010, regarding, reflecting, or concerning YOUR policies and/or procedures
  23   regarding the Song Beverly Consumer Warranty Act.
  24   REQUEST FOR PRODUCTION NO. 56: All              training   manuals    and/or        other
  25   DOCUMENTS relating to the training given to YOUR employees, agents, and
  26   representatives, since 2010, in connection with handling consumer lemon law
  27   repurchase requests.
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                  PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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   1   REQUEST FOR PRODUCTION NO. 57: All DOCUMENTS, including electronically

   2   stored information and electronic mails, regarding any communications between
   3   YOU and any government agency or entity (e.g. National Highway Traffic Safety
   4   Administration) regarding the ENGINE DEFECT in BMW VEHICLES.
   5   REQUEST FOR PRODUCTION NO. 58: All          National   Highway     Traffic   Safety
   6   Administration complaints in YOUR possession that relate to the ENGINE
   7   DEFECT in BMW VEHICLES.
   8   REQUEST FOR PRODUCTION NO. 59: All Early Warning Reports YOU submitted

   9   to the National Highway Traffic Safety Administration concerning BMW
  10   VEHICLES.
  11   REQUEST FOR PRODUCTION NO. 60: All Transportation Recall Enhancement,
  12   Accountability, and Documentation reports YOU submitted concerning BMW
  13   VEHICLES.
  14   REQUEST FOR PRODUCTION NO. 61: YOUR recall policy and procedure.
  15   REQUEST FOR PRODUCTION NO. 62: All DOCUMENTS related to any electronic
  16   mail (including current, backed-up and archived programs, accounts, unified
  17   messaging, server-based e-mail, Web-based e-mail, dial-up e-mail, user names and
  18   addresses, domain names and addresses, e-mail messages, attachments, manual and
  19   automated mailing lists and mailing list addresses) which in any way relate to the
  20   ENGINE DEFECT in BMW VEHICLES.
  21   REQUEST FOR PRODUCTION NO. 63: All          DOCUMENTS, including but not
  22   limited to electronically stored information and electronic mails, concerning Fault
  23   Code 140401.
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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   1   REQUEST FOR PRODUCTION NO. 64: All DOCUMENTS, including electronically

   2   stored information and electronic mails, where the issues identified in Fault Code
   3   140401 were discussed.
   4
   5
   6   Dated: June 11,2019                   STRATEGIC LEGAL PRACTICES, APC
   7
   8
   9                                         Grego logoyan
                                             Attorney for Plaintiff
  10                                         FREDERICK J. JURO SKY
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               PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2207 Page 69 of 316




                                    PROOF OF SERVICE
                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
             I am employed in the County of Los Angeles, State of California. I am
      over the a_ge of 18 and not a party to the within action. My business address is
      Strategic Legal Practices, 1840 Century Park East, Suite 430, Los Angeles,
      California 90067.
       On June 11, 2019, I caused to be served the document(s) described as:
       PLAINTIFF'S REQUESTS FOR PRODUCTION TO DEFENDANT, SET
                                               ONE
      on the interested parties in this action by sending _[ ithe original [or] [1] a true
      copy thereof [1] to interested parties as follows [or] [ ] as stated on the
      attached service list:
                                       Molly Moriarty Lane
                                           Garrick Chan
                             MOGRAN LEWIS & BOCICRJS LLP
                                 One Market, Spear Street Tower
                                     San Francisco, CA 94105

        [1]    BY MAIL (ENCLOSED IN A SEALED ENVELOPE): I deposited the
               envelope(s) for mailing in the ordinary course of business at Los Angeles,
               California. I am "readily familiar" with this firm's practice of collection
               and processing correspondence for mailing. Under that practice sealed
               envelopes are deposited with the U.S. Postal Service that same day in the
               ordinary course of business with postage thereon fully prepaid at Los
               Angeles, California.
        [i]    BY E-MAIL: I hereby certify that this document was served from Los
               Angeles, California, by e-mail delivery on the parties listed herein at their
               most recent known e-mail address or e-mail of record in this action.
             I declare under penalty of perjury under the laws of the State of California
      that the foregoing is true and correct.
              Executed this June 11, 2019, at Los Angeles, California.




                                                            Lauren Wagernan




                                         PROOF OF SERVICE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2208 Page 70 of 316




                          EXHIBIT D
                    TO CHAN DECLARATION
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                   Benjeman Beck (State Bar No. 268617)
                   bbeck@slpattomey.com
               2   Anna Lisa Knafo (State Bar No. 245182)
               3
                   aknafo@slpattomey.com
                   Strategic Legal Practices, APC
               4   1840 Century Park East, Suite 430
               5   Los Angeles, CA 90067
                   Telephone: (310) 929-4900
               6   Facsimile: (310) 943-3838
               7
                   Attorneys for Plaintiff
               8   KWON CHAE YI
               9
              10                       UNITED STATES DISTRICT COURT
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   ~               KWON CHAE YI,                               Case No.: 2:17-cv-06467-SVW
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                                     Plaintiff,                 Hon. Stephen V. Wilson
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                           vs.                                  PLAINTIFF'S REQUESTS FOR
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                                                                TO DEFENDANT, SET ONE
 E-<     c    17   BMW OF NORTH AMERICA 1 LLC;
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 IZ      ~         and DOES 1 through 10, inclusive,
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en            18
                                       Defendants.
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              22                                     Plaintiff KWON CHAE YI
                   PROPOUNDING PARTY:
              23                                     Defendant BMW OF NOR TH AMERICA, LLC
                   RESPONDING PARTY:
              24
                   SET NUMBER:                       One
              25         Plaintiff KWON CHAE YI hereby request that, pursuant to Federal Rule of
              26   Civil Procedure 34, Defendant BMW of North America specifically identify all the
              27   materials within the categories stated below that are in its possession, custody, or
              28
                                                            Page I
                      PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                       control, its attorney's or anyone acting on his behalf; and that Defendant and its
                   2   attorneys of record produce all materials within the categories specified below
                   3   within thirty (30) days after service of this request.
                   4                                      DEFINITIONS
                   5          1.    The term "ENGINE DEFECT" shall be understood to mean issues
                   6   which result in symptoms including the engine fan continuing to run after the
                   7   vehicle has been turned off, illumination of the "engine hot" warning, illumination
                   8   of the "engine malfunction" warning, illumination of the "reduce power warning",
                   9   the vehicle running rough, the vehicle having difficulty starting or cranking,
                  10   defects to the auxiliary water pump, and/or defects to the coolant pump.
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11; ~             11         2.     The term "DOCUMENT" shall be interpreted in accordance with
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                  12   Federal Rules of Evidence Rule 1001 and to include writing, recordings, electronic
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E-< ii            13   mails and electronically stored information.
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~~    "           14         3.     The term "LEMON LAW DOCUMENTS" means any and all
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        ~         15   documents relating to Defendant's handling of state Lemon Law obligations,
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                  16   including documents describing Lemon Law Situations, Lemon Law Prevention,
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-"1 'i'           17   Repeat Repair Attempts, Consumer Protection Laws, Lemon Laws, Lemon Law
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rn                18   Manuals, Lemon Law Complaints, and Magnusson Moss Act, State lemon Laws
                  19   and/or Lemon Law advice. This term includes portions of any and all manuals
                  20   containing discussions of state Lemon Law requirements, Defendant's policies
                  21   and procedures regarding ensuring compliance with state Lemon Law
                  22   requirements,   Defendant's      instructions      to   its   employees,   agents,   and
                  23   representatives regarding state Lemon Law requirements, Defendant's policies
                  24   and procedures regarding repeat repair visits, Defendant's policies and procedures
                  25   regarding defect reporting, Defendant's policies and procedures regarding
                  26   technical service bulletin drafting, Defendant's policies and procedures regarding
                  27   recall drafting, Defendant's policies and procedures regarding Lemon Law
                  28
                                                                 Page 2
                         PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2211 Page 73 of 316




         prevention, Defendant's policies and procedures regarding warranty claims, etc.
     2          4.    The term "OIL CONSUMPTION DEFECT" shall be understood to
     3   mean issues which result in symptoms, including the recurrent activation of the
     4   low engine oil message, the need to frequently add engine oil, the need to "top off'
     5   engine oil in between scheduled maintenance visits, excessive engine oil
     6   consumption; excessive burning of engine oil and/or oil leaking from the oil pan
     7   gasket.
     8         5.     The term "PuMA" shall mean and refer to the database and/or system
     9   of documents used by BMW of North America to communicate with BMW
    10   authorized dealerships (and their personnel) regarding identifying, diagnosing,
    11   and/or repairing problems, issues, or defects in BMW vehicles
    12         6.     The term "PERSON" means              and includes natural persons,
    13   corporations, partnerships, associations, or any type of entity, and agents, servants,
    14   employees and representatives thereof.
    15         7.     The term "PLAINTIFF" shall mean and refer to Plaintiffs Donald and
    16   Meagan Burrows.
    17         8.     The term "REPAIR DOCUMENTS" shall mean any and all
    18   documents which describe, outline, detail, or otherwise specify diagnostic and
    19   repair procedures to be used by Defendant's technicians.         Such term shall be
    20   understood to include, relevant portions of the Test Plans, Technical Service
    21   Bulletins, Recall Notices, Special Service Messages, Campaign Bulletins,
    22   Diagnostic Flow Charts, Diagnostic Trouble Code or Fault Code Diagnosis Keys,
    23   power point presentations, internal investigation reports, field reports, causal
    24   factor analyses, failed component analyses, and/or any other document which refer
    25   to, relate, or concern the repairs performed by Defendant's technicians.
    26         9.    The term "SUBJECT VEHICLE" shall mean and refer to the               2009

    27   BMW 750Li, VIN WBAKB83519CY61799        purchased and/or leased by Plaintiff.
    28

                                                  Page 3
           PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
          Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2212 Page 74 of 316




                           10.    The term "YOU," "YOUR," and "DEFENDANT" shall mean
                2   Defendant BMW OF NORTH AMERICA, LLC; and any and all agents,
               3    representatives, assigns, successors, dealerships, individuals, and/or businesses
               4    acting on behalf of BMW OF NORTH AMERICA, LLC.
               5                             REQUESTS FOR PRODUCTION
               6    REQUEST FOR PRODUCTION NO. 1:

               7           All DOCUMENTS relating to, referring to, or concerning the SUBJECT
               8    VEHICLE.
               9    REQUEST FOR PRODUCTION NO. 2:

              10           All written warranties issued by YOU and/or YOUR authorized repair
u
0....         11    facility(s) regarding the SUBJECT VEHICLE.
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              12    REQUEST FOR PRODUCTION NO. 3:
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 u            13           All manuals provided to PLAINTIFF in connection with the purchase or lease
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0....         14    of the SUBJECT VEHICLE.
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              15    REQUEST FOR PRODUCTION NO. 4:
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......        16           The warranty repair history relating to the SUBJECT VEHICLE as kept by
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~             17    YOU in YOUR ordinary course of business. [This request will be interpreted to
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rn            18    include all computer records evidencing monetary amounts reimbursed to YOUR
              19    authorized repair facility(s).]
              20    REQUEST FOR PRODUCTION NO. 5:

              21          All records, invoices, and other documentation relating to PLAINTIFF'S
              22    purchase/lease of the SUBJECT VEHICLE from YOUR authorized retailer.
              23    REQUEST FOR PRODUCTION NO. 6:

              24          All REP AIR DOCUMENTS, including repair orders, relating to the
              25    SUBJECT VEHICLE.
              26    REQUEST FOR PRODUCTION NO. 7:

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                                                           Page 4
                      PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
       Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2213 Page 75 of 316




                          All DOCUMENTS reflecting any communications between YOU and
               2   PLAINTIFF concerning the SUBJECT VEHICLE.
               3   REQUEST FOR PRODUCTION NO. 8:

               4          All DOCUMENTS reflecting any communications between YOU and
               5   YOUR authorized repair facilities concerning the SUBJECT VEHICLE.
               6   REQUEST FOR PRODUCTION NO. 9:

               7          All DOCUMENTS relied upon by YOU in fonnulating YOUR Answer in
               8   the instant action, including YOUR affinnative defenses.
               9   REQUEST FOR PRODUCTION NO. 10:

              10          All DOCUMENTS relied upon by YOU in support of YOUR contention that
u                  YOU were under no obligation to promptly replace or repurchase the SUBJECT
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              12   VEHICLE.
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              13   REQUEST FOR PRODUCTION NO. 11:
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~~            14         All DOCUMENTS that YOU reviewed in denying PLAINTIFF'S repurchase
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~~            15   request.
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              16   REQUEST FOR PRODUCTION NO. 12:
~~            17         The Warranty Policy and Procedure Manual published by YOU and provided
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              18   to YOUR authorized repair facility(s), within the state of California, from 2009 to
              19   the present.
              20   REQUEST FOR PRODUCTION NO. 13:

              21         All Technical Service Bulletins, Service Infonnation Bulletins, Recalls,
              22   and/or Campaigns, pertaining to the OIL CONSUMPTION DEFECT in 2009
              23   BMW 750Li vehicles.
              24   REQUEST FOR PRODUCTION NO. 14:

              25         All DOCUMENTS pertaining to the Technical Service Bulletins, Service
              26   Infonnation    Bulletins,   Recalls   and/or     Campaigns   regarding   the   OIL
              27   CONSUMPTION DEFECT in 2009 BMW 750Li vehicles which discuss or
              28
                                                           Page 5
                     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
         Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2214 Page 76 of 316




                  analyze the creation, need, justification, or scope of such Bulletins, Recalls and/or
              2   Campaigns.
              3   REQUEST FOR PRODUCTION NO. 15:

              4          All DOCUMENTS relied upon, in whole or in part, in the creation of
              5   Technical Service Bulletins, Service Information Bulletins, Recalls and/or
              6   Campaigns regarding the OIL CONSUMPTION DEFECT in 2009 BMW 750Li
              7   vehicles.
              8   REQUEST FOR PRODUCTION NO. 16:

              9         All DOCUMENTS, including electronically stored information, concerning
             10   any internal investigation, analysis, root-cause analysis, or testing by YOU or on
u                 YOUR behalf regarding the OIL CONSUMPTION DEFECT in 2009 BMW 750Li
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             12   vehicles.
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t-<          13   REQUEST FOR PRODUCTION NO. 17:
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             15   internal investigation, analysis, root-cause analysis and/or testing by YOU or on
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......       16   YOUR behalf regarding the OIL CONSUMPTION DEFECT in 2009 BMW 750Li
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t-<          17   vehicles.
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lf)
             18   REQUEST FOR PRODUCTION NO. 18:

             19         All Technical Service Bulletins, Service Infonnation Bulletins, Recalls,
             20   and/or Campaigns, pertaining to the OIL CONSUMPTION DEFECT in BMW
             21   platfonn FO 1 vehicles.
             22   REQUEST FOR PRODUCTION NO. 19:

             23         All DOCUMENTS pertaining to the Technical Service Bulletins, Service
             24   Infonnation    Bulletins,   Recalls   and/or      Campaigns   regarding   the   OIL
             25   CONSUMPTION DEFECT in BMW platfonn FO 1 vehicles, which discuss or
             26   analyze the creation, need, justification, or scope of such Bulletins, Recalls and/or
             27   Campaigns.
             28
                                                           Page 6
                    PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                      REQUEST FOR PRODUCTION NO. 20:

                  2          All DOCUMENTS relied upon, in whole or in part, in the creation of
                  3   Technical Service Bulletins, Service Information Bulletins, Recalls and/or
                  4   Campaigns regarding the OIL CONSUMPTION DEFECT in BMW platform FOl
                  5   vehicles.
                  6   REQUEST FOR PRODUCTION NO. 21:

                  7          All DOCUMENTS, including electronically stored infonnation, concerning
                  8   any internal investigation, analysis, root-cause analysis, or testing by YOU or on
                  9   YOUR behalf regarding the OIL CONSUMPTION DEFECT in BMW platform
                 10   FO 1 vehicles.
u                     REQUEST FOR PRODUCTION NO. 22:
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                 12          All emails in YOUR possession, custody, and/or control, regarding any
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il.. ~           14   YOUR behalf regarding the OIL CONSUMPTION DEFECT in BMW platfonn
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                 16   REQUEST FOR PRODUCTION NO. 23:
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 ~§                         All Technical Service Bulletins, Service Infonnation Bulletins, Recalls,
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ifJ              18   and/or Campaigns, pertaining to the OIL CONSUMPTION DEFECT in 2009
                 19   BMW vehicles equipped with the N63 engine.
                 20   REQUEST FOR PRODUCTION NO. 24:

                 21         All DOCUMENTS pertaining to the Technical Service Bulletins, Service
                 22   Information      Bulletins,   Recalls   and/or     Campaigns   regarding    the   OIL
                 23   CONSUMPTION DEFECT in 2009 BMW vehicles equipped with the N63 engine,
                 24   which discuss or analyze the creation, need, justification, or scope of such Bulletins,
                 25   Recalls and/or Campaigns.
                 26   REQUEST FOR PRODUCTION NO. 25:

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                         PLAINTIFF'S REQUESTS FOR PRODUCTJON OF DOCUMENTS TO DEFENDANT, SET NO ONE
        Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2216 Page 78 of 316




                   1         All DOCUMENTS relied upon, in whole or in part, in the creation of
               2       Technical Service Bulletins, Service Information Bulletins, Recalls and/or
               3       Campaigns regarding the OIL CONSUMPTION DEFECT in 2009 BMW vehicles
               4       equipped with the N63 engine.
               5       REQUEST FOR PRODUCTION NO. 26:

               6             All DOCUMENTS, including electronically stored information, concerning
               7       any internal investigation, analysis, root-cause analysis, or testing by YOU or on
               8       YOUR behalf regarding the OIL CONSUMPTION DEFECT in 2009 BMW
               9       vehicles equipped with the N 63 engine.
              10       REQUEST FOR PRODUCTION NO. 27:
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p..,
   ~          11             All emails in YOUR possession, custody, and/or control, regarding any
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        "'             internal investigation, analysis, root-cause analysis, and/or testing by YOU or on
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 u      <(    13       YOUR behalf regarding the OIL CONSUMPTION DEFECT in 2009 BMW
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p..,    2     14       vehicles equipped with the N63 engine.
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 ~CJ',
 0 !;'        15       REQUEST FOR PRODUCTION NO. 28:
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        ':;   16             All PuMA Reports, PuMA Measures, and/or PuMA Counter-Measures
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t-<     c     17       regarding the OIL CONSUMPTION DEFECT in 2009 BMW 750Li vehicles.
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              18       REQUEST FOR PRODUCTION NO. 29:

              19             All PuMA Reports, PuMA Measures, and/or PuMA Counter-Measures
              20       regarding the OIL CONSUMPTION DEFECT in 2009 BMW vehicles equipped
              21       with the N63 engine.
              22       REQUEST FOR PRODUCTION NO. 30:

              23             All PuMA Reports, PuMA Measures, and/or PuMA Counter-Measures
              24       regarding the OIL CONSUMPTION DEFECT in BMW platform FOl vehicles.
              25       REQUEST FOR PRODUCTION NO. 31:

              26             All DOCUMENTS that discuss, or analyze the causes or extent of engine oil
              27       consumption in 2009 BMW 750Li vehicles.
              28
                                                                Page 8
                         PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                   REQUEST FOR PRODUCTION NO. 32:

               2          All DOCUMENTS that refer to, discuss, or analyze the causes or extent of
               3   engine oil consumption in 2009 BMW vehicles equipped with the N63 engine.
               4   REQUEST FOR PRODUCTION NO. 33:

               5         All DOCUMENTS that refer to, discuss, or analyze the causes or extent of
               6   engine oil consumption in BMW platform FO 1 vehicles.
               7   REQUEST FOR PRODUCTION NO. 34:

               8         All DOCUMENTS which refer to, discuss or analyze, in whole or in part,
               9   any potential or actual changes, revisions, or modifications to the N63 engine and/or
              10   components to address any issues of engine oil consumption in 2009 BMW 750Li
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              12   REQUEST FOR PRODUCTION NO. 35:
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        i     13         All DOCUMENTS which refer to, discuss or analyze, in whole or in part,
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i:i.. i2      14   any potential or actual changes, revisions, or modifications to the N63 engine and/or
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        8     15   components to address issues of engine oil consumption in 2009 BMW vehicles
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              16   equipped with the N63 engine.
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-"'1    s     17   REQUEST FOR PRODUCTION NO. 36:
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r.n           18         All DOCUMENTS which refer to, discuss or analyze, in whole or in part,
              19   any potential or actual changes, revisions, or modifications to the N63 engine and/or
              20   components to address issues of engine oil consumption in BMW platfonn FO 1
              21   vehicles equipped with the N63 engine.
              22   REQUEST FOR PRODUCTION NO. 37:

              23         All DOCUMENTS that refer to, discuss, or analyze, in whole or in part, the
              24   projected, expected, or anticipated engine oil consumption or engine oil
              25   maintenance services appropriate for 2011 BMW 550i vehicles.
              26   REQUEST FOR PRODUCTION NO. 38:

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                     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
          Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2218 Page 80 of 316




                          All DOCUMENTS that refer to, discuss, or analyze, in whole or in part, the
               2    projected, expected, or anticipated engine oil consumption or engine oil
                3   maintenance services appropriate for all 2011 BMW vehicles equipped with the
               4    N63 engine.
               5    REQUEST FOR PRODUCTION NO. 39:

               6          All DOCUMENTS concerning or relating to YOUR decision to modify the
               7    N63 engine in BMW vehicles in response to the OIL CONSUMPTION DEFECT.
               8    REQUEST FOR PRODUCTION NO. 40:

               9          All DOCUMENTS relating to the recommended engme oil refill
              10    specification for 2011 BMW 550i vehicles, including any modifications or changes
u
p.,           11    to such recommendations.
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              12    REQUEST FOR PRODUCTION NO. 41:
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 E-<          13          All DOCUMENTS related to any changes to the engine oil maintenance
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p.,           14    schedule or standard, or changes to the battery replacement schedule or standard, in
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              15    2011 BMW 550i vehicles.
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              16    REQUEST FOR PRODUCTION NO. 42:
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-<            17          All DOCUMENTS reflecting customer complaints related to the OIL
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              18    CONSUMPTION DEFECT in 2009 BMW 750Li vehicles.
              19    REQUEST FOR PRODUCTION NO. 43:

              20          All DOCUMENTS reflecting warranty claims and warranty repairs related to
              21    the OIL CONSUMPTION DEFECT in 2009 BMW 750Li vehicles.
              22    REQUEST FOR PRODUCTION NO. 44:

              23          All DOCUMENTS reflecting customer complaints related to the OIL
              24    CONSUMPTION DEFECT in 2009 BMW vehicles equipped with the N63.
              25    REQUEST FOR PRODUCTION NO. 45:

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                                                            Page 10
                      PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
         Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2219 Page 81 of 316




                            All DOCUMENTS reflecting warranty claims and warranty repairs related to
                 2   the OIL CONSUMPTION DEFECT in 2009 BMW vehicles equipped with the
                 3   N63.
                 4   REQUEST FOR PRODUCTION NO. 46:

                 5          All DOCUMENTS, including electronically stored information, concerning
                 6   or relating to 2009 BMW 750Li vehicles with an alleged OIL CONSUMPTION
                 7   DEFECT, which were repurchased or replaced by YOU.
                 8   REQUEST FOR PRODUCTION NO. 47:

                 9          All versions of Service Information Bulletin ("SIB") 11 07 12 (including all
                10   past versions and any pending updates).
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11.; ~          11   REQUEST FOR PRODUCTION NO. 48:
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                12          All versions of SIB 11 01 13 (including all past versions and any pending
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                13   updates).
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11.; ;;:        14   REQUEST FOR PRODUCTION NO. 49:
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         !;'    15          All versions of SIB 11 03 13 (including all past versions and any pending
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f-; c           17   REQUEST FOR PRODUCTION NO. 50:
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                18          All versions of SIB 11 07 12 (including all past versions and any pending
                19   updates).
                20   REQUEST FOR PRODUCTION NO. 51:

                21          All versions of SIB 11 16 14 (including all past versions and any pending
                22   updates).
                23   REQUEST FOR PRODUCTION NO. 52:

                24          All versions of SIB 61 30 14 (including all past versions and any pending
                25   updates).
                26   REQUEST FOR PRODUCTION NO. 53:

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                                                            Page 11
                       PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
       Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2220 Page 82 of 316




                      All versions of SIB 11 09 09 (including all past versions and any pending
            2   updates).
            3   REQUEST FOR PRODUCTION NO. 54:

            4         All versions of SIB 11 08 11 (including all past versions and any pending
            5   updates).
            6   REQUEST FOR PRODUCTION NO. 55:

            7         All DOCUMENTS which evidence, describe, refer, or relate to YOUR rules,
            8   policies, or procedures since 2009 concerning the issuance of refunds to buyers or
            9   providing replacement vehicles to buyers in the State of California under the Song-
           10   Beverly Consumer Warranty Act.
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p..        11   REQUEST FOR PRODUCTION NO. 56:
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           12         All training manuals and/or other DOCUMENTS relating to the training
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u          13   given to YOUR employees, agents, and representatives, since 2011, in connection
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p..        14   with handling LEMON LAW repurchase requests.
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           15   REQUEST FOR PRODUCTION NO. 57:
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u          16         All LEMON LAW DOCUMENTS published by YOU and provided to
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<          17   YOUR employees, agents, and representatives.
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           18   REQUEST FOR PRODUCTION NO. 58:

           19         All DOCUMENTS relating to any qualified third party dispute resolution
           20   program which YOU participate in, since 2009, and which complies with the
           21   requirements of California Civil Code section 1793.22.
           22   REQUEST FOR PRODUCTION NO. 59:

           23         All DOCUMENTS, including electronically stored infonnation and
           24   electronic mails, regarding any communications between YOU and any government
           25   agency or entity (e.g. National Highway Traffic Safety Administration ("NHTSA"))
           26   regarding the OIL CONSUMPTION DEFECT in 2009 BMW 750Li vehicles.
           27   REQUEST FOR PRODUCTION NO. 60:

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                                                       Page 12
                  PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
        Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2221 Page 83 of 316




                       All Technical Service Bulletins, Service Infonnation Bulletins, Recalls,
             2   and/or Campaigns, pertaining to the ENGINE DEFECT in 2009 BMW 750Li
             3   vehicles.
             4   REQUEST FOR PRODUCTION NO. 61:

             5         All DOCUMENTS pertaining to the Technical Service Bulletins, Service
             6   Information Bulletins, Recalls and/or Campaigns regarding the ENGINE DEFECT
             7   in 2009 BMW 750Li vehicles which discuss or analyze the creation, need,
             8   justification, or scope of such Bulletins, Recalls and/or Campaigns.
             9   REQUEST FOR PRODUCTION NO. 62:

            10         All DOCUMENTS relied upon, in whole or in part, in the creation of
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~           11   Technical Service Bulletins, Service Information Bulletins, Recalls and/or
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            12   Campaigns regarding the ENGINE DEFECT in 2009 BMW 750Li vehicles.
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            13   REQUEST FOR PRODUCTION NO. 63:
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~           14         All DOCUMENTS, including electronically stored information, concerning
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            15   any internal investigation, analysis, root-cause analysis, or testing by YOU or on
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                 YOUR behalf regarding the ENGINE DEFECT in 2009 BMW 750Li vehicles.
                 REQUEST FOR PRODUCTION NO. 64:
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CfJ         18         All emails in YOUR possession, custody, and/or control, regarding any
            19   internal investigation, analysis, root-cause analysis and/or testing by YOU or on
            20   YOUR behalf regarding the ENGINE DEFECT in 2009 BMW 750Li vehicles.
            21   REQUEST FOR PRODUCTION NO. 65:

            22         All PuMA Reports, PuMA Measures, and/or PuMA Counter-Measures
            23   regarding the ENGINE DEFECT in 2009 BMW 750Li vehicles.
            24   REQUEST FOR PRODUCTION NO. 66:

            25         All Technical Service Bulletins, Service Infonnation Bulletins, Recalls,
            26   and/or Campaigns, pertaining to the ENGINE DEFECT in 2009 BMW vehicles
            27   with the N63 engine.
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                                                         Page 13
                   PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
          Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2222 Page 84 of 316




                   1   REQUEST FOR PRODUCTION NO. 67:

               2             All DOCUMENTS pertaining to the Technical Service Bulletins, Service
               3       Infonnation Bulletins, Recalls and/or Campaigns regarding the ENGINE DEFECT
               4       in 2009 BMW vehicles with the N63 engine vehicles which discuss or analyze the
               5       creation, need, justification, or scope of such Bulletins, Recalls and/or Campaigns.
               6       REQUEST FOR PRODUCTION NO. 68:

               7             All DOCUMENTS relied upon, in whole or in part, in the creation of
               8       Technical Service Bulletins, Service Information Bulletins, Recalls and/or
               9       Campaigns regarding the ENGINE DEFECT in 2009 BMW vehicles with the N63
              10       engme.
 u                     REQUEST FOR PRODUCTION NO. 69:
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  r:f)    0   12             All DOCUMENTS, including electronically stored infonnation, concerning
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              13       any internal investigation, analysis, root-cause analysis, or testing by YOU or on
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il.; ~        14       YOUR behalf regarding the ENGINE DEFECT in 2009 BMW vehicles with the
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~j            15       N63 engine.
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 ...... ;:;   16       REQUEST FOR PRODUCTION NO. 70:
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 -..::    G   17             All emails in YOUR possession, custody, and/or control, regarding any
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lfJ           18       internal investigation, analysis, root-cause analysis and/or testing by YOU or on
              19       YOUR behalf regarding the ENGINE DEFECT in 2009 BMW vehicles with the
              20       N63 engine.
              21       REQUEST FOR PRODUCTION NO. 71:

              22             All PuMA Reports, PuMA Measures, and/or PuMA Counter-Measures
              23       regarding the ENGINE DEFECT in 2009 BMW vehicles with the N63 engine.
              24       Dated: December 13, 2017              STRATEGIC LEGAL PRACTICES, APC
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                                                               Page 14
                         PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
                                            Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2223 Page 85 of 316



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                                                                                         2   Eleazar D. Kim (SBN 297876)
                                                                                             e-mail: ekim@slpattorney.com
                                                                                         3   STRATEGIC LEGAL PRACTICES
                                                                                             A PROFESSIONAL CORPORATION
                                                                                         4   1840 Century Park East, Suite 430
                                                                                             Los Angeles, CA 90067
                                                                                         5
                                                                                             Telephone: (310) 929-4900
                                                                                         6   Facsimile: (310) 943-3838

                                                                                         7   Attorneys for Plaintiff IAN MCDONALD

                                                                                         8
                                                                                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                         9
                                                                                                             COUNTY OF SAN DIEGO – UNLIMITED JURISDICTION
                                                                                        10

                                                                                        11                                                       Case No.: 37-2017-00025907-CU-BC-CTL
A PROFESSIONAL CORPORATION




                                                                                             IAN MCDONALD,
                             1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067
 STRATEGIC LEGAL PRACTICES




                                                                                        12                                                       Case Initiated: July 14, 2017
                                                                                                             Plaintiff,
                                                                                        13                                                       Hon. Richard E. L. Strauss
                                                                                                 vs.                                             Dept. C-75
                                                                                        14
                                                                                             BMW OF NORTH AMERICA, LLC; and                      PLAINTIFF’S REQUESTS FOR
                                                                                        15   DOES 1 through 10, inclusive,                       PRODUCTION OF DOCUMENTS TO
                                                                                                                                                 DEFENDANT, SET ONE
                                                                                        16
                                                                                                           Defendants.
                                                                                        17

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                                                                                        19
                                                                                             PROPOUNDING PARTY:            Plaintiff IAN MCDONALD
                                                                                        20
                                                                                             RESPONDING PARTY:             Defendant BMW OF NORTH AMERICA, LLC
                                                                                        21
                                                                                             SET NUMBER:                   One
                                                                                        22

                                                                                        23             Plaintiff IAN MCDONALD, by and through his counsel of record, STRATEGIC LEGAL
                                                                                        24   PRACTICES, A PROFESSIONAL CORPORATION, hereby requests, pursuant to Code of Civil
                                                                                        25   Procedure section 2031(a)(1), that Defendant BMW OF NORTH AMERICA, LLC, respond in
                                                                                        26   writing to said Plaintiff and produce each and every item which is either specifically described or
                                                                                        27   reasonably particularized in a category listed below and which are within its possession, custody,
                                                                                        28
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                                                                                         1   or control. Plaintiff request that Defendant’s response to this request shall be signed under oath

                                                                                         2   and shall be served and produced on it no later than thirty (30) days after service of this request

                                                                                         3   (plus [2] business days for overnight mailing), at Strategic Legal Practices, A Professional

                                                                                         4   Corporation, 1840 Century Park East, Suite 430, Los Angeles, California 90067.

                                                                                         5                                           INSTRUCTIONS

                                                                                         6          1.      Answer each request separately and fully in writing and under oath, unless

                                                                                         7          it is objected to, in which event the reasons for such objection must be stated in lieu

                                                                                         8          of an answer.

                                                                                         9          2.      If an objection is being made based on attorney-client or attorney work

                                                                                        10          product privileges, please produce a privilege log identifying the date of the

                                                                                        11          document, the name/type of the document, the author/publisher of the document,
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                                                                                        12          and the recipient of the document.

                                                                                        13          3.      To the extent a particular request calls for the production electronically

                                                                                        14          stored information, please identify in your responses the database which was

                                                                                        15          searched and all other databases which may contain responsive documents but

                                                                                        16          which have not been searched.

                                                                                        17          4.      You are under a continuing duty to seasonably supplement your response

                                                                                        18          with respect to any question when new or additional information becomes known.

                                                                                        19          Additionally, you are under a continuing duty to seasonably amend a prior response

                                                                                        20          if you obtain information upon the basis of which you know that the response was

                                                                                        21          incorrect when made, or that the response, though correct when made, is no longer

                                                                                        22          correct or true.

                                                                                        23                              DEFINITIONS AND EXPLANATIONS

                                                                                        24          1.      The term “YOU,” “YOUR,” and “DEFENDANT” shall mean Defendant

                                                                                        25          BMW OF NORTH AMERICA, LLC and any and all agents, representatives,

                                                                                        26          assigns, successors, dealerships, individuals, and/or businesses who represent

                                                                                        27          themselves to be affiliated with, or work for, BMW OF NORTH AMERICA, LLC.

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                                                                                         1      2.     The term “DOCUMENT” shall be interpreted in accordance with California

                                                                                         2      Evidence Code section 250 and also to include electronic mails and electronically

                                                                                         3      stored information.

                                                                                         4      3.     The term “PERSON” means and includes natural persons, corporations,

                                                                                         5      partnerships, associations, or any type of entity, and agents, servants, employees

                                                                                         6      and representatives thereof.

                                                                                         7      4.     The term “SUBJECT VEHICLE” means the 2012 BMW 650ICP; Vehicle

                                                                                         8      Identification Number WBALZ3C50CDL71259, owned by Plaintiff.

                                                                                         9      5.     The term “BMW VEHICLES” refers to all vehicles of the same make,

                                                                                        10      model, and year as the SUBJECT VEHICLE.

                                                                                        11      6.     The term “ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S)” shall
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                                                                                        12      be understood to mean such defects which result in symptoms, including but not

                                                                                        13      limited to, excessive burning off of engine oil; excessive oil consumption;

                                                                                        14      symptoms necessitating excessively frequent oil top-offs/top-ups; symptoms

                                                                                        15      necessitating the premature replacement of the high PSI pump; symptoms causing

                                                                                        16      premature replacement of the high pressure vacuum pump; symptoms

                                                                                        17      necessitating the premature replacement of the high pressure vacuum pump;

                                                                                        18      premature failure of the fuel injectors; symptoms necessitating the premature

                                                                                        19      replacement of fuel injectors; premature failure of the PCV tubes; symptoms

                                                                                        20      necessitating the premature replacement of PCV tubes; premature failure of the

                                                                                        21      intake gaskets; symptoms necessitating the premature replacement of intake

                                                                                        22      gaskets; symptoms causing premature failure of the low PSI fuel line w/sensor;

                                                                                        23      symptoms necessitating the premature failure of low PSI fuel line w/ sensor;

                                                                                        24      symptoms necessitating the inspection of the timing chain; the subject vehicle not

                                                                                        25      starting; internal engine seizure, premature failure of the engine; symptoms

                                                                                        26      necessitating the premature replacement of oil coolers; symptoms necessitating

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                                                                                         1      the premature replacement of the engine; and any other engine/oil consumption

                                                                                         2      concern identified in the repair history for SUBJECT VEHICLE.

                                                                                         3      7.     The term “REPAIR DOCUMENTS” shall mean any and all documents

                                                                                         4      which describe, outline, detail, or otherwise specify diagnostic and repair

                                                                                         5      procedures to be used by Defendant’s technicians. Such term shall be understood

                                                                                         6      to include, but not be limited to, relevant portions of the Workshop Manual and/or

                                                                                         7      Test Plans, Technical Service Bulletins, Recall Notices, Special Service Messages,

                                                                                         8      Campaign Bulletins, Diagnostic Flow Charts, Diagnostic Trouble Code or Fault

                                                                                         9      Code Diagnosis Keys, power point presentations, internal investigation reports,

                                                                                        10      field reports, causal factor analyses, failed component analyses, and/or any other

                                                                                        11      document which refer to, relate, or concern the repairs performed by Defendant’s
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                                                                                        12      technicians.

                                                                                        13      8.     The term “LEMON LAW DOCUMENTS” means any and all documents

                                                                                        14      relating to Defendant’s handling of state Lemon Law obligations, including but not

                                                                                        15      limited to documents describing Lemon Law Situations, Lemon Law Prevention,

                                                                                        16      Repeat Repair Attempts, Consumer Protection Laws, Lemon Laws, Lemon Law

                                                                                        17      Manuals, Lemon Law Complaints, and Magnusson Moss Act, State lemon Laws

                                                                                        18      and/or Lemon Law advice. This term includes portions of any and all manuals

                                                                                        19      containing discussions of state Lemon Law requirements, Defendant’s policies and

                                                                                        20      procedures regarding ensuring compliance with state Lemon Law requirements,

                                                                                        21      Defendant’s instructions to its employees, agents, and representatives regarding

                                                                                        22      state Lemon Law requirements, Defendant’s policies and procedures regarding

                                                                                        23      repeat repair visits, Defendant’s policies and procedures regarding defect reporting,

                                                                                        24      Defendant’s policies and procedures regarding technical service bulletin drafting,

                                                                                        25      Defendant’s policies and procedures regarding recall drafting, Defendant’s policies

                                                                                        26      and procedures regarding Lemon Law prevention, Defendant’s policies and

                                                                                        27      procedures regarding warranty claims, etc.

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                                                                                         1                                  REQUESTS FOR PRODUCTION

                                                                                         2   REQUEST FOR PRODUCTION NO. 1:

                                                                                         3          All DOCUMENTS relating to, referring to, or concerning the SUBJECT VEHICLE.

                                                                                         4   REQUEST FOR PRODUCTION NO. 2:

                                                                                         5          All written warranties issued by YOU and/or YOUR authorized repair facility(s) regarding

                                                                                         6   the SUBJECT VEHICLE. [This request is being made to obtain an authentic, unaltered copy.]

                                                                                         7   REQUEST FOR PRODUCTION NO. 3:

                                                                                         8          All manuals provided to consumers in connection with their purchase or lease of vehicles

                                                                                         9   the same year, make, and model as the SUBJECT VEHICLE. [This request is being made to

                                                                                        10   obtain an authentic, unaltered copy.]

                                                                                        11   REQUEST FOR PRODUCTION NO. 4:
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                                                                                        12          All records, invoices, and other documentation relating to Plaintiff IAN MCDONALD’s

                                                                                        13   (hereinafter “Plaintiff”) purchase of the SUBJECT VEHICLE from YOUR authorized retailer.

                                                                                        14   REQUEST FOR PRODUCTION NO. 5:

                                                                                        15          All repair orders pertaining to the SUBJECT VEHICLE in YOUR possession. [This

                                                                                        16   request will be interpreted to include any and all documents associated with a particular repair

                                                                                        17   order, as maintained by YOUR authorized repair facility(s) in the regular course of business.]

                                                                                        18   REQUEST FOR PRODUCTION NO. 6:

                                                                                        19          The warranty repair history relating to the SUBJECT VEHICLE as kept in its ordinary

                                                                                        20   course of business by YOU. [This request will be interpreted to include all computer records

                                                                                        21   evidencing monetary amounts reimbursed to YOUR authorized repair facility(s).]

                                                                                        22   REQUEST FOR PRODUCTION NO. 7:

                                                                                        23          The Warranty Policy and Procedure Manual published by YOU and provided to YOUR

                                                                                        24   authorized repair facility(s), within the state of California, from 2012 to the present. [This request

                                                                                        25   will be understood to include production of any and all versions of such manual as distributed to

                                                                                        26   YOUR dealerships during the relevant time frame].

                                                                                        27   REQUEST FOR PRODUCTION NO. 8:

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                                                                                         1          All LEMON LAW DOCUMENTS published by YOU and provided to YOUR employees,

                                                                                         2   agents, and representatives. [This request shall also be understood to include copies of any and

                                                                                         3   all documents identified in YOUR response to Plaintiff’s Special Interrogatory No. 8.]

                                                                                         4   REQUEST FOR PRODUCTION NO. 9:

                                                                                         5          All REPAIR DOCUMENTS relating to the SUBJECT VEHICLE. [This request shall

                                                                                         6   also be understood to include copies of any and all documents identified in YOUR response to

                                                                                         7   Plaintiff’s Special Interrogatory No. 7.]

                                                                                         8   REQUEST FOR PRODUCTION NO. 10:

                                                                                         9          A copy of the Workshop Manual and/or Test Plans specifying diagnosis and repair

                                                                                        10   procedures for BMW VEHICLES.

                                                                                        11   REQUEST FOR PRODUCTION NO. 11:
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                                                                                        12          All DOCUMENTS that refer to, relate to, and/or concern any communications between

                                                                                        13   YOU and YOUR authorized repair facilities concerning the SUBJECT VEHICLE.

                                                                                        14   REQUEST FOR PRODUCTION NO. 12:

                                                                                        15          All DOCUMENTS, including but not limited to electronic mails, internal reports, power

                                                                                        16   point presentations, where the issues identified in TSB SIB 11-03-13 were discussed.

                                                                                        17   REQUEST FOR PRODUCTION NO. 13:

                                                                                        18          All DOCUMENTS which refer to, relate to, and/or reflect TSB SIB 11-03-13, including

                                                                                        19   all past versions, present versions, updates currently pending, and all documents concerning any

                                                                                        20   such update/revision.

                                                                                        21   REQUEST FOR PRODUCTION NO. 14:

                                                                                        22          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        23   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

                                                                                        24   agents, representatives, or employees to YOU which provide YOU with information relating to

                                                                                        25   common parts failures in BMW VEHICLES.

                                                                                        26   REQUEST FOR PRODUCTION NO. 15:

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                                                                                         1          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                         2   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

                                                                                         3   agents, representatives, or employees to YOU which provide YOU with information relating to

                                                                                         4   warranty parts replacement trends in BMW VEHICLES.

                                                                                         5   REQUEST FOR PRODUCTION NO. 16:

                                                                                         6          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                         7   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

                                                                                         8   agents, representatives, or employees to YOU which provide YOU with information relating to

                                                                                         9   suggested repair procedures for commonly observed problems in BMW VEHICLES.

                                                                                        10   REQUEST FOR PRODUCTION NO. 17:

                                                                                        11          All DOCUMENTS, including but not limited to electronically stored information and
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                                                                                        12   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

                                                                                        13   agents, representatives, or employees to YOU which provide YOU with information relating to

                                                                                        14   repeat repair failures in BMW VEHICLES.

                                                                                        15   REQUEST FOR PRODUCTION NO. 18:

                                                                                        16          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        17   electronic mails, concerning or relating to any internal analysis or investigation by YOU or on

                                                                                        18   YOUR behalf regarding ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in BMW

                                                                                        19   VEHICLES. [This request shall be interpreted to include, but not be limited to, any such

                                                                                        20   investigation to determine the root cause of such ENGINE/OIL CONSUMPTION SYSTEM

                                                                                        21   DEFECT(S), any such investigation to design a permanent repair procedure for such

                                                                                        22   ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S), any such investigation into the failure

                                                                                        23   rates of parts associated with such ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S), any

                                                                                        24   cost analysis for implementing proposed repair procedures, any savings analysis not

                                                                                        25   implementing proposed repair procedures, etc.]

                                                                                        26   REQUEST FOR PRODUCTION NO. 19:

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                                                                                         1          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                         2   electronic mails, concerning or relating to any communications YOU have had regarding

                                                                                         3   ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in BMW VEHICLES.

                                                                                         4   REQUEST FOR PRODUCTION NO. 20:

                                                                                         5          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                         6   electronic mails, concerning or relating to any communications YOU have had regarding

                                                                                         7   customer concerns relating to the ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in

                                                                                         8   BMW VEHICLES.

                                                                                         9   REQUEST FOR PRODUCTION NO. 21:

                                                                                        10          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        11   electronic mails, concerning or relating to any decision to issue any notices, letters, campaigns,
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                                                                                        12   warranty extensions, technical service bulletins and recalls concerning the ENGINE/OIL

                                                                                        13   CONSUMPTION SYSTEM DEFECT(S) in BMW VEHICLES.

                                                                                        14   REQUEST FOR PRODUCTION NO. 22:

                                                                                        15          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        16   electronic mails, concerning or relating in any way to any decision to modify the engine/oil

                                                                                        17   consumption system, and/or any of its related parts, in BMW VEHICLES.

                                                                                        18   REQUEST FOR PRODUCTION NO. 23:

                                                                                        19          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        20   electronic mails, concerning customer complaints, claims, reported failures, and warranty claims

                                                                                        21   related to ENGINE/OIL CONSUMPTION SYSTEM DEFECTS in BMW VEHICLES, including

                                                                                        22   but not limited to any databases in YOUR possession with information from dealers, service

                                                                                        23   departments, parts departments, or warranty departments, and all documents concerning YOUR

                                                                                        24   response to each complaint, claim or reported failure.

                                                                                        25   REQUEST FOR PRODUCTION NO. 24:

                                                                                        26          All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        27   electronic mails, concerning customer complaints, claims, reported failures, and warranty claims

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                                                                                         1   related to ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in vehicles of the same year,

                                                                                         2   make, and model as the SUBJECT VEHICLE, including but not limited to any databases in

                                                                                         3   YOUR possession with information from dealers, service departments, parts departments, or

                                                                                         4   warranty departments, and all documents concerning YOUR response to each complaint, claim

                                                                                         5   or reported failure.

                                                                                         6   REQUEST FOR PRODUCTION NO. 25:

                                                                                         7            All DOCUMENTS, including but not limited to electronically stored information and

                                                                                         8   electronic mails, concerning failure rates of BMW VEHICLES as a result of ENGINE/OIL

                                                                                         9   CONSUMPTION SYSTEM DEFECT(S).

                                                                                        10   REQUEST FOR PRODUCTION NO. 26:

                                                                                        11            All DOCUMENTS, including but not limited to electronically stored information and
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                                                                                        12   electronic mails, concerning or relating to any fixes for ENGINE/OIL CONSUMPTION

                                                                                        13   SYSTEM DEFECT(S) in BMW VEHICLES.

                                                                                        14   REQUEST FOR PRODUCTION NO. 27:

                                                                                        15            All DOCUMENTS between YOU and any parts manufacturer or material supplier

                                                                                        16   concerning problems or potential problems or concerns about the performance and/or durability

                                                                                        17   of the engines used in BMW VEHICLES.

                                                                                        18   REQUEST FOR PRODUCTION NO. 28:

                                                                                        19            All DOCUMENTS which refer to, reflect, or relate to any technical service bulletin issued,

                                                                                        20   or in the process of being issued, for BMW VEHICLES.

                                                                                        21   REQUEST FOR PRODUCTION NO. 29:

                                                                                        22            All DOCUMENTS which refer to, reflect, or relate to any recall issued, or in the process

                                                                                        23   of being issued, for BMW VEHICLES.

                                                                                        24   ///

                                                                                        25   REQUEST FOR PRODUCTION NO. 30:

                                                                                        26            All DOCUMENTS which refer to, reflect, or relate to any Special Service Message issued,

                                                                                        27   or in the process of being issued, for BMW VEHICLES.

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                                                                                         1   REQUEST FOR PRODUCTION NO. 31:

                                                                                         2            All DOCUMENTS which refer to, reflect, or relate to any Campaign issued, or in the

                                                                                         3   process of being issued, for BMW VEHICLES.

                                                                                         4   REQUEST FOR PRODUCTION NO. 32:

                                                                                         5            All DOCUMENTS which refer to, reflect, or relate to any warranty extension that has

                                                                                         6   been issued, or is in the process of being issued, for BMW VEHICLES.

                                                                                         7   REQUEST FOR PRODUCTION NO. 33:

                                                                                         8            All DOCUMENTS, including but not limited to electronically stored information, setting

                                                                                         9   forth YOUR document retention policy from 2012 to the present, including but not limited to

                                                                                        10   retention policies for electronic data and communications.

                                                                                        11   REQUEST FOR PRODUCTION NO. 34:
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                                                                                        12            Any and all audio or video tape recordings involving any discussions concerning the

                                                                                        13   SUBJECT VEHICLE.

                                                                                        14   REQUEST FOR PRODUCTION NO. 35:

                                                                                        15            YOUR dealership agreement with BMW of Encinitas in Encinitas, California.

                                                                                        16   REQUEST FOR PRODUCTION NO. 36:

                                                                                        17            YOUR dealership agreement with BMW of Escondido in Escondido, California.

                                                                                        18   REQUEST FOR PRODUCTION NO. 37:

                                                                                        19            All DOCUMENTS which refer to, reflect, or relate to any and all expert witness opinions

                                                                                        20   and/or reports that YOU have used or received in any proceeding with respect to DEFECTS in

                                                                                        21   BMW VEHICLES.

                                                                                        22   REQUEST FOR PRODUCTION NO. 38:

                                                                                        23            All DOCUMENTS which refer to, reflect, or relate to any and all expert witness opinions

                                                                                        24   and/or reports that YOU have used or received in any proceeding with respect to ENGINE/OIL

                                                                                        25   CONSUMPTION SYSTEM DEFECT(S) in BMW VEHICLES.

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                                                                                         1   REQUEST FOR PRODUCTION NO. 39:

                                                                                         2          All certified copies of transcripts for the depositions of YOUR designated Person Most

                                                                                         3   Qualified/Knowledgeable relating to ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in

                                                                                         4   YOUR vehicles.

                                                                                         5   REQUEST FOR PRODUCTION NO. 40:

                                                                                         6          All DOCUMENTS relied upon by YOU in formulating YOUR Answer in the instant

                                                                                         7   action, including YOUR affirmative defenses.

                                                                                         8   REQUEST FOR PRODUCTION NO. 41:

                                                                                         9          All DOCUMENTS relied upon by YOU in support of YOUR contention that YOU were

                                                                                        10   under no obligation to promptly replace or repurchase the SUBJECT VEHICLE.

                                                                                        11   REQUEST FOR PRODUCTION NO. 42:
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                                                                                        12          All DOCUMENTS that refer to, relate to, and/or concern any communications between

                                                                                        13   YOU and Plaintiff, or someone on Plaintiff’s behalf, concerning the SUBJECT VEHICLE.

                                                                                        14   REQUEST FOR PRODUCTION NO. 43:

                                                                                        15          All DOCUMENTS that YOU use to evaluate consumers’ requests for repurchases

                                                                                        16   pursuant to the Song Beverly Consumer Warranty Act.

                                                                                        17   REQUEST FOR PRODUCTION NO. 44:

                                                                                        18          All DOCUMENTS which evidence, describe, refer, or relate to YOUR rules, policies, or

                                                                                        19   procedures since 2012 concerning the issuance of refunds to buyers or providing replacement

                                                                                        20   vehicles to buyers in the State of California under the Song-Beverly Consumer Warranty Act.

                                                                                        21   REQUEST FOR PRODUCTION NO. 45:

                                                                                        22          All DOCUMENTS which evidence, describe, refer, or relate to procedures used by YOU

                                                                                        23   for the handling of complaints by consumers regarding vehicles YOU manufactured or

                                                                                        24   distributed.

                                                                                        25   REQUEST FOR PRODUCTION NO. 46:

                                                                                        26          All DOCUMENTS which evidence, describe, refer, or relate to scripts, job prompts,

                                                                                        27   outlines, or any other tool used by YOUR customer service agents in response to customer calls

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                                                                                         1   to YOUR call center concerning ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in

                                                                                         2   BMW VEHICLES.

                                                                                         3   REQUEST FOR PRODUCTION NO. 47:

                                                                                         4           All DOCUMENTS issued by YOU or on YOUR behalf which evidence, describe, refer,

                                                                                         5   or relate to policies, procedures, and/or instructions since 2012 that YOUR employees and agents

                                                                                         6   should follow when evaluating a customer request for a refund of the price paid for a vehicle or

                                                                                         7   replacement of a new vehicles manufactured or distributed by YOU.

                                                                                         8   REQUEST FOR PRODUCTION NO. 48:

                                                                                         9           All DOCUMENTS issued by YOU or on YOUR behalf which evidence, describe, refer,

                                                                                        10   or relate to policies, procedures, and/or instructions since 2012 which YOUR employees and

                                                                                        11   authorized agents should follow after a decision has been made by YOU to authorize either a
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                                                                                        12   refund of the purchase price, or a replacement vehicle, to YOUR customer.

                                                                                        13   REQUEST FOR PRODUCTION NO. 49:

                                                                                        14           All DOCUMENTS, including but not limited to electronically stored information and

                                                                                        15   electronic mails, concerning or relating to all BMW VEHICLES, which were repurchased or

                                                                                        16   replaced by YOU.

                                                                                        17   REQUEST FOR PRODUCTION NO. 50:

                                                                                        18           All Vehicle Warranty History Reports for the repurchased or replaced vehicles identified

                                                                                        19   in      YOUR         response       to      Request         for    Production      No.      49.

                                                                                        20   REQUEST FOR PRODUCTION NO. 51:

                                                                                        21           All DOCUMENTS which evidence YOUR organizational charts of people within YOUR

                                                                                        22   customer service call center or prelitigation department.

                                                                                        23   REQUEST FOR PRODUCTION NO. 52:

                                                                                        24           All written agreements with any PERSON concerning the management, oversight,

                                                                                        25   coordination, and handling of YOUR customer service call center.

                                                                                        26   REQUEST FOR PRODUCTION NO. 53:

                                                                                        27           All DOCUMENTS from 2012 to the present related to YOUR goals to reduce the number

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                                                                                         1   of repurchases or vehicle replacements.

                                                                                         2   REQUEST FOR PRODUCTION NO. 54:

                                                                                         3          All DOCUMENTS from 2012 to the present related to YOUR goals to reduce the costs

                                                                                         4   associated with repurchases or replacements, including all warranty trend reports for this period.

                                                                                         5   REQUEST FOR PRODUCTION NO. 55:

                                                                                         6          All DOCUMENTS reflecting YOUR plans, policies, procedures, programs, or measures

                                                                                         7   for achieving any of YOUR warranty buyback reduction goals.

                                                                                         8   REQUEST FOR PRODUCTION NO. 56:

                                                                                         9          All DOCUMENTS concerning periodic reports received by YOU concerning the number

                                                                                        10   of repurchases or replacements authorized by YOUR agents, representatives, and employees from

                                                                                        11   2012 to the present.
A PROFESSIONAL CORPORATION
                             1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067
 STRATEGIC LEGAL PRACTICES




                                                                                        12   REQUEST FOR PRODUCTION NO. 57:

                                                                                        13          All DOCUMENTS relating to any qualified third party dispute resolution program which

                                                                                        14   YOU participate in and which complies with the requirements of California Civil Code section

                                                                                        15   1793.22.

                                                                                        16   REQUEST FOR PRODUCTION NO. 58:

                                                                                        17          All DOCUMENTS provided to any qualified third party dispute resolution program in

                                                                                        18   which YOU participate regarding, reflecting, or concerning YOUR policies and/or procedures

                                                                                        19   regarding the Song Beverly Consumer Warranty Act.

                                                                                        20   REQUEST FOR PRODUCTION NO. 59:

                                                                                        21          All training manuals and/or other DOCUMENTS relating to the training given to YOUR

                                                                                        22   employees, agents, and representatives in connection with handling consumer lemon law

                                                                                        23   repurchase requests.

                                                                                        24   REQUEST FOR PRODUCTION NO. 60:

                                                                                        25          All DOCUMENTS, including electronically stored information and electronic mails,

                                                                                        26   regarding any communications between YOU and any government agency or entity (e.g. National

                                                                                        27   Highway Traffic Safety Administration (“NHTSA”)) regarding ENGINE/OIL CONSUMPTION

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                                                                                         1   SYSTEM DEFECT(S) in BMW VEHICLES.

                                                                                         2   REQUEST FOR PRODUCTION NO. 61:

                                                                                         3          All National Highway Traffic Safety Administration (“NHTSA”) complaints in YOUR

                                                                                         4   possession that relate to ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in BMW

                                                                                         5   VEHICLES.

                                                                                         6   REQUEST FOR PRODUCTION NO. 62:

                                                                                         7          All Early Warning Reports (“EWR”) YOU submitted to the National Highway Traffic

                                                                                         8   Safety Administration (“NHTSA”) concerning BMW VEHICLES.

                                                                                         9   REQUEST FOR PRODUCTION NO. 63:

                                                                                        10          All Transportation Recall Enhancement, Accountability, and Documentation (“TREAD”)

                                                                                        11   reports YOU submitted concerning BMW VEHICLES.
A PROFESSIONAL CORPORATION
                             1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067
 STRATEGIC LEGAL PRACTICES




                                                                                        12   REQUEST FOR PRODUCTION NO. 64:

                                                                                        13          YOUR recall policy and procedure.

                                                                                        14   REQUEST FOR PRODUCTION NO. 65:

                                                                                        15          All DOCUMENTS related to any electronic mail, including but not limited to current,

                                                                                        16   backed-up and archived programs, accounts, unified messaging, server-based e-mail, Web-based

                                                                                        17   e-mail, dial-up e-mail, user names and addresses, domain names and addresses, e-mail messages,

                                                                                        18   attachments, manual and automated mailing lists and mailing list addresses, which in any way

                                                                                        19   relate to ENGINE/OIL CONSUMPTION SYSTEM DEFECT(S) in BMW VEHICLES.

                                                                                        20   REQUEST FOR PRODUCTION NO. 66:

                                                                                        21          All DOCUMENTS, including electronically stored information and electronic mails,

                                                                                        22   which YOU have produced in any lawsuit concerning ENGINE/OIL CONSUMPTION SYSTEM

                                                                                        23   DEFECT(S) in BMW VEHICLES.

                                                                                        24
                                                                                             Dated: December 4, 2017                    STRATEGIC LEGAL PRACTICES
                                                                                        25                                              A PROFESSIONAL CORPORATION
                                                                                        26                                              By: __________________________________
                                                                                        27                                                  Eleazar D. Kim, Attorney for Plaintiff
                                                                                                                                               IAN MCDONALD
                                                                                        28
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                                                                                                PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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   1
                                            PROOF OF SERVICE
   2
                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3           I am employed in the County of Los Angeles, State of California. I am over the age of
        18 and not a party to the within action. My business address is Strategic Legal Practices, 1840
   4                     Century Park East, Suite 430, Los Angeles, California 90067.
   5   On December 4, 2017, I served the document(s) described as:
   6    PLAINTIFF’S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT,
                                    SET ONE
   7
        on the interested parties in this action by sending [ ] the original [or] [✓] a true copy thereof
   8    [✓] to interested parties as follows [or] [ ] as stated on the attached service list:

   9           BOWMAN & BROOKE, LLP
               Brian Takahashi, Esq.
  10           Richard L. Stuhlbarg, Esq.
               970 W. 190th Street, Suite 700
  11           Torrance, CA 90502

  12     [ ]     BY MAIL (ENCLOSED IN A SEALED ENVELOPE): I deposited the envelope(s)
                 for mailing in the ordinary course of business at Los Angeles, California. I am “readily
                 familiar” with this firm’s practice of collection and processing correspondence for
  13             mailing. Under that practice, sealed envelopes are deposited with the U.S. Postal
                 Service that same day in the ordinary course of business with postage thereon fully
  14             prepaid at Los Angeles, California.
  15     [X]     BY E-MAIL: I hereby certify that this document was served from Los Angeles,
                 California, by e-mail delivery on the parties listed herein at their most recent known e-
  16             mail address or e-mail of record in this action.
  17     [ ]     BY FAX: I hereby certify that this document was served from Los Angeles, California,
                 by facsimile delivery on the parties listed herein at their most recent fax number of
  18             record in this action.
  19     [ ]     BY PERSONAL SERVICE: I caused the attached to be delivered, enclosed in a sealed
                 envelope, by hand to the offices of the addressee(s) named herein.
  20
         [X]     BY OVERNIGHT DELIVERY: I am “readily familiar” with this firm’s practice of
  21             collection and processing correspondence for overnight delivery. Under that practice,
                 overnight packages are enclosed in a sealed envelope with a packing slip attached
  22             thereto fully prepaid. The packages are picked up by the carrier at our offices or
                 delivered by our office to a designated collection site.
  23
              I declare under penalty of perjury under the laws of the State of California that the
  24   foregoing is true and correct.

  25           Executed this December 4, 2017, at Los Angeles, California.

  26
                                                                        Liana Bickford
  27

  28
                                                       Page 1
                                                PROOF OF SERVICE
           Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2238 Page 100 of 316




                    Rowena Santos, Esq. (State Bar No. 210185)
                    rsantos@slpattorney.com
                2   Eleazar D. Kim, Esq. (State Bar No. 297876)
                    ekim@slpattomey.com
                3   STRATEGIC LEGAL PRACTICES
                    A PROFESSIONAL CORPORATION
                4   1840 Century Park East, Suite 430
                    Los Angeles, CA 90067
                5
                    Telephone:    (310) 929-4900
                6   Facsimile:    (310) 943-3838

                7   Attorney for Plaintiff VLADIMIR OUZDIN
                8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                9
                                                 FOR THE COUNTY OF LOS ANGELES
               10

               11   VLADIMIR OUZDIN,                                     Case No.: BC686084
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               13                                                        Hon. Dalila Corral Lyons
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                    BMW OF NORTH AMERICA, LLC; a limited                 PLAINTIFF'S REQUESTS FOR
l.J   ~                                                                  PRODUCTION OF DOCUMENTS TO
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               15   liability company; STERLING BMW; and
                                                                         DEFENDANT, SET ONE
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               19   PROPOUNDING PARTY:             Plaintiff VLADIMIR OUZDIN
               20
                    RESPONDING PARTY:              Defendant BMW OF NORTH AMERICA, LLC
               21
                    SET NUMBER:                    One
               22

               23             Plaintiff VLADIMIR OUZDIN, by and through his counsel of record, STRATEGIC

               24   LEGAL PRACTICES, APC, hereby propounds, pursuant to Code of Civil Procedure section

               25   2033(a), the following Requests for Production of Documents to Defendant BMW OF NORTH

               26   AMERICA, LLC. Plaintiff requests that Defendant's response shall be signed under oath, unless

               27   it is objected to, in which event the reasons for such objection must be stated in lieu of an answer.

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                       Defendant's responses, together with any objections and the reasons therefor, shall be served and

                   2   produced to Plaintiff no later than thirty (30) days after service of this request (plus [5] days for

                   3   mailing), at Strategic Legal Practices, APC, 1840 Century Park East, Suite 430, Los Angeles,

                   4   California 90067.

                   5                                           INSTRUCTIONS

                   6           1.     Answer each request separately and fully in writing and under oath, unless

                   7          it is objected to, in which event the reasons for such objection must be stated in lieu

                   8          of an answer.

                   9          2.      If an objection is being made based on attorney-client or attorney work

                  10          product privileges, please produce a privilege log identifying the date of the

                  11          document, the name/type of the document, the author/publisher of the document,
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                  12          and the recipient of the document.
 VJ  - l5•
 w        ~
 S:!      ~       13          3.      To the extent a particular request calls for the production electronically
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~~                14          stored information, please identify in your responses the database which was
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                              searched and all other databases which may contain responsive documents but
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 w 5              16          which have not been searched.
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r.tl '!1          17          4.      You are under a continuing duty to seasonably supplement your response

                  18          with respect to any question when new or additional information becomes known.

                  19          Additionally, you are under a continuing duty to seasonably amend a prior response

                  20          if you obtain information upon the basis of which you know that the response was

                  21          incorrect when made, or that the response, though correct when made, is no longer

                  22          correct or true.

                  23                              DEFINITIONS AND EXPLANATIONS

                  24          1.      The term "YOU," "YOUR," and "DEFENDANT" shall mean Defendant

                  25          BMW OF NORTH AMERICA, LLC and any and all agents, representatives,

                  26          assigns, successors, dealerships, individuals, and/or businesses who represent

                  27          themselves to be affiliated with, or work for, BMW OF NORTH AMERICA, LLC.

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                          2.     The tenn "DOCUMENT" shall be interpreted in accordance with California

                 2        Evidence Code section 250 and also to include electronic mails and electronically

                 3        stored information.

                 4        3.     The term "PERSON" means and includes natural persons, corporations,

                 5        partnerships, associations, or any type of entity, and agents, servants, employees

                 6        and representatives thereof.

                 7        4.     The term "SUBJECT VEHICLE" means the 2012 BMW 5501, vehicle

                 8        identification number WBAFR9C53CDX79156, purchased by Plaintiff.

                 9        5.     The tenn "5501 VEHICLES" shall mean all vehicles of the same year,

                10        make, and model as the SUBJECT VEHICLE.

                11        6.     The term "OIL CONSUMPTION DEFECT(S)" shall be understood to
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<g   .,,        12        mean such defects which result in symptoms, including but not limited to,
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 ~       g      13        perfonnance of low mileage annual oil service; excessive frequent oil services;
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                14        excessive engine oil consumption; excessive burning off of engine oil; and/or any
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 a~.                      other similar concem(s) identified in the repair history for the SUBJECT
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                17        7.     The tenn "ENGINE DEFECT(S)" shall be understood to mean such defects

                18        which result in symptoms, including but not limited to, performance of SIB 11-06-

                19        14, SIB 11-16-14; illumination of warning lamp; illumination of"increased battery

                20        discharge" light; low voltage faults; battery to die; and/or any other similar

                21        concern(s) identified in the repair history for the SUBJECT VEHICLE.

                22        8.     The term "REPAIR DOCUMENTS" shall mean any and all documents

                23        which describe, outline, detail, or otherwise specify diagnostic and repair

                24        procedures to be used by Defendant's technicians. Such term shall be understood

                25        to include, but not be limited to, relevant portions of the Workshop Manual,

                26        Technical Service Bulletins, Recall Notices, Special Service Messages, Campaign

                27        Bulletins, Diagnostic Flow Charts, Diagnostic Trouble Code or Fault Code

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                          Diagnosis Keys, power point presentations, internal investigation reports, field

               2          reports, causal factor analyses, failed component analyses, and/or any other

               3          document which refer to, relate, or concern the repairs performed by Defendant's

               4          technicians.

               5          9.      The term "LEMON LAW DOCUMENTS" means any and all documents

               6          relating to Defendant's handling of state Lemon Law obligations, including but not

               7          limited to documents describing Lemon Law Situations, Lemon Law Prevention,

               8          Repeat Repair Attempts, Consumer Protection Laws, Lemon Laws, Lemon Law

               9          Manuals, Lemon Law Complaints, and Magnusson Moss Act, State lemon Laws

              10          and/or Lemon Law advice. This term includes portions of any and all manuals

              11          containing discussions of state Lemon Law requirements, Defendant's policies and
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      g       12          procedures regarding ensuring compliance with state Lemon Law requirements,
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 Sd g         13          Defendant's instructions to its employees, agents, and representatives regarding
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~~            14          state Lemon Law requirements, Defendant's policies and procedures regarding
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,'.j ~        15          repeat repair visits, Defendant's policies and procedures regarding defect reporting,
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              16          Defendant's policies and procedures regarding technical service bulletin drafting,
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              17          Defendant's policies and procedures regarding recall drafting, Defendant's policies

              18          and procedures regarding Lemon Law prevention, Defendant's policies and

              19          procedures regarding warranty claims, etc.

              20                                REQUESTS FOR PRODUCTION

              21   REQUEST FOR PRODUCTION NO. 1:

              22          All DOCUMENTS relating to, referring to, or concerning the SUBJECT VEHICLE.

              23   REQUEST FOR PRODUCTION NO. 2:

              24          All written warranties issued by YOU and/or YOUR authorized repair facility(s) regarding

              25   the SUBJECT VEHICLE. [This request is being made to obtain an authentic, unaltered copy.]

              26   REQUEST FOR PRODUCTION NO. 3:

             27           All manuals provided to consumers in connection with their purchase or lease of vehicles

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                       the same year, make, and model as the SUBJECT VEHICLE. [This request is being made to

                   2   obtain an authentic, unaltered copy.]

                   3   REQUEST FOR PRODUCTION NO. 4:

                   4           All records, invoices, and other documentation relating to Plaintiff VLADIMIR

                   5   OUZDIN's (hereinafter "Plaintiff') lease of the SUBJECT VEHICLE from YOUR authorized

                   6   retailer.

                   7   REQUEST FOR PRODUCTION NO. 5:

                   8           All repair orders pertaining to the SUBJECT VEHICLE in YOUR possession. [This

                   9   request will be interpreted to include any and all documents associated with a particular repair

                  10   order, as maintained by YOUR authorized repair facility(s) in the regular course of business.]

                  11   REQUEST FOR PRODUCTION NO. 6:
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                  12           The warranty repair history relating to the SUBJECT VEHICLE as kept in its ordinary
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                  13   course of business by YOU. [This request will be interpreted to include all computer records
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~~                14   evidencing monetary amounts reimbursed to YOUR authorized repair facility(s).]
 .....J   t=
0~                15   REQUEST FOR PRODUCTION NO. 7:
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G~                16           The Warranty Policy and Procedure Manual published by YOU and provided to YOUR
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c:<:;;                 authorized repair facility(s), within the state of California, from 2012 to the present. [This request
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                  18   will be understood to include production of any and all versions of such manual as distributed to

                  19   YOUR dealerships during the relevant time frame].

                  20   REQUEST FOR PRODUCTION NO. 8:

                  21           All LEMON LAW DOCUMENTS published by YOU and provided to YOUR employees,

                  22   agents, and representatives. [This request shall also be understood to include copies of any and

                  23   all documents identified in YOUR response to Plaintiffs Special Interrogatory No. 27.]

                  24   REQUEST FOR PRODUCTION NO. 9:

                  25           All REPAIR DOCUMENTS relating to the SUBJECT VEHICLE. [This request shall

                  26   also be understood to include copies of any and all documents identified in YOUR response to

                  27   Plaintiffs Special Interrogatory No. 26.]

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                     REQUEST FOR PRODUCTION NO. 10:

                 2           A copy of the Test Plans specifying diagnosis and repair procedures for vehicles of the

                 3   same year, make, and model as the SUBJECT VEHICLE.

                 4   REQUEST FOR PRODUCTION NO. 11:

                 5          All DOCUMENTS that refer to, relate to, and/or concern any communications between

                 6   YOU and YOUR authorized repair facilities concerning the SUBJECT VEHICLE.

                 7   REQUEST FOR PRODUCTION NO. 12:

                 8          All DOCUMENTS, including but not limited to electronic mails, internal reports, powe

                 9   point presentations, where the issues identified in TSB SIB 11-06-14 were discussed.

                10   REQUEST FOR PRODUCTION NO. 13:

                11          All DOCUMENTS which refer to, relate to, and/or reflect TSB SIB 11-06-14, including
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                12   all past versions, present versions, updates currently pending, and all documents concerning any
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~~              14   REQUEST FOR PRODUCTION NO. 14:
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0~              15          All DOCUMENTS, including but not limited to electronic mails, internal reports, power
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[:3    ~        16   point presentations, where the issues identified in TSB SIB 11-16-14 were discussed.
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en -            17   REQUEST FOR PRODUCTION NO. 15:

                18          All DOCUMENTS which refer to, relate to, and/or reflect diagnostic code TSB SIB 11-

                19   16-14, including all past versions, present versions, updates currently pending, and all documents

                20   concerning any such update/revision.

                21   REQUEST FOR PRODUCTION NO. 16:

                22          All DOCUMENTS, including but not limited to electronically stored information and

                23   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

                24   agents, representatives, or employees to YOU which provide YOU with information relating to

               25    common parts failures in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

               26    REQUEST FOR PRODUCTION NO. 17:

               27           All DOCUMENTS, including but not limited to electronically stored information and

               28
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                   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

               2   agents, representatives, or employees to YOU which provide YOU with information relating to

               3   warranty parts replacement trends in vehicles of the same year, make, and model as the SUBJECT

               4   VEHICLE.

               5   REQUEST FOR PRODUCTION NO. 18:

               6           All DOCUMENTS, including but not limited to electronically stored information and

               7   electronic mails, concerning, referring, or relating to any field technical reports from YOUR

               8   agents, representatives, or employees to YOU which provide YOU with information relating to

               9   suggested repair procedures for commonly observed problems in vehicles of the same year, make,

              10   and model as the SUBJECT VEHICLE.

              11   REQUEST FOR PRODUCTION NO. 19:
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<( ~          12           All DOCUMENTS, including but not limited to electronically stored information and
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 ~        §   13   electronic mails, concerning, referring, or relating to any field technical reports from YOUR
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g:        ~   14   agents, representatives, or employees to YOU which provide YOU with information relating to
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              15   repeat repair failures in vehicles of the same year, make, and model as the SUBJECT VEHICLE.
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              17           All DOCUMENTS, including but not limited to electronically stored information and

              18   electronic mails, concerning or relating to any internal analysis or investigation by YOU or on

              19   YOUR behalfregarding ENGINE DEFECTS in vehicles of the same year, make, and model as

              20   the SUBJECT VEHICLE. [This request shall be interpreted to include, but not be limited to, any

              21   such investigation to determine the root cause of such ENGINE DEFECTS, any such investigation

              22   to design a permanent repair procedure for such ENGINE DEFECTS, any such investigation into

              23   the failure rates of parts associated with such ENGINE DEFECTS, any cost analysis for

              24   implementing a proposed repair procedures, any savings analysis not implementing a proposed

              25   repair procedures, etc.]

              26   REQUEST FOR PRODUCTION NO. 21:

              27          All DOCUMENTS, including but not limited to electronically stored information and

              28
                                                                 Page 7
                      PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                  electronic mails, concerning or relating to any internal analysis or investigation by YOU or on

              2   YOUR behalf regarding OIL CONSUMPTION DEFECTS in vehicles of the same year, make,

              3   and model as the SUBJECT VEHICLE. [This request shall be interpreted to include, but not be

              4   limited to, any such investigation to determine the root cause of such OIL CONSUMPTION

              5   DEFECTS, any such investigation to design a permanent repair procedure for such OIL

              6   CONSUMPTION DEFECTS, any such investigation into the failure rates of parts associated with

              7   such OIL CONSUMPTION DEFECTS, any cost analysis for implementing a proposed repair

              8   procedures, any savings analysis not implementing a proposed repair procedures, etc.]

              9   REQUEST FOR PRODUCTION NO. 22:

             10           All DOCUMENTS, including but not limited to electronically stored information and

             11   electronic mails, concerning or relating to any communications YOU have had regarding
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<(           12   ENGINE DEFECTS in vehicles of the same year, make, and model as the SUBJECT VEHICLE.
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 u           13   REQUEST FOR PRODUCTION NO. 23:
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             15   electronic mails, concerning or relating to any communications YOU have had regarding OIL
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G            16   CONSUMPTION DEFECTS in vehicles of the same year, make, and model as the SUBJECT
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             17   VEHICLE.

             18   REQUEST FOR PRODUCTION NO. 24:

             19          All DOCUMENTS, including but not limited to electronically stored information and

             20   electronic mails, concerning or relating to any communications YOU have had regarding

             21   customer concerns relating to the engine in vehicles of the same year, make, and model as the

             22   SUBJECT VEHICLE.

             23   REQUEST FOR PRODUCTION NO. 25:

             24          All DOCUMENTS, including but not limited to electronically stored information and

             25   electronic mails, concerning or relating to any decision to issue any notices, letters, campaigns,

             26   warranty extensions, technical service bulletins and recalls concerning the ENGINE DEFECTS

            27    in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

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                 REQUEST FOR PRODUCTION NO. 26:

            2           All DOCUMENTS, including but not limited to electronically stored information and

            3   electronic mails, concerning or relating to any decision to issue any notices, letters, campaigns,

            4   warranty extensions, technical service bulletins and recalls concerning the OIL CONSUMPTION

            5   DEFECTS in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

            6   REQUEST FOR PRODUCTION NO. 27:

            7           All DOCUMENTS, including but not limited to electronically stored information and

            8   electronic mails, concerning or relating to any decision to issue any notices, letters, campaigns,

            9   warranty extensions, technical service bulletins and recalls concerning the engine in vehicles of

           10   the same year, make, and model as the SUBJECT VEHICLE.

           11   REQUEST FOR PRODUCTION NO. 28:
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-<(        12           All DOCUMENTS, including but not limited to electronically stored information and
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u          13   electronic mails, concerning or relating to any decision to issue any notices, letters, campaigns,
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~          14   warranty extensions, technical service bulletins and recalls concerning the transmission in
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           15   vehicles of the same year, make, and model as the SUBJECT VEHICLE.
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G          16   REQUEST FOR PRODUCTION NO. 29:
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           17           All DOCUMENTS, including but not limited to electronically stored information and

           18   electronic mails, concerning or relating in any way to any decision to modify the engine, and/or

           19   any ofits related parts, in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

           20   REQUEST FOR PRODUCTION NO. 30:

           21           All DOCUMENTS, including but not limited to electronically stored information and

           22   electronic mails, concerning customer complaints, claims, reported failures, and warranty claims

           23   related to ENGINE DEFECTS in vehicles of the same year, make, and model as the SUBJECT

           24   VEHICLE, including but not limited to any databases in YOUR possession with information from

           25   dealers, service departments, parts departments, or warranty departments, and all documents

           26   concerning YOUR response to each complaint, claim or reported failure.

           27   II

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                     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                 REQUEST FOR PRODUCTION NO. 31:

            2           All DOCUMENTS, including but not limited to electronically stored information and

            3    electronic mails, concerning customer complaints, claims, reported failures, and warranty claims

            4    related to OIL CONSUMPTION DEFECTS in vehicles of the same year, make, and model as the

            5    SUBJECT VEHICLE, including but not limited to any databases in YOUR possession with

            6    information from dealers, service departments, parts departments, or warranty departments, and

            7   all documents concerning YOUR response to each complaint, claim or reported failure.

            8   REQUEST FOR PRODUCTION NO. 32:

            9           All DOCUMENTS, including but not limited to electronically stored information and

           10   electronic mails, concerning customer complaints, claims, reported failures, and warranty claims

           11   related to engines in vehicles of the same year, make, and model as the SUBJECT VEHICLE,
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<l'.'. g   12   including but not limited to any databases in YOUR possession with information from dealers,
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           13   service departments, parts departments, or warranty departments, and all documents concerning
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~~         14   YOUR response to each complaint, claim or reported failure.
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w:;;       15   REQUEST FOR PRODUCTION NO. 33:
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S:? ~
l:l"       16           All DOCUMENTS, including but not limited to electronically stored information and
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rJ'j "2    17   electronic mails, concerning failure rates of vehicles of the same year, make, and model as the

           18   SUBJECT VEHICLE as a result of ENGINE DEFECTS.

           19   REQUEST FOR PRODUCTION NO. 34:

           20           All DOCUMENTS, including but not limited to electronically stored information and

           21   electronic mails, concerning failure rates of vehicles of the same year, make, and model as the

           22   SUBJECT VEHICLE as a result of OIL CONSUMPTION DEFECTS.

           23   REQUEST FOR PRODUCTION NO. 35:

           24           All DOCUMENTS, including but not limited to electronically stored information and

           25   electronic mails, concerning or relating to any fixes for ENGINE DEFECTS in vehicles of the

           26   same year, make, and model as the SUBJECT VEHICLE.

           27   II

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                     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                   REQUEST FOR PRODUCTION NO. 36:

               2          All DOCUMENTS, including but not limited to electronically stored information and

               3   electronic mails, concerning or relating to any fixes for OIL CONSUMPTION DEFECTS in

               4   vehicles of the same year, make, and model as the SUBJECT VEHICLE.

               5   REQUEST FOR PRODUCTION NO. 37:

               6          All DOCUMENTS between YOU and any parts manufacturer or material supplier

               7   concerning problems or potential problems or concerns about the performance and/or durability

               8   of the engines used in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

               9   REQUEST FOR PRODUCTION NO. 38:

              10          All DOCUMENTS which refer to, reflect, or relate to any technical service bulletin issued,

              11   or in the process of being issued, for vehicles of the same year, make, and model as the SUBJECT
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              13   REQUEST FOR PRODUCTION NO. 39:
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              14          All DOCUMENTS which refer to, reflect, or relate to any recall issued, or in the process
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a~-                of being issued, for vehicles of the same year, make, and model as the SUBJECT VEHICLE.
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G     ~       16   REQUEST FOR PRODUCTION NO. 40:
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cc::;;                    All DOCUMENTS which refer to, reflect, or relate to any Special Service Message issued,
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              18   or in the process of being issued, for vehicles of the same year, make, and model as the SUBJECT

              19   VEHICLE.

              20   REQUEST FOR PRODUCTION NO. 41:

              21          All DOCUMENTS which refer to, reflect, or relate to any Campaign issued, or in the

              22   process of being issued, for vehicles of the same year, make, and model as the SUBJECT

              23   VEHICLE.

              24   REQUEST FOR PRODUCTION NO. 42:

              25          All DOCUMENTS which refer to, reflect, or relate to any warranty extension that has

              26   been issued, or is in the process of being issued, for vehicles of the same year, make, and model

              27   as the SUBJECT VEHICLE.

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                      PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                   REQUEST FOR PRODUCTION NO. 43:

               2          All DOCUMENTS, including but not limited to electronically stored information, setting

               3   forth YOUR document retention policy from 2012 to the present, including but not limited to

               4   retention policies for electronic data and communications.

               5   REQUEST FOR PRODUCTION NO. 44:

               6          Any and all audio or video tape recordings involving any discussions concerning the

               7   SUBJECT VEHICLE.

               8   REQUEST FOR PRODUCTION NO. 45:

               9          YOUR dealership agreement with Sterling BMW in Newport Beach, California.

              10   REQUEST FOR PRODUCTION NO. 46:

              11          All DOCUMENTS which refer to, reflect, or relate to any and all expert witness opinions
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<( g          12   and/or reports that YOU have used or received in any proceeding with respect to DEFECTS in
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 ~    §       13   vehicles of the same year, make, and model as the SUBJECT VEHICLE.
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              14   REQUEST FOR PRODUCTION NO. 47:
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              15          All DOCUMENTS which refer to, reflect, or relate to any and all expert witness opinions
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w     ~       16   and/or reports that YOU have used or received in any proceeding with respect to ENGINE
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              17   DEFECTS in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

              18   REQUEST FOR PRODUCTION NO. 48:

              19         All DOCUMENTS which refer to, reflect, or relate to any and all expert witness opinions

              20   and/or reports that YOU have used or received in any proceeding with respect to OIL

              21   CONSUMPTION DEFECTS in vehicles of the same year, make, and model as the SUBJECT

              22   VEHICLE.

              23   REQUEST FOR PRODUCTION NO. 49:

              24         All certified copies of transcripts for the depositions of YOUR designated Person Most

              25   Qualified/Knowledgeable relating to ENGINE DEFECTS in YOUR vehicles.

              26   REQUEST FOR PRODUCTION NO. 50:

              27         All certified copies of transcripts for the depositions of YOUR designated Person Most

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                     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                  Qualified/Knowledgeable relating to OIL CONSUMPTION DEFECTS in YOUR vehicles.

              2   REQUEST FOR PRODUCTION NO. 51:

              3           All DOCUMENTS relied upon by YOU in formulating YOUR Answer in the instant

              4   action, including YOUR affirmative defenses.

              5   REQUEST FOR PRODUCTION NO. 52:

              6           All DOCUMENTS relied upon by YOU in support of YOUR contention that YOU were

              7   under no obligation to promptly replace or repurchase the SUBJECT VEHICLE.

              8   REQUEST FOR PRODUCTION NO. 53:

              9           All DOCUMENTS that refer to, relate to, and/or concern any communications between

             10   YOU and Plaintiff, or someone on Plaintiff's behalf, concerning the SUBJECT VEHICLE.

             11   REQUEST FOR PRODUCTION NO. 54:
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<(           12           All DOCUMENTS that YOU use to evaluate consumers' requests for repurchases
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 u           13   pursuant to the Song Beverly Consumer Warranty Act.
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€.           14   REQUEST FOR PRODUCTION NO. 55:
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 w           15           All DOCUMENTS which evidence, describe, refer, or relate to YOUR rules, policies, or
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 5w          16   procedures since 2012 concerning the issuance of refunds to buyers or providing replacement
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 p:::
 f-          17   vehicles to buyers in the State of California under the Song-Beverly Consumer Warranty Act.
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             18   REQUEST FOR PRODUCTION NO. 56:

             19           All DOCUMENTS which evidence, describe, refer, or relate to procedures used by YOU

             20   for the handling of complaints by consumers regarding vehicles YOU manufactured or

             21   distributed.

             22   REQUEST FOR PRODUCTION NO. 57:

             23           All DOCUMENTS which evidence, describe, refer, or relate to scripts, job prompts,

             24   outlines, or any other tool used by YOUR customer service agents in response to customer calls

             25   to YOUR call center concerning ENGINE DEFECTS in vehicles of the same year, make, and

             26   model as the SUBJECT VEHICLE.

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                       PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                  REQUEST FOR PRODUCTION NO. 58:

              2           All DOCUMENTS which evidence, describe, refer, or relate to scripts, job prompts,

              3   outlines, or any other tool used by YOUR customer service agents in response to customer calls

              4   to YOUR call center concerning OIL CONSUMPTION DEFECTS in vehicles of the same year,

              5   make, and model as the SUBJECT VEHICLE.

              6   REQUEST FOR PRODUCTION NO. 59:

              7           All DOCUMENTS issued by YOU or on YOUR behalf which evidence, describe, refer,

              8   or relate to policies, procedures, and/or instructions since 2012 that YOUR employees and agents

              9   should follow when evaluating a customer request for a refund of the price paid for a vehicle or

             10   replacement of a new vehicles manufactured or distributed by YOU.

             11   REQUEST FOR PRODUCTION NO. 60:
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<( g         12           All DOCUMENTS issued by YOU or on YOUR behalf which evidence, describe, refer,
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       8     13   or relate to policies, procedures, and/or instructions since 2012 which YOUR employees and
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~~           14   authorized agents should follow after a decision has been made by YOU to authorize either a
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             15   refund of the purchase price, or a replacement vehicle, to YOUR customer.
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v"           16   REQUEST FOR PRODUCTION NO. 61:
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r.Fl -       17          All DOCUMENTS, including but not limited to electronically stored information and

             18   electronic mails, concerning or relating to all vehicles of the same year, make, and model as the

             19   SUBJECT VEHICLE, which were repurchased or replaced by YOU.

             20   REQUEST FOR PRODUCTION NO. 62:

             21          All Vehicle Warranty History Reports for the repurchased or replaced vehicles identified

             22   in YOUR response to Request for Production No. 67.

             23   REQUEST FOR PRODUCTION NO. 63:

             24          All DOCUMENTS which evidence YOUR organizational charts of people within YOUR

            25    customer service call center or prelitigation department.

            26    REQUEST FOR PRODUCTION NO. 64:

            27           All written agreements with any PERSON concerning the management, oversight,

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                                                                 Page 14
                     PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                    coordination, and handling of YOUR customer service call center.

                2   REQUEST FOR PRODUCTION NO. 65:

                3           All DOCUMENTS from 2012 to the present related to YOUR goals to reduce the number

                4   ofrepurchases or vehicle replacements.

                5   REQUEST FOR PRODUCTION NO. 66:

                6           All DOCUMENTS from 2012 to the present related to YOUR goals to reduce the costs

                7   associated with repurchases or replacements, including all warranty trend reports for this period.

                8   REQUEST FOR PRODUCTION NO. 67:

                9           All DOCUMENTS reflecting YOUR plans, policies, procedures, programs, or measures

               10   for achieving any of YOUR warranty buyback reduction goals.

               11   REQUEST FOR PRODUCTION NO. 68:
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               12           All DOCUMENTS concerning periodic reports received by YOU concerning the number
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tjg            13   ofrepurchases or replacements authorized by YOUR agents, representatives, and employees from
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~~             14   2012 to the present.
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u :n.               REQUEST FOR PRODUCTION NO. 69:
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               16           All DOCUMENTS relating to any qualified third party dispute resolution program which
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r:r:;;;             YOU participate in and which complies with the requirements of California Civil Code section
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               19   REQUEST FOR PRODUCTION NO. 70:

               20           All DOCUMENTS provided to any qualified third party dispute resolution program in

               21   which YOU participate regarding, reflecting, or concerning YOUR policies and/or procedures

               22   regarding the Song Beverly Consumer Warranty Act.

               23   REQUEST FOR PRODUCTION NO. 71:

               24           All training manuals and/or other DCUMENTS relating to the training given to YOUR

               25   employees, agents, and representatives in connection with handling consumer lemon law

               26   repurchase requests.

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                         PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                     REQUEST FOR PRODUCTION NO. 72:

                 2           All DOCUMENTS, including electronically stored information and electronic mails,

                 3   regarding any communications between YOU and any government agency or entity (e.g. National

                 4   Highway Traffic Safety Administration ("NHTSA")) regarding ENGINE DEFECTS in vehicles

                 5   of the same year, make, and model as the SUBJECT VEHICLE.

                 6   REQUEST FOR PRODUCTION NO. 73:

                 7           All DOCUMENTS, including electronically stored information and electronic mails,

                 8   regarding any communications between YOU and any government agency or entity (e.g. National

                 9   Highway Traffic Safety Administration ("NHTSA")) regarding OIL CONSUMPTION

                10   DEFECTS in vehicles of the same year, make, and model as the SUBJECT VEHICLE.

                11   REQUEST FOR PRODUCTION NO. 74:
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<( g            12           All National Highway Traffic Safety Administration ("NHTSA") complaints in YOUR
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                13   possession that relate to ENGINE DEFECTS in vehicles of the same year, make, and model as
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                15   REQUEST FOR PRODUCTION NO. 75:
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lJ      ~       16           All National Highway Traffic Safety Administration ("NHTSA") complaints in YOUR
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rJl '!2         17   possession that relate to OIL CONSUMPTION DEFECTS in vehicles of the same year, make,

                18   and model as the SUBJECT VEHICLE.

                19   REQUEST FOR PRODUCTION NO. 76:

                20           All Early Warning Reports ("EWR") YOU submitted to the National Highway Traffic

                21   Safety Administration ("NHTSA") concerning vehicles of the same year, make, and model as the

                22   SUBJECT VEHICLE.

                23   REQUEST FOR PRODUCTION NO. 77:

                24           All Transportation Recall Enhancement, Accountability, and Documentation ("TREAD")

                25   reports YOU submitted concerning vehicles of the same year, make, and model as the SUBJECT

                26   VEHICLE.

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                          PLAINTIFF'S REQUESTS FOR PRODUCTION OF DOCUMENTS TO DEFENDANT, SET NO ONE
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                      REQUEST FOR PRODUCTION NO. 78:

                 2           YOUR recall policy and procedure.

                 3    REQUEST FOR PRODUCTION NO. 79:

                 4           All DOCUMENTS related to any electronic mail, including but not limited to current,

                 5    backed-up and archived programs, accounts, unified messaging, server-based e-mail, Web-based

                 6    e-mail, dial-up e-mail, user names and addresses, domain names and addresses, e-mail messages,

                 7   attachments, manual and automated mailing lists and mailing list addresses, which in any way

                 8   relate to ENGINE DEFECTS in vehicles of the same year, make, and model as the SUBJECT

                 9   VEHICLE.

                10   REQUEST FOR PRODUCTION NO. 80:

                11           All DOCUMENTS related to any electronic mail, including but not limited to current,
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                12   backed-up and archived programs, accounts, unified messaging, server-based e-mail, Web-based
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                15   relate to OIL CONSUMPTION DEFECTS in vehicles of the same year, make, and model as the
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                17   REQUEST FOR PRODUCTION NO. 81:

                18           All DOCUMENTS, including electronically stored information and electronic mails,

                19   which YOU have produced in any lawsuit concerning ENGINE DEFECTS in vehicles of the same

                20   year, make, and model as the SUBJECT VEHICLE.

                21   REQUEST FOR PRODUCTION NO. 82:

                22           All DOCUMENTS, including electronically stored information and electronic mails,

                23   which YOU have produced in any lawsuit concerning OIL CONSUMPTION DEFECTS in

                24   vehicles of the same year, make, and model as the SUBJECT VEHICLE.

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                      Dated: August 15, 2018             STRATEGIC LEGAL PRACTICES, APC

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                  3                                   By:~J'>&.
                  4                                      Attorney for Plaintiff VLADIMIR OUZDIN
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                       EXHIBIT E
                 TO CHAN DECLARATION
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          Christine Haw (SBN 289351)
      1   chaw@slpattomey .com
          STRATEGIC LEGAL PRACTICES
      2   A PROFESSIONAL   CORPORATION
          1840 Century Park East, Suite 430
      3   Los Angeles, CA 90067
          Telephone: (310) 929-4900
      4   FacsImile: (310) 943-3838
      5   Attorneys for Plaintiff FREDERICK J. JUROSKY
      6
      7                  UNITED STATES DISTRICT COURT FOR THE
      8                    SOUTHERN DISTRICT OF CALIFORNIA
      9
     10    FREDERICK J. JUROSKY,                   Case No.: 3:19-cv-00706-JM-BGS
                            Plaintiff,             Case I ni tiated: July 17, 2018
     11
     12            vs.                            FIRST AMENDED NOTICE OF
                                                  DEPOSITION OF MICHAEL J.
     13                                           MURRAY AND REQUEST FOR
           BMW OF NORTH AMERICA1 LLC;
           and DOES 1 through 10, inclusIve,      PRODUCTION OF DOCUMENTS
     14
     15                       Defendants.         DATE:       October 28,2019

     16                                            TIME:      10:00 a.m. E.S.T.

     17                                            PLACE:     Mazie Slater Katz &
                                                              Freeman, LLC
     18                                                       103 Eisenhower Parkway,
     19                                                       2nd Floor
                                                               Roseland, NJ 07068
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                         AMEDNED NOTICE OF DEPOSITION OF MICHAEL J. MURRA Y
     Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2258 Page 120 of 316



,-

           I   TO ALL PARTIES,           THE DEPONENT           AND THEIR ATTORNEYS             OF
           2   RECORD:
           3          PLEASE TAKE NOTICE that pursuant to Rule 30 and 45 of the Federal
           4   Rules of Civil Procedure Plaintiff FREDERICK J. JUROSKY (Plaintiff') will take
           5   the deposition of MICHAEL MURRAY (the "Deponent") at Mazie Slater Katz &
           6   Freeman,      LLC,   103 Eisenhower   Parkway,    2nd Floor, Roseland,    NJ 07068

           7   commencing on October 28,2019 at 10:00 a.m. eastern standard time ("E.S.T.")
           8          Plaintiff may also record the testimony by audio, audiovisual, remote, or
           9   stenographic means for use at time of trial, before certified reporters who will be
          10   present at the specified time and place for the deposition, in addition to recording
          11   the testimony stenographically through the instant visual display of the testimony.
          12   The deposition may be videotaped for use at time of trial.
          13          DEPONENT IS FURTHER NOTIFIED that pursuant to Federal Rule of Civil
          14   Procedure 30(b )(2), Plaintiff hereby requests that you produce for inspection and
          15   copying the documents described and set forth in Exhibit" A" hereto by October 28,
          16   2019, at the time and date of the deposition.
          17           Said documents are within the possession, custody or control of Deponent or
          18   Deponent's    agents or attorneys, are relevant to the subject matter of this action or
          19   reasonably calculated to lead to the discovery of admissible evidence, and are not
          20   privileged.
          21           Said documents shall be produced for inspection and copying at the above
          22   location. Said documents shall also be produced in a reasonably usable format.
          23           III

          24           III

          25           III

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          27
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                                AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2259 Page 121 of 316




      1           Said documents to be produced shall be the originals thereof, unless said
      2    originals are destroyed or unavailable, in which case true, correct and legible copies
      3    thereof may be produced in lieu of said originals.
      4
      5
           Dated: September 26, 2019                STRATEGIC LEGAL PRACTICES, APC
      6

      7
      8                                             BY:~
                                                       Christine J. Haw
      9
                                                       Attorney for Plaintiff
     10                                                FREDERICK J. JUROSKY
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                           AMENDED   NOTICE   OF DEPOSITION   OF MICHAEL   J. MURRA Y
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2260 Page 122 of 316




      1                   DEFINITIONS             AND INSTRUCTIONS                      TO "EXHIBIT A"
      2             l.       The terms "DEFENDANT"                       or "BMW OF NORTH AMERICA,
      3    LLC" shall mean Defendant BMW OF NORTH AMERICA, LLC, and any and
      4    all    agents,      employees,          representatives,           individuals,        and/or       independent
      5    contractors, who work for BMW OF NORTH AMERICA, LLC.
      6             2.       The term "BMW AG" shall mean and include Defendant BMW OF
      7    NORTH AMERICA,                   LLC's      parent corporation-Bayerische                     Motoren Werke
      8    Aktiengesellschaft,          natural persons, corporations,                partnerships,       associations,          or
      9    entity, and agents, servants, employees and representatives                           thereof.

     10             3.       The terms "YOU" or "YOUR" shall refer to the deponent MICHAEL
      11   J. MURRAY in his capacity as an engineer for Defendant BMW OF NORTH
      12   AMERICA, LLC.
      13            4.       The term "DOCUMENT"                      shall be interpreted in accordance with
      14   Federal Rules of Evidence                  Code Sections            1001 (a)-(e) and also to include
      15   electronic mails and electronically stored information.                        I


      16            5.       The terms "COMMUNICATION"                               and "COMMUNICATIONS"
      17   shall include any attachment, letter, facsimile, memorandum, note, electronic mail
      18   (e.g. e-mail), audio or video recording of a conversation, or any other recording,
      19   in any medium, of any message, including drafts, whether sent or unsent.
      20            6.        The term "SUBJECT VEHICLE" means the 2010 BMW 750Li, VIN:
      21   WBAKB8C52ACY63565,                        purchased         by    Plaintiff,       purchased        by     Plaintiff
      22   FREDERICK J. JUROSKY.
      23             7.       The term "BMW VEHICLES" refers to all BMW vehicles equipped
      24   with the N63 engine as in the SUBJECT VEHICLE.
      25             8.       The term "ENGINE DEFECTS"                         shall be understood to mean such
      26   defects resulting in symptoms including illumination of the drivetrain malfunction

      27
            1 To the extent possible, all DOCUMENTS       shall be produced in native format and/or Excel format with all data
      28    fields included and all personal identifYing information (e.g., names, telephone number and addresses) redacted.



                                 AMENDED NOTICE OF DEPOSITION OF MICHAELJ.                         MURRAY
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      1    warning light; engine misfires; rough running; excessive oil consumption;             oil
      2    return cover leaking oil; turbochargers     leaking oil; turbocharger    coolant hoses
      3    leaking coolant; drive train malfunction light illuminated; storage of Fault Code
      4    140401; engine cy linder 4 misfire; engine cy linder 3 misfire; spark plug failure;
      5    and/or ignition coi I failure; and/or any other concern( s) and/or repair( s) identified
      6    in Service Information bulletin ("SIB") 11 06 14 (N63 Engine: Customer Care

      7    Package).
      8           9.    The term "JENSEN V. BMW" shall be understood to mean the matter
      9    of Jensen v. BMW of North America, LLC(S.D.         Cal. No. 18-CV-I03-WQH-NLS).
     10           10.    Both BMW OF NORTH              AMERICA       L.L.C. and MICHAEL          J.
     11    MURRA Yare          required to search for responsive     documents     to the requests
     12    identified below.
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                           AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRA Y
     Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2262 Page 124 of 316




,-


           I                                          EXHIBIT A
           2
                1.   All PUMA DOCUMENTS                  in YOUR possessIOn, custody                   or control
           3
               concerning the N63 engine of BMW VEHICLES.
           4
               2.    All DOCUMENTS             (including     all electronically      stored information)       in
           5
               YOUR possession,         custody or control, reflecting DEFENDANT                and/or BMW
           6
               AG's evaluation, investigation, study, review, testing, root cause analysis, failure
           7
               rate analysis and/or reporting of open issues of ENGINE DEFECTS in BMW
           8
               VEHICLES equipped with the N63 engine, which resulted in the creation of each
           9
               of the service information bulletins and/or campaigns applicable to the SUBJECT
          10
               VEHICLE.
          11
                3.    All DOCUMENTS            (including     all electronically      stored information)       in
          12
               YOUR possession, custody or control, reflecting COMMUNICATIONS                            between
          13
               YOU, DEFENDANT,             BMW AG, BMW N.A.'s authorized repair facilities, part
          14
               suppliers,   pati     manufacturers   and/or     governmental       entities   (e.g., NHTSA)
          15
               regarding ENGINE DEFECTS in vehicles equipped with the N63 engine.
          16
                4.    All DOCUMENTS             (including     electronic    communications)           in YOUR
          17
               possession, custody or control, that discuss premature battery failure or failure
          18
               rates in BMW VEHICLES.
          19
                5.    All DOCUMENTS            in YOUR possession,          custody    or control,     that show
          20
               YOUR, DEFENDANT               and/or BMW AG's           evaluation,      cost/benefit     analysis,
          21
               investigation,      study, review, testing, root cause analysis, failure rate analysis
          22
               and/or reporting of open issues for known problems with the N63 engine of BMW
          23
               VEHICLES.
          24
                6.    All DOCUMENTS             (including    all electronically      stored infOlmation)       in
          25
               YOUR possession, custody or control, that show YOUR, DEFENDANT                              and/or
          26
               BMW AG's evaluation, investigation,            study, review, root cause analysis and/or
          27
          28

                                   AMENDED NOTICE OF DEPOSITION OF MICHAEL            J. MURRAY
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           1   testing that resulted in the issuance and/or implementation            of the Customer Care
           2   Package for N63 engines of BMW VEHICLES.
           3    7.    All DOCUMENTS        (including all electronic communications)               in YOUR
           4   possession,   custody or control, regarding evaluation,            investigation,   root cause
           5   analysis, failure rates, and/or implementation        of warranty extensions, including
           6   warranty extensions of 10 years/120,000 miles, issued in connection with the N63
           7   engine in BMW VEHICLES,             including     such warranty        extensions    issued in
           8   connection with the N63 in-take fuel delivery module (pump), fuel injectors,
           9   engine vacuum pump, cy linder head covers and crankcase ventilation connecting
          10   line hoses.
          11    8.    All DOCUMENTS         (including       all electronically     stored information)    in
          12   YOUR possession,      custody or control, regarding the evaluation, investigation,
          13   study, review, testing, failure rates, and/or analysis of changes to BMW OF
          14   NORTH AMERICA,           LLC's     Condition Based Service ("CBS")              intervals that
          15   resulted in reducing and/or modifying the oil change intervals for the BMW
          16   VEHICLES.
          17    9.    All deposition transcripts (with exhibits) in YOUR possession, custody, or
          18   control for which YOU have provided testimony with respect to the ENGINE
          19   DEFECTS in BMW VEHICLES equipped with the N63 engine.
          20    10.   All PuMA and/or TeileClearing           documents (including any attachments)
          21   that YOU authored, received (whether directly or by "cc" or "bee") or reviewed
          22   regarding ENGINE DEFECTS             in BMW VEHICLES               equipped with the N-63
          23   engme.
          24    11.   All DOCUMENTS         (including       all electronically     stored information)     in
          25   YOUR possession, custody or control involving COMMUNICATIONS                          between
          26   YOU, DEFENDANT,          BMW AG, BMW N.A.'s authorized repair facilities, part
          27   suppliers,    part manufacturers     and/or     governmental        entities   (e.g., NHTSA)
          28

                                AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
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          1   regarding any and all modifications       to the N63 engine of BMW VEHICLES
          2   equipped with the N63 engine.
          3    12.   All DOCUMENTS        (including all electronic communications)           in YOUR
          4   possession, custody or control, that show YOUR, DEFENDANT                     and/or BMW
          5   AG's evaluation, investigation, study, review, testing, root cause analysis, failure
          6   rate analysis and/or reporting of open issues regarding the N63 engine of BMW

          7   VEHICLES.
          8    13.   Please produce all YOUR electronic communications              that are in YOUR
          9   possession,   custody   or control     (including   electronic   folders   maintained   or
         10   archived by you and/or any electronic          communications      archived on servers)
         11   regarding the ENGINE DEFECTS of BMW VEHICLES.
         12    14.   Please produce all YOUR electronic communications           (e.g. electronic mail)
         13   pursuant to the following search string:
         14                 FlO or F-IO or N63! or N-63! and engine and defect or complaint
         15    15.   Please produce all YOUR electronic communications            (e.g. electronic mail)
         16   that are in YOUR possession,         custody or control (including electronic folders
         17   maintained by you and/or any electronic communications              archived on servers)
         18   pursuant to the following search string:
         19                 FlO or F-IO or N63! or N-63! and engine and problem
         20    16.   Please produce all YOUR electronic communications            (e.g. electronic mail)
         21   that are in YOUR possession,         custody or control (including electronic folders
         22   maintained by you and/or any electronic communications              archived on servers)
         23   pursuant to the following search string:
         24                 FlO or F-IO or N63! or N-63! and engine and problem and fix or
         25    countermeasure
         26    17.   Please produce all YOUR electronic communications            (e.g. electronic mail)
         27   that are in YOUR possession,         custody or control (including electronic folders
         28

                              AMENDED   NOTICE   OF DEPOSITION    OF MICHAEL    J. MURRAY
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          maintained by you and/or any electronic communications                             archived on servers)
     2    pursuant to the following search string:
     3                  FlO or F-IO or N63! or N-63! and engine and excessive oil
     4    consumption
      5    18.   Please produce all YOUR electronic communications                           (e.g. electronic mail)
      6   that are in YOUR possession,              custody or control (including electronic folders
      7   maintained by you and/or any electronic communications                             archived on servers)
      8   pursuant to the following search string:
      9               FlO or F-IO or N63! or N-63! and customer care package or CCP
     10    19.   Please produce all YOUR electronic communications                           (e.g. electronic mail)
     11   that are in YOUR possession,              custody or control (including electronic folders
     12   maintained by you and/or any electronic communications                             archived on servers)
     13   pursuant to the following search string:
     14             FlO or F-IO or N63! or N-63! and engine and safety
     15    20.   Please produce all YOUR electronic communications                           (e.g. electronic mail)
     16   that are in YOUR possession, custody or control (including folders maintained by
     17   you and/or any electronic communications                    archived on servers) pursuant to the
     18   following search string:
     19              FlO or F-IO or N63! or N-63! and excess! Oil Cons!
     20    2l.   All DOCUMENTS                 in YOUR           possession,           custody   or control   which
     21    DEFENDANT provided to YOU and/or reviewed by YOU in connection with the
     22    un-filed Murray declaration referenced in JENSEN v. BMW [Dkt. No. 63].
                    11 II utilizing Plaintiff's proposed search tenns. ld. at 'I[ 9.
     23
     24    22.   All DOCUMENTS                (including       all electronically          stored infonnation)    in
     25    YOUR possession, custody or control that discuss and/or analyze any repair
     26    procedure, modification, permanent solution to the N63 engine defects in BMW
     27    VEHICLES as reflected in the SUBJECT VEHICLE'S repair history. This request
     28

                          AMENDED NOTICE OF DEPOSITION OF MICHAEL                          J. MURRAY
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      1   shall be interpreted     to include any such investigation          to determine       the root cause

      2   of such N63 engine defects, any such investigation             to determine     a pennanent       repair

      3   procedure    for N63 engine defects,          any such investigation       into the failure rates of

      4   any part associated      with N63 engine defects,         any cost analysis      for implementing

      5   proposed     repair procedures     for N63 engine defects,         and any savings analysis           for

      6   not implementing        any proposed   repair procedures       for N63 engine defects.

      7   23.    All DOCUMENTS,            from 2010 to the present,          sent by YOU, received              by
      8   YOU,    and/or     created   by YOU,      reflecting     problem     summaries,        defect     trends,

      9   summary       reports    of open    issues,     root   cause   analyses,      and/or    failure     rates

     10   concerning     the N63 engine.

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                            AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2267 Page 129 of 316




     1                                       PROOF OF SERVICE
     2               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                  I am employed in the County of Los Angeles, State of California. I am over the age of 18
     3    and not a party to the within action. My business address is Strategic Legal Practices, 1840
          Century Park East, Suite 430, Los Angeles, California 90067.
     4
                  On September      26, 2019, I served the document(s) described as:
     5
     6     on the interested parties in this action by sending [ ] the original [or] r..l'] a true
           copy' the~eof [..I']to interested parties as follows lor] [ ] as stated on tile attached
     7     serVlce lIst:
     8                                         Molly Moriarty Lane
                                        MORGAN, LEWIS, & BOCKIUS LLP
     9                                    One Market, Spear Street Tower
                                          San Francisco, CA 94105-1126
    10
            [ ]    BY MAIL (ENCLOSED IN A SEALED ENVELOPE): I deposited the envelope(s)
    11             for mailing in the ordinary course of business at Los Angeles, California. I am
                   "readily familiar" with this firm's practice of collection and processing
    12             correspondence for mailing. Under that practice, sealed envelopes are deposited with
                   the U.S. Postal Service that same day in the ordinary course of business with postage
     13            thereon fully prepaid at Los Angeles, California.
     14     []     BY E-MAIL: I hereby certify that this document was served from Los Angeles,
                   California, bye-mail delivery on the parties listed herein at their most recent known e-
     15            mail address or e-mail of record in this action.

     16     []     BY FAX: I hereby certify that this document was served from Los Angeles,
                   California, by facsimile delivery on the parties listed herein at their most recent fax
     17            number of record in this action.

     18     [X]     BY PERSONAL SERVICE: I caused the attached to be delivered, enclosed in a
                    sealed envelope, by hand to the offices of the addressee(s) named herein.
     19
            []      BY OVERNIGHT         DELIVERY;      I am "readily familiar" with this firm's practice of
    20              collection and processing correspondence for overnight delivery. Under that practice,
                    overnight packages are enclosed in a sealed envelope with a packing slip attached
                    thereto fully prepaid. The packages are picked up by the carrier at our offices or
    21              delivered by our office to a designated collection site.
    22            I declare under penalty of peljury under the laws of the State of California that the
          foregoing is true and correct.
    23            Executed this September 26, 2019, at Los Angeles, California.
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                            AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
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                        EXHIBIT F
                  TO CHAN DECLARATION
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          Christine Haw (SBN 289351)
          e-mail: chaw@slpattorney.com
      2
          Carey B. Wood (SBN 292447)
      3   e-mail: cwood@slpattorney.com
          STRATEGIC         LEGAL   PRACTICES
      4   A PROFESSIONAL        CORPORATION
          1840 Century       Park East, Suite 430
      5   Los Angeles,       CA 90067
          Telephone:         (310) 929-4900
      6
          Facsimile:         (310) 943-3838
      7
          Attorneys    for Plaintiff ALLAN KOSTABl
      8
                               SUPERIOR          COURT OF THE STATE OF CALIFORNIA
      9

     10                                  FOR THE COUNTY OF LOS ANGELES

     11
           ALLAN KOST ABl,                                         Case No.: BC672322
     12
                                    Plaintiff,
     13                                                            NOTICE OF DEPOSITION OF
                      vs.                                          DEFENDANT'S EMPLOYEE
     14                                                            MICHAEL J. MURRAY AND
           BMW OF NORTH AMERICA, LLC; and                          REQUEST FOR PRODUCITON            OF
     15
           DOES 1 through 10, inclusive,                           DOCUMENTS
     16
                                    Defendants.                    DATE:       November 21,2018
     17
                                                                   TIME:       11 :00 a.m.
     18

     19                                                            PLACE:      Mazie Slater Katz & Freeman,
                                                                               LLC
     20                                                                        103 Eisenhower Parkway,
                                                                               2nd Floor
     21                                                                        Roseland, NJ 07068
     22

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                                      NOTICE      OF DEPOSITION   OF MICHAEL     J. MURRAY
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2270 Page 132 of 316




          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

      2               PLEASE TAKE NOTICE that pursuant to Code of Civil Procedure                     §2025.010, et seq.,

      3   Plaintiff    ALLAN     KOSTABI        ("Plaintiff")   will take the deposition     of Defendant        BMW OF

     4    NORTH         AMERICA,      LLC'S    EMPLOYEE,         MICHAEL      MURRAY         ("Deponent"),      at the law

      5   offices of Mazie Slater Katz & Freeman, LLC located at 103 Eisenhower                       Parkway 2nd Floor,

      6   Roseland, NJ 07068 commencing            on December 14, 2018, at 11:00 a.m.

      7               Plaintiff may also record the testimony       by audio, audiovisual,     remote, or stenographic

      8   means for use at time of trial, before certified reporters who will be present at the specified time

      9   and place for the deposition,       in addition to recording the testimony stenographically           through the

     10    instant visual display of the testimony. The deposition may be videotaped for use at trial.

     II               NOTICE     IS   FURTHER         GIVEN      that   pursuant   to   Code     of    Civil    Procedure

     12    §2025 .220(a)( 4), Plaintiff   requests     that Deponent     produce   for inspection      and copying     the

     13   documents described in this deposition notice.

     14           If an interpreter is required to translate testimony,       notice that an interpreter       is needed mus

     15   be given at least three (3) days before the deposition date, including the specific dialect needed.

     16

     17

     18   Dated: November        9,2018                         STRATEGIC      LEGAL PRACTICES,                APC
     19

    20

                                                                By:     ~                            _
    21
                                                                Christine J. Haw
    22                                                          Attorney for Plaintiff ALLAN KOSTABI
    23

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                                      NOTICE OF DEPOSITION          OF MICHAEL J. MURRAY
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2271 Page 133 of 316




                                 DEFINITIONS AND INSTRUCTIONS TO "EXHIBIT A"

      2             I. The term "DEFENDANT"              shall mean Defendant          BMW OF NORTH AMERICA,

      3   LLC, and any and all agents, representatives,              assigns,   successors,     dealerships,    individuals,

      4   and/or businesses       who represent       themselves    to be affiliated    with, or work for, BMW OF

      5   NORTH AMERICA,            LLC.

      6             2. The term "PERSON"          means and includes DEFENDANT,                 DEFENDANT'S            parent

      7   corporation-Bayerische            Motoren    Werke Aktiengesellschaft,        natural persons,       corporations,

      8   partnerships,     associations,     or any type      of entity,    and agents,      servants,    employees     and

      9   representatives    thereof.

     10             3. The term "YOU" or "YOUR" shall refer to the deponent MICHAEL                        J. MURRAY           in

     II   his capacity as Senior Product Engineer for Defendant BMW OF NORTH AMERICA,                                  LLC.

     12             4. The term "DOCUMENT"             shall be interpreted in accordance with California Evidence

     13   Code section 250 and also to include electronic mails and electronically                 stored information.

     14             5. The terms "COMMUNICA              nON"      and "COMMUNICA             nONS"       shall include any

     15   letter,   facsimile,    memorandum,         note,   electronic    mail,   audio     or video     recording    of a

     16   conversation,     or any other recording, in any medium, of any message, including drafts, whether

     17   sent or unsent.

     18             6. The term "SUBJECT         VEHICLE"       means the 2009 BMW 750Li vehicle identification

     19   number WBAKB83539CY61660,                   purchased and/or leased by Plaintiff.

     20             7. The term "BMW VEHICLES"                 refers to all vehicles    equipped     with the same N63

     21   engine as the SUBJECT VEHICLE.

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                                        NOTICE   OF DEPOSITION       OF MICHAEL        J. MURRAY
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                                                                   EXHIBIT A
      2           I. All DOCUMENTS               (including        emails    and/or email communications)               in YOUR

      3   possession,    custody      or control,     refiecting      COMMUNICATIONS                   between     YOU and any

      4   PERSON or entity regarding excessive oil consumption                         in BMW VEHICLES             equipped with

      5   the N63 engine.

      6

      7           2. All DOCUMENTS               (including        emails     and/or email communications)              in YOUR

      8   possession,     custody     or control,     refiecting      COMMUNICATIONS                   between     YOU and any

      9   PERSON        or entity regarding         premature      failure   of engine     batteries     in BMW VEHICLES

     10   equipped with the N63 engine.

     II

     12           3. All DOCUMENTS               (including        emails     and/or email communications)              in YOUR

     13   possession,     custody     or control,     refiecting      COMMUNICATIONS                   between     YOU and any

     14   PERSON or entity regarding Service Information                     Bulletin 61-30-14 dated December 2014.

     IS

     16           4. All DOCUMENTS               (including        emails     and/or email communications)              in YOUR

     17   possession,     custody     or control,     refiecting      COMMUNICA nONS                   between     YOU and any

     18   PERSON or entity regarding Service Information                     Bulletin 11-03-13 dated August of 20 16.

     19

     20           5. All YOUR           deposition      transcripts      (with     Exhibits)     for cases       involving   BMW

     21   VEHICLES       equipped with the N63 engine for which you have provided testimony                            in.

     22

     23            6.     All     DOCUMENTS              (including          emails,     email       communications          and/or

     24   manuals/instructions)        in YOUR         possession,       custody       or control,      provided     to YOU      by

     25   DEFENDANT             regarding   access    to, handling       of, and/or      retrieval     of emails     and/or email

     26   communications.

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                                      NOTICE    OF DEPOSITION            OF MICHAEL        J. MURRAY
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                 7. All DOCUMENTS             (including     emails,   email communications      and/or   employee

      2   manuals) in YOUR possession,        custody or control, reflecting COMMUNICATIONS                   between

      3   YOU    and   any    PERSON     or    entity      regarding   preservation   of   emails,   and/or     email

      4   communications     for BMW VEHICLES           containing the N63 engine.

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                                NOTICE   OF DEPOSITION           OF MICHAEL     J. MURRAY
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                                                   PROOF     OF SERVICE

         STATE     OF CALIFORNIA,        COUNTY OF LOS ANGELES
     2
                  I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
         not a party to the within action. My business address is Strategic Legal Practices, 1840 Century Park
     3
         East, Suite 430, Los Angeles, California 90067.
     4
                       On November       9, 2018, I caused   to be served the document(s)      described   as:
     5
           NOTICE      OF DEPOSITION          OF DEFENDANT'S           EMPLOYEE         MICHAEL    J. MURRAY         AND
     6                               REQUEST      FOR PRODUCTION           OF DOCUMENTS
          on the interested parties in this action by sending [ ] the original [or] [..f] a true copy thereof[..f]   to
     7    interested parties as follows [or] [ ] as stated on the attached service list:

     8
          Molly Moriarty Lane, Esq.                                 Esther Ro, Esq.
     9
          Morgan   Lewis & Bockius LLP                              Morgan   Lewis & Bockius LLP
    10    One Market, Spear Level Street Tower                      300 South Grand Avenue, 22 Floor
          San Francisco, CA 94105                                   Los Angeles, CA 90071
    11

    12      [ ]     BY MAIL (ENCLOSED             IN A SEALED ENVELOPE):            I deposited the envelope(s) for
                    mailing in the ordinary course of business at Los Angeles, California. I am "readily familiar"
    13              with this firm's practice of collection and processing correspondence for mailing. Under that
                    practice, sealed envelopes are deposited with the U.S. Postal Service that same day in the
    14
                    ordinary course of business with postage thereon fully prepaid at Los Angeles, California.
    15
            []      BY E-MAIL: I hereby certity that this document was served from Los Angeles, California,
    16              bye-mail delivery on the parties listed herein at their most recent known e-mail address or e-
                    mail of record in this action.
    17
           [ ]      BY FAX: I hereby certify that this document was served from Los Angeles, California,
    18              by facsimile delivery on the parties listed herein at their most recent fax number of record in
                    this action.
    19
           [ ]      BY PERSONAL SERVICE: I caused the attached document(s), to be delivered, enclosed in
    20              a sealed envelope, by hand to the office of the addressee(s) named herein.

    21     [x]      BY OVERNIGHT         DELIVERY:     I am "readily familiar" with this firm's practice of collection
                    and processing correspondence for overnight delivery. Under that practice, overnight packages
    22              are enclosed in a sealed envelope with a packing slip attached thereto fully prepaid. The
                    packages are picked up by the carrier at our offices or delivered by our office to a designated
    23              collection site.

    24
                  I declare under penalty of perjury under the laws of the State of California that the foregoing is
         true and correct.
    25

   26             Executed this November    9, 2018, at Los Angeles, California.

   27
                                                             --~~
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                                                               Page 1
                                                        PROOF OF SERVICE
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        1   Christine Haw(SBN 289351)
            e-mail: chaw@slpattorney.com
     2
            Carey Wood (SBN 292447)
     3      e-mail: cwood@slpattorney.com
            STRATEGIC LEGAL PRACTICES
     4      A PROFESSIONAL CORPORATION
            1840 Century Park East, Suite 430
     5      Los Angeles, CA 90067
            Telephone: (310)929-4900
     6
            Facsimile: (310) 943-3838
     7
            Attorneys for Plaintiff IAN MCDONALD
     8
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
     9

    10                              FOR THE COUNTY OF SAN DIEGO

    11
            IAN MCDONALD,                           Case No.: 34-2017-000259017-CU-BC-
    12                                              CTL
                              Plaintiff,
    13
                    vs.                             AMENDED NOTICE OF DEPOSITION
    14                                              OF DEFENDANT'S EMPLOYEE
            BMW OF NORTH AMERICA,LLC; and           MICHAEL J. MURRAY AND
    15
            DOES 1 through 10, inclusive,           REQUEST FOR PRODUCITON OF
    16                                              DOCUMENTS
                              Defendants.
    17                                             DATE:    February 4, 2019

    18                                             TIME:     11:00 a.m.
    19
                                                   PLACE: Mazie Slater Katz & Freeman,
   20                                                     LLC
                                                           103 Eisenhower Parkway,
   21                                                      2nd Floor
                                                           Roseland, NJ 07068
   22

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                          AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2276 Page 138 of 316




        1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

     2              PLEASE TAKE NOTICE that pursuant to Code of Civil Procedure §2025.010, et seq.,

     3       Plaintiff IAN MCDONALD ("Plaintiff') will take the deposition of Defendant BMW OF

     4       NORTH AMERICA, LLC'S employee, MICHAEL MURRAY ("Deponent"), at the law offices

     5       of Mazie Slater Katz & Freeman, LLC located at 103 Eisenhower Parkway 2nd Floor, Roseland,

     6       NJ 07068 commencing on February 4, 2019, at 11:00 a.m.

     7              Plaintiff may also record the testimony by audio, audiovisual, remote, or stenographic

     8       means for use at time of trial, before certified reporters who will be present at the specified time

     9       and place for the deposition, in addition to recording the testimony stenographically through the

    10       instant visual display ofthe testimony. The deposition may be videotaped for use at trial.

    11              NOTICE IS FURTHER GIVEN that pursuant to Code of Civil Procedure

    12      §2025.220(a)(4), Plaintiff requests that Deponent produce for inspection and copying the

    13      documents described in this deposition notice.

    14             If an interpreter is required to translate testimony, notice that an interpreter is needed mus

    15      be given at least three (3) days before the deposition date, including the specific dialect needed.

    16

    17

    18      Dated: January 23, 2019                        STRATEGIC I FGAL P           CTICES, APC
    19

   20

   21                                                     Carey Wood
                                                          Attorney for Plaintiff Ian McDonald
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                             AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
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         1                      DEFINITIONS AND INSTRUCTIONS TO"EXHIBIT A"

     2               1. The term "DEFENDANT" shall mean Defendant BMW OF NORTH AMERICA,

     3       LLC, and any and all agents, representatives, assigns, successors, dealerships, individuals,

     4       and/or businesses who represent themselves to be affiliated with, or work for, BMW OF

     5       NORTH AMERICA, LLC.

     6              2. The term "PERSON" means and includes DEFENDANT, DEFENDANT'S parent

     7       corporation—Bayerische Motoren Werke Aktiengesellschaft, natural persons, corporations,

     8       partnerships, associations, or any type of entity, and agents, servants, employees and

     9       representatives thereof

    10              3. The term "YOU" or "YOUR" shall refer to the deponent MICHAEL J. MURRAY in

    11       his capacity as Senior Product Engineer for Defendant BMW OF NORTH AMERICA, LLC.

    12              4. The term "DOCUMENT"shall be interpreted in accordance with California Evidence

    13       Code section 250 and also to include electronic mails and electronically stored information.

    14              5. The terms "COMMUNICATION" and "COMMUNICATIONS" shall include any

    15       letter, facsimile, memorandum, note, electronic mail, audio or video recording of a

    16       conversation, or any other recording, in any medium, of any message, including drafts, whether

    17       sent or unsent.

    18              6. The term "SUBJECT VEHICLE" means the 2012 BMW 6501CP vehicle

    19       identification number WBALZ3CC50CDL71259, purchased and/or leased by Plaintiff IAN

    20       MCDONALD.

    21              7. The term "BMW VEHICLES" refers to all vehicles equipped with the same N63

    22       engine as the SUBJECT VEHICLE.

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                               AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
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        1                                            EXHIBIT A
     2

     3            1.     All DOCUMENTS (including emails and/or email communications) in YOUR

     4      possession, custody or control, reflecting COMMUNICATIONS between YOU and any

     5      PERSON or entity regarding Service Information Bulletin 61 30 14 dated December 2014.

     6

     7            2.     All DOCUMENTS (including emails and/or email communications) in YOUR

     8      possession, custody or control, reflecting COMMUNICATIONS between YOU and any

     9      PERSON or entity regarding Service Information Bulletin 11 03 13 dated August of 2016.

    10

    11            3.     All DOCUMENTS (including emails and/or email communications) in YOUR

    12      possession, custody or control, reflecting COMMUNICATIONS between YOU and any

    13      PERSON or entity regarding Service Information Bulletin 11 06 14 dated April of 2015.

    14

    15            4.     All YOUR deposition transcripts (with Exhibits) for cases involving BMW

    16      VEHICLES equipped with the N63 engine for which you have provided testimony in.

   17

    18           5.      All   DOCUMENTS (including        emails, email    communications     and/or

   19       manuals/instructions) in YOUR possession, custody or control, provided to YOU by

   20       DEFENDANT regarding access to, handling of, and/or retrieval of emails and/or email

   21       communications.

   22

   23            6.     All DOCUMENTS (including emails, email communications and/or employee

   24       manuals) in YOUR possession, custody or control, reflecting COMMUNICATIONS between

   25       YOU and any PERSON or entity regarding preservation of emails, and/or email

   26       communications for BMW VEHICLES containing the N63 engine.

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                          AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
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                     AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
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     1                                        PROOF OF SERVICE

     2                  STATE OF CALIFORNIA,COUNTY OF LOS ANGELES
               I am employed in the County of Los Angeles, State of California. I am over the age of 18
     3   and not a party to the within action. My business address is Strategic Legal Practices, 1840
         Century Park East, Suite 430, Los Angeles, California 90067.
     4
         On January 23, 2019, I served the document(s) described as:
     5
         AMENDED NOTICE OF DEPOSITION OF DEFENDANT'S EMPLOYEE
     6   MICHAEL J. MURRAY AND REQUEST FOR PRODUCITON OF DOCUMENTS
     7
         on the interested parties in this action by sending[ ]the original [or][✓] a true copy thereof
     8   [✓] to interested parties as follows [or] [ ] as stated on the attached service list:

    9                                       DINSMORE & SHOHL
                                            Christopher Celentino
    10                                      655 West Broadway, Suite 800
                                            San Diego, CA 92101
    11
           [   ]   BY MAIL (ENCLOSED IN A SEALED ENVELOPE): I deposited the envelope(s)
    12             for mailing in the ordinary course of business at Los Angeles, California. I am "readily
                   familiar" with this firm's practice of collection and processing correspondence for
    13             mailing. Under that practice, sealed envelopes are deposited with the U.S. Postal Service
                   that same day in the ordinary course of business with postage thereon fully prepaid at
    14             Los Angeles, California.

    15             BY E-MAIL: I hereby certify that this document was served from Los Angeles,
                   California, by e-mail delivery on the parties listed herein at their most recent known e-
    16             mail address or e-mail of record in this action.

    17             BY FAX: I hereby certify that this document was served from Los Angeles, California,
                   by facsimile delivery on the parties listed herein at their most recent fax number of
    18             record in this action.

   19              BY PERSONAL SERVICE: I caused the attached to be delivered, by hand, enclosed
                   in an envelope to the offices of the addressee(s) named herein by messenger service.
   20              BY OVERNIGHT DELIVERY: I am "readily familiar" with this firm's practice of
                   collection and processing correspondence for overnight delivery. Under that practice,
   21              overnight packages are enclosed in a sealed envelope with a packing slip attached
                   thereto fully prepaid. The packages are picked up by the carrier at our offices or
   22              delivered by our office to a designated collection site.
   23    I declare under penalty of perjury under the laws of the State of California that the foregoing is
         true and correct. Executed this January 23, 2019, at Los Angeles, California.
   24

   25                                                                 /614-i; .-1
                                                                                11eL gadfialWd
                                                                           Priscilla Bankhead
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                          AMENDED NOTICE OF DEPOSITION OF MICHAEL J. MURRAY
    Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2281 Page 143 of 316



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                       EXHIBIT G
                 TO CHAN DECLARATION
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     2018 Real
     Rate Report®
     thru September 2018

                             The Industry’s
                             Leading Analysis
                             of Law Firm
                             Rates, Trends,
                             and Practices




                                                        When you have to be right
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3     Real Rate Report | Q3 2018                                                  wkelmsolutions.com
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          A Letter to Our Readers


                  Welcome to the Wolters Kluwer’s ELM Solutions Real Rate Report®, the industry’s
                  leading data-driven benchmark report for lawyer rates.

                  Our Real Rate Report has been a useful data analytics resource to the legal industry
o Our Readers
         since its inception in 2010 and continues to evolve. The Real Rate Report is powered by
                Wolters Kluwer’s ELM Solutions LegalVIEW® data warehouse, the world ‘s largest source
                of legal performance benchmark data, which has grown to include over $128 billion in
 7 Real Rate Report® Snapshot edition, the industry’s leading data-driven benchmark
                anonymized legal data.
 tes and matter costs.
                  The legal services industry relies on internal analytics and the use of data resources,
 nd ELM Solutions once again analyzed more than $9 billion in legal spending data
                 such as the LegalVIEW® data warehouse, to support legal management strategies. The
 yers and sellers of legal services with the transparency to make more informed
                 depth and details of the data in the Real Rate Report enable you to better benchmark,
  and staffing decisions. As with past Real Rate Reports, all of the data analyzed are
                 and make
 and law firms’ e-billing andmore  informed investment
                             time management     solutions.and resourcing decisions for your organization.
                  As with past Real Rate Reports, all of the data analyzed are from corporations’ and law
  eve that the depth and granularity of the rate and matter staffing data in the Real
                 firms’ e-billing and time management solutions. We have included lawyer and paralegal
 ely enables you to better benchmark, predict, and manage matter costs. As the
 comes the normrate
                  and data  filtered
                      companies       by specific
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                                                                               making,
 ndustry relies more on internal analytics and the use of data resources, such as ability to pinpoint
                 types  of matters   to give legal departments    and  law firms greater
                 areas of opportunity.
  M Solutions LegalVIEW®   data warehouse, to support legal management strategies.
                  We strive
 s, we have included    lawyerto make
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                                                                              practice  and    reference tool
                  for  legal departments    and  law firms.  As  always, we   welcome
 metropolitan areas, and types of matters to give Legal departments and law firms        your comments   and
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 ort will not onlyWe   thank
                   inform     you departments
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                                                                                   forward to serving you to
 tion with the lawprovide   market-leading,
                    firms they  use.          expert solutions that deliver the best business outcomes for
                  collaboration among legal departments and law firms.
 the Real Rate Report editions valuable and actionable reference tools for Legal
 w firms. As always, we welcome your comments and suggestions on what information
 blication more valuable to you. We thank you and look forward to continuing the
 w Legal departments and law firms can collaborate with better clarity and trust.




                  Sincerely,




 anian            Jonah
                  Jonah Paransky
                        Paransky
                  EVP
                  EVP and
                      and General Manager
                          General Manager
                  Wolters Kluwer’sELM
                  Wolters Kluwer’s ELMSolutions
                                       Solutions




          4     Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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How to Use this Report


         The 2018 Real Rate Report:
         •   Examines law firm rates over time
         •   Identifies rates by location, experience, firm size, areas of expertise, industry, and
             timekeeper role (i.e., partner, associate, and paralegal)
         •   Itemizes variables that drive rates up or down

         All the analyses included in the report are derived from the actual rates charged by law
         firm professionals as recorded on invoices submitted and approved for payment.

         Examining real, approved rate information along with the ranges of those rates and
         their changes over time highlights the role these variables play in driving aggregate
         legal cost and income. The analyses can energize questions for both corporate clients
         and law firm principals.

         Clients might ask whether they are paying the right amount for different types of legal
         services, while law firm principals might ask whether they are charging the right amount
         for legal services and whether to modify their pricing approach.

         Some key factors that drive rates¹:
         •   Geographic location - lawyers in urban and major metropolitan areas tend to charge
             more when compared with lawyers in rural areas or small towns.
         •   Degree of difficulty - the cost of representation will be higher if the case is
             particularly complex or time-consuming; for example, if there are a large number of
             documents to review, many witnesses to depose, and numerous procedural steps,
             the case is likely to cost more (regardless of other factors like the lawyer’s level of
             experience).
         •   Experience and reputation - a more experienced, higher-profile lawyer is often going
             to charge more, but absorbing this higher cost at the outset may make more sense
             than hiring a less expensive lawyer who will likely take time and billable hours to
             come up to speed on unfamiliar legal and procedural issues.
         •   Overhead - the costs associated with the firm’s support network (paralegals, clerks,
             assistants), document preparation, consultants, research, and other expenses.

         The data in the 2018 Real Rate Report provides corporate counsel with an
         understanding of the rates they can expect to pay for a given matter type, industry,
         or practice area and offers in-depth analyses on key drivers of rates to help make
         informed selection decisions. For law firms, it provides a relative benchmark to ensure
         that pricing for legal services remains competitive.




1 David Goguen, J.D., University of San Francisco School of Law (2017) Guide to Legal Services Billing Retrieved from
  https://www.lawyers.com/legal-info/research/guide-to-legal-services-billing-rates.html


5     Real Rate Report | Q3 2018                                                                                        wkelmsolutions.com
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    edge




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                  spend withand
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                 rapid changes in today’s legal environment.
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                  performance
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7       Real Rate Report Snapshot | 2017                                                                wkelmsolutions.com

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 Section I:
 High-Level Data Cuts




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                                              165 21    $3 59
                                                154 79    $2 38



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    Partners,       Associates,
    Partners, Associates, and Paralegalsand Paralegals

    By Role
    Q3 2018 -- Real Rates                                                        Trend Analysis (Mean)

                   Role                 n       First     Median      Third     Q3 2018   Q3 2017   Q3 2016
                                               Quartile              Quartile

    Partner                            15479    $380       $585       $845       $642      $617      $599

    Associate                          15530    $275       $405       $588       $452      $429      $413

    Paralegal                          7638     $125       $193       $268       $206      $197      $191




    8     Real Rate Report | Q3 2018                                                      wkelmsolutions.com
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19                                                                    Page 1

     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                Trend Analysis (Mean)

           Practice Area        MatterType        Role     n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                 Quartile               Quartile

     Bankruptcy and            Litigation     Partner     313     $270          $370     $460       $402      $392    $379
     Collections
                                              Associate   212     $223          $255     $310       $286      $268    $265

                                              Paralegal   127     $123          $144     $180       $153      $150    $149

                               Non-Litigation Partner     308     $289          $362     $435       $391      $411    $416

                                              Associate   190     $225          $275     $350       $299      $308    $291

                                              Paralegal   164     $125          $159     $191       $163      $164    $167

     Commercial                Litigation     Partner     1124    $393          $560     $765       $606      $604    $560

                                              Associate   953     $275          $356     $505       $406      $402    $385

                                              Paralegal   611     $120          $195     $266       $202      $199    $193

                               Non-Litigation Partner     867     $444          $595     $804       $677      $665    $608

                                              Associate   693     $306          $395     $583       $475      $467    $420

                                              Paralegal   211     $144          $205     $284       $223      $222    $199

     Corporate: Antitrust      Litigation     Partner     117     $523          $740     $889       $734      $703    $648
     and Competition
                                              Associate   128     $375          $458     $610       $494      $495    $468

                                              Paralegal   70      $230          $256     $298       $259      $244    $234

                               Non-Litigation Partner     121     $745          $892    $1,075      $918      $867    $767

                                              Associate   285     $410          $505     $677       $550      $542    $505

                                              Paralegal   70      $251          $269     $310       $276      $261    $244

     Corporate: Corporate Non-Litigation Partner          43      $557          $696     $878       $740      $632    $641
     Development
                                         Associate        32      $273          $341     $406       $372      $365    $401

                                              Paralegal   12      $144          $166     $222       $196      $215    $194

     Corporate:                Litigation     Partner     44      $869          $975    $1,050      $945      $872    $821
     Governance
                                              Associate   38      $475          $583     $791       $618      $541    $531

                               Non-Litigation Partner     167     $670         $1,000   $1,293      $968      $940    $908

                                              Associate   184     $421          $630     $755       $608      $582    $504

                                              Paralegal   73      $250          $305     $385       $299      $263    $240

     Corporate:                Non-Litigation Partner     36      $558          $645     $750       $682      $658    $637
     Information and
                                              Associate   35      $310          $411     $505       $418      $406    $346
     Technology
     Corporate: Mergers,       Litigation     Partner     15      $511          $595     $704       $600      $657    $551
     Acquisitions and
                                              Associate   12      $287          $384     $473       $391      $437    $373
     Divestitures
                               Non-Litigation Partner     725     $681          $873    $1,148      $909      $834    $823

                                              Associate   814     $400          $555     $725       $568      $515    $509

                                              Paralegal   800     $125          $125     $255       $192      $209    $201




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                Trend Analysis (Mean)

          Practice Area         MatterType        Role     n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                 Quartile               Quartile

     Corporate: Other          Litigation     Partner     1522    $405          $617     $804       $629      $570    $571

                                              Associate   1369    $295          $405     $536       $428      $390    $372

                                              Paralegal   594     $150          $212     $274       $217      $201    $191

                               Non-Litigation Partner     2132    $500          $730     $925       $748      $728    $718

                                              Associate   1978    $340          $475     $631       $505      $485    $472

                                              Paralegal   750     $175          $236     $324       $246      $224    $220

     Corporate:                Non-Litigation Partner     78      $771         $1,044   $1,201     $1,004     $963    $925
     Partnerships and
                                              Associate   99      $458          $630     $815       $626      $614    $580
     Joint Ventures
                                              Paralegal   56      $193          $272     $403       $277      $247    $269

     Corporate:                Litigation     Partner     473     $547          $750     $975       $762      $735    $682
     Regulatory and
                                              Associate   502     $365          $480     $630       $506      $478    $455
     Compliance
                                              Paralegal   261     $194          $250     $303       $257      $246    $236

                               Non-Litigation Partner     1126    $479          $666     $896       $702      $677    $665

                                              Associate   966     $340          $485     $628       $500      $456    $438

                                              Paralegal   310     $160          $222     $290       $231      $213    $220

     Corporate: Strategic      Non-Litigation Partner     26      $465          $737     $984       $744      $820    $798
     Asset Management
     Corporate: Tax            Litigation     Partner     36      $395          $450     $502       $487      $567    $563

                                              Associate   33      $250          $350     $483       $370      $370    $364

                                              Paralegal   21      $125          $165     $225       $181      $179    $205

                               Non-Litigation Partner     360     $575          $779     $999       $821      $792    $795

                                              Associate   293     $371          $536     $680       $563      $528    $528

                                              Paralegal   76      $151          $212     $269       $219      $256    $291

     Corporate: Treasury       Non-Litigation Partner     38      $820          $975    $1,111      $954      $900    $849

                                              Associate   55      $442          $572     $699       $565      $525    $513

                                              Paralegal   17      $230          $250     $295       $254      $263    $249

     Corporate: White     Litigation          Partner     24      $688          $846     $970       $787      $690    $753
     Collar/Fraud/Abuse -
     Internal Only
     Employment and            Litigation     Partner     25      $275          $405     $515       $422      $420    $393
     Labor: ADA
                                              Associate   16      $225          $245     $280       $277      $348    $288

                               Non-Litigation Partner     12      $340          $434     $541       $438      $441    $391




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                               Trend Analysis (Mean)

          Practice Area         MatterType        Role    n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                Quartile               Quartile

     Employment and            Litigation     Partner     47     $438          $578     $852       $699      $713    $535
     Labor: Agreements
                                              Associate   56     $310          $475     $606       $493      $545    $435

                                              Paralegal   24     $264          $306     $323       $299      $290    $213

                               Non-Litigation Partner     63     $370          $465     $661       $517      $452    $462

                                              Associate   37     $265          $310     $550       $393      $312    $344

                                              Paralegal   16     $144          $153     $214       $173      $153    $164

     Employment and      Litigation           Partner     68     $430          $648     $837       $662      $600    $609
     Labor: Compensation
                                              Associate   45     $302          $415     $600       $458      $476    $415
     and Benefits
                                              Paralegal   18     $150          $213     $240       $211      $214    $216

                               Non-Litigation Partner     222    $528          $663     $826       $682      $658    $630

                                              Associate   125    $320          $401     $505       $416      $408    $402

                                              Paralegal   21     $149          $180     $243       $195      $207    $232

     Employment and            Litigation     Partner     331    $345          $420     $545       $460      $424    $409
     Labor:
                                              Associate   285    $261          $302     $375       $334      $322    $302
     Discrimination,
     Retaliation and                          Paralegal   167    $125          $170     $210       $176      $165    $159

     Harassment / EEO          Non-Litigation Partner     192    $380          $445     $504       $464      $452    $442

                                              Associate   191    $277          $315     $382       $331      $312    $317

                                              Paralegal   93     $130          $180     $223       $181      $178    $162

     Employment and            Litigation     Partner     34     $388          $505     $799       $586      $632    $622
     Labor: ERISA
                                              Associate   14     $278          $383     $539       $426      $424    $416

                               Non-Litigation Partner     99     $446          $595     $825       $643      $621    $623

                                              Associate   62     $296          $400     $558       $447      $404    $413

                                              Paralegal   11     $197          $250     $375       $287      $266    $230

     Employment and            Non-Litigation Partner     31     $372          $470     $635       $529      $616    $526
     Labor: Immigration
                                              Associate   14     $276          $377     $458       $393      $421    $513

                                              Paralegal   21     $181          $198     $250       $209      $200    $186

     Employment and            Non-Litigation Partner     11     $428          $560     $610       $569      $620    $607
     Labor: OFCCP
     Employment and            Non-Litigation Partner     12     $435          $464     $497       $478      $481    $461
     Labor: OSHA
     Employment and            Litigation     Partner     540    $434          $595     $760       $627      $602    $556
     Labor: Other
                                              Associate   500    $305          $418     $590       $451      $433    $407

                                              Paralegal   301    $165          $223     $260       $216      $211    $200

                               Non-Litigation Partner     691    $400          $520     $690       $574      $559    $540

                                              Associate   490    $285          $351     $462       $399      $382    $365

                                              Paralegal   138    $132          $190     $250       $217      $201    $195




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                               Trend Analysis (Mean)

          Practice Area         MatterType        Role    n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                Quartile               Quartile

     Employment and            Litigation     Partner     84     $406          $530     $669       $571      $567    $513
     Labor: Union
                                              Associate   70     $290          $332     $405       $362      $362    $347
     Relations and
     Negotiations / NLRB                      Paralegal   17     $105          $196     $205       $177      $206    $197

                               Non-Litigation Partner     152    $386          $450     $551       $484      $483    $475

                                              Associate   71     $280          $325     $355       $334      $339    $329

                                              Paralegal   16     $142          $200     $227       $191      $180    $172

     Employment and            Litigation     Partner     64     $337          $440     $540       $447      $441    $448
     Labor: Wages, Tips
                                              Associate   52     $285          $327     $441       $362      $368    $352
     and Overtime
                                              Paralegal   31     $105          $159     $213       $177      $174    $174

                               Non-Litigation Partner     30     $330          $402     $628       $464      $476    $511

                                              Associate   21     $284          $348     $411       $351      $350    $329

                                              Paralegal   11     $153          $180     $209       $185      $162    $147

     Employment and            Litigation     Partner     63     $349          $422     $546       $468      $423    $409
     Labor: Wrongful
                                              Associate   64     $270          $306     $397       $372      $315    $289
     Termination
                                              Paralegal   31     $155          $180     $228       $195      $176    $153

                               Non-Litigation Partner     37     $366          $475     $577       $493      $454    $497

                                              Associate   35     $273          $315     $361       $325      $348    $354

                                              Paralegal   16     $150          $180     $250       $201      $193    $170

     Environmental             Litigation     Partner     133    $255          $385     $550       $419      $431    $436

                                              Associate   101    $185          $234     $350       $271      $260    $283

                                              Paralegal   76      $85          $95      $185       $136      $155    $148

                               Non-Litigation Partner     191    $450          $550     $757       $642      $574    $578

                                              Associate   139    $309          $429     $572       $459      $387    $367

                                              Paralegal   45     $189          $230     $306       $245      $207    $197

     Finance and               Non-Litigation Partner     151    $693          $925    $1,100      $901      $870    $813
     Securities:
                                              Associate   125    $424          $560     $776       $587      $587    $522
     Debt/Equity
     Offerings                                Paralegal   33     $225          $261     $305       $266      $284    $248

     Finance and               Litigation     Partner     92     $521          $690     $953       $741      $769    $723
     Securities: Fiduciary
                                              Associate   76     $372          $440     $527       $473      $469    $485
     Services
                                              Paralegal   40     $170          $215     $282       $231      $235    $247

                               Non-Litigation Associate   32     $268          $308     $406       $364      $406    $430




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                Trend Analysis (Mean)

          Practice Area         MatterType        Role     n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                 Quartile               Quartile

     Finance and               Litigation     Partner     51      $660          $980    $1,221      $968      $981    $959
     Securities:
                                              Associate   58      $415          $644     $812       $619      $606    $560
     Investments and
     Other Financial                          Paralegal   32      $221          $280     $414       $300      $288    $280

     Instruments               Non-Litigation Partner     1298    $708          $921    $1,190      $937      $928    $886

                                              Associate   1559    $463          $627     $800       $643      $621    $590

                                              Paralegal   443     $205          $270     $325       $268      $268    $252

     Finance and           Litigation         Partner     67      $300          $350     $558       $478      $532    $607
     Securities: Loans and
                                              Associate   75      $200          $310     $473       $389      $347    $390
     Financing
                                              Paralegal   39      $128          $133     $200       $164      $177    $195

                               Non-Litigation Partner     1047    $500          $761    $1,093      $806      $794    $769

                                              Associate   1017    $380          $556     $770       $579      $561    $519

                                              Paralegal   458     $195          $270     $340       $267      $253    $242

     Finance and               Non-Litigation Partner     57      $595          $893    $1,156      $861      $727    $667
     Securities: Other
                                              Associate   57      $395          $528     $691       $558      $506    $469

                                              Paralegal   13      $150          $221     $240       $204      $227    $222

     Finance and             Non-Litigation Partner       136     $603          $802    $1,126      $855      $859    $845
     Securities: SEC Filings
                                            Associate     103     $355          $515     $655       $518      $489    $545
     and Financial
     Reporting                              Paralegal     20      $176          $235     $310       $249      $231    $237

     Finance and               Litigation     Partner     56      $687          $835    $1,014      $848      $794    $746
     Securities: Securities
                                              Associate   66      $387          $522     $612       $528      $507    $465
     and Banking
     Regulations                              Paralegal   33      $198          $283     $306       $266      $228    $249

                               Non-Litigation Partner     83      $669          $857    $1,248      $917      $968    $929

                                              Associate   49      $425          $530     $716       $563      $590    $538

                                              Paralegal   18      $229          $256     $337       $267      $270    $273

     General Liability:        Litigation     Partner     15      $680          $715     $798       $680      $721    $732
     Advertising Injury
                                              Associate   15      $438          $495     $567       $488      $566    $534

     General Liability:  Litigation           Partner     174     $210          $251     $325       $291      $273    $275
     Asbestos/Mesothelio
                                              Associate   169     $180          $215     $251       $238      $222    $215
     ma
                                              Paralegal   178      $90          $110     $125       $115      $102    $100

                               Non-Litigation Partner     41      $225          $290     $370       $326      $363    $306

                                              Associate   43      $170          $251     $255       $252      $237    $234

                                              Paralegal   57      $100          $125     $140       $139      $135    $127

     General Liability:        Litigation     Partner     34      $200          $255     $374       $294      $255    $253
     Auto and
                                              Associate   36      $173          $200     $218       $203      $208    $203
     Transportation
                                              Paralegal   23       $85          $95      $194       $136      $118     $99




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
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     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                               Trend Analysis (Mean)

          Practice Area         MatterType        Role    n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                Quartile               Quartile

     General Liability:        Litigation     Partner     77     $300          $466     $625       $481      $459    $440
     Consumer Related
                                              Associate   80     $225          $303     $421       $338      $325    $299
     Claims
                                              Paralegal   31     $120          $195     $240       $191      $172    $166

     General Liability:        Litigation     Partner     22     $443          $547     $726       $618      $612    $491
     Crime, Dishonesty
                                              Associate   20     $291          $344     $463       $412      $456    $379
     and Fraud
                                              Paralegal   19     $138          $248     $289       $232      $201    $206

     General Liability:        Litigation     Partner     245    $210          $370     $658       $461      $437    $433
     Other
                                              Associate   267    $165          $245     $445       $317      $289    $280

                                              Paralegal   151     $90          $120     $195       $152      $141    $151

                               Non-Litigation Partner     41     $355          $450     $595       $476      $477    $435

                                              Associate   31     $250          $275     $355       $299      $309    $318

                                              Paralegal   28     $113          $134     $175       $144      $132    $136

     General Liability:        Litigation     Partner     367    $185          $210     $250       $247      $261    $239
     Personal
                                              Associate   328    $160          $175     $200       $189      $197    $188
     Injury/Wrongful
     Death                                    Paralegal   327     $85          $93      $105       $101      $100     $95

     General Liability:        Litigation     Partner     53     $250          $305     $380       $339      $340    $280
     Premises
                                              Associate   39     $198          $225     $265       $233      $244    $232

                                              Paralegal   42     $101          $130     $180       $139      $128    $107

     General Liability:  Litigation           Partner     592    $279          $378     $550       $445      $411    $393
     Product and Product
                                              Associate   618    $205          $256     $365       $304      $286    $287
     Liability
                                              Paralegal   503    $122          $140     $206       $166      $152    $149

                               Non-Litigation Partner     66     $225          $275     $434       $364      $373    $336

                                              Associate   34     $184          $225     $297       $275      $267    $253

                                              Paralegal   25      $90          $110     $195       $145      $148    $113

     General Liability:        Litigation     Partner     20     $383          $438     $556       $498      $479    $421
     Property Damage
                                              Associate   31      $60          $280     $373       $280      $354    $289

                                              Paralegal   14     $185          $185     $241       $209      $217    $151

     General Liability:        Litigation     Partner     32     $295          $392     $587       $480      $396    $383
     Toxic Tort
                                              Associate   45     $225          $264     $425       $342      $302    $346

                                              Paralegal   33     $100          $100     $185       $164      $123    $126

     Government                Non-Litigation Partner     129    $627          $761     $904       $775      $673    $709
     Relations
                                              Associate   102    $426          $536     $661       $559      $430    $462

                                              Paralegal   33     $185          $250     $300       $251      $260    $262

     Insurance Defense:  Litigation           Partner     33     $160          $200     $300       $248      $247    $252
     Asbestos/Mesothelio
                                              Associate   31     $145          $175     $275       $210      $215    $225
     ma
                                              Paralegal   34      $90          $155     $155       $133      $131    $135



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     Detailed Practice Areas
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     By Matter Type
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     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                              Trend Analysis (Mean)

          Practice Area         MatterType      Role     n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                               Quartile               Quartile

     Insurance Defense:        Litigation    Partner     552    $160          $170     $175       $173      $180    $179
     Auto and
                                             Associate   549    $139          $150     $160       $152      $153    $153
     Transportation
                                             Paralegal   436     $80          $85       $90       $85        $85     $85

     Insurance Defense:        Litigation    Partner     222    $160          $170     $175       $187      $178    $186
     Construction Defect
                                             Associate   168    $135          $150     $160       $154      $152    $153

                                             Paralegal   125     $80          $86       $90       $87        $85     $87

     Insurance Defense:        Litigation    Partner     11     $145          $160     $193       $187      $183    $206
     Consumer Related
                                             Paralegal   11      $75          $80       $95       $88        $81     $83
     Claims
     Insurance Defense:   Litigation         Partner     192    $175          $195     $225       $220      $204    $209
     Errors and Omissions
                                             Associate   144    $151          $175     $185       $180      $174    $174

                                             Paralegal   108     $80          $90      $100       $93        $88     $89

     Insurance Defense:        Litigation    Partner     711    $165          $175     $225       $212      $216    $208
     Other
                                             Associate   602    $145          $155     $175       $173      $178    $176

                                             Paralegal   438     $80          $90       $95       $97        $95     $95

     Insurance Defense:        Litigation    Partner     312    $161          $181     $205       $199      $195    $195
     Personal
                                             Associate   268    $140          $158     $175       $165      $165    $164
     Injury/Wrongful
     Death                                   Paralegal   184     $75          $85       $90       $89        $88     $91

     Insurance Defense:  Litigation          Partner     272    $170          $190     $275       $299      $257    $242
     Product and Product
                                             Associate   247    $155          $170     $190       $215      $190    $181
     Liability
                                             Paralegal   139     $85          $90       $97       $99       $101     $95

     Insurance Defense:        Litigation    Partner     569    $180          $200     $250       $227      $229    $232
     Professional Liability
                                             Associate   364    $155          $178     $210       $191      $195    $197

                                             Paralegal   259     $79          $90      $113       $95        $97     $99

     Insurance Defense:        Litigation    Partner     429    $165          $185     $207       $209      $202    $187
     Property Damage
                                             Associate   423    $150          $165     $180       $173      $170    $161

                                             Paralegal   270     $80          $85       $95       $94        $91     $87

     Insurance Policies   Litigation         Partner     13     $260          $285     $315       $353      $272    $259
     and Coverage: Policy
     Coverage Dispute
     Intellectual Property: Non-Litigation Partner       25     $630          $675     $860       $715      $680    $669
     Copyrights
                                           Associate     16     $349          $498     $545       $479      $419    $417




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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
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     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                               Trend Analysis (Mean)

          Practice Area         MatterType        Role    n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                Quartile               Quartile

     Intellectual Property: Litigation        Partner     82     $800          $945    $1,096      $924      $1,032   $933
     Licensing
                                              Associate   120    $560          $670     $790       $659      $652     $565

                                              Paralegal   70     $270          $270     $304       $283      $241     $245

                               Non-Litigation Partner     121    $800          $940    $1,095      $939      $916     $775

                                              Associate   260    $410          $578     $745       $593      $607     $523

     Intellectual Property: Litigation        Partner     127    $428          $595     $836       $630      $548     $533
     Other
                                              Associate   114    $317          $491     $626       $486      $421     $394

                                              Paralegal   66     $155          $220     $275       $225      $204     $208

                               Non-Litigation Partner     234    $382          $491     $635       $537      $577     $552

                                              Associate   236    $227          $285     $400       $344      $356     $353

                                              Paralegal   105    $150          $184     $244       $201      $190     $182

     Intellectual Property: Litigation        Partner     576    $550          $775     $948       $764      $711     $672
     Patents
                                              Associate   574    $391          $495     $670       $530      $486     $449

                                              Paralegal   339    $178          $245     $296       $248      $244     $221

                               Non-Litigation Partner     601    $369          $495     $673       $544      $519     $523

                                              Associate   675    $257          $325     $428       $377      $356     $351

                                              Paralegal   356    $155          $210     $254       $217      $203     $194

     Intellectual Property: Non-Litigation Partner        16     $397          $530     $847       $602      $752     $400
     Trade Secrets
     Intellectual Property: Litigation        Partner     32     $408          $622     $776       $610      $606     $567
     Trademarks
                                              Associate   21     $308          $335     $451       $377      $385     $368

                                              Paralegal   19     $180          $240     $269       $221      $216     $232

                               Non-Litigation Partner     171    $462          $585     $710       $592      $589     $562

                                              Associate   168    $299          $379     $457       $395      $376     $369

                                              Paralegal   157    $175          $208     $266       $220      $206     $210

     Marketing and             Litigation     Partner     43     $576          $725     $921       $731      $741     $849
     Advertising
                                              Associate   53     $316          $443     $576       $457      $535     $541

                               Non-Litigation Partner     50     $566          $768    $1,099      $831      $687     $706

                                              Associate   61     $395          $580     $870       $637      $554     $517

                                              Paralegal   22     $176          $232     $274       $236      $225     $218

     Miscellaneous: Billing Non-Litigation Partner        79     $870         $1,111   $1,298     $1,118     $936     $992
     or Administrative
                                           Associate      72     $485          $640     $757       $662      $704     $571
     Matter
     Miscellaneous:            Non-Litigation Partner     109    $499          $650     $814       $663      $633     $588
     General Advice &
                                              Associate   71     $266          $410     $530       $415      $409     $434
     Counsel
                                              Paralegal   25     $140          $213     $280       $218      $191     $214




     16   Real Rate Report | Q3 2018                                                                      wkelmsolutions.com
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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                               Trend Analysis (Mean)

          Practice Area         MatterType        Role    n      First        Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                Quartile               Quartile

     Real Estate:              Non-Litigation Partner     33     $335          $404     $495       $432      $424    $427
     Commercial
                                              Associate   11     $220          $280     $331       $318      $321    $271

     Real Estate:        Litigation     Partner           15     $363          $455     $637       $513      $425    $548
     Construction/Develo
                                        Associate         12     $230          $290     $392       $317      $309    $375
     pment
                         Non-Litigation Partner           33     $395          $495     $614       $517      $549    $526

                                              Associate   14     $253          $316     $393       $377      $376    $375

     Real Estate:              Non-Litigation Partner     28     $330          $383     $456       $400      $370    $382
     Easement and Right
                                              Associate   13     $240          $250     $280       $262      $258    $296
     of Way
     Real Estate: Land         Litigation     Partner     19     $490          $565     $663       $598      $446    $428
     Use/Zoning/Restricti
                               Non-Litigation Partner     68     $381          $498     $680       $547      $506    $491
     ve Covenants
                                              Associate   31     $263          $351     $423       $355      $327    $344

                                              Paralegal   11     $145          $225     $263       $210      $210    $185

     Real Estate:              Litigation     Partner     60     $229          $310     $381       $338      $326    $318
     Landlord/Tenant
                                              Associate   69     $195          $225     $275       $241      $242    $231
     Issues
                                              Paralegal   29     $110          $125     $155       $139      $139    $127

                               Non-Litigation Associate   13     $235          $398     $435       $367      $309    $244

     Real Estate: Leasing      Non-Litigation Partner     143    $365          $450     $564       $481      $469    $448

                                              Associate   112    $250          $310     $385       $330      $300    $291

                                              Paralegal   44     $149          $200     $240       $191      $183    $174

     Real Estate: Other        Litigation     Partner     93     $395          $523     $662       $565      $492    $417

                                              Associate   47     $251          $330     $433       $376      $339    $271

                                              Paralegal   26     $151          $180     $239       $195      $186    $141

                               Non-Litigation Partner     236    $350          $443     $538       $475      $499    $487

                                              Associate   156    $246          $295     $383       $336      $343    $320

                                              Paralegal   76     $161          $198     $239       $206      $204    $183

     Real Estate:              Non-Litigation Partner     116    $395          $486     $639       $565      $554    $489
     Property/Land
                                              Associate   90     $266          $346     $473       $407      $346    $311
     Acquisition or
     Divestiture                              Paralegal   52     $168          $220     $250       $217      $202    $192

     Real Estate: Titles       Litigation     Partner     583    $230          $285     $325       $296      $296    $291

                                              Associate   459    $190          $225     $250       $227      $226    $223

                               Non-Litigation Partner     874    $245          $290     $340       $314      $305    $299

                                              Associate   652    $195          $225     $267       $240      $238    $230

                                              Paralegal   468    $100          $125     $150       $133      $134    $136




     17   Real Rate Report | Q3 2018                                                                      wkelmsolutions.com
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     Detailed Practice Areas
     Detailed Practice Areas
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                Trend Analysis (Mean)

          Practice Area         MatterType        Role    n      First         Median    Third     Q3 2018   Q3 2017 Q3 2016
                                                                Quartile                Quartile

     Requests for              Litigation     Partner     116    $385           $523     $773       $601      $559    $574
     Information:
                                              Associate   131    $272           $407     $574       $421      $391    $414
     Subpoena
                                              Paralegal   120    $125           $242     $270       $209      $224    $221

                               Non-Litigation Partner     18     $331           $584     $673       $587      $590    $639




     18   Real Rate Report | Q3 2018                                                                       wkelmsolutions.com
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    Cities
    Cities




    Q3 2018 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

                 City                 Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                             

    Akron OH                 Partner         18      $260           $275    $345       $307       $343      $327

    Albany NY                Partner         52      $255           $300    $351       $313       $300      $317

                             Associate       34      $205           $225    $250       $232       $217      $219

    Albuquerque NM           Partner         15      $220           $293    $315       $279       $276      $243

    Atlanta GA               Partner         472     $372           $549    $690       $548       $527      $515

                             Associate       453     $265           $355    $470       $374       $342      $348

    Atlantic City NJ         Partner         12      $295           $295    $410       $362       $341      $322

    Austin TX                Partner         100     $360           $476    $694       $522       $446      $451

                             Associate       91      $265           $300    $393       $335       $312      $312

    Baltimore MD             Partner         199     $396           $550    $720       $573       $545      $501

                             Associate       241     $309           $392    $504       $410       $400      $368

    Beaumont TX              Associate       12      $180           $225    $244       $216       $184      $153

    Birmingham AL            Partner         126     $290           $344    $419       $361       $348      $339

                             Associate       104     $214           $245    $298       $252       $241      $225

    Boise City ID            Partner         22      $243           $250    $283       $280       $292      $289

                             Associate       11      $177           $190    $223       $209       $202      $195

    Boston MA                Partner         462     $395           $630    $825       $634       $651      $652

                             Associate       547     $281           $413    $550       $440       $464      $456

    Bridgeport CT            Partner         27      $275           $400    $475       $413       $411      $421

                             Associate       29      $204           $250    $335       $267       $279      $276

    Buffalo NY               Partner         75      $297           $327    $345       $320       $309      $304

                             Associate       52      $206           $235    $255       $238       $220      $212

    Burlington VT            Partner         15      $210           $243    $250       $252       $256      $256

    Charleston SC            Partner         22      $294           $300    $380       $334       $318      $324

                             Associate       14      $200           $246    $250       $253       $225      $229

    Charleston WV            Partner         30      $200           $250    $334       $278       $268      $242

                             Associate       17      $153           $165    $175       $178       $182      $185

    Charlotte NC             Partner         134     $396           $525    $668       $551       $548      $552

                             Associate       117     $257           $320    $375       $345       $345      $343

    Chicago IL               Partner         1290    $525           $702    $888       $718       $685      $671

                             Associate       1360    $318           $435    $575       $457       $436      $427

    Cincinnati OH            Partner         75      $360           $425    $484       $431       $413      $413

                             Associate       82      $225           $240    $294       $257       $246      $244




    19   Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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    Cities
    Cities




    Q3 2018 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

                 City                 Role   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                   Quartile               Quartile
                             

    Clarksburg WV            Partner         18     $300           $400    $440       $373       $281      $225

                             Associate       22     $201           $295    $325       $263       $186      $183

    Cleveland OH             Partner         323    $361           $450    $595       $488       $469      $446

                             Associate       308    $234           $284    $350       $303       $282      $274

    Columbia SC              Partner         58     $300           $385    $463       $392       $368      $365

                             Associate       41     $200           $250    $276       $245       $249      $234

    Columbus OH              Partner         73     $374           $439    $516       $452       $413      $407

                             Associate       40     $235           $280    $370       $321       $291      $281

    Dallas TX                Partner         292    $385           $588    $819       $618       $592      $587

                             Associate       379    $320           $470    $605       $474       $432      $410

    Dayton OH                Partner         21     $341           $375    $465       $418       $427      $401

    Denver CO                Partner         155    $354           $440    $525       $452       $445      $416

                             Associate       133    $250           $286    $345       $306       $299      $301

    Des Moines IA            Partner         24     $275           $480    $495       $421       $355      $337

                             Associate       15     $265           $286    $321       $283       $243      $246

    Detroit MI               Partner         141    $250           $350    $410       $347       $363      $338

                             Associate       107    $195           $223    $290       $265       $253      $243

    Fresno CA                Partner         12     $283           $321    $440       $340       $317      $309

    Grand Rapids MI          Partner         11     $347           $455    $565       $440       $398      $364

    Greensboro NC            Partner         12     $250           $290    $340       $330       $316      $307

    Greenville SC            Partner         38     $349           $385    $450       $390       $397      $377

                             Associate       46     $225           $260    $304       $275       $267      $251

    Harrisburg PA            Partner         16     $305           $350    $395       $369       $330      $350

    Hartford CT              Partner         91     $330           $450    $573       $468       $428      $418

                             Associate       58     $206           $250    $300       $256       $272      $259

    Honolulu HI              Partner         38     $250           $300    $400       $334       $331      $328

                             Associate       22     $165           $180    $200       $183       $184      $193

    Houston TX               Partner         208    $405           $625    $810       $641       $615      $609

                             Associate       188    $226           $299    $410       $351       $343      $362

    Indianapolis IN          Partner         139    $337           $405    $495       $414       $396      $384

                             Associate       67     $190           $258    $331       $265       $254      $247

    Jackson MS               Partner         81     $289           $350    $400       $352       $330      $325

                             Associate       61     $175           $225    $251       $198       $169      $195

    Jacksonville FL          Partner         33     $250           $300    $385       $331       $307      $340

                             Associate       21     $189           $248    $277       $242       $253      $248




    20   Real Rate Report | Q3 2018                                                            wkelmsolutions.com
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    Cities
    Cities




    Q3 2018 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

                City                  Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                             

    Kansas City MO           Partner         167     $344           $417    $484       $418       $423      $415

                             Associate       158     $225           $270    $290       $264       $266      $268

    Knoxville TN             Partner         15      $200           $230    $313       $259       $260      $259

    Lafayette LA             Partner         18      $150           $150    $241       $194       $213      $210

    Las Vegas NV             Partner         52      $345           $433    $555       $438       $398      $365

                             Associate       42      $241           $272    $310       $271       $256      $250

    Lexington KY             Partner         20      $295           $300    $325       $318       $312      $327

    Little Rock AR           Partner         32      $215           $235    $288       $264       $270      $256

                             Associate       12      $160           $180    $195       $186       $180      $182

    Los Angeles CA           Partner         999     $450           $695    $955       $718       $691      $656

                             Associate       1361    $382           $550    $721       $559       $529      $494

    Louisville KY            Partner         49      $273           $330    $410       $337       $352      $362

                             Associate       32      $208           $225    $225       $213       $205      $197

    Madison WI               Partner         17      $357           $378    $420       $399       $378      $414

                             Associate       14      $280           $316    $485       $362       $346      $345

    Manchester NH            Partner         13      $360           $380    $525       $413       $410      $327

    Memphis TN               Partner         42      $275           $374    $410       $345       $345      $329

                             Associate       22      $185           $206    $235       $209       $217      $207

    Miami FL                 Partner         258     $304           $450    $595       $467       $444      $431

                             Associate       193     $225           $300    $399       $331       $304      $291

    Milwaukee WI             Partner         121     $290           $365    $446       $396       $384      $390

                             Associate       87      $224           $270    $310       $279       $268      $260

    Minneapolis MN           Partner         232     $300           $429    $578       $456       $443      $423

                             Associate       202     $250           $310    $410       $361       $318      $306

    Nashville TN             Partner         120     $337           $420    $474       $409       $401      $390

                             Associate       102     $215           $234    $270       $247       $243      $236

    New Haven CT             Partner         24      $324           $385    $443       $390       $395      $412

                             Associate       24      $239           $285    $322       $281       $273      $270

    New Orleans LA           Partner         113     $225           $305    $350       $308       $286      $293

                             Associate       83      $185           $225    $238       $221       $209      $195

    New York NY              Partner         2564    $600           $925   $1,201      $910       $871      $846

                             Associate       3653    $410           $588    $790       $603       $572      $549

    Oklahoma City OK         Partner         40      $200           $308    $350       $293       $285      $279

                             Associate       22      $169           $203    $215       $198       $195      $189

    Omaha NE                 Partner         29      $280           $365    $395       $342       $325      $310

                             Associate       13      $193           $216    $230       $213       $212      $201



    21   Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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    Cities
    Cities




    Q3 2018 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

                 City                 Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                             

    Orlando FL               Partner         104     $370           $448    $553       $460       $453      $434

                             Associate       96      $230           $269    $310       $276       $274      $277

    Philadelphia PA          Partner         898     $450           $600    $765       $615       $596      $578

                             Associate       1016    $288           $362    $450       $373       $364      $342

    Phoenix AZ               Partner         140     $270           $350    $450       $364       $381      $387

                             Associate       79      $200           $244    $300       $253       $266      $231

    Pittsburgh PA            Partner         192     $325           $460    $585       $469       $469      $455

                             Associate       254     $244           $321    $394       $327       $312      $306

    Portland ME              Partner         50      $250           $354    $449       $370       $357      $333

                             Associate       20      $196           $223    $258       $235       $231      $221

    Portland OR              Partner         129     $350           $405    $512       $431       $415      $387

                             Associate       150     $300           $342    $385       $340       $300      $275

    Providence RI            Partner         21      $185           $295    $513       $377       $397      $345

                             Associate       19      $205           $225    $235       $225       $221      $210

    Raleigh NC               Partner         65      $285           $385    $450       $383       $385      $361

                             Associate       37      $225           $250    $305       $274       $247      $238

    Richmond VA              Partner         108     $340           $500    $700       $525       $484      $492

                             Associate       131     $274           $343    $430       $351       $335      $325

    Rochester NY             Partner         28      $243           $295    $365       $311       $313      $339

                             Associate       18      $198           $216    $268       $233       $217      $249

    Sacramento CA            Partner         31      $350           $385    $454       $453       $452      $442

                             Associate       17      $275           $304    $350       $324       $326      $294

    Salt Lake City UT        Partner         66      $281           $345    $433       $379       $362      $338

                             Associate       19      $196           $205    $230       $211       $221      $211

    San Diego CA             Partner         140     $250           $385    $875       $535       $499      $495

                             Associate       132     $180           $225    $390       $299       $305      $279

    San Francisco CA         Partner         448     $475           $695    $895       $702       $651      $623

                             Associate       378     $295           $446    $567       $451       $440      $408

    San Jose CA              Partner         119     $525           $755    $938       $748       $777      $734

                             Associate       99      $319           $490    $609       $494       $490      $462

    San Juan PR              Partner         48      $191           $210    $254       $226       $228      $224

                             Associate       30      $150           $155    $165       $157       $157      $150

    Savannah GA              Partner         11      $284           $306    $369       $324       $299      $279

    Seattle WA               Partner         294     $410           $528    $666       $535       $482      $446

                             Associate       187     $279           $360    $450       $373       $327      $305




    22   Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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    Cities
    Cities




    Q3 2018 -- Real Rates for Partners and Associates                                  Trend Analysis (Mean)

                 City                 Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                             

    St. Louis MO             Partner         155     $263           $356    $451       $365       $357      $361

                             Associate       112     $192           $225    $250       $229       $212      $212

    Syracuse NY              Partner         30      $239           $257    $324       $278       $286      $281

                             Associate       11      $170           $175    $186       $179       $187      $185

    Tallahassee FL           Partner         16      $264           $388    $479       $380       $362      $420

    Tampa FL                 Partner         103     $275           $378    $470       $388       $388      $384

                             Associate       55      $224           $270    $304       $266       $266      $257

    Toledo OH                Partner         13      $255           $300    $350       $305       $290      $286

    Trenton NJ               Partner         38      $428           $519    $569       $498       $511      $489

                             Associate       24      $250           $348    $483       $357       $375      $359

    Tulsa OK                 Partner         16      $221           $240    $320       $259       $273      $281

    Virginia Beach VA        Partner         19      $320           $375    $420       $362       $403      $378

                             Associate       11      $179           $200    $225       $200       $221      $213

    Washington DC            Partner         1822    $628           $789    $941       $800       $770      $752

                             Associate       1528    $395           $500    $625       $522       $492      $480

    Wheeling WV              Partner         41      $659           $808    $895       $777       $737      $678

                             Associate       77      $468           $510    $626       $538       $454      $411

    Winston NC               Partner         11      $350           $425    $523       $428       $376      $351

                             Associate       12      $200           $241    $315       $274       $238      $243




    23   Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

             City            MatterType        Role    n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                   Quartile
                                           

    Akron OH                Litigation     Partner     11     $260               $275    $348       $307       $344      $320

                            Non-Litigation Partner     11     $260               $275    $328       $308       $342      $338

    Albany NY               Litigation     Partner     21     $255               $322    $350       $316       $309      $328

                            Non-Litigation Partner     40     $265               $300    $356       $311       $295      $313

                                           Associate   29     $205               $225    $235       $221       $217      $219

    Atlanta GA              Litigation     Partner     260    $350               $530    $677       $532       $488      $453

                                           Associate   243    $241               $327    $439       $351       $309      $316

                            Non-Litigation Partner     282    $384               $550    $695       $558       $558      $560

                                           Associate   241    $287               $393    $498       $400       $375      $371

    Atlantic City NJ        Non-Litigation Partner     11     $295               $295    $295       $365       $334      $312

    Austin TX               Litigation     Partner     39     $350               $475    $775       $554       $452      $456

                                           Associate   30     $251               $344    $488       $371       $343      $336

                            Non-Litigation Partner     78     $360               $489    $616       $511       $443      $448

                                           Associate   79     $267               $295    $375       $323       $299      $302

    Baltimore MD            Litigation     Partner     110    $365               $525    $678       $536       $494      $475

                                           Associate   152    $294               $390    $495       $398       $379      $354

                            Non-Litigation Partner     105    $439               $570    $753       $612       $594      $523

                                           Associate   113    $331               $400    $524       $429       $433      $388

    Baton Rouge LA          Litigation     Partner     15     $259               $293    $307       $285       $256      $276

                                           Associate   11     $150               $204    $215       $196       $197      $203

    Beaumont TX             Litigation     Associate   12     $180               $225    $244       $216       $189      $153

    Birmingham AL           Litigation     Partner     84     $250               $300    $386       $323       $313      $300

                                           Associate   62     $193               $228    $265       $232       $225      $212

                            Non-Litigation Partner     55     $328               $400    $495       $421       $400      $392

                                           Associate   50     $225               $275    $330       $279       $260      $248

    Boise City ID           Non-Litigation Partner     16     $245               $250    $271       $280       $275      $273

    Boston MA               Litigation     Partner     187    $290               $500    $725       $536       $517      $498

                                           Associate   187    $195               $345    $471       $357       $370      $354

                            Non-Litigation Partner     322    $443               $668    $895       $688       $729      $744

                                           Associate   398    $327               $442    $603       $477       $513      $499

    Bridgeport CT           Litigation     Partner     17     $275               $400    $487       $424       $451      $417

                                           Associate   12     $250               $275    $400       $319       $282      $272

                            Non-Litigation Partner     15     $274               $383    $475       $402       $387      $422

                                           Associate   21     $150               $249    $265       $241       $278      $278




    24   Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

             City            MatterType        Role    n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                   Quartile
                                           

    Buffalo NY              Litigation     Partner     50     $268               $320    $330       $306       $300      $299

                                           Associate   35     $205               $245    $255       $240       $223      $213

                            Non-Litigation Partner     37     $320               $330    $349       $339       $318      $308

                                           Associate   26     $214               $235    $254       $236       $216      $211

    Burlington VT           Non-Litigation Partner     11     $210               $243    $250       $246       $248      $255

    Charleston SC           Non-Litigation Partner     15     $295               $325    $400       $342       $310      $328

    Charleston WV           Litigation     Partner     22     $200               $240    $298       $252       $256      $241

                                           Associate   12     $150               $165    $175       $163       $183      $183

                            Non-Litigation Partner     11     $236               $305    $418       $336       $309      $246

    Charlotte NC            Litigation     Partner     52     $329               $503    $597       $508       $504      $515

                                           Associate   45     $246               $300    $362       $315       $317      $331

                            Non-Litigation Partner     107    $423               $530    $703       $573       $585      $576

                                           Associate   86     $285               $320    $390       $367       $370      $353

    Chicago IL              Litigation     Partner     543    $426               $625    $800       $638       $605      $589

                                           Associate   600    $250               $386    $540       $411       $388      $377

                            Non-Litigation Partner     942    $580               $743    $925       $760       $732      $719

                                           Associate   923    $356               $460    $591       $485       $469      $459

    Cincinnati OH           Litigation     Partner     34     $300               $445    $495       $423       $411      $404

                                           Associate   41     $225               $225    $280       $249       $239      $239

                            Non-Litigation Partner     49     $375               $425    $475       $436       $415      $417

                                           Associate   53     $230               $246    $307       $263       $256      $247

    Cleveland OH            Litigation     Partner     137    $321               $430    $558       $468       $450      $427

                                           Associate   127    $226               $265    $350       $302       $278      $259

                            Non-Litigation Partner     246    $365               $455    $600       $497       $478      $452

                                           Associate   230    $235               $287    $355       $304       $284      $280

    Columbia SC             Litigation     Partner     39     $295               $385    $440       $379       $347      $349

                                           Associate   25     $195               $250    $272       $236       $239      $227

                            Non-Litigation Partner     28     $315               $375    $475       $404       $384      $385

                                           Associate   24     $205               $235    $300       $254       $255      $244

    Columbus OH             Litigation     Partner     21     $348               $418    $450       $417       $386      $389

                            Non-Litigation Partner     60     $383               $450    $526       $463       $428      $419

                                           Associate   33     $235               $282    $375       $325       $294      $290

    Dallas TX               Litigation     Partner     117    $275               $485    $764       $513       $482      $456

                                           Associate   138    $250               $385    $535       $403       $364      $341

                            Non-Litigation Partner     198    $443               $642    $854       $680       $680      $659

                                           Associate   269    $393               $491    $650       $511       $470      $446



    25   Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

             City            MatterType        Role    n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                   Quartile
                                           

    Dayton OH               Non-Litigation Partner     17     $301               $375    $459       $385       $377      $382

    Denver CO               Litigation     Partner     67     $305               $400    $510       $416       $406      $394

                                           Associate   53     $250               $275    $315       $308       $298      $308

                            Non-Litigation Partner     110    $377               $455    $533       $470       $470      $429

                                           Associate   90     $250               $300    $350       $306       $301      $297

    Des Moines IA           Litigation     Partner     13     $275               $480    $495       $433       $353      $344

                                           Associate   11     $278               $306    $330       $292       $248      $227

                            Non-Litigation Partner     14     $297               $429    $495       $407       $356      $325

    Detroit MI              Litigation     Partner     68     $210               $310    $400       $321       $324      $306

                                           Associate   58     $185               $205    $260       $231       $229      $224

                            Non-Litigation Partner     97     $300               $359    $425       $367       $393      $367

                                           Associate   64     $205               $250    $310       $298       $272      $260

    Greenville SC           Litigation     Associate   12     $266               $298    $302       $290       $274      $224

                            Non-Litigation Partner     34     $353               $390    $450       $402       $411      $391

                                           Associate   40     $220               $250    $313       $271       $266      $256

    Hartford CT             Litigation     Partner     41     $316               $446    $583       $457       $390      $386

                                           Associate   30     $205               $250    $300       $248       $247      $244

                            Non-Litigation Partner     60     $340               $450    $567       $474       $456      $448

                                           Associate   32     $207               $253    $298       $263       $287      $277

    Honolulu HI             Litigation     Partner     23     $250               $300    $425       $343       $354      $341

                            Non-Litigation Partner     23     $258               $300    $373       $326       $306      $313

                                           Associate   16     $170               $180    $200       $184       $188      $182

    Houston TX              Litigation     Partner     98     $352               $566    $700       $552       $486      $471

                                           Associate   61     $274               $353    $435       $362       $329      $324

                            Non-Litigation Partner     134    $428               $680    $880       $698       $713      $709

                                           Associate   138    $219               $282    $410       $346       $349      $380

    Indianapolis IN         Litigation     Partner     60     $328               $425    $532       $414       $374      $372

                                           Associate   37     $163               $281    $338       $268       $257      $252

                            Non-Litigation Partner     95     $350               $405    $486       $414       $413      $388

                                           Associate   39     $195               $250    $327       $263       $251      $242

    Jackson MS              Litigation     Partner     56     $290               $351    $383       $341       $333      $323

                                           Associate   56     $159               $225    $248       $190       $175      $193

                            Non-Litigation Partner     31     $285               $350    $459       $371       $323      $329

                                           Associate   14     $203               $251    $251       $233       $152      $208




    26   Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

             City            MatterType        Role    n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                   Quartile
                                           

    Jacksonville FL         Litigation     Partner     26     $240               $295    $376       $314       $310      $330

                                           Associate   17     $183               $200    $258       $223       $254      $251

                            Non-Litigation Partner     15     $298               $325    $377       $364       $301      $351

    Kansas City MO          Litigation     Partner     109    $341               $417    $474       $405       $411      $401

                                           Associate   93     $245               $272    $300       $268       $255      $257

                            Non-Litigation Partner     82     $344               $403    $495       $434       $434      $428

                                           Associate   80     $220               $250    $285       $259       $274      $281

    Knoxville TN            Litigation     Partner     13     $195               $230    $300       $246       $251      $250

    Lafayette LA            Litigation     Partner     17     $150               $150    $205       $181       $202      $199

    Las Vegas NV            Litigation     Partner     24     $225               $350    $404       $342       $341      $323

                                           Associate   24     $200               $250    $270       $246       $246      $232

                            Non-Litigation Partner     33     $410               $490    $594       $499       $465      $417

                                           Associate   26     $263               $290    $320       $292       $265      $269

    Lexington KY            Litigation     Partner     15     $295               $300    $305       $299       $291      $296

                            Non-Litigation Partner     14     $298               $325    $388       $348       $346      $357

    Little Rock AR          Litigation     Partner     20     $218               $233    $273       $267       $275      $253

                            Non-Litigation Partner     17     $215               $246    $300       $261       $262      $263

    Los Angeles CA          Litigation     Partner     518    $395               $650    $908       $659       $622      $574

                                           Associate   642    $355               $510    $670       $515       $463      $422

                            Non-Litigation Partner     641    $501               $729    $995       $772       $751      $724

                                           Associate   901    $410               $581    $775       $595       $580      $546

    Louisville KY           Litigation     Partner     34     $275               $327    $413       $335       $350      $349

                                           Associate   24     $210               $225    $225       $214       $203      $192

                            Non-Litigation Partner     21     $268               $348    $403       $342       $357      $379

                                           Associate   13     $208               $218    $225       $211       $210      $209

    Madison WI              Non-Litigation Partner     14     $362               $377    $400       $402       $388      $406

                                           Associate   14     $258               $313    $339       $337       $338      $337

    Memphis TN              Litigation     Partner     24     $260               $370    $424       $338       $343      $329

                            Non-Litigation Partner     27     $298               $375    $403       $354       $349      $328

                                           Associate   15     $185               $210    $235       $214       $217      $215

    Miami FL                Litigation     Partner     157    $250               $376    $518       $408       $386      $378

                                           Associate   123    $190               $275    $371       $306       $287      $279

                            Non-Litigation Partner     133    $376               $515    $666       $541       $524      $509

                                           Associate   89     $272               $323    $445       $367       $334      $312




    27   Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

             City            MatterType        Role     n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                   Quartile
                                           

    Milwaukee WI            Litigation     Partner     62      $250               $325    $389       $344       $355      $337

                                           Associate   40      $185               $238    $289       $252       $263      $251

                            Non-Litigation Partner     68      $314               $385    $479       $439       $410      $424

                                           Associate   53      $250               $285    $319       $299       $272      $267

    Minneapolis MN          Litigation     Partner     127     $250               $384    $580       $440       $413      $400

                                           Associate   108     $205               $280    $366       $303       $263      $256

                            Non-Litigation Partner     131     $355               $459    $574       $472       $473      $445

                                           Associate   120     $285               $337    $481       $410       $362      $346

    Nashville TN            Litigation     Partner     42      $293               $396    $439       $371       $382      $368

                                           Associate   38      $210               $218    $288       $244       $238      $231

                            Non-Litigation Partner     93      $356               $423    $477       $422       $411      $401

                                           Associate   74      $220               $239    $270       $248       $245      $237

    New Haven CT            Non-Litigation Partner     18      $315               $381    $451       $388       $398      $411

                                           Associate   19      $244               $285    $328       $288       $273      $267

    New Orleans LA          Litigation     Partner     86      $215               $300    $326       $285       $271      $279

                                           Associate   62      $178               $225    $238       $223       $205      $188

                            Non-Litigation Partner     44      $275               $328    $450       $361       $330      $323

                                           Associate   27      $190               $203    $225       $214       $220      $209

    New York NY             Litigation     Partner     1061    $434               $695    $995       $721       $672      $659

                                           Associate   1243    $305               $460    $652       $487       $457      $445

                            Non-Litigation Partner     1892    $725           $1,043     $1,295     $1,002      $962      $930

                                           Associate   2761    $468               $640    $815       $648       $619      $588

    Oklahoma City OK        Litigation     Partner     20      $200               $235    $316       $261       $258      $263

                                           Associate   14      $166               $176    $203       $186       $183      $180

                            Non-Litigation Partner     20      $290               $338    $360       $316       $301      $292

    Omaha NE                Non-Litigation Partner     27      $280               $365    $395       $344       $335      $316

    Orlando FL              Litigation     Partner     48      $315               $425    $453       $396       $400      $376

                                           Associate   58      $220               $252    $282       $252       $249      $239

                            Non-Litigation Partner     67      $395               $455    $610       $512       $491      $487

                                           Associate   51      $242               $277    $343       $305       $314      $330

    Philadelphia PA         Litigation     Partner     547     $415               $590    $725       $574       $538      $518

                                           Associate   637     $275               $360    $445       $357       $344      $316

                            Non-Litigation Partner     514     $500               $640    $809       $661       $652      $636

                                           Associate   499     $300               $370    $460       $395       $389      $376




    28   Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

             City            MatterType        Role    n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                   Quartile
                                           

    Phoenix AZ              Litigation     Partner     61     $200               $326    $437       $352       $390      $381

                                           Associate   38     $176               $215    $294       $242       $273      $208

                            Non-Litigation Partner     95     $310               $365    $450       $371       $376      $391

                                           Associate   52     $215               $254    $302       $261       $261      $258

    Pittsburgh PA           Litigation     Partner     88     $290               $425    $578       $432       $420      $393

                                           Associate   132    $225               $316    $384       $319       $290      $294

                            Non-Litigation Partner     136    $370               $475    $599       $494       $499      $497

                                           Associate   148    $274               $325    $395       $335       $329      $314

    Portland ME             Litigation     Partner     14     $250               $293    $406       $352       $347      $350

                            Non-Litigation Partner     40     $240               $360    $452       $375       $360      $327

                                           Associate   14     $196               $222    $277       $241       $237      $219

    Portland OR             Litigation     Partner     61     $319               $385    $492       $404       $393      $371

                                           Associate   62     $300               $330    $363       $323       $285      $275

                            Non-Litigation Partner     95     $365               $415    $534       $448       $431      $401

                                           Associate   117    $306               $349    $393       $346       $306      $275

    Providence RI           Litigation     Associate   12     $208               $225    $230       $219       $219      $208

                            Non-Litigation Partner     17     $185               $425    $638       $446       $487      $429

    Raleigh NC              Litigation     Partner     20     $246               $283    $418       $329       $333      $327

                                           Associate   16     $194               $218    $253       $245       $218      $221

                            Non-Litigation Partner     51     $320               $418    $460       $404       $411      $379

                                           Associate   24     $250               $281    $309       $292       $265      $253

    Richmond VA             Litigation     Partner     54     $255               $375    $552       $435       $393      $383

                                           Associate   59     $200               $295    $395       $311       $304      $299

                            Non-Litigation Partner     66     $400               $610    $744       $597       $574      $584

                                           Associate   80     $304               $361    $440       $381       $361      $346

    Rochester NY            Litigation     Partner     15     $263               $360    $375       $331       $313      $321

                            Non-Litigation Partner     16     $240               $265    $347       $291       $311      $358

    Sacramento CA           Litigation     Partner     14     $350               $371    $393       $379       $413      $421

                                           Associate   13     $270               $304    $350       $318       $321      $283

                            Non-Litigation Partner     22     $350               $394    $767       $531       $487      $467

    Salt Lake City UT       Litigation     Partner     32     $276               $370    $444       $375       $362      $339

                            Non-Litigation Partner     42     $285               $333    $400       $382       $362      $338

                                           Associate   16     $199               $207    $230       $216       $212      $210




    29   Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

             City            MatterType        Role    n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                   Quartile
                                           

    San Diego CA            Litigation     Partner     78     $206               $370    $795       $486       $445      $442

                                           Associate   79     $170               $195    $303       $280       $295      $256

                            Non-Litigation Partner     92     $325               $498    $945       $594       $565      $554

                                           Associate   78     $194               $235    $450       $325       $315      $304

    San Francisco CA        Litigation     Partner     202    $378               $650    $838       $643       $597      $565

                                           Associate   203    $274               $405    $550       $430       $406      $377

                            Non-Litigation Partner     317    $510               $709    $925       $736       $688      $666

                                           Associate   211    $316               $456    $590       $471       $472      $436

    San Jose CA             Litigation     Partner     41     $500               $675    $896       $677       $781      $710

                                           Associate   21     $325               $495    $515       $435       $483      $431

                            Non-Litigation Partner     97     $549               $758    $954       $776       $775      $742

                                           Associate   82     $300               $490    $626       $510       $492      $472

    San Juan PR             Litigation     Partner     23     $190               $205    $225       $210       $212      $207

                                           Associate   19     $136               $153    $161       $148       $151      $145

                            Non-Litigation Partner     39     $198               $233    $275       $241       $241      $236

                                           Associate   18     $159               $170    $184       $172       $165      $157

    Seattle WA              Litigation     Partner     100    $398               $491    $632       $511       $472      $418

                                           Associate   69     $255               $320    $420       $348       $323      $286

                            Non-Litigation Partner     237    $435               $543    $670       $544       $486      $458

                                           Associate   139    $300               $380    $458       $385       $330      $314

    St. Louis MO            Litigation     Partner     92     $232               $325    $427       $343       $324      $317

                                           Associate   70     $191               $205    $233       $220       $202      $196

                            Non-Litigation Partner     87     $324               $390    $465       $388       $393      $398

                                           Associate   49     $196               $238    $269       $242       $227      $229

    Syracuse NY             Non-Litigation Partner     22     $245               $270    $338       $292       $311      $302

    Tallahassee FL          Non-Litigation Partner     13     $370               $390    $480       $401       $369      $410

    Tampa FL                Litigation     Partner     57     $260               $325    $416       $346       $361      $359

                                           Associate   33     $185               $250    $295       $246       $240      $242

                            Non-Litigation Partner     66     $310               $400    $498       $421       $417      $405

                                           Associate   30     $240               $280    $320       $286       $288      $276

    Trenton NJ              Litigation     Partner     28     $400               $519    $560       $484       $502      $469

                                           Associate   14     $200               $273    $420       $316       $353      $351

                            Non-Litigation Partner     20     $460               $519    $595       $519       $524      $514

                                           Associate   16     $330               $379    $490       $406       $407      $373

    Tulsa OK                Litigation     Partner     13     $225               $250    $316       $261       $266      $266

    Virginia Beach VA       Non-Litigation Partner     14     $340               $387    $420       $374       $425      $416



    30   Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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    Cities
    Cities By Matter Type

    By Matter Type
    Q3 2018 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

             City            MatterType        Role     n      First         Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                   Quartile
                                           

    Washington DC           Litigation     Partner     767     $649               $785    $926       $794       $769      $729

                                           Associate   627     $420               $510    $630       $530       $510      $483

                            Non-Litigation Partner     1386    $621               $792    $945       $804       $770      $763

                                           Associate   1094    $384               $500    $620       $519       $484      $478

    Wheeling WV             Litigation     Partner     16      $602               $764    $895       $762       $718      $710

                                           Associate   34      $490               $505    $598       $529       $476      $424




    31   Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     Q3 2018 -- Real Rates for Partners                                                            Trend Analysis (Mean)

               City                 Years of Experience   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                Quartile               Quartile
                              

     Albuquerque NM           21 or More Years            12     $223           $293    $315       $286       $297      $261

     Atlanta GA               Fewer Then 21 Years         133    $370           $525    $620       $512       $476      $473

                              21 or More Years            188    $385           $571    $726       $563       $558      $539

     Atlantic City NJ         21 or More Years            11     $295           $295    $370       $345       $331      $313

     Austin TX                Fewer Then 21 Years         28     $360           $418    $616       $498       $459      $443

                              21 or More Years            52     $414           $545    $700       $554       $476      $480

     Baltimore MD             Fewer Then 21 Years         46     $432           $515    $644       $544       $531      $467

                              21 or More Years            86     $396           $570    $689       $571       $542      $499

     Baton Rouge LA           21 or More Years            13     $258           $310    $423       $324       $295      $311

     Birmingham AL            Fewer Then 21 Years         43     $293           $315    $400       $345       $325      $306

                              21 or More Years            45     $315           $381    $465       $392       $376      $357

     Boise City ID            21 or More Years            11     $240           $250    $270       $258       $287      $302

     Boston MA                Fewer Then 21 Years         123    $455           $632    $807       $641       $633      $632

                              21 or More Years            234    $375           $650    $840       $640       $642      $648

     Bridgeport CT            21 or More Years            18     $273           $375    $480       $416       $440      $415

     Buffalo NY               Fewer Then 21 Years         31     $300           $324    $330       $315       $300      $287

                              21 or More Years            31     $293           $330    $350       $326       $318      $311

     Charleston WV            21 or More Years            14     $240           $260    $332       $276       $284      $264

     Charlotte NC             Fewer Then 21 Years         51     $383           $525    $603       $512       $534      $528

                              21 or More Years            47     $496           $580    $847       $644       $624      $607

     Chicago IL               Fewer Then 21 Years         362    $486           $668    $819       $675       $637      $613

                              21 or More Years            560    $584           $746    $944       $758       $717      $709

     Cincinnati OH            Fewer Then 21 Years         23     $330           $380    $451       $392       $357      $361

                              21 or More Years            32     $430           $475    $516       $479       $454      $450

     Cleveland OH             Fewer Then 21 Years         114    $330           $385    $500       $441       $413      $386

                              21 or More Years            159    $420           $495    $679       $537       $512      $484

     Columbia SC              21 or More Years            23     $325           $400    $490       $414       $369      $370

     Columbus OH              Fewer Then 21 Years         20     $336           $410    $564       $442       $417      $420

                              21 or More Years            47     $375           $446    $505       $450       $416      $396

     Dallas TX                Fewer Then 21 Years         68     $350           $518    $663       $560       $569      $542

                              21 or More Years            120    $395           $597    $847       $650       $630      $608

     Dayton OH                21 or More Years            13     $425           $465    $519       $498       $475      $440

     Denver CO                Fewer Then 21 Years         50     $360           $410    $489       $435       $434      $405

                              21 or More Years            70     $350           $495    $577       $484       $472      $448




     32   Real Rate Report | Q3 2018                                                                        wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     Q3 2018 -- Real Rates for Partners                                                            Trend Analysis (Mean)

                City                Years of Experience   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                Quartile               Quartile
                              

     Des Moines IA            Fewer Then 21 Years         11     $275           $275    $478       $356       $312      $366

     Detroit MI               Fewer Then 21 Years         38     $312           $350    $400       $363       $354      $325

                              21 or More Years            70     $210           $347    $423       $345       $375      $351

     Greenville SC            21 or More Years            24     $348           $425    $453       $405       $413      $405

     Harrisburg PA            21 or More Years            11     $301           $370    $471       $379       $338      $358

     Hartford CT              Fewer Then 21 Years         14     $315           $387    $420       $372       $361      $344

                              21 or More Years            66     $364           $480    $594       $499       $455      $440

     Honolulu HI              21 or More Years            25     $250           $300    $425       $346       $343      $342

     Houston TX               Fewer Then 21 Years         66     $543           $675    $838       $681       $616      $569

                              21 or More Years            96     $412           $655    $860       $673       $636      $636

     Indianapolis IN          Fewer Then 21 Years         44     $275           $360    $427       $352       $341      $341

                              21 or More Years            68     $360           $465    $545       $440       $420      $408

     Jackson MS               Fewer Then 21 Years         24     $255           $340    $368       $314       $286      $272

                              21 or More Years            24     $296           $358    $454       $383       $352      $345

     Jacksonville FL          Fewer Then 21 Years         11     $240           $280    $335       $286       $299      $326

                              21 or More Years            16     $300           $350    $450       $389       $344      $366

     Kansas City MO           Fewer Then 21 Years         53     $314           $353    $422       $362       $358      $339

                              21 or More Years            71     $390           $460    $525       $450       $447      $434

     Las Vegas NV             Fewer Then 21 Years         22     $375           $407    $486       $434       $371      $327

                              21 or More Years            18     $225           $450    $665       $449       $428      $391

     Little Rock AR           21 or More Years            19     $222           $245    $308       $283       $287      $268

     Los Angeles CA           Fewer Then 21 Years         232    $474           $665    $920       $690       $633      $593

                              21 or More Years            449    $459           $688    $960       $717       $694      $671

     Louisville KY            Fewer Then 21 Years         17     $281           $309    $350       $307       $307      $307

                              21 or More Years            27     $250           $395    $435       $352       $352      $369

     Memphis TN               Fewer Then 21 Years         11     $273           $290    $375       $307       $302      $279

                              21 or More Years            27     $345           $398    $425       $375       $376      $353

     Miami FL                 Fewer Then 21 Years         62     $299           $390    $545       $425       $369      $366

                              21 or More Years            133    $350           $463    $631       $491       $465      $449

     Milwaukee WI             Fewer Then 21 Years         34     $273           $343    $393       $372       $351      $351

                              21 or More Years            59     $301           $380    $509       $428       $407      $423

     Minneapolis MN           Fewer Then 21 Years         65     $338           $415    $550       $431       $421      $391

                              21 or More Years            93     $350           $484    $678       $507       $477      $457

     Nashville TN             Fewer Then 21 Years         38     $302           $342    $422       $359       $372      $354

                              21 or More Years            52     $396           $435    $491       $434       $417      $404




     33   Real Rate Report | Q3 2018                                                                        wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     Q3 2018 -- Real Rates for Partners                                                             Trend Analysis (Mean)

               City                 Years of Experience    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                 Quartile               Quartile
                              

     New Haven CT             21 or More Years            11      $360           $378    $390       $384       $388      $413

     New Orleans LA           Fewer Then 21 Years         24      $225           $305    $320       $294       $258      $244

                              21 or More Years            55      $215           $305    $390       $322       $301      $301

     New York NY              Fewer Then 21 Years         642     $642           $924   $1,195      $909       $853      $821

                              21 or More Years            1337    $625           $955   $1,269      $938       $888      $860

     Oklahoma City OK         21 or More Years            26      $220           $316    $358       $304       $300      $298

     Omaha NE                 Fewer Then 21 Years         12      $279           $320    $375       $314       $296      $281

                              21 or More Years            15      $326           $391    $395       $365       $348      $332

     Orlando FL               Fewer Then 21 Years         38      $341           $393    $542       $425       $420      $360

                              21 or More Years            47      $414           $450    $511       $471       $445      $436

     Philadelphia PA          Fewer Then 21 Years         232     $434           $550    $661       $552       $526      $509

                              21 or More Years            403     $475           $634    $775       $632       $599      $578

     Phoenix AZ               Fewer Then 21 Years         31      $269           $335    $418       $347       $344      $351

                              21 or More Years            65      $325           $400    $489       $410       $416      $403

     Pittsburgh PA            Fewer Then 21 Years         49      $300           $380    $538       $416       $421      $400

                              21 or More Years            94      $375           $490    $585       $486       $463      $448

     Portland ME              21 or More Years            31      $205           $402    $448       $345       $353      $345

     Portland OR              Fewer Then 21 Years         42      $350           $405    $500       $426       $390      $359

                              21 or More Years            67      $374           $438    $531       $452       $446      $421

     Providence RI            21 or More Years            12      $185           $400    $582       $421       $381      $399

     Raleigh NC               Fewer Then 21 Years         26      $275           $320    $400       $345       $364      $346

                              21 or More Years            30      $384           $428    $483       $429       $413      $378

     Richmond VA              Fewer Then 21 Years         38      $305           $548    $711       $529       $426      $469

                              21 or More Years            49      $388           $585    $714       $560       $531      $520

     Rochester NY             21 or More Years            16      $250           $295    $360       $311       $316      $332

     Sacramento CA            21 or More Years            19      $365           $394    $478       $488       $461      $441

     Salt Lake City UT        Fewer Then 21 Years         26      $280           $305    $431       $385       $338      $279

                              21 or More Years            36      $310           $385    $438       $390       $389      $375

     San Diego CA             Fewer Then 21 Years         45      $359           $375    $795       $506       $447      $473

                              21 or More Years            66      $315           $467    $980       $624       $592      $546

     San Francisco CA         Fewer Then 21 Years         126     $496           $700    $881       $719       $644      $595

                              21 or More Years            213     $510           $700    $902       $711       $662      $656

     San Jose CA              Fewer Then 21 Years         35      $608           $787    $908       $771       $734      $720

                              21 or More Years            68      $600           $802    $985       $813       $857      $799

     Seattle WA               Fewer Then 21 Years         70      $400           $461    $550       $478       $423      $392

                              21 or More Years            167     $475           $568    $680       $574       $520      $474



     34   Real Rate Report | Q3 2018                                                                         wkelmsolutions.com
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     Cities
     Cities By Year of Experience

     By Years of Experience
     Q3 2018 -- Real Rates for Partners                                                            Trend Analysis (Mean)

               City                 Years of Experience   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                Quartile               Quartile
                              

     St. Louis MO             Fewer Then 21 Years         54     $250           $332    $414       $332       $323      $318

                              21 or More Years            80     $288           $424    $513       $403       $385      $388

     Syracuse NY              21 or More Years            19     $239           $250    $349       $286       $292      $301

     Tampa FL                 Fewer Then 21 Years         26     $275           $365    $400       $348       $354      $326

                              21 or More Years            58     $310           $410    $506       $420       $415      $404

     Trenton NJ               Fewer Then 21 Years         14     $403           $460    $561       $467       $510      $483

                              21 or More Years            23     $480           $525    $583       $519       $512      $506

     Washington DC            Fewer Then 21 Years         521    $613           $756    $870       $750       $716      $683

                              21 or More Years            955    $630           $810    $960       $819       $791      $774

     Wheeling WV              Fewer Then 21 Years         13     $622           $755    $915       $729       $747      $726

                              21 or More Years            12     $648           $761    $867       $768       $708      $712




     35   Real Rate Report | Q3 2018                                                                        wkelmsolutions.com
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    Cities
    Cities By Year of Experience

    By Years of Experience
    Q3 2018 -- Real Rates for Associates                                                     Trend Analysis (Mean)

             City              Years of Experience   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile               Quartile

    Albany NY              7 or More Years           11     $215           $226    $235       $233       $235      $248

    Atlanta GA             Fewer Than 3 Years        12     $263           $328    $338       $293       $273      $184

                           3 to Fewer Than 7 Years   67     $282           $378    $473       $384       $354      $317

                           7 or More Years           95     $225           $388    $543       $396       $351      $361

    Austin TX              3 to Fewer Than 7 Years   13     $270           $350    $487       $385       $370      $303

                           7 or More Years           20     $262           $351    $441       $375       $346      $354

    Baltimore MD           Fewer Than 3 Years        22     $390           $400    $445       $410       $375      $406

                           3 to Fewer Than 7 Years   49     $332           $445    $539       $433       $423      $350

                           7 or More Years           57     $275           $350    $524       $404       $378      $336

    Birmingham AL          3 to Fewer Than 7 Years   15     $215           $225    $300       $257       $229      $211

                           7 or More Years           25     $223           $253    $296       $260       $248      $229

    Boston MA              Fewer Than 3 Years        23     $325           $372    $446       $391       $340      $411

                           3 to Fewer Than 7 Years   78     $325           $429    $640       $470       $457      $445

                           7 or More Years           85     $305           $450    $721       $511       $496      $508

    Buffalo NY             3 to Fewer Than 7 Years   13     $188           $235    $255       $232       $228      $222

    Charlotte NC           3 to Fewer Than 7 Years   23     $230           $309    $358       $341       $332      $298

                           7 or More Years           32     $287           $344    $478       $384       $414      $381

    Chicago IL             Fewer Than 3 Years        57     $340           $380    $443       $387       $372      $430

                           3 to Fewer Than 7 Years   185    $375           $476    $593       $494       $452      $427

                           7 or More Years           229    $315           $500    $650       $502       $480      $471

    Cincinnati OH          3 to Fewer Than 7 Years   21     $225           $242    $271       $248       $241      $214

                           7 or More Years           16     $255           $310    $315       $296       $291      $275

    Cleveland OH           Fewer Than 3 Years        21     $235           $276    $300       $274       $254      $233

                           3 to Fewer Than 7 Years   59     $235           $298    $379       $320       $284      $263

                           7 or More Years           73     $247           $295    $348       $316       $297      $287

    Columbus OH            3 to Fewer Than 7 Years   12     $225           $240    $280       $277       $239      $227

                           7 or More Years           16     $265           $350    $441       $361       $321      $288

    Dallas TX              Fewer Than 3 Years        18     $263           $383    $441       $360       $291      $300

                           3 to Fewer Than 7 Years   50     $305           $410    $586       $454       $431      $425

                           7 or More Years           59     $392           $575    $720       $557       $492      $455

    Denver CO              3 to Fewer Than 7 Years   15     $251           $275    $335       $294       $301      $291

                           7 or More Years           47     $266           $312    $370       $346       $305      $321

    Detroit MI             3 to Fewer Than 7 Years   14     $223           $268    $285       $255       $234      $243

                           7 or More Years           29     $196           $250    $347       $302       $282      $260

    Greenville SC          7 or More Years           11     $258           $300    $356       $303       $291      $253

    Hartford CT            7 or More Years           22     $230           $262    $300       $266       $283      $259



    36   Real Rate Report | Q3 2018                                                                    wkelmsolutions.com
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    Cities
    Cities By Year of Experience

    By Years of Experience
    Q3 2018 -- Real Rates for Associates                                                     Trend Analysis (Mean)

             City              Years of Experience   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile               Quartile

    Houston TX             3 to Fewer Than 7 Years   32     $260           $356    $445       $371        $313     $312

                           7 or More Years           47     $285           $405    $615       $474        $434     $441

    Indianapolis IN        3 to Fewer Than 7 Years   14     $150           $165    $247       $214        $221     $198

                           7 or More Years           20     $235           $335    $395       $316        $272     $258

    Jackson MS             3 to Fewer Than 7 Years   12     $186           $225    $248       $215        $163     $178

                           7 or More Years           20     $158           $235    $251       $192        $158     $196

    Kansas City MO         3 to Fewer Than 7 Years   19     $200           $220    $253       $231        $243     $237

                           7 or More Years           26     $255           $270    $289       $271        $280     $294

    Las Vegas NV           7 or More Years           13     $250           $270    $290       $266        $270     $268

    Los Angeles CA         Fewer Than 3 Years        56     $357           $450    $547       $447        $414     $490

                           3 to Fewer Than 7 Years   137    $395           $573    $695       $561        $514     $446

                           7 or More Years           239    $350           $524    $751       $550        $536     $510

    Louisville KY          7 or More Years           13     $191           $225    $225       $211        $211     $200

    Miami FL               3 to Fewer Than 7 Years   21     $264           $334    $386       $321        $294     $261

                           7 or More Years           38     $240           $320    $405       $332        $299     $289

    Milwaukee WI           3 to Fewer Than 7 Years   17     $255           $287    $292       $277        $263     $240

                           7 or More Years           21     $246           $292    $330       $304        $298     $285

    Minneapolis MN         3 to Fewer Than 7 Years   28     $291           $335    $380       $340        $283     $279

                           7 or More Years           34     $260           $320    $375       $337        $331     $315

    Nashville TN           3 to Fewer Than 7 Years   12     $215           $234    $248       $224        $219     $209

                           7 or More Years           20     $221           $270    $293       $263        $264     $261

    New Orleans LA         7 or More Years           28     $175           $216    $238       $217        $201     $194

    New York NY            Fewer Than 3 Years        155    $390           $475    $588       $500        $434     $370

                           3 to Fewer Than 7 Years   387    $430           $689    $815       $652        $592     $539

                           7 or More Years           669    $445           $710    $880       $678        $657     $615

    Orlando FL             3 to Fewer Than 7 Years   13     $246           $270    $280       $278        $278     $253

                           7 or More Years           25     $260           $295    $322       $284        $274     $261

    Philadelphia PA        Fewer Than 3 Years        86     $280           $319    $360       $334        $326     $308

                           3 to Fewer Than 7 Years   169    $300           $360    $415       $370        $344     $336

                           7 or More Years           228    $300           $404    $475       $398        $385     $359

    Phoenix AZ             3 to Fewer Than 7 Years   17     $203           $243    $294       $252        $245     $165

                           7 or More Years           13     $204           $270    $306       $275        $322     $269

    Pittsburgh PA          Fewer Than 3 Years        17     $298           $325    $365       $316        $297     $340

                           3 to Fewer Than 7 Years   44     $243           $316    $380       $323        $295     $275

                           7 or More Years           52     $245           $346    $425       $349        $317     $330




    37   Real Rate Report | Q3 2018                                                                    wkelmsolutions.com
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    Cities
    Cities By Year of Experience

    By Years of Experience
    Q3 2018 -- Real Rates for Associates                                                     Trend Analysis (Mean)

             City              Years of Experience   n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile               Quartile

    Portland OR            Fewer Than 3 Years        19     $229           $290    $310       $285        $275     $232

                           3 to Fewer Than 7 Years   50     $320           $346    $378       $347        $290     $250

                           7 or More Years           48     $329           $383    $426       $374        $327     $307

    Raleigh NC             7 or More Years           13     $245           $285    $323       $288        $290     $264

    Richmond VA            7 or More Years           25     $211           $336    $430       $345        $322     $330

    San Diego CA           3 to Fewer Than 7 Years   17     $278           $312    $499       $371        $304     $276

                           7 or More Years           36     $278           $447    $614       $450        $440     $324

    San Francisco CA       Fewer Than 3 Years        19     $319           $430    $451       $406        $355

                           3 to Fewer Than 7 Years   57     $320           $450    $537       $443        $415     $375

                           7 or More Years           100    $359           $477    $641       $511        $476     $445

    San Jose CA            3 to Fewer Than 7 Years   11     $319           $448    $579       $458        $446     $408

                           7 or More Years           36     $420           $500    $684       $560        $546     $541

    Seattle WA             3 to Fewer Than 7 Years   34     $279           $333    $377       $340        $290     $275

                           7 or More Years           52     $310           $404    $460       $411        $344     $335

    St. Louis MO           3 to Fewer Than 7 Years   13     $225           $252    $280       $251        $225     $221

                           7 or More Years           34     $194           $205    $250       $233        $222     $233

    Tampa FL               3 to Fewer Than 7 Years   12     $238           $280    $296       $270        $211     $239

                           7 or More Years           17     $185           $263    $324       $261        $271     $250

    Trenton NJ             7 or More Years           14     $261           $393    $494       $387        $409     $380

    Washington DC          Fewer Than 3 Years        114    $320           $435    $500       $425        $391     $352

                           3 to Fewer Than 7 Years   270    $410           $508    $601       $505        $461     $422

                           7 or More Years           318    $450           $600    $740       $613        $583     $553

    Wheeling WV            7 or More Years           16     $425           $515    $721       $533        $470     $444




    38   Real Rate Report | Q3 2018                                                                    wkelmsolutions.com
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     Firm    Size
     Firm Size
     By Matter Type
     By Matter Type
     Q3 2018 -- Real Rates for Partners and Associates                                         Trend Analysis (Mean)

            Firm Size     MatterType       Role      n      First      Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile                Quartile

     50 Lawyers or       Litigation     Partner     1399    $215            $275    $391       $322       $312      $300
     Fewer
                                        Associate   1152    $175            $225    $280       $243       $228      $215

                         Non-Litigation Partner     1527    $273            $350    $485       $389       $376      $363

                                        Associate   1132    $200            $250    $310       $276       $267      $260

     51-200 Lawyers      Litigation     Partner     1391    $264            $353    $500       $413       $398      $380

                                        Associate   1144    $200            $244    $306       $274       $265      $249

                         Non-Litigation Partner     1557    $340            $428    $575       $478       $475      $469

                                        Associate   1012    $235            $279    $350       $308       $308      $294

     201-500 Lawyers     Litigation     Partner     1387    $374            $500    $677       $536       $515      $507

                                        Associate   1134    $260            $314    $427       $361       $351      $344

                         Non-Litigation Partner     1969    $423            $548    $736       $606       $590      $570

                                        Associate   1561    $285            $361    $493       $408       $392      $377

     501-1,000 Lawyers   Litigation     Partner     1586    $520            $680    $915       $734       $693      $649

                                        Associate   1796    $349            $460    $622       $492       $461      $436

                         Non-Litigation Partner     2656    $600            $807   $1,133      $865       $834      $796

                                        Associate   3403    $399            $555    $745       $578       $542      $515

     More Than 1,000     Litigation     Partner     1201    $664            $800    $958       $819       $783      $755
     Lawyers
                                        Associate   1496    $395            $485    $629       $514       $489      $473

                         Non-Litigation Partner     2310    $750            $895   $1,100      $936       $885      $863

                                        Associate   2822    $425            $560    $735       $594       $570      $545




     39    Real Rate Report | Q3 2018                                                                   wkelmsolutions.com
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 Industry Analysis




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                                              165 21    $3 59
                                                154 79    $2 38



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     Industry     Groups
     Industry Groups




     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                            Trend Analysis (Mean)

            Industry Group                     Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile               Quartile

     Basic Materials and Utilities   Partner          604     $350          $460     $707       $579        $545     $508

                                     Associate        510     $235          $315     $505       $395        $377     $347

                                     Paralegal        319     $110          $165     $234       $183        $175     $170

     Consumer Goods                  Partner          509     $350          $450     $655       $530        $489     $477

                                     Associate        408     $225          $290     $420       $349        $336     $326

                                     Paralegal        298     $125          $150     $216       $175        $159     $153

     Consumer Services               Partner          2476    $394          $550     $730       $599        $576     $539

                                     Associate        2414    $275          $384     $550       $428        $407     $374

                                     Paralegal        1075    $125          $200     $265       $208        $205     $192

     Financials Excluding            Partner          4955    $449          $727    $1,025      $767        $754     $731
     Insurance
                                     Associate        5172    $325          $500     $715       $538        $528     $505

                                     Paralegal        2191    $161          $226     $300       $236        $232     $223

     Health Care                     Partner          1568    $425          $603     $832       $634        $606     $579

                                     Associate        1658    $292          $420     $503       $422        $399     $382

                                     Paralegal        924     $140          $204     $255       $206        $194     $189

     Industrials                     Partner          2546    $340          $485     $730       $547        $534     $561

                                     Associate        2236    $235          $325     $463       $373        $364     $394

                                     Paralegal        1197    $105          $170     $237       $189        $173     $175

     Insurance                       Partner          5439    $173          $215     $325       $306        $296     $280

                                     Associate        4879    $150          $178     $255       $239        $228     $216

                                     Paralegal        3777     $85          $95      $125       $120        $115     $112

     Technology and                  Partner          2509    $475          $676     $875       $697        $647     $623
     Telecommunications
                                     Associate        2641    $336          $450     $605       $485        $436     $408

                                     Paralegal        1010    $175          $244     $290       $238        $217     $209




     41   Real Rate Report | Q3 2018                                                                     wkelmsolutions.com
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     Industry
     Industry Groups
     By Matter Type Groups
     By Matter Type
     Q3 2018 -- Real Rates for Partners and Associates                                          Trend Analysis (Mean)

          Industry Group      MatterType       Role     n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile               Quartile

     Basic Materials and    Litigation     Partner     308     $255          $374     $554       $435        $424     $403
     Utilities
                                           Associate   275     $200          $251     $327       $296        $289     $287

                            Non-Litigation Partner     343     $405          $540     $895       $694        $657     $617

                                           Associate   256     $300          $428     $661       $499        $485     $431

     Consumer Goods         Litigation     Partner     277     $298          $375     $520       $450        $410     $404

                                           Associate   253     $205          $250     $325       $304        $291     $290

                            Non-Litigation Partner     258     $425          $546     $779       $619        $590     $567

                                           Associate   166     $300          $378     $481       $420        $412     $386

     Consumer Services      Litigation     Partner     1324    $325          $496     $677       $530        $509     $466

                                           Associate   1160    $240          $329     $468       $372        $370     $324

                            Non-Litigation Partner     1462    $450          $590     $791       $659        $637     $606

                                           Associate   1453    $306          $434     $588       $472        $443     $425

     Financials Excluding   Litigation     Partner     1427    $333          $536     $805       $603        $607     $587
     Insurance
                                           Associate   1455    $246          $366     $560       $416        $424     $413

                            Non-Litigation Partner     3813    $505          $800    $1,100      $829        $809     $782

                                           Associate   3929    $375          $555     $765       $584        $565     $535

     Health Care            Litigation     Partner     1100    $400          $595     $805       $616        $575     $552

                                           Associate   1203    $280          $395     $500       $409        $383     $366

                            Non-Litigation Partner     613     $450          $650     $855       $669        $670     $629

                                           Associate   541     $310          $450     $554       $453        $437     $416

     Industrials            Litigation     Partner     1139    $255          $415     $671       $487        $464     $456

                                           Associate   976     $195          $295     $429       $335        $317     $324

                            Non-Litigation Partner     1637    $375          $519     $756       $589        $588     $628

                                           Associate   1414    $255          $350     $495       $399        $398     $433

     Insurance              Litigation     Partner     1201    $275          $360     $631       $466        $429     $407

                                           Associate   1060    $220          $276     $440       $345        $312     $283

                            Non-Litigation Partner     1315    $275          $365     $695       $493        $493     $468

                                           Associate   1120    $225          $275     $445       $351        $338     $319

     Technology and     Litigation         Partner     855     $465          $676     $895       $695        $631     $595
     Telecommunications
                                           Associate   876     $325          $465     $642       $494        $431     $391

                            Non-Litigation Partner     1916    $480          $676     $875       $697        $654     $636

                                           Associate   2009    $340          $443     $590       $481        $437     $415




     42    Real Rate Report | Q3 2018                                                                     wkelmsolutions.com
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19                                                            & Utilities




     Basic
      BasicMaterials  and Utilities
           Materials and
                   Utilities
     By Practice Area and Matter Type
          By Practice Area and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

           Practice Area              Matter Type       Role    n     First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                     Quartile            Quartile
                                                    

     Commercial                     Litigation      Partner     28    $508       $620     $827       $665        $617      $518

                                                    Associate   30    $315       $425     $444       $392        $342      $341

                                    Non-Litigation Partner      17    $472       $500     $641       $600        $689      $471

                                                    Associate   12    $290       $313     $327       $344        $325      $288




     43    Real Rate Report | Q3 2018                                                                         wkelmsolutions.com
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19                                            Consumer Goods




     Consumer
       ConsumerGoods
                Goods
     By Practice       Area
        By Practice Area      andType
                         and Matter Matter Type
     Q3 2018 -- Real Rates for Partners and Associates                                         Trend Analysis (Mean)

          Practice Area       Matter Type         Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                Quartile            Quartile
                                              

     Commercial              Litigation       Partner     49     $435       $466     $536       $508        $481      $472

                                              Associate   23     $267       $295     $355       $328        $345      $321

                             Non-Litigation Partner       75     $409       $513     $666       $557        $568      $523

                                              Associate   61     $295       $370     $459       $378        $380      $353

     Corporate: Other        Non-Litigation Partner       26     $401       $748     $997       $717        $786      $538

                                              Associate   16     $394       $489     $647       $527        $496      $424

     Corporate:              Non-Litigation Partner       13     $600       $785     $890       $801        $706      $682
     Regulatory and
     Compliance
     Employment and          Litigation       Partner     24     $381       $575     $729       $615        $578      $566
     Labor: Other
                                              Associate   18     $320       $473     $550       $437        $392      $411

     Environmental           Non-Litigation Partner       21     $471       $595     $778       $607        $613      $659

     General Liability:  Litigation           Partner     136    $254       $310     $350       $332        $341      $338
     Product and Product
                                              Associate   143    $205       $225     $265       $240        $255      $272
     Liability
     Intellectual Property: Non-Litigation Partner        18     $417       $491     $586       $550        $572      $554
     Trademarks
                                           Associate      12     $342       $386     $414       $382        $484      $408




     44 Real Rate Report | Q3 2018                                                                       wkelmsolutions.com
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      Consumer
        ConsumerServices
                Services
      By Practice       Area
         By Practice Area      andType
                          and Matter Matter Type
      Q3 2018 -- Real Rates for Partners and Associates                                         Trend Analysis (Mean)

           Practice Area       Matter Type         Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                 Quartile            Quartile
                                               

       Bankruptcy and         Litigation       Partner     58     $271       $375     $499       $409        $372      $376
       Collections
                                               Associate   36     $251       $275     $295       $296        $278      $277

       Commercial             Litigation       Partner     324    $380       $553     $695       $577        $566      $523

                                               Associate   240    $283       $350     $465       $393        $389      $354

                              Non-Litigation Partner       183    $400       $535     $680       $553        $534      $532

                                               Associate   149    $268       $371     $447       $381        $375      $358

       Corporate: Mergers,    Non-Litigation Partner       81     $629      $1,144   $1,201      $927        $866      $896
       Acquisitions and
       Divestitures
       Corporate: Other       Litigation       Partner     184    $450       $652     $800       $655        $619      $629

                                               Associate   173    $310       $410     $553       $442        $437      $420

                              Non-Litigation Partner       374    $519       $683     $878       $734        $721      $751

                                               Associate   315    $310       $457     $629       $487        $476      $483

       Corporate:             Litigation       Partner     96     $409       $573     $814       $630        $635      $629
       Regulatory and
                                               Associate   96     $339       $399     $518       $428        $453      $437
       Compliance
                              Non-Litigation Partner       331    $478       $605     $875       $681        $592      $563

                                               Associate   362    $346       $491     $700       $515        $432      $382

       Corporate: Tax         Non-Litigation Partner       77     $430       $558     $627       $572        $541      $506

       Employment and         Litigation       Partner     17     $275       $300     $515       $372        $346      $347
       Labor: ADA
       Employment and         Litigation       Partner     17     $577       $645     $949       $718        $706      $606
       Labor:
                              Non-Litigation Partner       30     $555       $615     $677       $639        $608      $585
       Compensation and
       Benefits
       Employment and         Litigation       Partner     136    $281       $374     $524       $407        $386      $385
       Labor:
                                               Associate   99     $235       $280     $327       $285        $293      $280
       Discrimination,
       Retaliation and        Non-Litigation Partner       18     $350       $457     $485       $490        $478      $453

       Harassment / EEO
       Employment and         Litigation       Partner     163    $346       $455     $595       $467        $466      $430
       Labor: Other
                                               Associate   113    $250       $290     $400       $331        $326      $307

                              Non-Litigation Partner       144    $408       $500     $593       $512        $535      $500

                                               Associate   88     $269       $344     $437       $383        $393      $375




      45   Real Rate Report | Q3 2018                                                                     wkelmsolutions.com
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      Consumer
        ConsumerServices
                Services
      By Practice       Area
         By Practice Area      andType
                          and Matter Matter Type
      Q3 2018 -- Real Rates for Partners and Associates                                        Trend Analysis (Mean)

           Practice Area        Matter Type        Role    n     First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                Quartile            Quartile
                                               

       Employment and      Litigation     Partner          24    $430       $579     $789       $624        $530      $518
       Labor: Union
                                          Associate        11    $283       $359     $402       $405        $346      $369
       Relations and
       Negotiations / NLRB Non-Litigation Partner          66    $367       $450     $626       $487        $499      $429

                                               Associate   28    $272       $305     $356       $325        $331      $279

       Employment and          Litigation      Partner     40    $279       $408     $523       $402        $419      $435
       Labor: Wages, Tips
                                               Associate   32    $279       $387     $490       $362        $374      $350
       and Overtime
       Employment and          Litigation      Partner     18    $312       $379     $502       $427        $405      $382
       Labor: Wrongful
                                               Associate   23    $195       $300     $333       $308        $284      $264
       Termination
       Environmental           Litigation      Partner     56    $215       $248     $255       $272        $269      $284

                                               Associate   60    $182       $185     $189       $213        $195      $200

       Finance and             Non-Litigation Partner      20    $978      $1,190   $1,201     $1,078       $975      $895
       Securities:
                                               Associate   32    $588       $776     $815       $703        $629      $581
       Debt/Equity
       Offerings
       Finance and             Non-Litigation Partner      36    $591       $720    $1,144      $836        $896      $868
       Securities: SEC
                                               Associate   22    $411       $507     $653       $526        $510      $560
       Filings and Financial
       Reporting
       General Liability:      Litigation      Partner     14    $685       $715     $816       $715        $721      $732
       Advertising Injury
                                               Associate   15    $438       $495     $567       $488        $566      $534

       Intellectual Property: Non-Litigation Partner       38    $432       $539     $600       $532        $593      $526
       Other
                                             Associate     33    $285       $332     $396       $357        $383      $315

       Intellectual Property: Litigation       Partner     81    $456       $680     $844       $695        $695      $614
       Patents
                                               Associate   82    $356       $508     $773       $544        $556      $448

                               Non-Litigation Partner      49    $380       $503     $639       $549        $585      $581

                                               Associate   75    $270       $295     $390       $331        $356      $351

       Intellectual Property: Non-Litigation Partner       28    $555       $633     $713       $640        $601      $613
       Trademarks
                                             Associate     32    $312       $381     $509       $422        $375      $380

       Real Estate:            Non-Litigation Associate    12    $233       $399     $445       $377        $315      $244
       Landlord/Tenant
       Issues
       Real Estate: Leasing    Non-Litigation Partner      32    $378       $490     $588       $501        $475      $426

                                               Associate   34    $272       $310     $390       $331        $333      $304




      46 Real Rate Report | Q3 2018                                                                      wkelmsolutions.com
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      Consumer
        ConsumerServices
                Services
      By Practice       Area
         By Practice Area      andType
                          and Matter Matter Type
      Q3 2018 -- Real Rates for Partners and Associates                                        Trend Analysis (Mean)

           Practice Area       Matter Type         Role    n     First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                Quartile            Quartile
                                               

       Real Estate: Other     Litigation       Partner     39    $425       $550     $725       $643        $520      $408

                                               Associate   21    $256       $350     $500       $407        $346      $254

                              Non-Litigation Partner       85    $374       $462     $555       $475        $522      $466

                                               Associate   70    $251       $295     $387       $326        $352      $298

       Requests for           Litigation       Partner     43    $333       $440     $614       $488        $530      $442
       Information:
                                               Associate   29    $280       $350     $430       $363        $377      $332
       Subpoena




      47   Real Rate Report | Q3 2018                                                                    wkelmsolutions.com
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019   Section II: Industry Analysis                          Financials Excluding Insurance 1


       Financials Excluding
      Financials  Excluding Insurance
            Insurance
      By Practice       Area and Matter Type
         By Practice Area and Matter Type

      Q3 2018 -- Real Rates for Partners and Associates                                                    Trend Analysis (Mean)

          Practice Area      Matter Type       Role    n      First            Median            Third     Q3 2018     Q3 2017   Q3 2016
                                                             Quartile                           Quartile
                                           

      Bankruptcy and        Litigation     Partner     177      $250              $342           $425       $381        $380      $359
      Collections
                                           Associate   131      $200              $250           $310       $270        $257      $249

                            Non-Litigation Partner     279      $278              $350           $421       $373        $391      $395

                                           Associate   171      $220              $275           $350       $290        $298      $272

      Commercial            Litigation     Partner     321      $348              $495           $746       $586        $655      $634

                                           Associate   286      $255              $350           $500       $400        $450      $472

                            Non-Litigation Partner     180      $525              $925          $1,389     $1,021       $952      $763

                                           Associate   181      $380              $655           $936       $694        $643      $548

      Corporate:            Non-Litigation Partner     45       $675            $1,224          $1,295      $982        $886      $980
      Governance
                                           Associate   37       $418              $651           $762       $604        $563      $598

      Corporate: Mergers,   Non-Litigation Partner     122      $726              $963          $1,335     $1,000       $829      $808
      Acquisitions and
                                           Associate   72       $455              $720           $978       $719        $653      $521
      Divestitures
      Corporate: Other      Litigation     Partner     156      $457              $639           $904       $714        $609      $599

                                           Associate   128      $289              $420           $641       $477        $431      $401

                            Non-Litigation Partner     550      $559              $818          $1,061      $850        $855      $830

                                           Associate   626      $360              $520           $703       $555        $555      $542

      Corporate:            Litigation     Partner     147      $570              $811          $1,068      $829        $763      $697
      Regulatory and
                                           Associate   165      $374              $515           $660       $529        $490      $473
      Compliance
                            Non-Litigation Partner     147      $700              $978          $1,231      $970        $978      $984

                                           Associate   123      $440              $613           $748       $639        $604      $567

      Corporate: Tax        Non-Litigation Partner     91       $808            $1,024          $1,425     $1,088      $1,066    $1,105

                                           Associate   92       $436              $596           $965       $708        $720      $733

      Corporate: Treasury   Non-Litigation Partner     24       $905            $1,038          $1,133     $1,006       $898      $841

                                           Associate   34       $444              $586           $775       $579        $526      $518

      Employment and        Non-Litigation Partner     69       $544              $656           $780       $688        $655      $655
      Labor:
                                           Associate   49       $333              $375           $480       $400        $492      $454
      Compensation and
      Benefits
      Employment and        Litigation     Partner     48       $415              $490           $652       $598        $526      $495
      Labor:
                                           Associate   46       $311              $378           $554       $451        $456      $385
      Discrimination,
      Retaliation and       Non-Litigation Partner     20       $357              $384           $440       $402        $382      $378

      Harassment / EEO                     Associate   13       $250              $290           $315       $284        $241      $267

      Employment and        Non-Litigation Partner     31       $644              $759           $988       $823        $736      $696
      Labor: ERISA
                                           Associate   21       $413              $540           $731       $571        $471      $446




      48 Real Rate Report | Q3 2018                                                                                  wkelmsolutions.com
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019   Section II: Industry Analysis                              Financials Excluding Insurance 2


       Financials Excluding
      Financials  Excluding Insurance
            Insurance
      By Practice       Area and Matter Type
         By Practice Area and Matter Type

      Q3 2018 -- Real Rates for Partners and Associates                                                        Trend Analysis (Mean)

          Practice Area         Matter Type       Role     n      First            Median            Third     Q3 2018     Q3 2017   Q3 2016
                                                                 Quartile                           Quartile
                                              

      Finance and              Non-Litigation Partner     122       $645              $893          $1,033      $858        $835      $775
      Securities:
                                              Associate   88        $386              $503           $680       $547        $553      $501
      Debt/Equity
      Offerings
      Finance and              Litigation     Partner     92        $521              $690           $953       $741        $769      $723
      Securities: Fiduciary
                                              Associate   76        $372              $440           $527       $473        $469      $485
      Services
                               Non-Litigation Associate   32        $268              $308           $406       $364        $406      $430

      Finance and              Litigation     Partner     51        $660              $980          $1,221      $968        $981      $959
      Securities:
                                              Associate   58        $415              $644           $812       $619        $606      $560
      Investments and
      Other Financial          Non-Litigation Partner     1291      $710              $921          $1,195      $938        $930      $888

      Instruments                             Associate   1552      $465              $628           $800       $644        $623      $591

      Finance and           Litigation     Partner        67        $300              $350           $558       $478        $526      $610
      Securities: Loans and
                                           Associate      75        $200              $310           $473       $389        $348      $390
      Financing
                            Non-Litigation Partner        1028      $500              $760          $1,085      $803        $792      $773

                                              Associate   1003      $380              $555           $769       $577        $561      $525

      Finance and              Non-Litigation Partner     38        $381              $693           $968       $691        $580      $620
      Securities: SEC
                                              Associate   12        $344              $463           $641       $504        $419      $429
      Filings and Financial
      Reporting
      Finance and              Non-Litigation Partner     83        $669              $857          $1,248      $917        $971      $947
      Securities: Securities
                                              Associate   49        $425              $530           $716       $563        $592      $552
      and Banking
      Regulations
      Marketing and            Non-Litigation Partner     22        $641            $1,280          $1,545     $1,104      $1,008     $842
      Advertising
                                              Associate   36        $575              $803           $941       $768        $661      $637

      Real Estate:             Non-Litigation Partner     31        $322              $395           $485       $406        $396      $402
      Commercial
      Real Estate:             Litigation     Partner     52        $225              $283           $342       $326        $309      $317
      Landlord/Tenant
                                              Associate   62        $191              $225           $250       $233        $235      $228
      Issues
      Real Estate: Leasing     Non-Litigation Partner     29        $385              $475           $645       $519        $525      $504

                                              Associate   23        $230              $270           $383       $335        $264      $289




      49 Real Rate Report | Q3 2018                                                                                      wkelmsolutions.com
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019   Section II: Industry Analysis                         Financials Excluding Insurance 3


       Financials Excluding
      Financials  Excluding Insurance
            Insurance
      By Practice       Area and Matter Type
         By Practice Area and Matter Type

      Q3 2018 -- Real Rates for Partners and Associates                                                   Trend Analysis (Mean)

           Practice Area     Matter Type       Role    n     First             Median           Third     Q3 2018     Q3 2017   Q3 2016
                                                            Quartile                           Quartile
                                           

      Real Estate: Other    Litigation     Partner     26      $238              $519           $619       $477        $422      $439

                            Non-Litigation Partner     74      $330              $425           $568       $508        $475      $445

                                           Associate   46      $250              $295           $520       $384        $328      $306




      50   Real Rate Report | Q3 2018                                                                               wkelmsolutions.com
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     Section II: Industry Analysis
19                                             Health Care




     Healthcare
          Health Care
     By Practice       Area
        By Practice Area      andType
                         and Matter Matter Type
     Q3 2018 -- Real Rates for Partners and Associates                                         Trend Analysis (Mean)

          Practice Area       Matter Type         Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                Quartile            Quartile
                                              

     Commercial              Non-Litigation Partner       12     $695       $933    $1,460     $1,019       $957      $869

                                              Associate   22     $409       $700     $954       $659        $609      $579

     Corporate: Mergers,     Non-Litigation Partner       21     $473       $527     $995       $754        $774      $675
     Acquisitions and
                                              Associate   24     $284       $700     $731       $583        $410      $417
     Divestitures
     Corporate: Other        Litigation       Partner     165    $524       $687     $856       $717        $647      $660

                                              Associate   178    $336       $464     $518       $462        $424      $413

                             Non-Litigation Partner       147    $705       $840     $956       $849        $775      $755

                                              Associate   170    $454       $500     $621       $533        $476      $490

     Corporate:              Litigation       Partner     120    $575       $734     $875       $722        $720      $653
     Regulatory and
                                              Associate   132    $365       $475     $557       $464        $455      $424
     Compliance
                             Non-Litigation Partner       143    $375       $550     $765       $586        $578      $589

                                              Associate   91     $255       $416     $500       $403        $382      $377

     Employment and          Litigation       Partner     16     $298       $494     $595       $471        $419      $374
     Labor:
                                              Associate   16     $256       $325     $369       $321        $291      $278
     Discrimination,
     Retaliation and
     Harassment / EEO
     Employment and          Litigation       Partner     43     $429       $584     $643       $544        $571      $498
     Labor: Other
                                              Associate   40     $349       $395     $450       $394        $371      $346

                             Non-Litigation Partner       45     $342       $446     $626       $508        $484      $433

                                              Associate   30     $273       $403     $535       $404        $332      $298

     Environmental           Litigation       Partner     26     $403       $549     $625       $546        $575      $548

                                              Associate   14     $322       $393     $515       $424        $414      $406

     General Liability:  Litigation           Partner     300    $350       $500     $670       $538        $465      $441
     Product and Product
                                              Associate   351    $225       $332     $427       $345        $311      $297
     Liability
     Intellectual Property: Litigation        Partner     240    $610       $790     $928       $773        $741      $731
     Patents
                                              Associate   255    $405       $475     $621       $496        $488      $476

                             Non-Litigation Partner       132    $517       $620     $775       $646        $635      $598

                                              Associate   112    $329       $388     $482       $415        $432      $386

     Intellectual Property: Non-Litigation Partner        32     $545       $625     $850       $672        $702      $645
     Trademarks
     Requests for            Litigation       Partner     13     $865       $900     $913       $818        $736      $708
     Information:
                                              Associate   19     $412       $481     $539       $465        $463      $512
     Subpoena




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      Industrials
           Industrials
      By Practice       Area
         By Practice Area      andType
                          and Matter Matter Type
      Q3 2018 -- Real Rates for Partners and Associates                                         Trend Analysis (Mean)

           Practice Area       Matter Type         Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                 Quartile            Quartile
                                               

       Bankruptcy and         Litigation       Partner     15     $380       $395     $488       $462        $393      $352
       Collections
       Commercial             Litigation       Partner     143    $348       $550     $714       $556        $536      $477

                                               Associate   120    $257       $340     $471       $381        $362      $338

                              Non-Litigation Partner       156    $400       $495     $635       $547        $530      $528

                                               Associate   78     $266       $315     $374       $348        $362      $362

       Corporate: Antitrust   Litigation       Partner     12     $757       $871    $1,014      $814        $670      $631
       and Competition
                                               Associate   12     $338       $416     $536       $439        $482      $467

                              Non-Litigation Partner       11     $602       $829     $914       $788        $681      $724

                                               Associate   11     $357       $404     $447       $404        $408      $420

       Corporate: Mergers,    Non-Litigation Partner       202    $722       $852    $1,135      $916        $860      $883
       Acquisitions and
                                               Associate   195    $386       $529     $708       $559        $549      $573
       Divestitures
       Corporate: Other       Litigation       Partner     421    $325       $550     $775       $566        $495      $498

                                               Associate   328    $220       $375     $518       $384        $330      $339

                              Non-Litigation Partner       521    $395       $587     $798       $624        $621      $651

                                               Associate   444    $295       $383     $538       $426        $427      $438

       Corporate:             Litigation       Partner     26     $684       $753     $930       $786        $797      $748
       Regulatory and
                                               Associate   19     $500       $606     $669       $569        $494      $498
       Compliance
                              Non-Litigation Partner       154    $391       $543     $733       $592        $588      $604

                                               Associate   86     $290       $386     $535       $411        $381      $423

       Corporate: Tax         Non-Litigation Partner       94     $584       $751     $879       $757        $800      $832

                                               Associate   79     $339       $455     $670       $498        $517      $544

       Employment and         Non-Litigation Partner       39     $470       $587     $800       $647        $645      $594
       Labor:
                                               Associate   14     $271       $400     $491       $407        $344      $339
       Compensation and
       Benefits
       Employment and         Litigation       Partner     44     $350       $370     $442       $415        $408      $390
       Labor:
                              Non-Litigation Partner       18     $371       $402     $474       $407        $394      $427
       Discrimination,
       Retaliation and                         Associate   17     $351       $381     $405       $375        $377      $314

       Harassment / EEO
       Employment and         Litigation       Partner     11     $340       $410     $730       $524        $586      $596
       Labor: ERISA




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      Industrials
           Industrials
      By Practice       Area
         By Practice Area      andType
                          and Matter Matter Type
      Q3 2018 -- Real Rates for Partners and Associates                                         Trend Analysis (Mean)

           Practice Area       Matter Type         Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                 Quartile            Quartile
                                               

       Employment and         Litigation       Partner     27     $358       $419     $493       $463        $428      $393
       Labor: Other
                              Non-Litigation Partner       111    $369       $453     $568       $522        $516      $506

                                               Associate   75     $244       $315     $365       $335        $334      $324

       Employment and      Litigation     Partner          26     $403       $475     $577       $512        $503      $484
       Labor: Union
                                          Associate        25     $295       $362     $416       $365        $343      $362
       Relations and
       Negotiations / NLRB Non-Litigation Partner          30     $396       $467     $510       $481        $487      $496

                                               Associate   12     $310       $331     $366       $360        $366      $331

       Employment and         Litigation       Partner     24     $273       $350     $400       $346        $363      $373
       Labor: Wrongful
       Termination
       Environmental          Litigation       Partner     23     $458       $528     $561       $502        $479      $479

                                               Associate   14     $285       $298     $309       $315        $298      $363

                              Non-Litigation Partner       60     $390       $531     $610       $515        $503      $519

                                               Associate   35     $293       $370     $443       $372        $351      $348

       General Liability:  Litigation     Partner          60     $200       $225     $325       $271        $282      $289
       Asbestos/Mesothelio
                                          Associate        39     $165       $175     $215       $201        $222      $232
       ma
                           Non-Litigation Partner          33     $275       $315     $395       $352        $397      $323

       General Liability:     Non-Litigation Partner       13     $428       $462     $653       $534        $430      $479
       Other
       General Liability:     Litigation       Partner     142    $194       $214     $258       $271        $302      $274
       Personal
                                               Associate   108    $165       $175     $201       $201        $212      $218
       Injury/Wrongful
       Death
       General Liability:  Litigation          Partner     134    $213       $323     $424       $358        $358      $358
       Product and Product
                                               Associate   109    $181       $215     $290       $265        $265      $274
       Liability
       Intellectual Property: Non-Litigation Partner       121    $330       $423     $570       $487        $499      $527
       Other
                                             Associate     156    $219       $257     $355       $306        $300      $317

       Intellectual Property: Litigation       Partner     52     $442       $675     $835       $661        $672      $643
       Patents
                                               Associate   41     $274       $371     $439       $386        $411      $397

                              Non-Litigation Partner       149    $319       $377     $481       $437        $449      $464

                                               Associate   200    $224       $271     $386       $347        $313      $322

       Intellectual Property: Non-Litigation Partner       29     $335       $495     $604       $476        $535      $533
       Trademarks
                                             Associate     14     $288       $306     $402       $338        $365      $374

       Real Estate: Other     Non-Litigation Partner       21     $380       $460     $515       $492        $541      $649




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      Technology
         Technologyand
                    andTelecommunications
       Telecommunications
      By Practice Area and Matter Type
           By Practice Area and Matter Type

      Q3 2018 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

            Practice Area              Matter Type       Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                       Quartile            Quartile
                                                     

      Bankruptcy and                 Non-Litigation Partner      14     $438       $497     $683       $564        $505      $490
      Collections
      Commercial                     Litigation      Partner     92     $488       $687     $850       $688        $596      $561

                                                     Associate   89     $283       $350     $535       $408        $348      $359

                                     Non-Litigation Partner      187    $473       $622     $779       $626        $588      $566

                                                     Associate   143    $329       $404     $486       $424        $404      $373

      Corporate: Antitrust           Litigation      Partner     30     $677       $776     $922       $784        $819      $716
      and Competition
                                                     Associate   40     $337       $450     $625       $500        $503      $534

                                     Non-Litigation Partner      87     $795       $934    $1,123      $956        $910      $805

                                                     Associate   255    $410       $515     $693       $561        $550      $521

      Corporate:                     Non-Litigation Partner      46     $713       $912    $1,165      $936        $941      $851
      Governance
                                                     Associate   61     $515       $630     $755       $612        $595      $459

      Corporate: Mergers,            Non-Litigation Partner      217    $670       $810     $910       $816        $811      $776
      Acquisitions and
                                                     Associate   219    $416       $506     $625       $531        $532      $490
      Divestitures
      Corporate: Other               Litigation      Partner     175    $488       $710     $847       $704        $699      $681

                                                     Associate   175    $325       $465     $606       $472        $461      $390

                                     Non-Litigation Partner      285    $620       $846     $990       $830        $721      $707

                                                     Associate   246    $444       $546     $683       $563        $471      $426

      Corporate:                     Litigation      Partner     18     $693       $871    $1,071      $899        $796      $723
      Regulatory and
                                                     Associate   17     $409       $556     $600       $549        $478      $440
      Compliance
                                     Non-Litigation Partner      265    $498       $689     $825       $673        $636      $622

                                                     Associate   222    $355       $461     $598       $472        $428      $429

      Corporate: Tax                 Non-Litigation Partner      102    $665       $784     $923       $794        $720      $715

                                                     Associate   74     $391       $490     $607       $506        $380      $391

      Employment and                 Litigation      Partner     12     $750       $868    $1,219      $976        $969
      Labor: Agreements
                                                     Associate   22     $560       $641     $769       $673        $621

                                     Non-Litigation Partner      22     $409       $659     $799       $608        $532      $535

                                                     Associate   16     $352       $476     $551       $460        $325      $357

      Employment and                 Non-Litigation Partner      50     $513       $670     $853       $673        $666      $634
      Labor:
                                                     Associate   36     $301       $405     $530       $417        $368      $358
      Compensation and
      Benefits




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      Technology
         Technologyand
                    andTelecommunications
       Telecommunications
      By Practice Area and Matter Type
           By Practice Area and Matter Type

      Q3 2018 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

            Practice Area              Matter Type       Role    n      First     Median    Third     Q3 2018     Q3 2017   Q3 2016
                                                                       Quartile            Quartile
                                                     

      Employment and                 Litigation      Partner     63     $400       $450     $628       $508        $465      $497
      Labor:
                                                     Associate   57     $305       $350     $422       $362        $316      $329
      Discrimination,
      Retaliation and                Non-Litigation Partner      71     $421       $450     $610       $508        $519      $487

      Harassment / EEO                               Associate   77     $300       $320     $400       $340        $314      $321

      Employment and                 Litigation      Partner     29     $540       $595     $685       $624        $573      $520
      Labor: Other
                                                     Associate   25     $319       $375     $421       $376        $352      $349

                                     Non-Litigation Partner      178    $512       $644     $795       $658        $614      $585

                                                     Associate   170    $315       $387     $525       $434        $391      $360

      General Liability:             Litigation      Partner     42     $302       $475     $657       $497        $509      $504
      Consumer Related
                                                     Associate   41     $255       $346     $486       $367        $373      $340
      Claims
      Government                     Non-Litigation Partner      72     $659       $783     $910       $799        $693      $656
      Relations
                                                     Associate   58     $410       $514     $591       $511        $385      $361

      Intellectual Property: Litigation              Partner     71     $801       $950    $1,093      $935       $1,041     $981
      Licensing
      Intellectual Property: Non-Litigation Partner              37     $450       $537     $730       $578        $599      $537
      Other
                                            Associate            22     $250       $290     $411       $353        $343      $360

      Intellectual Property: Litigation              Partner     220    $578       $802     $984       $809        $699      $650
      Patents
                                                     Associate   213    $444       $605     $755       $593        $475      $434

                                     Non-Litigation Partner      253    $375       $495     $680       $555        $501      $507

                                                     Associate   288    $275       $335     $430       $395        $360      $348

      Intellectual Property: Litigation              Partner     14     $459       $727     $851       $688        $617      $630
      Trademarks
                                                     Associate   12     $325       $413     $514       $420        $406      $433

                                     Non-Litigation Partner      57     $475       $576     $716       $594        $552      $531

                                                     Associate   76     $301       $373     $444       $388        $348      $348

      Marketing and                  Non-Litigation Partner      13     $222       $300     $575       $407        $520      $668
      Advertising
      Real Estate: Leasing           Non-Litigation Partner      55     $350       $420     $525       $442        $434      $428

      Real Estate: Other             Non-Litigation Partner      46     $350       $425     $509       $428        $474      $460

      Requests for                   Litigation      Partner     15     $592       $760     $968       $808        $694      $842
      Information:
                                                     Associate   21     $560       $650     $785       $627        $589      $597
      Subpoena




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 Section III:
 Practice Area Analysis




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                                              165 21    $3 59
                                                154 79    $2 38



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     Section III: Practice Area Analysis
     Bankruptcy
       Bankruptcy and
                  and Collections
19                                                             By City



     By CityCollections
                  By City
     Q3 2018 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

                City                    Role   n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                            

     Atlanta GA             Partner            13    $361           $515    $675       $523       $393      $421

                            Associate          12    $250           $408    $485       $410       $330      $328

     Baltimore MD           Partner            19    $360           $385    $425       $391       $388      $381

     Buffalo NY             Partner            13    $225           $327    $374       $308       $303      $315

                            Associate          13    $185           $235    $254       $232       $223      $212

     Chicago IL             Partner            26    $294           $450    $684       $503       $500      $528

                            Associate          19    $275           $305    $549       $434       $356      $373

     Cleveland OH           Partner            23    $273           $350    $440       $378       $377      $377

                            Associate          22    $225           $271    $348       $283       $254      $266

     Detroit MI             Partner            13    $275           $350    $350       $323       $308      $327

     Indianapolis IN        Partner            13    $269           $350    $350       $329       $317      $325

     Los Angeles CA         Partner            26    $295           $425    $724       $518       $571      $613

                            Associate          14    $230           $275    $335       $303       $361      $390

     Miami FL               Partner            16    $303           $380    $380       $341       $394      $340

                            Associate          11    $237           $255    $257       $246       $235      $199

     New York NY            Partner            69    $333           $435    $615       $501       $534      $529

                            Associate          43    $300           $310    $388       $349       $347      $359

     Philadelphia PA        Partner            56    $364           $415    $504       $441       $441      $425

                            Associate          42    $275           $300    $376       $322       $301      $285

     Pittsburgh PA          Partner            14    $358           $380    $406       $398       $376      $332

                            Associate          27    $236           $319    $386       $312       $269      $238




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     Bankruptcy
       Bankruptcy and
                  and Collections
19                                                                    YoE and Matter Type



     By Years of Experience and Matter Type
           Collections
     By Years of Experience and Matter Type
     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

          Years of Experience                 MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         82     $255          $333        $503       $403       $389      $343

                                         Non-Litigation     96     $283          $350        $415       $376       $389      $383

     21 or More Years                    Litigation         176    $265          $385        $466       $410       $391      $392

                                         Non-Litigation     167    $300          $375        $444       $403       $428      $443




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Non-Litigation    14     $221          $232        $288       $264       $258      $180

     3 to Fewer Than 7 Years              Litigation        33     $185          $240        $280       $256       $236      $230

                                          Non-Litigation    44     $220          $290        $350       $301       $298      $258

     7 or More Years                      Litigation        70     $225          $260        $313       $290       $274      $274

                                          Non-Litigation    72     $235          $280        $350       $306       $316      $299




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     Bankruptcy
       Bankruptcy and
                  and Collections
19                                                              Firm Size & Matter Type



     By Firm Size and Matter Type
           Collections
          By Firm Size and Matter Type
     Q3 2018 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

          Firm Size           MatterType         Role   n     First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     86    $245            $285         $378       $311       $303      $293
     Fewer
                                            Associate   72    $215            $250         $300       $252       $224      $220

                           Non-Litigation   Partner     64    $250            $270         $348       $293       $294      $294

                                            Associate   32    $207            $226         $257       $232       $230      $227

     51-200                Litigation       Partner     84    $254            $350         $433       $365       $363      $338
     Lawyers
                                            Associate   49    $190            $240         $260       $240       $252      $241

                           Non-Litigation   Partner     82    $296            $360         $415       $376       $368      $366

                                            Associate   35    $208            $243         $275       $248       $265      $238

     201-500               Litigation       Partner     81    $340            $380         $517       $438       $429      $425
     Lawyers
                                            Associate   45    $250            $280         $340       $305       $288      $298

                           Non-Litigation   Partner     90    $350            $384         $475       $421       $468      $442

                                            Associate   61    $244            $290         $341       $302       $324      $283

     501-1,000             Litigation       Partner     26    $390            $471         $661       $533       $475      $547
     Lawyers
                                            Associate   16    $349            $460         $529       $450       $331      $371

                           Non-Litigation   Partner     28    $425            $450         $655       $557       $594      $600

                                            Associate   22    $350            $382         $416       $397       $407      $420

     More Than             Litigation       Partner     25    $400            $571         $904       $673       $659      $590
     1,000 Lawyers
                                            Associate   24    $245            $294         $387       $352       $319      $290

                           Non-Litigation   Partner     23    $418            $425         $650       $545       $608      $682




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Section III: Practice Area Analysis
Commercial
  Commercial and
By City
 Institutional Finance
              By City
Q3 2018 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

            City                    Role   n      First     Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                 Quartile            Quartile
                        

Atlanta GA              Partner            56     $411       $600     $705       $580       $563      $511

                        Associate          53     $168       $404     $534       $374       $342      $351

Austin TX               Partner            22     $360       $440     $733       $520       $427      $444

Baltimore MD            Partner            23     $450       $503     $750       $569       $530      $491

                        Associate          24     $364       $416     $560       $448       $396      $352

Birmingham AL           Partner            14     $338       $470     $519       $427       $392      $375

Boston MA               Partner            39     $410       $600     $755       $612       $589      $515

                        Associate          34     $260       $387     $519       $428       $377      $405

Buffalo NY              Partner            16     $275       $298     $317       $295       $311      $305

                        Associate          12     $210       $225     $254       $236       $221      $221

Charlotte NC            Partner            33     $490       $550     $598       $583       $599      $549

                        Associate          30     $321       $361     $394       $349       $309      $291

Chicago IL              Partner            189    $488       $632     $835       $666       $655      $649

                        Associate          170    $305       $390     $503       $420       $436      $419

Cincinnati OH           Associate          12     $230       $250     $299       $262       $272      $253

Cleveland OH            Partner            53     $365       $436     $540       $474       $450      $456

                        Associate          61     $229       $270     $307       $278       $268      $260

Columbus OH             Partner            11     $408       $437     $453       $424       $419      $425

Dallas TX               Partner            37     $472       $695     $895       $662       $595      $658

                        Associate          43     $313       $415     $529       $428       $385      $440

Denver CO               Partner            18     $346       $453     $545       $463       $438      $394

                        Associate          12     $235       $265     $345       $297       $293      $238

Houston TX              Partner            30     $510       $603     $731       $636       $588      $583

                        Associate          14     $275       $339     $370       $332       $322      $440

Indianapolis IN         Partner            23     $367       $497     $606       $491       $427      $399

                        Associate          11     $258       $328     $388       $320       $296      $316

Kansas City MO          Partner            34     $395       $453     $500       $464       $460      $428

                        Associate          22     $254       $275     $293       $271       $283      $276

Los Angeles CA          Partner            108    $520       $698     $919       $710       $738      $685

                        Associate          139    $375       $526     $676       $538       $531      $499

Miami FL                Partner            33     $354       $474     $659       $512       $476      $443

                        Associate          35     $281       $314     $400       $369       $319      $279

Milwaukee WI            Partner            12     $384       $400     $448       $451       $467      $426

Minneapolis MN          Partner            61     $399       $527     $645       $535       $525      $498

                        Associate          43     $288       $320     $379       $353       $337      $320

New Orleans LA          Partner            16     $235       $275     $350       $300       $304      $289


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Section III: Practice Area Analysis
Commercial
  Commercial and
By City
 Institutional Finance
             By City
Q3 2018 -- Real Rates for Partners and Associates                               Trend Analysis (Mean)

         City                      Role   n      First     Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                Quartile            Quartile
                       

New York NY            Partner            259    $550       $819    $1,200      $916       $953      $838

                       Associate          271    $380       $580     $815       $629       $631      $584

Orlando FL             Partner            11     $428       $453     $495       $495       $499      $454

                       Associate          13     $261       $281     $315       $285       $284      $274

Philadelphia PA        Partner            158    $470       $585     $720       $598       $611      $591

                       Associate          133    $290       $340     $451       $388       $368      $354

Pittsburgh PA          Partner            27     $335       $422     $591       $460       $445      $400

                       Associate          31     $246       $316     $381       $318       $287      $271

Portland OR            Partner            24     $352       $436     $515       $446       $426      $391

                       Associate          58     $312       $348     $387       $352       $302      $274

Salt Lake City UT      Partner            13     $295       $399     $474       $388       $377      $383

San Diego CA           Partner            13     $250       $335     $608       $450       $586      $524

                       Associate          13     $268       $300     $498       $370       $372      $321

San Francisco CA       Partner            54     $460       $765     $943       $754       $729      $624

                       Associate          30     $297       $436     $620       $470       $490      $470

San Jose CA            Partner            15     $480       $768     $843       $656       $727      $706

Seattle WA             Partner            59     $383       $513     $668       $513       $457      $445

                       Associate          39     $270       $355     $441       $365       $308      $295

Washington DC          Partner            258    $613       $750     $920       $784       $787      $747

                       Associate          158    $375       $461     $591       $512       $495      $480




61   Real Rate Report | Q3 2018                                                          wkelmsolutions.com
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Section III: Practice Area Analysis
Commercial
  Commercial and
By Years of Experience
 Institutional Finance and Matter Type
By Years of Experience and Matter Type
Q3 2018 -- Real Rates for Partners                                                           Trend Analysis (Mean)

     Years of Experience                 MatterType    n      First     Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile            Quartile


Fewer Then 21 Years                 Litigation         308    $361       $510     $738       $575       $541      $498

                                    Non-Litigation     245    $407       $564     $789       $663       $639      $552

21 or More Years                    Litigation         562    $449       $600     $780       $634       $639      $588

                                    Non-Litigation     399    $489       $637     $842       $717       $687      $645




Q3 2018 -- Real Rates for Associates                                                         Trend Analysis (Mean)

     Years of Experience                  MatterType    n     First     Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile            Quartile

Fewer Than 3 Years                   Litigation        76     $229       $285     $346       $306       $341      $343

                                     Non-Litigation    45     $275       $340     $425       $378       $390      $305

3 to Fewer Than 7 Years              Litigation        193    $275       $342     $482       $400       $376      $341

                                     Non-Litigation    125    $314       $388     $545       $474       $460      $372

7 or More Years                      Litigation        241    $273       $370     $510       $421       $434      $404

                                     Non-Litigation    159    $334       $410     $533       $487       $531      $457




62    Real Rate Report | Q3 2018                                                                      wkelmsolutions.com
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Section III: Practice Area Analysis
Commercial
  Commercial and
ByInstitutional
    Firm Size and Matter Type
                Finance
      By Firm Size and Matter Type
Q3 2018 -- Real Rates for Partners and Associates                                        Trend Analysis (Mean)

     Firm Size           MatterType         Role   n      First     Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                         Quartile            Quartile

50 Lawyers or         Litigation       Partner     163    $275       $360     $517       $412       $373      $340
Fewer
                                       Associate   120    $240       $296     $375       $318       $269      $253

                      Non-Litigation   Partner     120    $258       $360     $488       $392       $390      $364

                                       Associate   68     $185       $250     $298       $260       $258      $257

51-200                Litigation       Partner     207    $299       $406     $579       $453       $445      $430
Lawyers
                                       Associate   155    $216       $260     $323       $290       $278      $279

                      Non-Litigation   Partner     106    $352       $444     $535       $457       $450      $416

                                       Associate   54     $255       $277     $324       $288       $287      $271

201-500               Litigation       Partner     245    $411       $533     $654       $558       $535      $538
Lawyers
                                       Associate   167    $272       $333     $416       $372       $358      $350

                      Non-Litigation   Partner     175    $455       $586     $704       $629       $631      $583

                                       Associate   121    $277       $345     $434       $393       $426      $388

501-1,000             Litigation       Partner     275    $556       $684     $881       $752       $819      $703
Lawyers
                                       Associate   273    $325       $409     $551       $455       $470      $441

                      Non-Litigation   Partner     275    $553       $675     $971       $840       $826      $720

                                       Associate   273    $359       $442     $664       $557       $539      $471

More Than             Litigation       Partner     192    $685       $830     $995       $829       $824      $775
1,000 Lawyers
                                       Associate   207    $380       $519     $645       $525       $511      $518

                      Non-Litigation   Partner     154    $716       $860    $1,030      $885       $865      $835

                                       Associate   158    $390       $522     $680       $573       $551      $509




63    Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Mergers,      Acquisitions, and Divestitures
19                                                              By City



     By CityCorporate
                    Mergers, Acquisitions, and Divestitures

                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

              City                      Role   n      First        Median     Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                Quartile
                            

     Atlanta GA             Partner            13     $576           $687     $795       $660       $651      $704

     Boston MA              Associate          15     $373           $454     $473       $417       $474      $442

     Chicago IL             Partner            97     $746           $830     $949       $852       $803      $775

                            Associate          99     $413           $513     $634       $528       $496      $486

     Cleveland OH           Partner            29     $475           $568     $750       $620       $589      $572

                            Associate          26     $271           $318     $379       $332       $315      $318

     Houston TX             Partner            11     $588           $775    $1,239      $881       $973      $691

     Los Angeles CA         Partner            28     $680           $824    $1,275      $927       $930      $902

                            Associate          39     $519           $795    $1,017      $778       $651      $590

     New York NY            Partner            249    $979          $1,184   $1,350     $1,147      $1,060   $1,039

                            Associate          384    $491           $654     $815       $640       $569      $562

     Philadelphia PA        Partner            49     $551           $701     $854       $724       $691      $678

                            Associate          62     $325           $338     $441       $389       $363      $376

     San Francisco CA       Partner            15     $805           $900    $1,198      $987       $890      $905

     San Jose CA            Associate          11     $535           $626     $730       $634       $624      $635

     Seattle WA             Partner            38     $613           $671     $779       $687       $503      $497

     Washington DC          Partner            111    $703           $894    $1,020      $895       $803      $818

                            Associate          71     $443           $573     $655       $564       $473      $489




     64 Real Rate Report | Q3 2018                                                                wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Mergers,      Acquisitions, and Divestitures
19                                                                    YoE and Matter Type


           Corporate
     By Years
                    Mergers, Acquisitions, and Divestitures
              of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

          Years of Experience                 MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Non-Litigation     200    $661          $798       $1,133      $852       $736      $763

     21 or More Years                    Litigation         11     $436          $590        $671       $576       $651      $596

                                         Non-Litigation     354    $730          $896       $1,144      $931       $869      $854




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Non-Litigation    63     $329          $417        $588       $446        $366     $374

     3 to Fewer Than 7 Years              Non-Litigation    110    $385          $515        $811       $575        $480     $484

     7 or More Years                      Non-Litigation    134    $476          $634        $776       $643        $612     $600




     65    Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Mergers,       Acquisitions, and Divestitures
19                                                               Firm Size & Matter Type



     By FirmCorporate
                    Mergers, Acquisitions, and Divestitures
             Size and Matter Type
          By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

          Firm Size           MatterType         Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                     Quartile

     50 Lawyers or         Non-Litigation   Partner     36     $424            $513         $595       $530       $491      $515
     Fewer
                                            Associate   16     $235            $270         $338       $301       $324      $349

     51-200                Non-Litigation   Partner     48     $433            $504         $771       $586       $573      $568
     Lawyers
                                            Associate   36     $260            $289         $356       $320       $306      $285

     201-500               Non-Litigation   Partner     89     $578            $729         $828       $712       $631      $595
     Lawyers
                                            Associate   65     $325            $413         $502       $432       $398      $388

     501-1,000             Non-Litigation   Partner     248    $750            $979        $1,201      $982       $932      $908
     Lawyers
                                            Associate   380    $420            $588         $777       $578       $504      $508

     More Than             Non-Litigation   Partner     298    $807            $925        $1,249     $1,021      $911      $874
     1,000 Lawyers
                                            Associate   314    $453            $595         $760       $629       $568      $546




     66    Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Regulatory         and Compliance
19                                                            By City 1



     By CityCorporate
                    Regulatory and Compliance

                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Atlanta GA              Partner            29     $468               $636    $806       $663       $653      $575

                             Associate          13     $434               $554    $592       $507       $290      $335

     Baltimore MD            Partner            32     $520               $659    $760       $638       $634      $549

                             Associate          29     $350               $433    $523       $439       $429      $385

     Boston MA               Partner            34     $454               $668    $889       $696       $637      $699

                             Associate          37     $266               $330    $459       $407       $413      $405

     Charlotte NC            Partner            15     $541               $573    $634       $618       $708      $690

     Chicago IL              Partner            87     $585               $746    $900       $751       $759      $749

                             Associate          74     $330               $468    $639       $499       $470      $475

     Dallas TX               Partner            17     $561               $643    $717       $649       $668      $558

                             Associate          18     $343               $489    $541       $471       $443      $375

     Denver CO               Partner            14     $399               $510    $546       $480       $463      $468

     Indianapolis IN         Partner            21     $360               $375    $403       $378       $401      $403

     Jackson MS              Partner            14     $294               $405    $454       $389       $371      $348

     Kansas City MO          Partner            14     $389               $435    $523       $466       $465      $456

     Los Angeles CA          Partner            59     $680               $899    $995       $823       $787      $735

                             Associate          105    $480               $598    $700       $587       $554      $504

     Miami FL                Partner            24     $506               $570    $699       $609       $565      $509

                             Associate          14     $352               $378    $478       $423       $387      $320

     Minneapolis MN          Partner            16     $395               $450    $530       $473       $519      $487

     Nashville TN            Partner            28     $364               $449    $517       $440       $416      $416

                             Associate          24     $215               $237    $270       $242       $238      $241

     New York NY             Partner            224    $798          $1,060      $1,201     $1,003      $929      $915

                             Associate          373    $491               $590    $784       $624       $590      $565

     Philadelphia PA         Partner            90     $592               $655    $790       $677       $692      $658

                             Associate          100    $263               $365    $460       $369       $380      $346

     Pittsburgh PA           Partner            20     $396               $553    $685       $530       $530      $523

                             Associate          29     $296               $369    $429       $375       $326      $341

     Portland OR             Partner            15     $504               $556    $576       $533       $520      $468

                             Associate          42     $337               $364    $406       $371       $316      $280

     Richmond VA             Partner            16     $315               $344    $400       $383       $390      $443

                             Associate          15     $270               $337    $395       $340       $318      $312

     San Francisco CA        Partner            49     $550               $739    $889       $724       $661      $659

                             Associate          39     $375               $475    $622       $485       $496      $436

     San Juan PR             Partner            14     $201               $228    $253       $237       $225      $216




     67   Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Regulatory         and Compliance
19                                                           By City 2



     By CityCorporate
                    Regulatory and Compliance

                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

             City                       Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     Seattle WA             Partner            42     $496               $584    $679       $589       $500      $474

                            Associate          15     $311               $346    $390       $352       $317      $298

     Washington DC          Partner            450    $630               $785    $950       $809       $770      $741

                            Associate          332    $410               $523    $640       $533       $494      $484




     68 Real Rate Report | Q3 2018                                                                   wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Regulatory        and Compliance
19                                                                    YoE and Matter Type


               Corporate
                    Regulatory and Compliance
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

          Years of Experience                 MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         124    $528          $728        $880       $713       $676      $628

                                         Non-Litigation     294    $420          $640        $830       $664       $632      $608

     21 or More Years                    Litigation         240    $566          $798       $1,001      $797       $755      $696

                                         Non-Litigation     599    $500          $674        $915       $721       $697      $692




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Litigation        32     $367          $408        $501       $436        $416     $385

                                          Non-Litigation    91     $324          $450        $538       $442        $358     $288

     3 to Fewer Than 7 Years              Litigation        94     $368          $505        $611       $505        $440     $413

                                          Non-Litigation    184    $341          $455        $653       $494        $434     $394

     7 or More Years                      Litigation        121    $424          $538        $763       $573        $540     $503

                                          Non-Litigation    174    $349          $519        $728       $547        $521     $503




     69    Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Regulatory        and Compliance
19                                                               Firm Size & Matter Type



     By FirmCorporate
                    Regulatory and Compliance
             Size and Matter Type
          By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

          Firm Size           MatterType         Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     39     $313            $455         $546       $459        $427     $421
     Fewer
                                            Associate   33     $238            $300         $385       $342        $334     $285

                           Non-Litigation   Partner     166    $371            $490         $566       $478        $456     $431

                                            Associate   78     $241            $266         $325       $287        $290     $281

     51-200                Litigation       Partner     55     $347            $515         $771       $562        $536     $539
     Lawyers
                                            Associate   36     $250            $357         $471       $369        $355     $320

                           Non-Litigation   Partner     147    $344            $424         $575       $491        $507     $483

                                            Associate   91     $223            $260         $370       $303        $312     $278

     201-500               Litigation       Partner     70     $421            $652         $747       $648        $677     $651
     Lawyers
                                            Associate   52     $362            $470         $621       $496        $470     $461

                           Non-Litigation   Partner     203    $448            $588         $707       $609        $596     $602

                                            Associate   118    $276            $350         $435       $388        $371     $377

     501-1,000             Litigation       Partner     149    $694            $880        $1,118      $908        $877     $795
     Lawyers
                                            Associate   199    $390            $513         $698       $544        $513     $505

                           Non-Litigation   Partner     352    $654            $825        $1,100      $871        $816     $795

                                            Associate   432    $458            $560         $722       $584        $509     $488

     More Than             Litigation       Partner     145    $714            $852        $1,001      $857        $808     $781
     1,000 Lawyers
                                            Associate   175    $426            $518         $630       $534        $516     $490

                           Non-Litigation   Partner     220    $733            $875        $1,018      $894        $854     $833

                                            Associate   229    $437            $560         $686       $562        $541     $533




     70    Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Other
19                                                            By City 1



     By CityCorporate
                    Other

                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Atlanta GA              Partner            136    $424               $618    $737       $608       $579      $568

                             Associate          121    $328               $400    $518       $413       $360      $355

     Austin TX               Partner            17     $356               $394    $483       $453       $408      $470

                             Associate          15     $270               $303    $356       $336       $315      $315

     Baltimore MD            Partner            37     $526               $591    $788       $666       $658      $587

                             Associate          58     $330               $392    $553       $441       $431      $380

     Birmingham AL           Partner            34     $327               $368    $461       $402       $363      $326

                             Associate          41     $205               $257    $345       $273       $245      $219

     Boston MA               Partner            84     $480               $640    $732       $646       $652      $624

                             Associate          92     $275               $375    $480       $383       $392      $392

     Charlotte NC            Partner            14     $426               $475    $775       $563       $563      $572

                             Associate          21     $300               $311    $375       $346       $411      $343

     Chicago IL              Partner            339    $633               $753    $883       $767       $726      $737

                             Associate          351    $404               $490    $606       $495       $455      $464

     Cincinnati OH           Partner            11     $397               $425    $478       $431       $398      $442

     Cleveland OH            Partner            74     $425               $525    $769       $578       $516      $503

                             Associate          72     $250               $317    $375       $325       $291      $273

     Columbus OH             Partner            15     $434               $491    $563       $532       $481      $420

     Dallas TX               Partner            52     $420               $639    $816       $620       $555      $649

                             Associate          64     $308               $455    $594       $451       $387      $427

     Denver CO               Partner            21     $410               $494    $575       $504       $464      $470

                             Associate          15     $275               $308    $360       $319       $302      $332

     Detroit MI              Partner            18     $204               $375    $463       $369       $382      $337

                             Associate          14     $260               $285    $367       $309       $268      $256

     Hartford CT             Partner            30     $390               $475    $630       $502       $486      $439

                             Associate          14     $245               $267    $305       $265       $292      $283

     Houston TX              Partner            35     $428               $525    $689       $572       $612      $684

                             Associate          17     $295               $350    $391       $374       $378      $406

     Indianapolis IN         Partner            14     $335               $428    $474       $421       $391      $395

     Jackson MS              Partner            11     $285               $375    $527       $387       $364      $363

                             Associate          12      $55               $170    $206       $149       $170      $157

     Kansas City MO          Partner            27     $390               $431    $514       $461       $482      $484

                             Associate          33     $235               $264    $275       $271       $263      $280

     Las Vegas NV            Partner            14     $395               $495    $553       $444       $409      $405

     Los Angeles CA          Partner            232    $545               $770    $965       $769       $727      $758

                             Associate          231    $410               $515    $685       $559       $534      $520


     71   Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Other
19                                                           By City 2



     By CityCorporate
                    Other

                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     Miami FL               Partner            44     $395               $488    $636       $534       $486      $522

                            Associate          27     $296               $350    $430       $383       $318      $365

     Milwaukee WI           Partner            29     $236               $398    $560       $431       $373      $401

                            Associate          21     $244               $284    $330       $297       $275      $234

     Minneapolis MN         Partner            31     $462               $550    $681       $555       $481      $437

                            Associate          37     $200               $275    $440       $315       $285      $258

     Nashville TN           Partner            17     $365               $450    $525       $450       $415      $368

                            Associate          12     $230               $235    $250       $238       $247      $225

     New Orleans LA         Partner            24     $290               $334    $392       $334       $286      $333

                            Associate          13     $170               $216    $236       $227       $243      $247

     New York NY            Partner            597    $670               $942   $1,211      $932       $874      $849

                            Associate          730    $439               $617    $795       $616       $578      $547

     Orlando FL             Partner            29     $411               $450    $489       $461       $465      $471

                            Associate          22     $256               $278    $319       $286       $296      $289

     Philadelphia PA        Partner            235    $540               $695    $830       $682       $648      $636

                            Associate          249    $325               $395    $475       $410       $395      $338

     Phoenix AZ             Partner            27     $314               $380    $446       $383       $398      $390

                            Associate          23     $225               $268    $300       $281       $295      $185

     Pittsburgh PA          Partner            25     $300               $404    $585       $445       $484      $489

                            Associate          39     $230               $305    $373       $313       $311      $297

     Portland ME            Partner            23     $205               $310    $474       $332       $304      $320

     Portland OR            Partner            20     $405               $498    $577       $502       $471      $437

                            Associate          12     $354               $365    $400       $376       $299      $288

     Raleigh NC             Partner            15     $396               $456    $470       $439       $463      $419

     Richmond VA            Partner            26     $538               $632    $792       $654       $615      $643

                            Associate          24     $303               $363    $503       $405       $360      $372

     Sacramento CA          Partner            11     $361               $395    $490       $443       $470      $467

     San Diego CA           Partner            34     $331               $380    $865       $527       $521      $523

                            Associate          34     $195               $195    $276       $266       $253      $267

     San Francisco CA       Partner            86     $632               $785    $989       $793       $721      $723

                            Associate          61     $430               $518    $632       $535       $472      $475

     San Jose CA            Partner            31     $595               $760    $910       $769       $822      $788

                            Associate          26     $455               $500    $612       $499       $499      $446

     Seattle WA             Partner            53     $435               $528    $723       $578       $502      $458

                            Associate          28     $365               $400    $460       $404       $368      $337




     72   Real Rate Report | Q3 2018                                                                 wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Other
19                                                           By City 3



     By CityCorporate
                    Other

                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     St. Louis MO           Partner            33     $344               $428    $506       $423       $402      $391

     Tampa FL               Partner            19     $375               $395    $482       $431       $397      $387

     Washington DC          Partner            563    $675               $795    $909       $801       $772      $760

                            Associate          470    $420               $500    $605       $517       $492      $493




     73   Real Rate Report | Q3 2018                                                                 wkelmsolutions.com
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     Corporate - Other
19                                                                     YoE and Matter Type


           Corporate
     By Years
                    Other
              of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                  Trend Analysis (Mean)

          Years of Experience                 MatterType     n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         409     $365          $579        $751       $581       $517      $507

                                         Non-Litigation     576     $482          $695        $850       $703       $667      $648

     21 or More Years                    Litigation         809     $425          $630        $825       $644       $596      $599

                                         Non-Litigation     1073    $524          $760        $964       $780       $764      $752




     Q3 2018 -- Real Rates for Associates                                                                Trend Analysis (Mean)

          Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile

     Fewer Than 3 Years                   Litigation         63     $263          $340        $450       $357        $354     $292

                                          Non-Litigation    112     $308          $390        $483       $421        $385     $360

     3 to Fewer Than 7 Years              Litigation        209     $290          $392        $513       $413        $373     $322

                                          Non-Litigation    282     $335          $450        $620       $488        $453     $438

     7 or More Years                      Litigation        303     $300          $450        $580       $455        $415     $409

                                          Non-Litigation    367     $384          $591        $776       $599        $570     $542




     74    Real Rate Report | Q3 2018                                                                             wkelmsolutions.com
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     Section III: Practice Area Analysis
     Corporate - Other
19                                                               Firm Size & Matter Type



     By FirmCorporate
                    Other
             Size and Matter Type
          By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

          Firm Size           MatterType         Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     178    $213            $325         $425       $354        $330     $324
     Fewer
                                            Associate   137    $170            $250         $310       $269        $238     $215

                           Non-Litigation   Partner     188    $300            $390         $501       $407        $409     $403

                                            Associate   142    $209            $262         $340       $283        $297     $285

     51-200                Litigation       Partner     217    $305            $407         $596       $476        $432     $431
     Lawyers
                                            Associate   162    $235            $295         $386       $326        $298     $248

                           Non-Litigation   Partner     246    $375            $527         $722       $564        $562     $551

                                            Associate   151    $255            $300         $406       $351        $369     $341

     201-500               Litigation       Partner     354    $406            $525         $750       $580        $538     $528
     Lawyers
                                            Associate   233    $276            $335         $460       $384        $359     $355

                           Non-Litigation   Partner     479    $450            $592         $760       $628        $621     $618

                                            Associate   389    $319            $390         $518       $425        $412     $415

     501-1,000             Litigation       Partner     364    $550            $701         $890       $740        $682     $674
     Lawyers
                                            Associate   435    $361            $465         $571       $480        $441     $431

                           Non-Litigation   Partner     534    $660            $840        $1,144      $886        $846     $822

                                            Associate   583    $405            $540         $737       $568        $537     $513

     More Than             Litigation       Partner     354    $695            $795         $911       $821        $770     $769
     1,000 Lawyers
                                            Associate   359    $395            $475         $614       $512        $477     $472

                           Non-Litigation   Partner     613    $771            $895        $1,060      $931        $871     $867

                                            Associate   667    $448            $574         $691       $590        $548     $540




     75    Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis
     Employment  and Labor
19                                                            By City 1

      Employment and
     By City Labor
                   By City
     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Atlanta GA              Partner            93     $370               $425    $549       $474       $454      $438

                             Associate          54     $275               $290    $333       $322       $310      $298

     Baltimore MD            Partner            25     $392               $540    $634       $536       $495      $481

                             Associate          32     $349               $425    $536       $446       $417      $388

     Birmingham AL           Partner            18     $279               $365    $400       $328       $320      $321

                             Associate          14     $240               $293    $300       $271       $261      $258

     Boston MA               Partner            48     $400               $575    $674       $577       $522      $527

                             Associate          30     $321               $368    $480       $419       $462      $436

     Buffalo NY              Partner            12     $320               $330    $330       $326       $321      $314

     Charlotte NC            Partner            11     $368               $483    $550       $467       $487      $481

                             Associate          16     $281               $320    $329       $318       $352      $303

     Chicago IL              Partner            150    $522               $610    $754       $659       $609      $580

                             Associate          136    $305               $380    $459       $405       $392      $378

     Cincinnati OH           Partner            13     $360               $460    $523       $458       $420      $409

                             Associate          13     $225               $228    $271       $245       $246      $225

     Cleveland OH            Partner            47     $375               $415    $500       $464       $456      $438

                             Associate          52     $265               $294    $328       $319       $303      $290

     Columbus OH             Partner            12     $440               $515    $588       $514       $495      $458

     Dallas TX               Partner            38     $389               $500    $635       $517       $513      $469

                             Associate          35     $285               $330    $401       $363       $371      $331

     Denver CO               Partner            29     $401               $477    $555       $475       $475      $442

                             Associate          22     $285               $315    $353       $312       $301      $285

     Greenville SC           Partner            19     $370               $423    $450       $419       $432      $433

     Houston TX              Partner            25     $410               $468    $619       $524       $473      $454

                             Associate          13     $239               $290    $349       $299       $338      $323

     Indianapolis IN         Partner            11     $360               $408    $480       $413       $382      $394

                             Associate          11     $250               $294    $357       $307       $293      $229

     Kansas City MO          Partner            17     $316               $351    $398       $354       $364      $359

                             Associate          13     $238               $250    $310       $269       $257      $278

     Los Angeles CA          Partner            146    $456               $550    $716       $607       $593      $539

                             Associate          153    $345               $436    $540       $459       $465      $402

     Louisville KY           Partner            12     $324               $350    $417       $364       $388      $405

     Memphis TN              Partner            11     $375               $400    $400       $391       $378      $358

     Miami FL                Partner            27     $325               $445    $555       $457       $438      $417

                             Associate          13     $304               $340    $489       $388       $352      $319

     Milwaukee WI            Partner            14     $345               $460    $505       $441       $422      $402


     76   Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     Employment  and Labor
19                                                           By City 2

      Employment and
     By City Labor
                  By City
     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     Minneapolis MN         Partner            20     $415               $484    $634       $514       $459      $452

                            Associate          15     $245               $306    $361       $317       $304      $278

     Nashville TN           Partner            32     $342               $405    $446       $396       $397      $392

                            Associate          26     $225               $254    $292       $258       $250      $238

     New York NY            Partner            363    $450               $620    $830       $682       $682      $668

                            Associate          338    $309               $400    $595       $473       $468      $470

     Philadelphia PA        Partner            116    $529               $650    $775       $660       $627      $592

                            Associate          151    $330               $401    $475       $414       $397      $378

     Phoenix AZ             Partner            16     $410               $445    $493       $445       $445      $400

     Pittsburgh PA          Partner            27     $413               $520    $557       $495       $495      $471

                            Associate          33     $289               $317    $352       $318       $311      $316

     Richmond VA            Associate          13     $336               $400    $420       $377       $380      $339

     Sacramento CA          Partner            11     $350               $390    $455       $447       $393      $407

     San Diego CA           Partner            24     $370               $378    $488       $467       $437      $391

                            Associate          22     $245               $288    $312       $300       $327      $302

     San Francisco CA       Partner            82     $437               $510    $655       $561       $530      $532

                            Associate          76     $262               $323    $403       $352       $355      $334

     San Jose CA            Partner            20     $523               $677    $839       $704       $659      $627

     San Juan PR            Associate          11     $150               $153    $165       $154       $152      $141

     Seattle WA             Partner            58     $413               $524    $610       $516       $493      $427

                            Associate          26     $255               $325    $410       $349       $300      $273

     St. Louis MO           Partner            14     $303               $385    $435       $384       $425      $405

                            Associate          12     $254               $280    $304       $284       $260      $258

     Tampa FL               Partner            16     $275               $275    $383       $319       $316      $340

     Trenton NJ             Partner            11     $485               $535    $638       $522       $540      $525

     Washington DC          Partner            191    $588               $735    $875       $730       $719      $668

                            Associate          154    $397               $494    $625       $508       $483      $452




     77   Real Rate Report | Q3 2018                                                                 wkelmsolutions.com
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      Employment
        Employment and
                   and Labor
019                                                                    YoE and Matter Type



      By Years of Experience and Matter Type
               Labor
      By Years of Experience and Matter Type
      Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

           Years of Experience                 MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile
      

      Fewer Then 21 Years                 Litigation         293    $358          $443        $599       $499       $487      $454

                                          Non-Litigation     361    $375          $450        $619       $510       $496      $475

      21 or More Years                    Litigation         530    $422          $550        $713       $601       $572      $523

                                          Non-Litigation     634    $425          $540        $720       $598       $567      $553




      Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

           Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile

      Fewer Than 3 Years                   Litigation        42     $255          $280        $378       $322       $327      $299

                                           Non-Litigation    45     $270          $304        $361       $318       $315      $326

      3 to Fewer Than 7 Years              Litigation        143    $274          $343        $450       $385       $362      $358

                                           Non-Litigation    150    $276          $328        $413       $361       $338      $316

      7 or More Years                      Litigation        274    $300          $385        $515       $432       $438      $390

                                           Non-Litigation    245    $300          $372        $507       $417       $399      $396




      78   Real Rate Report | Q3 2018                                                                             wkelmsolutions.com
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      Section III: Practice Area Analysis
      Employment
        Employment and
                   and Labor
019                                                               Firm Size & Matter Type



      By Firm Size and Matter Type
               Labor
           By Firm Size and Matter Type
      Q3 2018 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

           Firm Size           MatterType         Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile                     Quartile

      50 Lawyers or         Litigation       Partner     105    $275            $350         $432       $379        $376     $344
      Fewer
                                             Associate   83     $250            $295         $335       $303        $288     $253

                            Non-Litigation   Partner     113    $325            $395         $499       $420        $401     $397

                                             Associate   69     $225            $270         $325       $283        $256     $257

      51-200                Litigation       Partner     114    $326            $400         $503       $434        $445     $387
      Lawyers
                                             Associate   96     $234            $287         $340       $295        $294     $258

                            Non-Litigation   Partner     161    $360            $442         $622       $498        $479     $465

                                             Associate   110    $234            $280         $340       $320        $321     $301

      201-500               Litigation       Partner     241    $383            $500         $695       $542        $519     $488
      Lawyers
                                             Associate   220    $289            $332         $474       $405        $395     $350

                            Non-Litigation   Partner     277    $378            $450         $520       $475        $463     $442

                                             Associate   159    $272            $305         $365       $333        $314     $297

      501-1,000             Litigation       Partner     360    $430            $538         $707       $609        $570     $512
      Lawyers
                                             Associate   342    $285            $372         $545       $432        $416     $377

                            Non-Litigation   Partner     383    $445            $528         $662       $587        $572     $553

                                             Associate   280    $300            $350         $450       $393        $391     $377

      More Than             Litigation       Partner     178    $594            $714         $881       $756        $724     $686
      1,000 Lawyers
                                             Associate   209    $375            $475         $565       $480        $474     $446

                            Non-Litigation   Partner     232    $615            $744         $890       $768        $720     $693

                                             Associate   250    $351            $420         $536       $459        $436     $420




      79   Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     Section III: Practice Area Analysis
     Environmental
19                                                             By City


         Environmental
     By City
                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

               City                     Role   n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                            

     Chicago IL             Partner            30    $255           $353    $581       $422       $544      $472

     Los Angeles CA         Partner            20    $245           $450    $459       $420       $489      $507

                            Associate          16    $175           $250    $321       $274       $258      $284

     New York NY            Partner            42    $330           $675   $1,350      $780       $556      $546

                            Associate          34    $304           $535    $750       $548       $304      $346

     Philadelphia PA        Partner            24    $383           $500    $590       $490       $512      $509

                            Associate          20    $182           $225    $300       $252       $276      $291

     San Francisco CA       Partner            11    $541           $645    $748       $646       $601      $555

     Washington DC          Partner            37    $619           $700    $912       $760       $746      $730

                            Associate          36    $380           $515    $580       $505       $476      $447




     80 Real Rate Report | Q3 2018                                                              wkelmsolutions.com
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     Environmental
19                                                                    YoE and Matter Type


           Environmental
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

          Years of Experience                 MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         31     $255          $305        $468       $369       $362      $371

                                         Non-Litigation     27     $340          $455        $774       $597       $487      $506

     21 or More Years                    Litigation         76     $255          $470        $589       $459       $456      $451

                                         Non-Litigation     128    $459          $575        $793       $671       $607      $597




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     3 to Fewer Than 7 Years              Non-Litigation    21     $255          $435        $510       $420        $329     $314

     7 or More Years                      Litigation        29     $182          $185        $243       $239        $259     $269

                                          Non-Litigation    24     $315          $425        $594       $472        $445     $409




     81    Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     Section III: Practice Area Analysis
     Environmental
19                                                              Firm Size & Matter Type


           Environmental
     By Firm Size and Matter Type
          By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

          Firm Size           MatterType         Role   n     First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     45    $215            $245         $255       $249       $285      $300
     Fewer
                           Non-Litigation   Partner     21    $325            $380         $438       $433       $397      $373

     51-200                Litigation       Partner     32    $365            $480         $565       $455       $436      $462
     Lawyers
                                            Associate   23    $265            $330         $390       $333       $309      $312

                           Non-Litigation   Partner     37    $390            $455         $543       $483       $455      $505

                                            Associate   13    $263            $294         $373       $313       $277      $296

     201-500               Litigation       Partner     16    $450            $475         $535       $486       $485      $462
     Lawyers
                           Non-Litigation   Partner     43    $450            $490         $585       $515       $524      $523

                                            Associate   26    $265            $305         $348       $316       $313      $320

     501-1,000             Litigation       Partner     25    $475            $605         $700       $585       $540      $538
     Lawyers
                                            Associate   13    $350            $380         $515       $410       $424      $399

                           Non-Litigation   Partner     39    $525            $590         $650       $605       $605      $626

                                            Associate   31    $353            $429         $518       $433       $401      $371

     More Than             Non-Litigation   Partner     46    $810          $1,015        $1,400     $1,064      $838      $778
     1,000 Lawyers
                                            Associate   55    $505            $580         $750       $610       $530      $465




     82    Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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     Section III: Practice Area Analysis
     Finance  andand
                  Securities
19                                                             By City 1

         Finance
     By CitySecurities
                   By City
     Q3 2018 -- Real Rates for Partners and Associates                                        Trend Analysis (Mean)

                 City                    Role    n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                       Quartile                   Quartile
                             

     Atlanta GA              Partner            50      $578               $749    $894       $752       $699      $710

                             Associate          62      $397               $464    $540       $471       $444      $450

     Baltimore MD            Partner            29      $520               $622    $750       $655       $595      $521

                             Associate          24      $290               $360    $595       $425       $369      $394

     Boston MA               Partner            112     $789               $956   $1,105      $943       $950      $950

                             Associate          188     $450               $590    $734       $593       $614      $577

     Charlotte NC            Partner            35      $525               $692    $830       $698       $705      $676

                             Associate          24      $320               $481    $655       $499       $446      $463

     Chicago IL              Partner            297     $709               $874   $1,075      $913       $895      $832

                             Associate          313     $408               $505    $674       $552       $546      $519

     Cleveland OH            Partner            73      $408               $455    $592       $517       $499      $449

                             Associate          49      $255               $286    $375       $321       $309      $296

     Columbus OH             Partner            15      $350               $415    $475       $403       $414      $415

     Dallas TX               Partner            74      $630               $815   $1,026      $829       $829      $770

                             Associate          137     $435               $575    $700       $574       $523      $477

     Denver CO               Partner            16      $378               $470    $500       $502       $545      $475

                             Associate          12      $259               $283    $312       $292       $324      $343

     Detroit MI              Partner            33      $360               $385    $440       $405       $405      $382

     Houston TX              Partner            61      $760               $945   $1,118      $945       $905      $833

                             Associate          41      $350               $478    $641       $500       $500      $481

     Indianapolis IN         Partner            22      $428               $478    $535       $489       $498      $452

     Kansas City MO          Partner            14      $358               $413    $486       $448       $512      $463

     Los Angeles CA          Partner            186     $706               $940   $1,183      $948       $958      $892

                             Associate          313     $583               $721    $869       $730       $685      $657

     Miami FL                Partner            32      $515               $598    $676       $627       $641      $602

                             Associate          17      $318               $430    $490       $414       $449      $420

     Minneapolis MN          Partner            27      $390               $520    $680       $532       $525      $482

                             Associate          24      $302               $417    $520       $434       $342      $286

     New York NY             Partner            934     $860          $1,100      $1,305     $1,076      $1,043   $1,001

                             Associate          1359    $520               $690    $850       $689       $657      $623

     Orlando FL              Partner            22      $566               $623    $725       $644       $638      $589

                             Associate          21      $325               $395    $443       $392       $397      $406

     Philadelphia PA         Partner            117     $555               $750    $885       $756       $763      $731

                             Associate          91      $320               $396    $511       $437       $472      $441

     Phoenix AZ              Partner            20      $325               $395    $456       $400       $399      $413




     83   Real Rate Report | Q3 2018                                                                   wkelmsolutions.com
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     Section III: Practice Area Analysis
     Finance  andand
                  Securities
19                                                           By CIty 2

         Finance
     By CitySecurities
                  By City
     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

             City                       Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     Pittsburgh PA          Partner            46     $450               $532    $603       $529       $572      $547

                            Associate          64     $283               $375    $412       $364       $375      $359

     Portland OR            Partner            18     $350               $365    $440       $395       $398      $404

                            Associate          17     $246               $265    $302       $274       $288      $275

     Richmond VA            Partner            26     $670               $725    $795       $739       $685      $719

                            Associate          27     $330               $385    $461       $403       $406      $381

     San Francisco CA       Partner            56     $696               $863   $1,146      $902       $865      $881

                            Associate          33     $440               $539    $661       $560       $598      $551

     San Jose CA            Partner            15     $785          $1,150      $1,330     $1,001      $959      $947

     Seattle WA             Partner            30     $400               $479    $621       $519       $529      $528

                            Associate          19     $294               $354    $438       $377       $367      $384

     Washington DC          Partner            264    $744               $900   $1,134      $946       $891      $865

                            Associate          131    $440               $562    $705       $607       $612      $570




     84 Real Rate Report | Q3 2018                                                                   wkelmsolutions.com
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     Section III: Practice Area Analysis
     Finance andand
                 Securities
19                                                                     YoE and Matter Type

         Finance
     By Years of Experience and Matter Type
           Securities
     By Years of Experience and Matter Type
     Q3 2018 -- Real Rates for Partners                                                                  Trend Analysis (Mean)

          Years of Experience                 MatterType     n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         74      $435          $660        $977       $707       $717      $701

                                         Non-Litigation     758     $548          $787       $1,059      $815       $791      $753

     21 or More Years                    Litigation         131     $526          $836       $1,050      $814       $802      $790

                                         Non-Litigation     1269    $644          $907       $1,195      $915       $901      $860




     Q3 2018 -- Real Rates for Associates                                                                Trend Analysis (Mean)

          Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile

     Fewer Than 3 Years                   Non-Litigation    120     $313          $412        $515       $424        $379     $375

     3 to Fewer Than 7 Years              Litigation         40     $375          $495        $615       $509        $458     $450

                                          Non-Litigation    348     $370          $565        $810       $591        $548     $498

     7 or More Years                      Litigation         60     $313          $544        $733       $543        $529     $523

                                          Non-Litigation    504     $480          $721        $925       $703        $685     $633




     85    Real Rate Report | Q3 2018                                                                             wkelmsolutions.com
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     Section III: Practice Area Analysis
     Finance andand
                 Securities
19                                                              Firm Size & Matter Type

         Finance
     By FirmSecurities
             Size and Matter Type
        By Firm Size and Matter Type
     Q3 2018 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

        Firm Size           MatterType         Role    n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                             Quartile                     Quartile

     50 Lawyers or       Litigation       Partner     26      $301            $333         $379       $401       $555      $509
     Fewer
                                          Associate   28      $244            $305         $310       $308       $371      $360

                         Non-Litigation   Partner     142     $303            $400         $563       $464       $434      $407

                                          Associate   83      $225            $290         $365       $300       $304      $276

     51-200              Litigation       Partner     60      $350            $418         $690       $519       $534      $519
     Lawyers
                                          Associate   35      $220            $325         $440       $357       $361      $341

                         Non-Litigation   Partner     337     $377            $461         $628       $518       $525      $532

                                          Associate   202     $254            $310         $413       $342       $336      $334

     201-500             Litigation       Partner     45      $477            $692        $1,000      $715       $702      $702
     Lawyers
                                          Associate   32      $330            $395         $606       $459       $416      $425

                         Non-Litigation   Partner     418     $535            $746        $1,053      $795       $768      $713

                                          Associate   372     $350            $487         $701       $521       $494      $452

     501-1,000           Litigation       Partner     64      $757            $950        $1,123      $964      $1,005     $893
     Lawyers
                                          Associate   66      $468            $594         $690       $596       $602      $548

                         Non-Litigation   Partner     885     $760            $960        $1,213      $994       $984      $933

                                          Associate   1229    $490            $628         $801       $650       $628      $600

     More Than           Litigation       Partner     83      $660            $903        $1,055      $888       $891      $883
     1,000 Lawyers
                                          Associate   131     $381            $503         $686       $543       $518      $535

                         Non-Litigation   Partner     806     $822          $1,007        $1,230     $1,025      $985      $949

                                          Associate   955     $504            $668         $858       $684       $650      $606




     86 Real Rate Report | Q3 2018                                                                             wkelmsolutions.com
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     Section III: Practice Area Analysis
     General Liability -(Litigation
                           Litigation     Only
19                                                            By City 1


        General Liability
     By City
                                    Only)

                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Atlanta GA              Partner            44     $202               $258    $589       $390        $362     $328

                             Associate          40     $180               $230    $370       $285        $258     $264

     Baltimore MD            Partner            40     $300               $475    $625       $471        $468     $467

                             Associate          67     $293               $372    $445       $381        $381     $351

     Beaumont TX             Associate          11     $180               $225    $233       $209        $190     $153

     Birmingham AL           Partner            25     $210               $279    $346       $300        $291     $255

                             Associate          14     $160               $191    $235       $201        $195     $185

     Boston MA               Partner            45     $210               $285    $486       $412        $316     $323

                             Associate          51     $165               $175    $280       $247        $225     $218

     Buffalo NY              Partner            15     $207               $320    $340       $282        $288     $294

                             Associate          13     $230               $235    $255       $243        $221     $230

     Charleston WV           Partner            17     $200               $215    $281       $240        $238     $247

     Chicago IL              Partner            97     $255               $370    $632       $470        $434     $426

                             Associate          116    $175               $220    $279       $285        $275     $259

     Cincinnati OH           Associate          13     $215               $225    $225       $223        $237     $239

     Cleveland OH            Partner            23     $220               $318    $445       $325        $395     $343

                             Associate          19     $195               $235    $247       $231        $229     $220

     Dallas TX               Partner            24     $185               $210    $285       $301        $301     $251

                             Associate          20     $160               $160    $328       $246        $252     $222

     Denver CO               Partner            15     $313               $335    $381       $350        $374     $336

                             Associate          11     $258               $275    $275       $269        $273     $276

     Detroit MI              Partner            20     $210               $251    $400       $294        $299     $266

                             Associate          20     $180               $195    $233       $205        $223     $211

     Houston TX              Partner            21     $265               $310    $600       $437        $397     $401

                             Associate          14     $355               $425    $475       $380        $320     $309

     Indianapolis IN         Partner            17     $160               $250    $400       $303        $245     $296

     Jackson MS              Partner            34     $288               $329    $353       $325        $311     $277

                             Associate          37     $225               $235    $251       $210        $200     $188

     Kansas City MO          Partner            28     $335               $428    $465       $406        $364     $353

                             Associate          39     $256               $300    $315       $278        $258     $241

     Los Angeles CA          Partner            84     $220               $430    $715       $494        $422     $399

                             Associate          104    $175               $265    $425       $341        $314     $278

     Louisville KY           Partner            15     $200               $275    $328       $287        $296     $283

                             Associate          15     $175               $210    $225       $203        $185     $181

     Memphis TN              Partner            12     $175               $339    $406       $325        $349     $338




     87   Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     General Liability -(Litigation
                           Litigation     Only
19                                                           By City 2


        General Liability
     By City
                                    Only)

                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     Miami FL               Partner            28     $160               $200    $265       $240        $247     $267

                            Associate          18     $125               $150    $226       $225        $208     $208

     Milwaukee WI           Partner            16     $245               $300    $367       $319        $293     $298

                            Associate          14     $185               $190    $292       $231        $213     $220

     Minneapolis MN         Partner            31     $250               $250    $261       $258        $274     $285

                            Associate          18     $205               $205    $205       $210        $214     $220

     Nashville TN           Partner            16     $269               $284    $419       $320        $341     $329

     New Orleans LA         Partner            49     $215               $303    $325       $278        $257     $250

                            Associate          33     $185               $238    $238       $222        $206     $187

     New York NY            Partner            118    $165               $345    $660       $449        $411     $427

                            Associate          136    $152               $215    $415       $317        $275     $303

     Orlando FL             Associate          16     $125               $183    $215       $180        $176     $190

     Phoenix AZ             Partner            24     $150               $190    $270       $244        $297     $288

                            Associate          15     $140               $165    $206       $178        $232     $223

     Pittsburgh PA          Partner            21     $200               $289    $364       $344        $330     $355

                            Associate          31     $200               $234    $325       $260        $246     $262

     Portland OR            Associate          11     $230               $285    $341       $286        $248     $245

     Richmond VA            Partner            22     $220               $230    $358       $305        $297     $278

                            Associate          20     $200               $200    $224       $216        $226     $242

     San Diego CA           Associate          26     $150               $150    $180       $161        $168     $174

     San Francisco CA       Partner            27     $250               $430    $682       $489        $382     $328

                            Associate          28     $206               $210    $255       $255        $265     $254

     Seattle WA             Partner            16     $258               $400    $403       $375        $323     $310

     St. Louis MO           Partner            51     $238               $350    $443       $354        $309     $304

                            Associate          48     $190               $205    $225       $214        $196     $184

     Tampa FL               Partner            12     $175               $455    $595       $387        $429     $380

                            Associate          11     $165               $255    $332       $249        $220     $220

     Washington DC          Partner            90     $662               $760    $875       $787        $750     $726

                            Associate          84     $445               $501    $639       $532        $502     $475




     88 Real Rate Report | Q3 2018                                                                   wkelmsolutions.com
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     Section III: Practice Area Analysis
     General Liability -(Litigation
                           Litigation     Only
19                                                                    YoE and Matter Type


        General
     By Years     Liability and Matter Type
              of Experience
                                    Only)

     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

         Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         413    $225          $322        $489       $390       $351      $325

     21 or More Years                    Litigation         744    $225          $340        $550       $417       $390      $373




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Litigation        75     $237          $325        $390       $325       $281      $244

     3 to Fewer Than 7 Years              Litigation        183    $185          $240        $365       $298       $282      $258

     7 or More Years                      Litigation        346    $185          $249        $407       $304       $281      $266




     89 Real Rate Report | Q3 2018                                                                               wkelmsolutions.com
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     Section III: Practice Area Analysis
     General Liability -(Litigation
                           Litigation     Only
19                                                            Firm Size & Matter Type


        General
     By Firm Size Liability
                  and Matter Type
                                    Only)

        By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Firm Size           MatterType        Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile                     Quartile

     50 Lawyers or       Litigation      Partner     424    $180            $220         $280       $247       $248      $243
     Fewer
                                         Associate   360    $160            $180         $220       $193       $193      $187

     51-200              Litigation      Partner     396    $215            $275         $350       $304       $297      $284
     Lawyers
                                         Associate   382    $175            $205         $240       $219       $216      $206

     201-500             Litigation      Partner     237    $290            $410         $552       $442       $414      $411
     Lawyers
                                         Associate   249    $201            $265         $320       $279       $270      $278

     501-1,000           Litigation      Partner     224    $445            $550         $708       $598       $556      $559
     Lawyers
                                         Associate   220    $315            $366         $470       $401       $386      $387

     More Than           Litigation      Partner     132    $595            $765         $875       $770       $724      $682
     1,000 Lawyers
                                         Associate   218    $365            $475         $564       $453       $445      $422




     90 Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis
     Insurance Defense - Litigation        Only
19                                                            By City 1

                         (Litigation Only)
     ByInsurance
        City     Defense
                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Albuquerque NM          Partner            13     $160               $160    $175       $168        $177     $173

                             Associate          12     $130               $150    $150       $144        $150     $150

     Atlanta GA              Partner            48     $170               $185    $230       $232        $243     $234

                             Associate          58     $150               $155    $205       $196        $204     $192

     Baltimore MD            Partner            20     $175               $175    $193       $223        $211     $211

                             Associate          35     $150               $150    $165       $196        $202     $193

     Baton Rouge LA          Partner            15     $170               $178    $235       $199        $195     $207

     Birmingham AL           Partner            61     $180               $205    $385       $276        $272     $240

                             Associate          34     $180               $200    $225       $203        $190     $184

     Boston MA               Partner            71     $170               $190    $248       $236        $256     $227

                             Associate          45     $155               $175    $180       $174        $194     $205

     Buffalo NY              Partner            56     $145               $150    $180       $164        $168     $169

                             Associate          47     $125               $130    $150       $142        $144     $141

     Charleston SC           Partner            24     $173               $175    $215       $198        $191     $176

                             Associate          20     $145               $150    $155       $154        $150     $152

     Charleston WV           Partner            48     $160               $160    $216       $185        $183     $186

                             Associate          25     $160               $160    $169       $165        $167     $160

     Charlotte NC            Partner            19     $165               $175    $270       $224        $214     $219

                             Associate          28     $150               $198    $293       $215        $191     $193

     Chicago IL              Partner            250    $175               $220    $315       $290        $284     $284

                             Associate          217    $155               $175    $248       $239        $233     $222

     Cincinnati OH           Partner            25     $140               $160    $175       $189        $181     $168

                             Associate          19     $130               $150    $165       $158        $153     $143

     Cleveland OH            Partner            45     $170               $170    $172       $172        $177     $172

                             Associate          38     $150               $151    $155       $153        $149     $147

     Columbia SC             Partner            34     $165               $165    $171       $168        $165     $188

                             Associate          36     $140               $148    $150       $147        $149     $146

     Columbus OH             Partner            27     $150               $159    $170       $172        $170     $163

                             Associate          15     $134               $145    $155       $153        $154     $152

     Dallas TX               Partner            54     $200               $220    $260       $250        $272     $271

                             Associate          61     $165               $170    $190       $194        $201     $219

     Denver CO               Partner            28     $160               $180    $195       $200        $201     $213

                             Associate          16     $140               $150    $150       $167        $159     $170

     Des Moines IA           Partner            12     $177               $195    $200       $189        $196     $193

     Detroit MI              Partner            71     $153               $165    $180       $174        $173     $172

                             Associate          52     $135               $144    $150       $151        $147     $147


     91   Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     Insurance Defense(Litigation
                           - Litigation Only
19                                                           By City 2



     ByInsurance Defense          Only)
        City
                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     Harrisburg PA          Partner            26     $145               $150    $169       $160        $156     $161

                            Associate          19     $125               $125    $136       $141        $143     $141

     Hartford CT            Partner            19     $225               $273    $374       $300        $263     $223

                            Associate          25     $180               $210    $270       $221        $214     $184

     Houston TX             Partner            40     $180               $200    $250       $296        $258     $254

                            Associate          26     $155               $165    $247       $215        $204     $187

     Indianapolis IN        Partner            27     $155               $174    $180       $186        $192     $175

                            Associate          19     $135               $150    $155       $157        $155     $156

     Jackson MS             Partner            29     $190               $247    $250       $234        $220     $222

                            Associate          13     $155               $175    $199       $181        $170     $160

     Jacksonville FL        Partner            17     $170               $170    $180       $182        $187     $185

     Kansas City MO         Partner            16     $185               $200    $221       $237        $244     $237

                            Associate          12     $165               $180    $256       $201        $184     $178

     Lafayette LA           Partner            20     $186               $200    $200       $198        $190     $189

     Las Vegas NV           Partner            11     $165               $194    $249       $209        $203     $196

                            Associate          13     $160               $160    $185       $175        $172     $176

     Lexington KY           Partner            16     $140               $140    $140       $153        $158     $162

                            Associate          31     $125               $125    $125       $128        $128     $129

     Little Rock AR         Partner            12     $190               $193    $198       $196        $192     $197

     Los Angeles CA         Partner            150    $190               $225    $295       $276        $248     $255

                            Associate          170    $160               $180    $212       $214        $204     $213

     Louisville KY          Partner            19     $140               $150    $190       $170        $185     $160

                            Associate          23     $125               $135    $139       $138        $135     $131

     Miami FL               Partner            121    $170               $190    $225       $222        $207     $209

                            Associate          103    $160               $160    $165       $172        $171     $171

     Milwaukee WI           Partner            23     $170               $170    $175       $183        $189     $186

                            Associate          14     $144               $155    $186       $163        $163     $157

     Minneapolis MN         Partner            69     $160               $171    $231       $207        $204     $196

                            Associate          54     $145               $147    $190       $174        $178     $162

     Nashville TN           Partner            20     $150               $160    $164       $168        $171     $183

                            Associate          18     $140               $150    $150       $147        $149     $146

     New Orleans LA         Partner            55     $175               $183    $218       $196        $205     $205

                            Associate          43     $150               $150    $175       $166        $175     $176

     New York NY            Partner            401    $175               $197    $265       $269        $247     $234

                            Associate          388    $150               $175    $200       $206        $195     $188

     Omaha NE               Partner            11     $195               $200    $200       $213        $220     $194


     92   Real Rate Report | Q3 2018                                                                 wkelmsolutions.com
      Case 3:19-cv-00706-JM-BGS Document 61-4 Filed 05/22/20 PageID.2375 Page 237 of 316
     Section III: Practice Area Analysis
     Insurance Defense(Litigation
                           - Litigation Only
19                                                            By CIty 3



     ByInsurance Defense          Only)
        City
                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Orlando FL              Partner            28     $146               $165    $190       $173        $181     $212

                             Associate          24     $130               $150    $160       $156        $162     $167

     Peoria IL               Partner            16     $150               $160    $166       $158        $158     $159

     Philadelphia PA         Partner            216    $175               $195    $300       $271        $240     $225

                             Associate          296    $160               $172    $207       $228        $203     $188

     Phoenix AZ              Partner            53     $170               $175    $206       $206        $209     $220

                             Associate          31     $155               $160    $169       $171        $174     $176

     Pittsburgh PA           Partner            82     $160               $165    $175       $179        $172     $184

                             Associate          88     $145               $155    $165       $161        $157     $157

     Portland OR             Partner            13     $175               $178    $243       $218        $220     $232

     Providence RI           Partner            12     $170               $175    $175       $179        $178     $167

     Raleigh NC              Partner            24     $166               $190    $250       $238        $222     $188

                             Associate          15     $146               $150    $165       $176        $161     $147

     Richmond VA             Partner            25     $169               $170    $170       $177        $201     $214

                             Associate          28     $155               $155    $155       $158        $184     $184

     Rochester NY            Partner            11     $150               $175    $200       $343        $173     $178

     Salt Lake City UT       Partner            14     $200               $200    $253       $240        $241     $231

     San Diego CA            Partner            40     $195               $210    $235       $219        $216     $215

                             Associate          26     $150               $175    $185       $174        $182     $181

     San Francisco CA        Partner            97     $223               $260    $338       $299        $274     $267

                             Associate          52     $175               $180    $235       $213        $221     $223

     Seattle WA              Partner            21     $210               $275    $380       $294        $286     $274

                             Associate          18     $200               $255    $290       $248        $226     $215

     St. Louis MO            Partner            30     $167               $170    $254       $208        $208     $196

                             Associate          19     $150               $183    $235       $196        $212     $173

     Tampa FL                Partner            38     $170               $170    $190       $191        $185     $197

                             Associate          29     $135               $155    $160       $155        $159     $161

     Washington DC           Partner            82     $407               $442    $678       $549        $529     $426

                             Associate          71     $275               $346    $418       $384        $349     $308




     93   Real Rate Report | Q3 2018                                                                  wkelmsolutions.com
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     Section III: Practice Area Analysis
     Insurance Defense(Litigation
                           - Litigation Only
19                                                                     YoE and Matter Type


         Insurance Defense        Only)
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                  Trend Analysis (Mean)

         Years of Experience                  MatterType     n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         861     $166          $185        $250       $238       $224      $219

     21 or More Years                    Litigation         1618    $165          $185        $245       $237       $228      $217




     Q3 2018 -- Real Rates for Associates                                                                Trend Analysis (Mean)

          Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile                  Quartile

     Fewer Than 3 Years                   Litigation         97     $150          $170        $203       $207       $185      $176

     3 to Fewer Than 7 Years              Litigation        369     $150          $165        $225       $214       $196      $187

     7 or More Years                      Litigation        583     $150          $165        $205       $210       $202      $189




     94 Real Rate Report | Q3 2018                                                                                wkelmsolutions.com
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     Section III: Practice Area Analysis
     Insurance Defense(Litigation
                           - Litigation Only
19                                                               Firm Size & Matter Type


       Insurance Defense
     By Firm Size and Matter Type
                                  Only)

          By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

          Firm Size           MatterType        Role    n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                     Quartile

     50 Lawyers or         Litigation      Partner     1283    $160            $172         $195       $185       $181      $179
     Fewer
                                           Associate   1095    $139            $150         $165       $158       $156      $155

     51-200                Litigation      Partner     928     $167            $180         $215       $207       $207      $203
     Lawyers
                                           Associate   805     $150            $160         $175       $172       $170      $169

     201-500               Litigation      Partner     425     $210            $270         $381       $307       $300      $297
     Lawyers
                                           Associate   313     $180            $207         $275       $237       $234      $238

     501-1,000             Litigation      Partner     166     $300            $350         $440       $428       $375      $345
     Lawyers
                                           Associate   162     $235            $285         $394       $337       $287      $263

     More Than             Litigation      Partner     128     $670            $765         $845       $757       $696      $636
     1,000 Lawyers
                                           Associate   155     $365            $475         $600       $504       $452      $421




     95    Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property Patents
                            - Patents
19                                                               By City 1


      Intellectual Property
     By City
                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                    Trend Analysis (Mean)

                 City                    Role   n      First         Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                Quartile
                             

     Atlanta GA              Partner            24     $503            $571    $744       $618       $562      $565

                             Associate          25     $353            $395    $453       $418       $398      $372

     Austin TX               Partner            30     $304            $537    $695       $524       $470      $466

                             Associate          34     $249            $272    $408       $317       $304      $305

     Boston MA               Partner            68     $522            $660    $798       $656       $640      $648

                             Associate          80     $370            $427    $506       $450       $461      $436

     Chicago IL              Partner            66     $377            $521    $702       $573       $579      $576

                             Associate          51     $252            $301    $475       $384       $384      $403

     Cleveland OH            Partner            18     $281            $353    $839       $509       $475      $434

                             Associate          20     $183            $242    $443       $319       $306      $309

     Dallas TX               Partner            19     $593            $763    $866       $733       $637      $651

                             Associate          27     $425            $509    $611       $529       $426      $388

     Denver CO               Partner            12     $405            $502    $529       $518       $502      $496

     Detroit MI              Partner            17     $312            $383    $609       $430       $444      $384

                             Associate          17     $285            $310    $639       $432       $383      $322

     Houston TX              Partner            19     $300            $323    $610       $443       $519      $588

                             Associate          50     $180            $225    $275       $251       $241      $270

     Kansas City MO          Partner            11     $289            $325    $446       $371       $410      $448

                             Associate          26     $215            $249    $278       $265       $270      $299

     Los Angeles CA          Partner            77     $577            $808   $1,049      $831       $728      $690

                             Associate          158    $425            $625    $790       $604       $533      $492

     Minneapolis MN          Partner            28     $348            $396    $520       $443       $492      $441

                             Associate          53     $300            $365    $752       $496       $408      $413

     New York NY             Partner            106    $550            $803   $1,000      $822       $724      $722

                             Associate          132    $367            $475    $686       $518       $508      $463

     Philadelphia PA         Partner            63     $541            $630    $748       $631       $613      $574

                             Associate          53     $300            $370    $430       $379       $357      $341

     Portland OR             Partner            22     $362            $400    $425       $404       $414      $407

                             Associate          17     $250            $294    $306       $279       $280      $279

     Salt Lake City UT       Partner            11     $300            $350    $443       $484       $359      $298

     San Diego CA            Partner            25     $608            $795    $947       $776       $681      $653

                             Associate          11     $508            $635    $726       $607       $514      $425

     San Francisco CA        Partner            57     $700            $837   $1,030      $839       $773      $740

                             Associate          47     $450            $498    $626       $529       $477      $464

     San Jose CA             Partner            26     $405            $600    $913       $668       $636      $629

                             Associate          20     $242            $300    $417       $457       $423      $368




     96   Real Rate Report | Q3 2018                                                               wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property Patents
                            - Patents
19                                                              By City 2


      Intellectual Property
     By City
                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                   Trend Analysis (Mean)

               City                     Role   n      First         Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                Quartile
                            

     Seattle WA             Partner            16     $510            $608    $693       $601       $543      $487

     Washington DC          Partner            201    $538            $750    $955       $749       $717      $697

                            Associate          211    $340            $435    $620       $479       $461      $443




     97   Real Rate Report | Q3 2018                                                              wkelmsolutions.com
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     Intellectual Property Patents
                            - Patents
19                                                                    YoE and Matter Type


      Intellectual Property
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

         Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         227    $505          $700        $850       $705       $637      $589

                                         Non-Litigation     249    $360          $450        $610       $518       $484      $485

     21 or More Years                    Litigation         240    $600          $808        $985       $816       $758      $722

                                         Non-Litigation     215    $396          $548        $726       $582       $571      $566




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Litigation        25     $305          $475        $518       $441       $427

                                          Non-Litigation    33     $285          $325        $450       $375       $353      $356

     3 to Fewer Than 7 Years              Litigation        97     $362          $474        $590       $479       $460      $396

                                          Non-Litigation    86     $279          $323        $388       $349       $348      $311

     7 or More Years                      Litigation        118    $419          $625        $745       $579       $530      $493

                                          Non-Litigation    156    $285          $360        $486       $417       $371      $376




     98 Real Rate Report | Q3 2018                                                                               wkelmsolutions.com
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     Intellectual Property Patents
                            - Patents
19                                                               Firm Size & Matter Type


      Intellectual Property
     By Firm Size and Matter Type
          By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                                 Trend Analysis (Mean)

          Firm Size           MatterType         Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                     Quartile

     50 Lawyers or         Litigation       Partner     53     $395            $495         $625       $519       $507      $507
     Fewer
                                            Associate   32     $280            $465         $465       $401       $363      $332

                           Non-Litigation   Partner     128    $295            $361         $426       $382       $380      $379

                                            Associate   166    $248            $300         $375       $362       $310      $307

     51-200                Litigation       Partner     117    $448            $600         $779       $639       $639      $575
     Lawyers
                                            Associate   88     $290            $350         $450       $389       $385      $390

                           Non-Litigation   Partner     137    $360            $437         $551       $485       $491      $484

                                            Associate   115    $257            $300         $363       $319       $325      $320

     201-500               Litigation       Partner     88     $510            $655         $795       $656       $659      $654
     Lawyers
                                            Associate   78     $330            $375         $475       $413       $437      $428

                           Non-Litigation   Partner     126    $449            $576         $684       $585       $552      $577

                                            Associate   102    $295            $367         $411       $370       $354      $352

     501-1,000             Litigation       Partner     166    $746            $904        $1,049      $896       $808      $780
     Lawyers
                                            Associate   185    $500            $630         $765       $618       $554      $504

                           Non-Litigation   Partner     110    $547            $685         $846       $721       $703      $672

                                            Associate   145    $319            $406         $536       $446       $437      $411

     More Than             Litigation       Partner     135    $775            $923         $983       $898       $820      $768
     1,000 Lawyers
                                            Associate   182    $474            $574         $700       $591       $528      $477

                           Non-Litigation   Partner     41     $729            $831        $1,069      $886       $771      $767

                                            Associate   57     $418            $500         $820       $577       $515      $509




     99    Real Rate Report | Q3 2018                                                                           wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property   - Trademarks
19                                                             By City


      Intellectual Property
     By City
                         Trademarks

                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

               City                     Role   n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                            

     Chicago IL             Partner            29    $377           $550    $693       $535       $608      $600

                            Associate          21    $360           $405    $517       $437       $421      $405

     Los Angeles CA         Partner            12    $694           $768    $864       $783       $705      $723

     New York NY            Partner            41    $475           $585    $705       $629       $636      $609

                            Associate          38    $266           $358    $401       $346       $386      $370

     Seattle WA             Partner            12    $576           $632    $700       $632       $534      $462

     Washington DC          Partner            30    $555           $620    $777       $661       $639      $582

                            Associate          31    $425           $465    $579       $492       $400      $414




     100 Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual PropertyTrademarks
                             - Trademarks
19                                                                   YoE and Matter Type


      Intellectual Property
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                Trend Analysis (Mean)

         Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                 Quartile                  Quartile
     

     Fewer Then 21 Years                 Non-Litigation     39    $465          $572        $713       $599        $598     $553

     21 or More Years                    Litigation         19    $467          $660        $791       $644        $631     $595

                                         Non-Litigation     88    $500          $598        $726       $605        $610     $580




     Q3 2018 -- Real Rates for Associates                                                              Trend Analysis (Mean)

          Years of Experience                  MatterType   n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                 Quartile                  Quartile

     3 to Fewer Than 7 Years              Non-Litigation    19    $286          $363        $473       $394        $402     $341

     7 or More Years                      Non-Litigation    41    $319          $396        $476       $422        $403     $420




     101 Real Rate Report | Q3 2018                                                                             wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property   - Trademarks
19                                                            Firm Size & Matter Type


      Intellectual Property
                         Trademarks
     By Firm Size and Matter Type
        By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Firm Size           MatterType         Role   n     First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile                     Quartile

     50 Lawyers or       Non-Litigation   Partner     36    $440            $523         $594       $511       $492      $483
     Fewer
                                          Associate   43    $240            $281         $361       $306       $300      $295

     51-200              Non-Litigation   Partner     23    $320            $495         $573       $446       $487      $475
     Lawyers
     201-500             Non-Litigation   Partner     29    $472            $570         $721       $584       $563      $583
     Lawyers
                                          Associate   40    $323            $375         $434       $392       $372      $360

     501-1,000           Litigation       Partner     12    $476            $622         $722       $641       $555      $578
     Lawyers
                                          Associate   12    $325            $380         $447       $401       $396      $386

                         Non-Litigation   Partner     34    $600            $645         $742       $661       $649      $580

                                          Associate   36    $380            $443         $465       $443       $408      $383

     More Than           Non-Litigation   Partner     34    $615            $775         $869       $765       $732      $727
     1,000 Lawyers
                                          Associate   33    $409            $500         $621       $515       $487      $477




     102 Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property Other
                           - Other
19                                                             By City


      Intellectual Property
     By City
                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                 Trend Analysis (Mean)

               City                     Role   n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                    Quartile               Quartile
                            

     Atlanta GA             Partner            11    $513           $578    $636       $543       $545      $517

     Boston MA              Partner            16    $325           $386    $497       $426       $469      $442

     Chicago IL             Partner            56    $433           $584    $762       $626       $572      $547

                            Associate          50    $331           $425    $551       $426       $380      $389

     Los Angeles CA         Partner            24    $437           $759    $919       $714       $834      $662

                            Associate          36    $407           $675    $790       $628       $553      $518

     Minneapolis MN         Associate          20    $271           $336    $381       $343       $314      $336

     New York NY            Partner            25    $600           $775    $975       $780       $742      $756

                            Associate          34    $464           $571    $632       $551       $557      $482

     Philadelphia PA        Partner            16    $525           $560    $663       $593       $537      $541

                            Associate          19    $302           $306    $386       $350       $353      $351

     Washington DC          Partner            55    $567           $650    $847       $705       $674      $659

                            Associate          26    $411           $619    $653       $528       $476      $454




     103 Real Rate Report | Q3 2018                                                             wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property Other
                           - Other
19                                                                    YoE and Matter Type


      Intellectual Property
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

         Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         34     $422          $565        $772       $618       $490      $493

                                         Non-Litigation     62     $383          $475        $590       $507       $562      $506

     21 or More Years                    Litigation         66     $477          $639        $854       $675       $574      $550

                                         Non-Litigation     102    $425          $550        $676       $592       $635      $610




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Litigation        11     $367          $558        $574       $476       $359

     3 to Fewer Than 7 Years              Litigation        15     $416          $540        $723       $554       $401      $326

                                          Non-Litigation    22     $280          $355        $394       $359       $380      $356

     7 or More Years                      Litigation        25     $395          $562        $637       $555       $453      $445

                                          Non-Litigation    43     $258          $310        $406       $362       $389      $403




     104 Real Rate Report | Q3 2018                                                                              wkelmsolutions.com
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     Section III: Practice Area Analysis
     Intellectual Property Other
                           - Other
19                                                            Firm Size & Matter Type


      Intellectual Property
     By Firm Size and Matter Type
        By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                              Trend Analysis (Mean)

        Firm Size           MatterType         Role   n     First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile                     Quartile

     50 Lawyers or       Litigation       Partner     14    $230            $338         $444       $384       $351      $384
     Fewer
                         Non-Litigation   Partner     49    $310            $370         $532       $412       $418      $408

                                          Associate   87    $220            $250         $306       $264       $262      $272

     51-200              Litigation       Partner     20    $339            $435         $571       $497       $504      $415
     Lawyers
                                          Associate   20    $280            $302         $353       $318       $341      $269

                         Non-Litigation   Partner     48    $350            $430         $500       $433       $463      $421

                                          Associate   18    $225            $275         $343       $289       $280      $267

     201-500             Litigation       Partner     21    $520            $642         $900       $684       $622      $595
     Lawyers
                                          Associate   14    $280            $483         $536       $437       $456      $410

                         Non-Litigation   Partner     44    $427            $498         $645       $539       $567      $526

                                          Associate   39    $240            $297         $390       $315       $318      $320

     501-1,000           Litigation       Partner     41    $557            $660         $867       $737       $630      $638
     Lawyers
                                          Associate   40    $453            $588         $753       $580       $487      $469

                         Non-Litigation   Partner     38    $539            $625         $734       $654       $750      $705

                                          Associate   28    $339            $417         $513       $436       $470      $454

     More Than           Litigation       Partner     26    $559            $696         $875       $715       $560      $655
     1,000 Lawyers
                                          Associate   25    $495            $626         $750       $620       $393      $348

                         Non-Litigation   Partner     34    $643            $865        $1,010      $844       $820      $854

                                          Associate   33    $468            $565         $663       $559       $563      $532




     105 Real Rate Report | Q3 2018                                                                          wkelmsolutions.com
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     Section III: Practice Area Analysis
     Real Estate
19                                                            By City 1



     By CityReal Estate
                   By City

     Q3 2018 -- Real Rates for Partners and Associates                                       Trend Analysis (Mean)

                 City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                      Quartile                   Quartile
                             

     Atlanta GA              Partner            58     $230               $300    $425       $370       $374      $350

                             Associate          67     $200               $225    $255       $250       $242      $243

     Baltimore MD            Partner            18     $323               $388    $395       $389       $395      $376

                             Associate          21     $204               $267    $290       $252       $329      $239

     Boston MA               Partner            47     $235               $330    $454       $389       $413      $411

                             Associate          41     $175               $230    $384       $304       $285      $308

     Charlotte NC            Partner            23     $250               $275    $300       $316       $307      $282

     Chicago IL              Partner            96     $259               $350    $570       $461       $465      $460

                             Associate          70     $207               $235    $315       $283       $306      $311

     Cincinnati OH           Partner            18     $384               $437    $487       $443       $428      $400

                             Associate          18     $225               $255    $265       $250       $236      $231

     Cleveland OH            Partner            64     $280               $385    $485       $391       $389      $373

                             Associate          49     $225               $250    $277       $257       $252      $239

     Dallas TX               Partner            33     $291               $325    $415       $369       $359      $370

                             Associate          27     $225               $250    $347       $287       $279      $237

     Denver CO               Partner            42     $270               $354    $471       $379       $359      $318

                             Associate          40     $233               $270    $295       $266       $261      $244

     Detroit MI              Partner            22     $189               $200    $250       $240       $256      $275

                             Associate          22     $170               $192    $210       $195       $194      $206

     Houston TX              Associate          18     $235               $250    $336       $279       $269      $285

     Indianapolis IN         Partner            21     $233               $277    $421       $341       $324      $322

                             Associate          12     $165               $225    $260       $225       $213      $207

     Kansas City MO          Partner            22     $200               $275    $381       $310       $325      $320

                             Associate          22     $178               $218    $263       $216       $242      $226

     Los Angeles CA          Partner            130    $300               $375    $505       $445       $441      $402

                             Associate          101    $250               $288    $373       $332       $347      $307

     Memphis TN              Partner            13     $240               $260    $315       $270       $258      $277

     Miami FL                Partner            68     $274               $350    $501       $403       $394      $391

                             Associate          59     $186               $225    $279       $245       $243      $245

     Milwaukee WI            Partner            17     $274               $278    $380       $323       $293      $319

     Minneapolis MN          Partner            21     $225               $235    $250       $273       $298      $293

                             Associate          12     $175               $200    $253       $222       $218      $208

     Nashville TN            Partner            15     $288               $299    $423       $339       $316      $321

                             Associate          11     $207               $225    $230       $209       $208      $200

     New Orleans LA          Partner            23     $210               $278    $314       $275       $264      $258

                             Associate          21     $175               $195    $225       $199       $201      $185


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     Section III: Practice Area Analysis
     Real Estate
19                                                           By City 2



     By CityReal Estate
                  By City

     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

                City                    Role   n      First        Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                     Quartile                   Quartile
                            

     New York NY            Partner            178    $325               $400    $595       $483       $462      $477

                            Associate          163    $250               $295    $395       $347       $317      $317

     Orlando FL             Partner            23     $294               $345    $420       $378       $356      $355

                            Associate          18     $222               $235    $275       $249       $246      $233

     Philadelphia PA        Partner            80     $325               $410    $588       $461       $432      $409

                            Associate          72     $225               $275    $356       $293       $277      $259

     Pittsburgh PA          Partner            21     $220               $230    $352       $286       $284      $305

                            Associate          18     $170               $175    $296       $224       $213      $216

     Raleigh NC             Partner            18     $275               $275    $415       $334       $327      $267

     Richmond VA            Associate          13     $220               $328    $361       $320       $311      $300

     San Diego CA           Partner            27     $200               $250    $315       $272       $304      $298

                            Associate          29     $170               $225    $225       $234       $245      $231

     San Francisco CA       Partner            48     $304               $423    $582       $453       $447      $415

                            Associate          27     $220               $298    $506       $381       $346      $308

     San Juan PR            Partner            12     $219               $280    $322       $264       $234      $228

     Seattle WA             Partner            35     $361               $428    $544       $472       $412      $380

                            Associate          21     $251               $302    $400       $333       $262      $250

     St. Louis MO           Partner            30     $205               $324    $395       $313       $307      $298

                            Associate          17     $172               $220    $240       $226       $197      $198

     Tampa FL               Partner            37     $303               $355    $468       $389       $389      $367

                            Associate          22     $225               $280    $294       $263       $244      $233

     Washington DC          Partner            60     $325               $448    $590       $490       $476      $520

                            Associate          28     $225               $285    $370       $353       $300      $311




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     Section III: Practice Area Analysis
     Real Estate
19                                                                    YoE and Matter Type


             Real Estate
     By Years of Experience and Matter Type
     By Years of Experience and Matter Type

     Q3 2018 -- Real Rates for Partners                                                                 Trend Analysis (Mean)

         Years of Experience                  MatterType    n      First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile
     

     Fewer Then 21 Years                 Litigation         218    $225          $270        $336       $300        $293     $286

                                         Non-Litigation     332    $250          $315        $400       $357        $353     $347

     21 or More Years                    Litigation         400    $250          $310        $415       $363        $355     $342

                                         Non-Litigation     711    $285          $375        $517       $420        $415     $406




     Q3 2018 -- Real Rates for Associates                                                               Trend Analysis (Mean)

          Years of Experience                  MatterType    n     First       Median        Third     Q3 2018    Q3 2017   Q3 2016
                                                                  Quartile                  Quartile

     Fewer Than 3 Years                   Litigation        25     $200          $218        $250       $261        $216     $231

                                          Non-Litigation    46     $210          $230        $285       $253        $241     $252

     3 to Fewer Than 7 Years              Litigation        81     $191          $221        $275       $242        $232     $218

                                          Non-Litigation    120    $200          $250        $325       $278        $254     $243

     7 or More Years                      Litigation        177    $185          $225        $253       $243        $239     $245

                                          Non-Litigation    245    $224          $265        $339       $314        $291     $281




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     Section III: Practice Area Analysis
     Real Estate
19                                                             Firm Size & Matter Type


           Real Estate
     By Firm Size and Matter Type
        By Firm Size and Matter Type

     Q3 2018 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

        Firm Size           MatterType         Role   n      First         Median         Third     Q3 2018    Q3 2017   Q3 2016
                                                            Quartile                     Quartile

     50 Lawyers or       Litigation       Partner     352    $225            $275         $327       $291       $279      $269
     Fewer
                                          Associate   285    $185            $207         $250       $217       $212      $208

                         Non-Litigation   Partner     533    $235            $285         $350       $307       $295      $291

                                          Associate   370    $185            $225         $250       $227       $219      $214

     51-200              Litigation       Partner     209    $220            $294         $375       $322       $301      $298
     Lawyers
                                          Associate   174    $175            $210         $250       $223       $215      $211

                         Non-Litigation   Partner     324    $293            $350         $450       $383       $368      $362

                                          Associate   217    $210            $250         $295       $261       $254      $242

     201-500             Litigation       Partner     123    $300            $325         $489       $404       $381      $379
     Lawyers
                                          Associate   102    $225            $260         $325       $286       $274      $272

                         Non-Litigation   Partner     228    $310            $400         $543       $451       $439      $437

                                          Associate   172    $232            $275         $329       $306       $289      $288

     501-1,000           Litigation       Partner     41     $303            $475         $692       $518       $534      $442
     Lawyers
                                          Associate   35     $230            $277         $406       $329       $310      $304

                         Non-Litigation   Partner     110    $449            $528         $646       $554       $552      $533

                                          Associate   112    $274            $338         $447       $376       $349      $334

     More Than           Litigation       Partner     21     $585            $762        $1,067      $860       $823      $791
     1,000 Lawyers
                                          Associate   18     $435            $626         $673       $548       $517      $491

                         Non-Litigation   Partner     59     $558            $755         $925       $795       $736      $667

                                          Associate   56     $364            $476         $575       $508       $462      $400




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 Section IV:
 In-Depth Analysis for
 Select US Cities




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                                              165 21    $3 59
                                                154 79    $2 38



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     Section IV: In-Depth Analysis for Select US Cities
     Boston MA
       Boston MA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First       Median      Third     Q3 2018   Q3 2017   Q3 2016
                                                               Quartile                Quartile

     Corporate: Other 50 Lawyers or          Partner     12     $344            $384    $390       $365       $379     $389
                      Fewer
                                             Associate   17     $287            $356    $375       $321       $399     $287

                          51-200 Lawyers Partner         24     $630            $712    $750       $681       $672     $670

                                             Associate   38     $260            $375    $401       $356       $361     $359

                          201-500            Partner     17     $500            $625    $705       $593       $578     $562
                          Lawyers
                                             Associate   13     $298            $376    $497       $403       $390     $376

                          More Than          Partner     19     $635            $778   $1,008      $858       $868     $936
                          1,000 Lawyers
                                             Associate   15     $323            $475    $624       $482       $462     $545

     Corporate:           51-200 Lawyers Associate       12     $260            $355    $399       $354       $394     $339
     Regulatory and
     Compliance
     Finance and     More Than               Partner     58     $961        $1,047     $1,219     $1,095     $1,099   $1,068
     Securities:     1,000 Lawyers
                                             Associate   122    $531            $671    $791       $657       $646     $603
     Investments and
     Other Financial
     Instruments
     Finance and       51-200 Lawyers Partner            14     $546            $628    $710       $653       $618     $658
     Securities: Loans
                                      Associate          21     $276            $380    $418       $365       $356     $348
     and Financing
     General Liability: 51-200 Lawyers Associate         12     $165            $253    $445       $319       $240     $251
     Other
     Insurance            50 Lawyers or      Associate   11     $154            $175    $210       $181       $189     $185
     Defense: Other       Fewer
     Intellectual      51-200 Lawyers Partner            22     $616            $770    $846       $736       $737     $728
     Property: Patents
                                      Associate          20     $381            $426    $469       $437       $473     $448

                          201-500            Partner     28     $565            $657    $781       $673       $646     $648
                          Lawyers
                                             Associate   31     $388            $481    $506       $480       $465     $453




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     Section IV: In-Depth Analysis for Select US Cities
     Chicago
        ChicagoILIL
     By  Practice Area and Firm Size
     By Practice Area and Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                      Trend Analysis (Mean)

       Practice Area      Firm Size        Role    n      First        Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                         Quartile               Quartile

     Commercial        50 Lawyers or   Partner     31     $295          $426     $509       $428       $458     $460
                       Fewer
                                       Associate   25     $185          $245     $325       $263       $290     $280

                       51-200 Lawyers Partner      22     $379          $456     $576       $477       $460     $453

                                       Associate   15     $210          $259     $306       $259       $284     $291

                       201-500         Partner     48     $511          $609     $735       $646       $656     $664
                       Lawyers
                                       Associate   34     $369          $395     $520       $444       $457     $468

                       501-1,000       Partner     29     $611          $680     $841       $720       $667     $649
                       Lawyers
                                       Associate   41     $396          $433     $509       $457       $459     $414

                       More Than       Partner     52     $750          $890    $1,020      $933       $838     $766
                       1,000 Lawyers
                                       Associate   49     $383          $501     $650       $530       $529     $499

     Corporate:        More Than       Associate   11     $439          $571     $635       $550       $570     $482
     Governance        1,000 Lawyers
     Corporate:       More Than        Partner     57     $779          $868     $964       $893       $842     $817
     Mergers,         1,000 Lawyers
                                       Associate   74     $403          $516     $634       $528       $510     $493
     Acquisitions and
     Divestitures
     Corporate: Other 50 Lawyers or    Partner     12     $230          $293     $450       $362       $304     $260
                      Fewer
                                       Associate   17     $163          $204     $300       $240       $240     $202

                       51-200 Lawyers Partner      12     $488          $550     $599       $552       $467     $415

                       201-500         Partner     107    $632          $751     $894       $760       $724     $683
                       Lawyers
                                       Associate   121    $423          $534     $640       $530       $472     $463

                       501-1,000       Partner     42     $595          $644     $725       $680       $614     $633
                       Lawyers
                                       Associate   37     $355          $405     $495       $432       $396     $410

                       More Than       Partner     163    $727          $810     $966       $848       $807     $840
                       1,000 Lawyers
                                       Associate   170    $411          $495     $598       $508       $491     $502

     Corporate:        201-500         Partner     17     $610          $728     $813       $730       $779     $755
     Regulatory and    Lawyers
                                       Associate   20     $423          $573     $656       $536       $487     $490
     Compliance
                       501-1,000       Partner     19     $607          $660     $789       $710       $715     $711
                       Lawyers
                       More Than       Partner     38     $769          $896     $981       $888       $850     $808
                       1,000 Lawyers
                                       Associate   36     $443          $565     $694       $575       $517     $495

     Corporate: Tax    More Than       Partner     45     $706          $848     $995       $844       $821     $798
                       1,000 Lawyers
                                       Associate   40     $440          $540     $700       $574       $494     $468




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     Section IV: In-Depth Analysis for Select US Cities
     Chicago
        ChicagoILIL
     By  Practice Area and Firm Size
     By Practice Area and Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                     Trend Analysis (Mean)

       Practice Area      Firm Size        Role    n     First        Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                        Quartile               Quartile

     Employment and More Than          Partner     15    $770          $920     $985       $854       $771     $773
     Labor:         1,000 Lawyers
     Compensation
     and Benefits
     Employment and 501-1,000          Partner     17    $495          $540     $590       $556       $520     $524
     Labor:          Lawyers
                                       Associate   25    $327          $360     $385       $362       $357     $348
     Discrimination,
     Retaliation and
     Harassment /
     EEO
     Employment and 501-1,000          Partner     33    $480          $553     $664       $574       $571     $562
     Labor: Other   Lawyers
                                       Associate   23    $345          $380     $432       $390       $375     $374

                       More Than       Partner     34    $637          $801    $1,048      $890       $710     $681
                       1,000 Lawyers
                                       Associate   35    $316          $415     $570       $487       $439     $408

     Finance and       501-1,000       Partner     30    $694          $775     $822       $777       $772     $800
     Securities:       Lawyers
     Investments and
                       More Than       Partner     95    $795          $946    $1,165      $994      $1,008    $908
     Other Financial
                       1,000 Lawyers
     Instruments                       Associate   80    $451          $579     $748       $621       $627     $589

     Finance and       201-500         Partner     19    $640          $717     $788       $737       $737     $744
     Securities: Loans Lawyers
                                       Associate   17    $370          $420     $484       $440       $419     $425
     and Financing
                       501-1,000       Partner     12    $697          $721     $799       $772       $795     $742
                       Lawyers
                                       Associate   29    $427          $529     $615       $523       $544     $477

                       More Than       Partner     73    $990         $1,075   $1,206     $1,093     $1,045    $988
                       1,000 Lawyers
                                       Associate   75    $520          $664     $857       $683       $651     $630

     Insurance         50 Lawyers or   Partner     48    $205          $313     $315       $273       $264     $247
     Defense: Other    Fewer
     Insurance         50 Lawyers or   Partner     28    $185          $308     $315       $263       $254     $236
     Defense:          Fewer
     Property
     Damage
     Intellectual      51-200 Lawyers Partner      17    $391          $430     $482       $447       $465     $434
     Property: Other
                       More Than       Partner     22    $617          $764     $944       $822       $705     $749
                       1,000 Lawyers
                                       Associate   18    $423          $495     $635       $527       $471     $439




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     Chicago
        ChicagoILIL
     By  Practice Area and Firm Size
     By Practice Area and Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                     Trend Analysis (Mean)

       Practice Area      Firm Size        Role    n     First        Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                        Quartile               Quartile

     Intellectual      51-200 Lawyers Partner      44    $355          $435     $560       $468       $478     $456
     Property: Patents
                                      Associate    31    $236          $261     $301       $282       $277     $281

                       More Than       Partner     12    $786          $863    $1,000      $908       $791     $785
                       1,000 Lawyers
                                       Associate   15    $485          $590     $701       $597       $453     $471

     Intellectual      51-200 Lawyers Partner      13    $250          $353     $498       $388       $403     $440
     Property:
     Trademarks
     Miscellaneous:    501-1,000       Partner     19    $565          $645     $702       $643       $635     $632
     General Advice    Lawyers
     & Counsel




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     Section IV: In-Depth Analysis for Select US Cities
     Los
     Los Angeles  CA
         Angeles CA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile               Quartile

     Commercial           50 Lawyers or      Partner     23     $260          $466     $574       $452       $450      $423
                          Fewer
                                             Associate   20     $230          $300     $395       $332       $311      $337

                          51-200 Lawyers Partner         11     $544          $680     $698       $612       $686      $630

                          201-500            Partner     12     $421          $560     $636       $541       $533      $588
                          Lawyers
                          501-1,000          Partner     25     $650          $755     $900       $759       $719      $662
                          Lawyers
                                             Associate   23     $395          $493     $630       $523       $479      $447

                          More Than          Partner     35     $794          $995    $1,068      $918       $948      $945
                          1,000 Lawyers
                                             Associate   75     $522          $646     $788       $651       $609      $567

     Corporate:           501-1,000          Partner     14     $855         $1,000   $1,341     $1,054      $976      $688
     Antitrust and        Lawyers
     Competition
     Corporate:           More Than          Partner     12     $891         $1,008   $1,035      $977       $959      $936
     Governance           1,000 Lawyers
     Corporate:       More Than              Partner     16     $841         $1,220   $1,450     $1,133     $1,033     $997
     Mergers,         1,000 Lawyers
                                             Associate   33     $638          $825    $1,030      $820       $647      $597
     Acquisitions and
     Divestitures
     Corporate: Other 50 Lawyers or          Partner     23     $289          $390     $438       $390       $402      $467
                      Fewer
                                             Associate   16     $245          $255     $275       $287       $286      $323

                          51-200 Lawyers Partner         30     $550          $761    $1,088      $852       $815      $901

                                             Associate   19     $410          $450     $568       $522       $543      $568

                          201-500            Partner     33     $425          $570     $770       $593       $519      $554
                          Lawyers
                                             Associate   23     $389          $400     $447       $429       $417      $435

                          501-1,000          Partner     44     $587          $729     $820       $743       $688      $684
                          Lawyers
                                             Associate   44     $401          $519     $596       $521       $512      $473

                          More Than          Partner     83     $827          $956    $1,079      $965       $929      $909
                          1,000 Lawyers
                                             Associate   117    $471          $640     $760       $630       $591      $570

     Corporate:           501-1,000          Associate   24     $457          $576     $681       $555       $494      $427
     Regulatory and       Lawyers
     Compliance
                          More Than          Partner     32     $893          $964    $1,064      $982       $943      $892
                          1,000 Lawyers
                                             Associate   77     $495          $610     $700       $603       $575      $540




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     Section IV: In-Depth Analysis for Select US Cities
     Los
     Los Angeles  CA
         Angeles CA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile               Quartile

     Employment and 501-1,000                Partner     15     $464          $504     $550       $518       $493      $488
     Labor:          Lawyers
                                             Associate   26     $311          $351     $450       $377       $376      $390
     Discrimination,
     Retaliation and
     Harassment /
     EEO
     Employment and 51-200 Lawyers Associate             12     $348          $429     $486       $429       $408      $308
     Labor: Other
                    201-500        Partner               12     $404          $499     $563       $496       $525      $484
                    Lawyers
                          501-1,000          Partner     26     $502          $586     $665       $611       $604      $573
                          Lawyers
                                             Associate   21     $420          $452     $549       $495       $466      $420

                          More Than          Partner     19     $823          $905    $1,017      $922       $894      $777
                          1,000 Lawyers
                                             Associate   27     $478          $578     $728       $604       $560      $563

     Finance and          501-1,000          Partner     28     $650          $703     $818       $735       $823      $804
     Securities:          Lawyers
                                             Associate   43     $485          $565     $675       $576       $534      $548
     Investments and
     Other Financial      More Than          Partner     41     $854         $1,175   $1,336     $1,113     $1,087    $1,019

     Instruments          1,000 Lawyers
                                             Associate   161    $650          $812    $1,010      $819       $782      $756

     Finance and       51-200 Lawyers Partner            14     $688          $766     $882       $805       $809      $776
     Securities: Loans
                       501-1,000      Partner            26     $788         $1,075   $1,150      $995       $941      $797
     and Financing
                       Lawyers
                                      Associate          27     $518          $650     $804       $659       $666      $569

                          More Than          Partner     52     $999         $1,133   $1,239     $1,124     $1,040    $1,012
                          1,000 Lawyers
                                             Associate   58     $577          $755     $864       $732       $620      $613

     General Liability: 50 Lawyers or        Partner     15     $175          $263     $350       $283       $277      $306
     Product and        Fewer
                                             Associate   16     $160          $200     $253       $205       $225      $229
     Product Liability
                        501-1,000            Partner     11     $359          $553    $1,115      $710       $677      $685
                        Lawyers
                                             Associate   29     $270          $369     $655       $452       $484      $413

     Insurance            50 Lawyers or      Partner     16     $225          $225     $234       $218       $205      $198
     Defense: Other       Fewer
     Intellectual         More Than          Associate   19     $560          $710     $795       $677       $598      $554
     Property: Other      1,000 Lawyers
     Intellectual      501-1,000             Partner     21     $839          $945    $1,073      $945       $739      $667
     Property: Patents Lawyers
                                             Associate   55     $588          $663     $771       $658       $510      $469

                          More Than          Partner     16     $890         $1,007   $1,195     $1,021      $935      $924
                          1,000 Lawyers
                                             Associate   66     $495          $650     $835       $654       $648      $585




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     Section IV: In-Depth Analysis for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                               Quartile                Quartile

     Bankruptcy and       50 Lawyers or      Partner     14     $275           $333     $345       $362       $397     $411
     Collections          Fewer
                                             Associate   14     $300           $310     $310       $308       $236     $331

                          51-200 Lawyers Partner         16     $295           $375     $423       $359       $323     $326

                          201-500            Partner     19     $435           $544     $695       $550       $611     $586
                          Lawyers
                          More Than          Partner     12     $535           $679     $870       $729       $663     $725
                          1,000 Lawyers
     Commercial           50 Lawyers or      Partner     41     $332           $371     $517       $429       $386     $386
                          Fewer
                                             Associate   26     $313           $391     $514       $393       $288     $275

                          51-200 Lawyers Partner         25     $427           $625     $754       $617       $575     $552

                                             Associate   22     $293           $340     $496       $380       $315     $336

                          201-500            Partner     43     $550           $665    $1,069      $823       $738     $676
                          Lawyers
                                             Associate   42     $335           $405     $642       $535       $553     $437

                          501-1,000          Partner     98     $719          $1,127   $1,524     $1,179     $1,292   $1,131
                          Lawyers
                                             Associate   131    $428           $700     $936       $729       $690     $736

                          More Than          Partner     50     $896          $1,033   $1,190     $1,045     $1,031    $972
                          1,000 Lawyers
                                             Associate   49     $485           $617     $795       $686       $696     $629

     Corporate:           501-1,000          Partner     19    $1,173         $1,307   $1,351     $1,251     $1,156   $1,090
     Antitrust and        Lawyers
                                             Associate   108    $491           $642     $790       $635       $608     $595
     Competition
     Corporate:           501-1,000          Partner     47    $1,251         $1,301   $1,322     $1,263     $1,259   $1,185
     Governance           Lawyers
                                             Associate   84     $560           $722     $804       $689       $682     $672

                          More Than          Partner     22    $1,128         $1,329   $1,410     $1,272     $1,127    $980
                          1,000 Lawyers
                                             Associate   38     $610           $729     $843       $720       $696     $590

     Corporate:       501-1,000              Partner     134   $1,008         $1,190   $1,235     $1,147     $1,088   $1,073
     Mergers,         Lawyers
                                             Associate   282    $491           $640     $809       $617       $524     $521
     Acquisitions and
     Divestitures     More Than              Partner     101   $1,006         $1,208   $1,394     $1,201     $1,073   $1,044
                      1,000 Lawyers
                                             Associate   92     $583           $713     $914       $729       $693     $648




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     Section IV: In-Depth Analysis for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                               Quartile                Quartile

     Corporate: Other 50 Lawyers or          Partner     52     $341           $427     $545       $453       $487     $482
                      Fewer
                                             Associate   41     $224           $298     $357       $314       $348     $312

                          51-200 Lawyers Partner         43     $295           $495     $695       $515       $517     $486

                                             Associate   25     $295           $295     $405       $349       $355     $302

                          201-500            Partner     95     $500           $710     $942       $749       $726     $734
                          Lawyers
                                             Associate   99     $325           $415     $519       $436       $446     $457

                          501-1,000          Partner     220    $926          $1,165   $1,325     $1,115     $1,074    $994
                          Lawyers
                                             Associate   339    $534           $704     $815       $683       $640     $593

                          More Than          Partner     168    $875          $1,052   $1,330     $1,079      $948     $925
                          1,000 Lawyers
                                             Associate   216    $525           $650     $850       $694       $639     $613

     Corporate:           50 Lawyers or      Partner     13     $440           $457     $600       $507       $514     $477
     Regulatory and       Fewer
     Compliance
                          51-200 Lawyers Partner         16     $526           $665     $809       $668       $569     $534

                                             Associate   14     $358           $443     $530       $448       $351     $307

                          201-500            Partner     30     $675           $860    $1,060      $923       $815     $852
                          Lawyers
                                             Associate   26     $424           $482     $691       $562       $525     $499

                          501-1,000          Partner     125    $977          $1,165   $1,201     $1,095     $1,069   $1,065
                          Lawyers
                                             Associate   285    $491           $597     $800       $640       $618     $627

                          More Than          Partner     38     $954          $1,050   $1,200     $1,065      $964     $961
                          1,000 Lawyers
                                             Associate   38     $503           $647     $809       $660       $625     $588

     Corporate: Tax       501-1,000          Partner     38    $1,077         $1,199   $1,430     $1,215     $1,235   $1,136
                          Lawyers
                                             Associate   60     $431           $603     $820       $630       $714     $592

                          More Than          Partner     41     $803           $968    $1,254     $1,054     $1,120   $1,116
                          1,000 Lawyers
                                             Associate   38     $555           $677     $957       $792       $692     $695

     Corporate:           501-1,000          Partner     17     $975          $1,026   $1,133     $1,048     $1,025   $1,036
     Treasury             Lawyers
                                             Associate   39     $501           $640     $775       $619       $613     $568

     Employment and 501-1,000                Partner     25     $805          $1,020   $1,060      $938       $926     $902
     Labor:         Lawyers
                                             Associate   11     $401           $533     $645       $531       $627     $570
     Compensation
     and Benefits
     Employment and       50 Lawyers or      Partner     15     $294           $362     $485       $393       $410     $362
     Labor:               Fewer
     Discrimination,
                          501-1,000          Partner     23     $426           $450     $639       $596       $443     $457
     Retaliation and
                          Lawyers
     Harassment /                            Associate   23     $243           $315     $377       $361       $296     $329

     EEO                  More Than          Partner     12     $684           $781     $846       $806       $742     $736
                          1,000 Lawyers




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     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                               Quartile                Quartile

     Employment and 50 Lawyers or            Partner     27     $365           $573     $653       $551       $606     $590
     Labor: Other   Fewer
                                             Associate   26     $296           $335     $413       $362       $371     $361

                          51-200 Lawyers Partner         15     $405           $542     $613       $509       $613     $584

                          201-500            Partner     70     $450           $695     $753       $648       $642     $647
                          Lawyers
                                             Associate   73     $306           $395     $544       $424       $431     $432

                          501-1,000          Partner     98     $475           $627    $1,036      $737       $724     $682
                          Lawyers
                                             Associate   100    $354           $523     $719       $555       $523     $496

                          More Than          Partner     33     $752           $884    $1,119      $918       $859     $870
                          1,000 Lawyers
                                             Associate   28     $480           $586     $750       $609       $602     $566

     Employment and       201-500            Partner     19     $448           $450     $450       $424       $433     $414
     Labor: Union         Lawyers
                                             Associate   16     $240           $300     $332       $283       $293     $269
     Relations and
     Negotiations /       501-1,000          Partner     12     $524           $838     $953       $782       $792     $623

     NLRB                 Lawyers

     Environmental        More Than          Partner     20    $1,285         $1,412   $1,460     $1,291      $984     $860
                          1,000 Lawyers
     Finance and          501-1,000          Partner     37     $944          $1,201   $1,288     $1,103     $1,066    $989
     Securities:          Lawyers
                                             Associate   60     $511           $763     $815       $687       $677     $658
     Debt/Equity
     Offerings            More Than          Partner     17     $651          $1,034   $1,100      $927       $952     $853
                          1,000 Lawyers
     Finance and     50 Lawyers or           Partner     11     $728           $782     $796       $751       $642     $604
     Securities:     Fewer
                                             Associate   14     $323           $388     $426       $376       $431     $415
     Investments and
     Other Financial 51-200 Lawyers          Partner     16     $606           $805     $965       $772       $816     $719

     Instruments                             Associate   11     $475           $535     $691       $545       $478     $444

                          201-500            Partner     77     $930          $1,111   $1,200     $1,050      $997     $943
                          Lawyers
                                             Associate   76     $442           $616     $736       $613       $545     $501

                          501-1,000          Partner     266    $960          $1,209   $1,391     $1,180     $1,133   $1,100
                          Lawyers
                                             Associate   551    $568           $704     $872       $725       $694     $671

                          More Than          Partner     132    $848          $1,022   $1,259     $1,058     $1,033   $1,013
                          1,000 Lawyers
                                             Associate   99     $506           $676     $850       $695       $677     $632




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     Section IV: In-Depth Analysis for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                               Quartile                Quartile

     Finance and       50 Lawyers or  Partner            18     $333           $608     $810       $583       $678     $629
     Securities: Loans Fewer
     and Financing
                       51-200 Lawyers Partner            11     $605           $695     $735       $695       $671     $659

                          201-500            Associate   116    $556           $720     $823       $691       $664     $600
                          Lawyers
                          501-1,000          Partner     64     $975          $1,160   $1,422     $1,173     $1,138   $1,103
                          Lawyers
                                             Associate   88     $654           $778     $895       $761       $674     $659

                          More Than          Partner     79    $1,127         $1,300   $1,425     $1,257     $1,135   $1,100
                          1,000 Lawyers
                                             Associate   130    $630           $859     $979       $812       $744     $686

     Finance and          501-1,000          Associate   23     $480           $790     $813       $675       $648     $593
     Securities: Other    Lawyers
                          More Than          Partner     11     $828           $920     $945       $886       $909     $858
                          1,000 Lawyers
                                             Associate   13     $459           $528     $640       $543       $605     $522

     Finance and          501-1,000          Partner     42     $798          $1,025   $1,204     $1,038     $1,049   $1,017
     Securities: SEC      Lawyers
                                             Associate   54     $355           $551     $671       $550       $542     $585
     Filings and
     Financial            More Than          Partner     11     $973          $1,100   $1,239     $1,106     $1,122   $1,069

     Reporting            1,000 Lawyers

     Finance and          501-1,000          Partner     38     $928          $1,235   $1,330     $1,135     $1,204   $1,121
     Securities:          Lawyers
                                             Associate   38     $516           $599     $718       $633       $673     $577
     Securities and
     Banking              More Than          Partner     19     $627           $733     $848       $784       $845     $799

     Regulations          1,000 Lawyers
                                             Associate   21     $345           $427     $535       $455       $508     $481

     General Liability: 50 Lawyers or        Partner     17     $158           $165     $210       $240       $205     $166
     Other              Fewer
                                             Associate   22     $135           $135     $184       $187       $169     $146

                          More Than          Associate   15     $530           $624     $810       $628       $444     $413
                          1,000 Lawyers
     General Liability: 201-500              Associate   17     $202           $210     $210       $218       $218     $218
     Personal           Lawyers
     Injury/Wrongful
     Death
     General Liability: 50 Lawyers or        Partner     13     $165           $325     $375       $288       $296     $307
     Product and        Fewer
                                             Associate   12     $135           $238     $285       $220       $251     $250
     Product Liability
                        501-1,000            Associate   16     $368           $421     $500       $465       $511     $611
                        Lawyers
     Insurance            51-200 Lawyers Partner         24     $145           $175     $190       $177       $186     $208
     Defense: Auto
                                             Associate   25     $158           $175     $175       $166       $163     $173
     and
     Transportation




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     Section IV: In-Depth Analysis for Select US Cities
     New
      NewYork
          York NY
               NY
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                              Quartile                Quartile

     Insurance            50 Lawyers or      Partner     19    $182           $191     $231       $217       $202     $188
     Defense: Other       Fewer
                                             Associate   25    $168           $185     $195       $184       $175     $166

                          51-200 Lawyers Partner         60    $186           $190     $209       $225       $227     $226

                                             Associate   52    $140           $152     $175       $175       $176     $181

     Insurance            51-200 Lawyers Partner         24    $145           $172     $200       $175       $180     $199
     Defense:
                          201-500            Partner     17    $181           $200     $204       $197       $226     $235
     Personal
                          Lawyers
     Injury/Wrongful
     Death
     Insurance        51-200 Lawyers Partner             15    $190           $203     $220       $229       $234     $209
     Defense: Product
     and Product
     Liability
     Insurance            50 Lawyers or      Associate   50    $142           $150     $156       $151       $145     $144
     Defense:             Fewer
     Property
                          51-200 Lawyers Partner         30    $190           $205     $248       $238       $221     $197
     Damage
                                             Associate   25    $150           $150     $180       $166       $164     $163

     Intellectual      50 Lawyers or         Associate   24    $343           $465     $465       $426       $401     $332
     Property: Patents Fewer
                          51-200 Lawyers Partner         20    $500           $549     $620       $568       $550     $591

                                             Associate   24    $288           $322     $383       $343       $316     $335

                          201-500            Partner     16    $545           $625     $775       $654       $668     $706
                          Lawyers
                                             Associate   14    $328           $375     $375       $372       $409     $424

                          501-1,000          Partner     31    $928          $1,142   $1,212     $1,087      $947     $926
                          Lawyers
                                             Associate   44    $541           $739     $785       $677       $617     $619

                          More Than          Partner     27    $829           $927    $1,025      $952       $905     $853
                          1,000 Lawyers
                                             Associate   24    $475           $504     $693       $603       $608     $591

     Intellectual         50 Lawyers or      Partner     19    $440           $524     $608       $526       $519     $508
     Property:            Fewer
                                             Associate   27    $240           $335     $387       $322       $310     $317
     Trademarks
     Real Estate:         50 Lawyers or      Partner     16    $350           $350     $481       $415       $376     $426
     Other                Fewer
                                             Associate   13    $275           $325     $350       $313       $313     $292

     Requests for         501-1,000          Partner     12   $1,021         $1,182   $1,288     $1,170     $1,056   $1,068
     Information:         Lawyers
                                             Associate   43    $125           $560     $753       $467       $457     $647
     Subpoena




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     Section IV: In-Depth Analysis for Select US Cities
     Philadelphia
      Philadelphia PAPA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                             Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                               Quartile                Quartile

     Bankruptcy and       201-500            Partner     20     $415           $500     $526       $503       $520     $568
     Collections          Lawyers
                                             Associate   17     $278           $300     $308       $309       $295     $315

     Commercial           50 Lawyers or      Partner     15     $254           $513     $674       $511       $512     $364
                          Fewer
                                             Associate   19     $204           $293     $302       $297       $288     $260

                          51-200 Lawyers Partner         19     $292           $510     $643       $493       $538     $559

                                             Associate   14     $266           $307     $320       $287       $302     $271

                          201-500            Partner     47     $430           $550     $690       $565       $582     $618
                          Lawyers
                                             Associate   32     $272           $300     $380       $331       $335     $330

                          501-1,000          Partner     47     $570           $640     $765       $687       $690     $595
                          Lawyers
                                             Associate   33     $353           $439     $491       $470       $422     $377

                          More Than          Partner     25     $578           $715     $765       $682       $709     $672
                          1,000 Lawyers
                                             Associate   33     $340           $431     $540       $449       $419     $450

     Corporate:       51-200 Lawyers Partner             13     $558           $769     $875       $714       $687     $665
     Mergers,
                      201-500        Partner             13     $485           $525     $595       $533       $515     $531
     Acquisitions and
                      Lawyers
     Divestitures
     Corporate: Other 51-200 Lawyers Partner             48     $463           $608     $743       $590       $576     $588

                                             Associate   46     $300           $330     $378       $341       $331     $313

                          201-500            Partner     43     $495           $545     $685       $577       $522     $559
                          Lawyers
                                             Associate   41     $302           $325     $370       $346       $328     $296

                          501-1,000          Partner     30     $575           $595     $901       $706       $759     $698
                          Lawyers
                                             Associate   37     $360           $425     $542       $473       $472     $405

                          More Than          Partner     102    $674           $792     $850       $792       $739     $716
                          1,000 Lawyers
                                             Associate   114    $390           $450     $520       $459       $429     $355

     Corporate:           51-200 Lawyers Partner         20     $600           $700     $805       $710       $759     $672
     Regulatory and
                                             Associate   12     $318           $450     $468       $409       $347     $247
     Compliance
                          201-500            Partner     15     $422           $537     $595       $511       $489     $540
                          Lawyers
                                             Associate   16     $238           $257     $323       $289       $301     $298

                          501-1,000          Partner     13     $640           $760     $844       $745       $753     $650
                          Lawyers
                          More Than          Partner     31     $602           $716     $795       $732       $741     $716
                          1,000 Lawyers




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     Philadelphia
      Philadelphia PAPA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                              Quartile                Quartile

     Employment and More Than                Partner     12    $473           $585     $726       $600       $589     $558
     Labor:          1,000 Lawyers
     Discrimination,
     Retaliation and
     Harassment /
     EEO
     Employment and 501-1,000                Partner     14    $523           $595     $782       $650       $555     $505
     Labor: Other   Lawyers
                                             Associate   13    $285           $330     $415       $358       $399     $364

                          More Than          Partner     33    $578           $695     $850       $707       $691     $685
                          1,000 Lawyers
     Finance and     51-200 Lawyers Partner              17    $623           $726     $808       $694       $703     $663
     Securities:
                                    Associate            19    $305           $329     $423       $369       $398     $357
     Investments and
     Other Financial More Than      Partner              15    $678           $872     $872       $776       $813     $730

     Instruments     1,000 Lawyers

     Finance and       More Than             Partner     12    $703          $1,020   $1,387      $977       $902     $814
     Securities: Loans 1,000 Lawyers
                                             Associate   12    $399           $528     $768       $576       $512     $497
     and Financing
     General Liability: 201-500              Associate   14    $198           $275     $300       $255       $262     $313
     Asbestos/Mesot Lawyers
     helioma
     General Liability: 51-200 Lawyers Partner           13    $330           $408     $477       $397       $386     $332
     Product and
                                       Associate         13    $236           $253     $319       $272       $249     $224
     Product Liability
                        201-500        Partner           12    $481           $500     $649       $529       $464     $466
                        Lawyers
                                       Associate         18    $300           $300     $338       $326       $297     $297

     Insurance            50 Lawyers or      Partner     22    $170           $175     $175       $168       $167     $158
     Defense: Auto        Fewer
                                             Associate   35    $150           $160     $160       $156       $153     $151
     and
     Transportation
     Insurance            50 Lawyers or      Partner     21    $174           $175     $180       $176       $174     $160
     Defense: Other       Fewer
                                             Associate   43    $160           $160     $179       $166       $160     $154

                          51-200 Lawyers Partner         11    $189           $200     $305       $253       $229     $217

                                             Associate   11    $155           $175     $183       $170       $182     $170




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     Section IV: In-Depth Analysis for Select US Cities
     Philadelphia
      Philadelphia PAPA
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First         Median    Third     Q3 2018   Q3 2017   Q3 2016
                                                              Quartile                Quartile

     Intellectual      50 Lawyers or         Partner     15    $485           $575     $629       $591       $559     $539
     Property: Patents Fewer
                          201-500            Associate   11    $274           $276     $325       $307       $300     $341
                          Lawyers
                          501-1,000          Partner     16    $523           $632     $760       $649       $640     $601
                          Lawyers
                                             Associate   16    $346           $385     $425       $389       $367     $370




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     Section IV: In-Depth Analysis for Select US Cities
     San
      SanFrancisco
          Francisco CA
             CA Area and Firm Size
     By Practice
     By Practice Area and Firm Size

     Q3 2018 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

        Practice Area                 Firm Size       Role    n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile               Quartile

     Commercial                51-200 Lawyers Partner         11    $347          $460     $762       $562       $641      $489

                               501-1,000          Partner     14    $779          $842    $1,308     $1,052      $902      $717
                               Lawyers
                                                  Associate   14    $370          $448     $690       $536       $534      $525

                               More Than          Partner     14    $767          $820    $1,012      $894       $780      $741
                               1,000 Lawyers
     Corporate: Other 51-200 Lawyers Partner                  11    $367          $625     $663       $531       $585      $692

                               501-1,000          Partner     35    $697          $820     $984       $858       $775      $765
                               Lawyers
                                                  Associate   28    $475          $551     $629       $567       $544      $526

                               More Than          Partner     27    $834          $964    $1,098      $958       $842      $813
                               1,000 Lawyers
                                                  Associate   21    $423          $493     $678       $541       $441      $519

     Corporate:                50 Lawyers or      Associate   12    $379          $413     $510       $444       $478      $415
     Regulatory and            Fewer
     Compliance
                               501-1,000          Partner     17    $639          $892     $982       $873       $731      $702
                               Lawyers
                                                  Associate   11    $440          $595     $673       $576       $561      $445

                               More Than          Partner     16    $739          $828     $881       $818       $714      $780
                               1,000 Lawyers
     Employment and 501-1,000                     Partner     16    $393          $480     $504       $476       $446      $436
     Labor:          Lawyers
     Discrimination,
     Retaliation and
     Harassment /
     EEO
     Employment and 50 Lawyers or                 Associate   15    $250          $250     $285       $276       $322      $335
     Labor: Other   Fewer
                               501-1,000          Partner     27    $450          $515     $630       $543       $504      $465
                               Lawyers
                                                  Associate   12    $322          $376     $408       $376       $319      $297

                               More Than          Partner     13    $692          $815     $988       $831       $767      $709
                               1,000 Lawyers
     Finance and     501-1,000                    Partner     20    $697          $852    $1,065      $943       $906      $949
     Securities:     Lawyers
                                                  Associate   12    $534          $586     $674       $627       $620      $636
     Investments and
     Other Financial
     Instruments




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     Section IV: In-Depth Analysis for Select US Cities
     San
      SanFrancisco
          Francisco CA
             CA Area and Firm Size
     By Practice
     By Practice Area and Firm Size

     Q3 2018 -- Real Rates for Partners and Associates                                                Trend Analysis (Mean)

        Practice Area                 Firm Size       Role    n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile               Quartile

     Intellectual      501-1,000                  Partner     15    $848         $1,055   $1,144      $992       $913      $825
     Property: Patents Lawyers
                               More Than          Partner     16    $801          $950    $1,028      $909       $876      $850
                               1,000 Lawyers
                                                  Associate   16    $475          $500     $598       $550       $539      $529




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      Section IV: In-Depth Analysis for Select US Cities
      Washington   DC
       Washington DC
      By  Practice
      By Practice        Area
                  Area and       and Firm Size
                           Firm Size


      Q3 2018 -- Real Rates for Partners and Associates                                               Trend Analysis (Mean)

         Practice Area         Firm Size             Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                                   Quartile               Quartile

       Commercial          50 Lawyers or         Partner     16     $553          $630     $734       $623       $567      $488
                           Fewer
                           51-200 Lawyers Partner            18     $526          $582     $683       $604       $595      $635

                           201-500               Partner     55     $564          $640     $743       $662       $700      $682
                           Lawyers
                                                 Associate   40     $340          $427     $498       $414       $435      $437

                           501-1,000             Partner     86     $615          $804     $975       $856       $831      $746
                           Lawyers
                                                 Associate   57     $415          $493     $630       $542       $516      $478

                           More Than             Partner     82     $742          $857     $985       $855       $883      $848
                           1,000 Lawyers
                                                 Associate   42     $431          $574     $685       $603       $556      $545

       Corporate:          501-1,000             Partner     34     $740          $866    $1,036      $870       $869      $812
       Antitrust and       Lawyers
                                                 Associate   16     $516          $610     $709       $601       $513      $487
       Competition
                           More Than             Partner     21     $778          $840     $908       $851       $875      $779
                           1,000 Lawyers
                                                 Associate   19     $430          $527     $585       $531       $594      $565

       Corporate:       501-1,000                Partner     22     $848          $942    $1,140      $991       $972      $891
       Mergers,         Lawyers
                                                 Associate   11     $625          $625     $703       $672       $501      $566
       Acquisitions and
       Divestitures     More Than                Partner     62     $825          $910    $1,100      $989       $821      $816
                        1,000 Lawyers
                                                 Associate   51     $460          $579     $685       $588       $489      $471

       Corporate: Other 50 Lawyers or            Partner     33     $449          $546     $631       $538       $549      $515
                        Fewer
                                                 Associate   30     $294          $355     $553       $401       $382      $340

                           51-200 Lawyers Partner            47     $642          $755     $865       $734       $738      $693

                                                 Associate   30     $417          $505     $640       $512       $500      $443

                           201-500               Partner     116    $626          $750     $833       $731       $721      $692
                           Lawyers
                                                 Associate   72     $331          $388     $528       $434       $444      $436

                           501-1,000             Partner     159    $741          $848     $915       $851       $782      $781
                           Lawyers
                                                 Associate   150    $465          $500     $600       $524       $486      $499

                           More Than             Partner     201    $761          $845     $950       $870       $848      $837
                           1,000 Lawyers
                                                 Associate   181    $440          $560     $650       $572       $536      $536




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     Section IV: In-Depth Analysis for Select US Cities
     Washington   DC
      Washington DC
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                            Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n      First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile               Quartile

     Corporate:           50 Lawyers or      Partner     54     $501          $552     $625       $565       $542      $517
     Regulatory and       Fewer
                                             Associate   22     $264          $275     $330       $301       $316      $305
     Compliance
                          51-200 Lawyers Partner         33     $573          $705     $851       $710       $689      $682

                                             Associate   28     $333          $365     $472       $406       $434      $410

                          201-500            Partner     70     $627          $705     $764       $716       $704      $695
                          Lawyers
                                             Associate   39     $350          $448     $560       $468       $436      $414

                          501-1,000          Partner     170    $753          $867    $1,039      $902       $856      $811
                          Lawyers
                                             Associate   142    $494          $554     $662       $582       $522      $498

                          More Than          Partner     117    $815          $914    $1,052      $934       $869      $830
                          1,000 Lawyers
                                             Associate   99     $465          $595     $704       $596       $558      $583

     Corporate: Tax       51-200 Lawyers Partner         18     $672          $727     $809       $750       $744      $733

                          More Than          Partner     48     $806          $885    $1,009      $927       $985     $1,020
                          1,000 Lawyers
                                             Associate   40     $349          $479     $733       $588       $669      $593

     Employment and 51-200 Lawyers Partner               14     $733          $760     $820       $774       $733      $728
     Labor: Other
                    201-500        Partner               30     $508          $647     $776       $626       $679      $563
                    Lawyers
                                   Associate             27     $625          $636     $656       $599       $556      $459

                          501-1,000          Partner     48     $660          $865     $960       $837       $780      $752
                          Lawyers
                                             Associate   40     $490          $555     $641       $564       $511      $509

                          More Than          Partner     23     $683          $841     $939       $843       $779      $764
                          1,000 Lawyers
                                             Associate   30     $356          $400     $445       $451       $453      $446

     Environmental        501-1,000          Partner     13     $613          $700     $801       $714       $732      $751
                          Lawyers
                                             Associate   16     $400          $515     $564       $491       $455      $472

                          More Than          Partner     12     $785         $1,000   $1,015      $928       $876      $846
                          1,000 Lawyers
     Finance and          201-500            Partner     13     $705          $795     $920       $860       $803      $738
     Securities:          Lawyers
     Investments and
                          501-1,000          Partner     62     $836         $1,062   $1,271     $1,053     $1,038     $985
     Other Financial
                          Lawyers
     Instruments                             Associate   24     $555          $703     $873       $694       $673      $702

                          More Than          Partner     53     $838          $936    $1,238     $1,039      $976      $974
                          1,000 Lawyers
                                             Associate   18     $499          $620     $838       $679       $712      $694

     Finance and       201-500               Partner     19     $659          $746     $817       $758       $754      $765
     Securities: Loans Lawyers
     and Financing
                       More Than             Partner     23    $1,035        $1,175   $1,402     $1,178     $1,026     $992
                       1,000 Lawyers




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     Section IV: In-Depth Analysis for Select US Cities
     Washington   DC
      Washington DC
     By  Practice
     By Practice        Area
                 Area and        and Firm Size
                          Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                           Trend Analysis (Mean)

        Practice Area         Firm Size          Role    n     First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile               Quartile

     Finance and          501-1,000          Partner     11    $696          $932    $1,132      $921       $903      $920
     Securities:          Lawyers
     Securities and
                          More Than          Partner     12    $740          $823     $900       $821       $809      $790
     Banking
                          1,000 Lawyers
     Regulations
     General Liability: 201-500              Partner     15    $646          $706     $875       $728       $726      $665
     Product and        Lawyers
     Product Liability
                        501-1,000            Partner     19    $490          $667     $836       $673       $725      $725
                        Lawyers
                                             Associate   13    $489          $490     $540       $516       $516      $491

                          More Than          Associate   15    $516          $560     $648       $574       $504      $474
                          1,000 Lawyers
     Government           501-1,000          Partner     27    $774          $809     $963       $841       $722      $668
     Relations            Lawyers
                          More Than          Partner     13    $840          $910    $1,345     $1,063      $792      $853
                          1,000 Lawyers
                                             Associate   13    $560          $685     $780       $701       $596      $640

     Intellectual         201-500            Partner     19    $598          $758     $888       $748       $721      $656
     Property: Other      Lawyers
                          501-1,000          Partner     17    $625          $650     $852       $732       $721      $727
                          Lawyers
     Intellectual      50 Lawyers or         Partner     18    $400          $415     $520       $497       $481      $486
     Property: Patents Fewer
                                             Associate   17    $300          $300     $325       $297       $314      $316

                          51-200 Lawyers Partner         36    $370          $461     $602       $510       $517      $528

                                             Associate   36    $289          $305     $366       $328       $314      $329

                          201-500            Partner     40    $550          $675     $808       $686       $686      $693
                          Lawyers
                                             Associate   39    $350          $380     $470       $420       $429      $436

                          501-1,000          Partner     63    $775          $890    $1,030      $895       $870      $831
                          Lawyers
                                             Associate   76    $450          $595     $690       $587       $589      $541

                          More Than          Partner     34    $762          $933    $1,105      $947       $851      $786
                          1,000 Lawyers
                                             Associate   32    $483          $615     $744       $619       $509      $470




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 Section V:
 International
 Analysis




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                                              165 21    $3 59
                                                154 79    $2 38



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     Countries                                                            Page 1


     Countries

     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                    Trend Analysis (Mean)

              Country                   Role            n       First        Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile                  Quartile

     Argentina              Partner                    37        $90               $99    $344       $212        $198     $233

                            Associate                  62       $136           $200       $264       $206        $203     $215

     Australia              Partner                    129      $419           $522       $609       $527        $528     $529

                            Associate                  225      $267           $321       $417       $343        $337     $329

                            Paralegal                  46       $137           $172       $191       $193        $194     $169

     Austria                Partner                    14       $412           $477       $809       $588        $544     $520

                            Associate                  18       $309           $416       $688       $484        $422     $456

     Belgium                Partner                    37       $491           $633       $782       $638        $571     $603

                            Associate                  116      $255           $387       $505       $406        $399     $389

                            Paralegal                  18       $154           $230       $292       $238        $256     $220

     Brazil                 Partner                    103      $300           $390       $463       $386        $388     $372

                            Associate                  194      $180           $230       $295       $242        $229     $217

                            Paralegal                  68        $75               $82    $140       $118        $126     $135

     Canada                 Partner                    920      $390           $515       $698       $558        $549     $545

                            Associate                  776      $251           $350       $457       $376        $348     $338

                            Paralegal                  546      $130           $185       $259       $197        $189     $181

     Chile                  Partner                    13       $270           $320       $325       $312        $291     $312

                            Associate                  20       $178           $200       $220       $208        $201     $218

     China                  Partner                    122      $463           $600       $840       $643        $670     $646

                            Associate                  217      $230           $335       $450       $355        $366     $350

                            Paralegal                  86       $133           $190       $255       $200        $210     $229

     Colombia               Associate                  22       $185           $250       $326       $259        $223     $221

     Czech Republic         Partner                    11       $336           $417       $494       $436        $379     $389

                            Associate                  19       $198           $297       $339       $272        $273     $241

                            Paralegal                  13        $84               $93    $125       $122        $106     $130

     Denmark                Partner                    18       $419           $475       $510       $474        $461     $451

                            Associate                  21       $209           $325       $373       $306        $304     $276

     Finland                Partner                    16       $544           $573       $625       $560        $527     $517

                            Associate                  47       $246           $304       $374       $319        $328     $306

                            Paralegal                  16        $86           $101       $196       $140        $138     $144

     France                 Partner                    123      $431           $506       $611       $534        $538     $517

                            Associate                  233      $257           $311       $403       $347        $331     $344

                            Paralegal                  39       $175           $223       $261       $222        $189     $161

     Germany                Partner                    278      $368           $484       $654       $515        $488     $474

                            Associate                  415      $325           $370       $451       $393        $363     $376

                            Paralegal                  87       $176           $206       $246       $204        $205     $194



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     Countries                                                            Page 2


     Countries

     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                    Trend Analysis (Mean)

              Country                   Role            n       First        Median       Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile                  Quartile

     Greece                 Partner                    11       $279           $302       $743       $465        $488     $326

                            Associate                  20       $151           $214       $240       $236        $219     $194

     Hong Kong              Partner                    70       $645           $798       $932       $799        $805     $807

                            Associate                  136      $200           $362       $537       $389        $419     $491

                            Paralegal                  60       $220           $254       $308       $266        $255     $267

     India                  Partner                    47       $300           $350       $418       $384        $367     $374

                            Associate                  93       $200           $224       $250       $218        $193     $211

     Indonesia              Partner                    15       $510           $576       $615       $572        $555     $496

                            Associate                  46       $180           $248       $350       $265        $285     $241

     Ireland                Partner                    57       $414           $509       $616       $525        $530     $502

                            Associate                  63       $296           $368       $429       $371        $381     $363

                            Paralegal                  37       $150           $195       $245       $209        $208     $222

     Israel                 Partner                    40       $257           $396       $439       $373        $372     $387

                            Associate                  56       $190           $241       $300       $249        $238     $244

                            Paralegal                  13       $100           $175       $206       $157        $138     $141

     Italy                  Partner                    34       $371           $440       $584       $493        $506     $481

                            Associate                  93       $222           $289       $358       $312        $295     $283

                            Paralegal                  24       $135           $157       $190       $165        $153     $176

     Japan                  Partner                    92       $300           $319       $595       $423        $437     $406

                            Associate                  67       $230           $320       $428       $348        $315     $303

                            Paralegal                  36       $130           $168       $211       $171        $150     $148

     Korea, Republic of     Partner                    175      $496           $577       $720       $596        $567     $563

                            Associate                  204      $244           $308       $380       $310        $298     $304

                            Paralegal                  55       $153           $199       $250       $199        $219     $191

     Luxembourg             Partner                    49       $684           $764       $868       $753        $670     $673

                            Associate                  96       $291           $383       $488       $400        $397     $383

                            Paralegal                  13       $205           $250       $277       $236        $249     $260

     Mexico                 Partner                    37       $200           $258       $350       $294        $258     $316

                            Associate                  61       $180           $225       $324       $256        $211     $219

                            Paralegal                  19        $81               $95    $114       $105        $140     $107

     Netherlands            Partner                    80       $468           $627       $719       $594        $571     $577

                            Associate                  183      $294           $377       $473       $391        $374     $388

                            Paralegal                  25       $202           $226       $276       $247        $237     $199

     New Zealand            Partner                    15       $309           $451       $500       $402        $422     $442

                            Associate                  35       $163           $295       $410       $322        $296     $310




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     Countries                                                            Page 3


     Countries

     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                 Trend Analysis (Mean)

             Country                    Role            n       First        Median    Third     Q3 2018    Q3 2017   Q3 2016
                                                               Quartile               Quartile

     Norway                 Partner                    24       $365           $413    $533       $440        $400     $371

                            Associate                  17       $251           $317    $400       $327        $212     $239

     Philippines            Associate                  13       $184           $202    $273       $210        $217     $198

     Poland                 Partner                    17       $216           $256    $376       $316        $448     $347

                            Associate                  55       $113           $207    $258       $207        $250     $200

     Romania                Associate                  13       $155           $176    $223       $186        $175     $170

     Russian Federation     Partner                    29       $343           $700    $751       $638        $659     $643

                            Associate                  77       $283           $300    $400       $354        $363     $341

                            Paralegal                  71       $150           $150    $211       $174        $187     $166

     Singapore              Partner                    36       $483           $645    $844       $639        $590     $627

                            Associate                  53       $288           $424    $515       $421        $421     $427

     South Africa           Partner                    38       $268           $311    $357       $332        $307     $308

                            Associate                  26       $148           $176    $208       $171        $170     $146

     Spain                  Partner                    51       $324           $487    $600       $480        $495     $494

                            Associate                  119      $220           $322    $445       $341        $353     $350

                            Paralegal                  23       $164           $174    $245       $201        $188     $162

     Sweden                 Partner                    16       $385           $446    $460       $432        $433     $452

                            Associate                  27       $223           $276    $359       $300        $289     $287

     Switzerland            Partner                    29       $389           $396    $605       $499        $530     $518

                            Associate                  50       $235           $287    $389       $324        $358     $358

     Taiwan                 Partner                    39       $345           $401    $539       $443        $402     $344

                            Associate                  116      $150           $194    $283       $230        $202     $185

                            Paralegal                  64       $150           $200    $200       $178        $167     $150

     Thailand               Partner                    20       $265           $525    $670       $479        $489     $492

                            Associate                  18       $287           $337    $400       $340        $286     $262

     Turkey                 Partner                    20       $316           $411    $473       $405        $369     $355

                            Associate                  43       $169           $219    $277       $223        $205     $200

     United Arab            Partner                    29       $645           $735    $782       $763        $708     $704
     Emirates
                            Associate                  48       $428           $490    $557       $477        $544     $549

                            Paralegal                  11       $263           $354    $362       $315        $332     $263

     United Kingdom         Partner                    576      $540           $696    $871       $718        $696     $720

                            Associate                  978      $350           $457    $601       $487        $454     $474

                            Paralegal                  285      $175           $208    $264       $221        $218     $217

     United States          Partner                  15479      $380           $585    $845       $642        $617     $599

                            Associate                15530      $275           $405    $588       $452        $429     $413

                            Paralegal                 7638      $125           $193    $268       $206        $197     $191



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19
     Section V: International Analysis                   By Role

     Australia
           Australia
     By Role       By Role


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals            Trend Analysis (Mean)

                 Role           n        First      Median          Third     Q3 2018   Q3 2017   Q3 2016
                                        Quartile                   Quartile

     Partner                   129       $419        $522           $609       $527      $528      $529

     Associate                 225       $267        $321           $417       $343      $337      $329

     Paralegal                  46       $137        $172           $191       $193      $194      $169




     134 Real Rate Report | Q3 2018                                                     wkelmsolutions.com
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     Australia
19                                                     By Practice Area and Matter Type


           Australia
     By By
        Practice       Area and Matter Type
           Practice Area and Matter Type


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

       Practice Area    MatterType       Role     n     First             Median           Third     Q3 2018    Q3 2017   Q3 2016
                                                       Quartile                           Quartile

     Commercial        Non-Litigation Partner     25      $415              $447           $534       $493       $446      $418

                                      Associate   41      $234              $296           $362       $308       $284      $273

     Corporate:        Non-Litigation Partner     11      $518              $564           $635       $569       $568      $641
     Other
                                      Associate   28      $302              $335           $395       $341       $352      $380

     Corporate:        Non-Litigation Partner     27      $365              $527           $562       $483       $475      $586
     Regulatory and
                                      Associate   40      $242              $297           $382       $307       $318      $306
     Compliance
     Intellectual      Litigation     Partner     13      $421              $650           $710       $586       $576      $507
     Property:
                                      Associate   45      $295              $338           $434       $352       $347      $309
     Patents
                       Non-Litigation Partner     17      $452              $500           $560       $498       $554      $498

                                      Associate   13      $288              $405           $457       $383       $411      $387




     135 Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     Australia
19                                                          By Industry Group and Matter Type


           Australia
     ByByIndustry      Group and Matter Type
          Industry Group and Matter Type


     Q3 2018 -- Real Rates for Partners and Associates                                                     Trend Analysis (Mean)

        Industry Group       MatterType       Role     n         First            Median         Third     Q3 2018 Q3 2017   Q3 2016
                                                                Quartile                        Quartile

     Financials Excluding   Non-Litigation Partner     15         $569              $604         $641       $628     $640     $611
     Insurance
                                           Associate   23         $303              $360         $459       $381     $366     $381

     Health Care            Litigation     Partner     19         $351              $446         $682       $536     $520     $514

                                           Associate   57         $295              $340         $434       $354     $320     $312

                            Non-Litigation Partner     21         $453              $535         $611       $540     $522     $528

                                           Associate   28         $303              $395         $456       $379     $341     $339

     Industrials            Non-Litigation Partner     16         $460              $595         $694       $589     $607     $541

                                           Associate   16         $338              $420         $561       $448     $453     $330

     Technology and     Non-Litigation Partner         42         $366              $517         $538       $483     $515     $548
     Telecommunications
                                       Associate       76         $239              $296         $328       $299     $313     $312




     136 Real Rate Report | Q3 2018                                                                                wkelmsolutions.com
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     Section V: International Analysis
     Australia
19                                                        By Firm Size


           Australia
     By Firm Size
              By Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                               Trend Analysis (Mean)

           Firm Size             Role    n     First     Median           Third     Q3 2018   Q3 2017   Q3 2016
                                              Quartile                   Quartile

     50 Lawyers or           Partner     12    $400       $534            $536       $494       $514     $535
     Fewer
                             Associate   19    $258       $308            $331       $318       $317     $327

     51-200 Lawyers          Partner     23    $418       $425            $539       $466       $447     $419

                             Associate   58    $235       $306            $345       $307       $336     $277

     201-500 Lawyers         Associate   16    $303       $325            $404       $357       $360     $333

     501-1,000 Lawyers       Associate   12    $316       $340            $457       $376       $339     $343

     More Than 1,000         Partner     21    $522       $610            $720       $644       $637     $575
     Lawyers
                             Associate   49    $316       $395            $474       $409       $388     $342




     137 Real Rate Report | Q3 2018                                                           wkelmsolutions.com
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     CanadaCanada
19                                                       By Role




     By Role       By Role


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals            Trend Analysis (Mean)

                 Role           n        First      Median          Third     Q3 2018   Q3 2017   Q3 2016
                                        Quartile                   Quartile

     Partner                   920       $390        $515           $698       $558      $549      $545

     Associate                 776       $251        $350           $457       $376      $348      $338

     Paralegal                 546       $130        $185           $259       $197      $189      $181




     138 Real Rate Report | Q3 2018                                                     wkelmsolutions.com
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     Section V: International Analysis                     By Practice Area and Matter Type 1

     CanadaCanada
     By Practice       Area
        By Practice Area      andType
                         and Matter Matter Type

     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                         Trend Analysis (Mean)

       Practice Area      MatterType         Role    n         First             Median          Third     Q3 2018    Q3 2017   Q3 2016
                                                              Quartile                          Quartile

     Commercial         Litigation       Partner     162         $365               $495         $670       $517       $512      $509

                                         Associate   179         $275               $360         $456       $383       $349      $342

                                         Paralegal   162         $133               $185         $255       $196       $181      $174

                        Non-Litigation Partner       145         $429               $635         $818       $634       $644      $641

                                         Associate   102         $309               $430         $574       $447       $412      $405

                                         Paralegal   59          $144               $230         $285       $231       $229      $216

     Corporate:         Non-Litigation Paralegal     12          $129               $175         $241       $188       $139      $147
     Governance
     Corporate:       Non-Litigation Partner         16          $470               $516         $563       $555       $656      $650
     Mergers,
                                     Associate       16          $307               $372         $406       $382       $368      $392
     Acquisitions and
     Divestitures                    Paralegal       18          $169               $202         $227       $195       $186      $197

     Corporate:         Litigation       Partner     64          $405               $526         $657       $542       $489      $476
     Other
                                         Associate   61          $298               $395         $482       $418       $346      $316

                                         Paralegal   58          $153               $203         $253       $209       $190      $178

                        Non-Litigation Partner       202         $498               $637         $805       $651       $612      $594

                                         Associate   146         $362               $449         $575       $480       $436      $418

                                         Paralegal   146         $157               $231         $276       $222       $209      $189

     Corporate:         Litigation       Partner     12          $531               $683         $816       $649       $549      $593
     Regulatory and
                        Non-Litigation Partner       47          $470               $608         $687       $599       $580      $580
     Compliance
                                         Associate   33          $312               $382         $461       $400       $353      $361

     Corporate: Tax     Non-Litigation Partner       26          $603               $789         $856       $725       $719      $781

     Employment         Litigation       Partner     18          $421               $505         $627       $550       $520      $431
     and Labor:
                        Non-Litigation Partner       42          $392               $439         $522       $488       $489      $512
     Other
                                         Associate   21          $262               $286         $376       $321       $343      $335

     Employment         Litigation       Partner     12          $383               $441         $509       $472       $428      $396
     and Labor:
     Wrongful
     Termination
     Finance and     Non-Litigation Partner          98          $545               $749         $855       $708       $666      $628
     Securities:
                                    Associate        47          $361               $458         $656       $511       $470      $409
     Investments and
     Other Financial                Paralegal        52          $194               $300         $322       $269       $239      $208

     Instruments
     Finance and       Non-Litigation Partner        21          $552               $674         $781       $660       $652      $578
     Securities: Loans
     and Financing




     139 Real Rate Report | Q3 2018                                                                                  wkelmsolutions.com
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     Section V: International Analysis
     CanadaCanada
19                                                      By Practice Area and Matter Type 2




     By Practice       Area and Matter Type
        By Practice Area and Matter Type


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                      Trend Analysis (Mean)

       Practice Area     MatterType       Role     n        First             Median          Third     Q3 2018    Q3 2017   Q3 2016
                                                           Quartile                          Quartile

     General Liability: Litigation     Partner     26         $391               $502         $583       $516       $491      $480
     Product and
                                       Associate   14         $203               $297         $396       $311       $269      $263
     Product Liability
     Insurance          Litigation     Partner     22         $206               $245         $313       $272       $265      $295
     Defense: Other
     Intellectual       Litigation     Partner     24         $395               $528         $667       $544       $511      $514
     Property:
                                       Associate   18         $210               $334         $420       $314       $286      $256
     Patents
                        Non-Litigation Partner     26         $344               $440         $493       $432       $434      $416

                                       Associate   24         $198               $286         $311       $255       $249      $247

     Intellectual       Non-Litigation Partner     23         $410               $490         $593       $507       $487      $492
     Property:
                                       Associate   12         $183               $221         $271       $240       $233      $261
     Trademarks
     Real Estate:       Non-Litigation Partner     17         $589               $679        $1,182      $863       $613      $506
     Other




     140 Real Rate Report | Q3 2018                                                                               wkelmsolutions.com
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     CanadaCanada
19                                                           By Industry Group and Matter Type




     By ByIndustry      Group and Matter Type
            Industry Group and Matter Type


     Q3 2018 -- Real Rates for Partners and Associates                                                      Trend Analysis (Mean)

        Industry Group       MatterType       Role     n          First            Median         Third     Q3 2018 Q3 2017   Q3 2016
                                                                 Quartile                        Quartile

     Consumer Goods         Non-Litigation Partner     17          $489              $590         $664       $590      $650    $631

                                           Associate   18          $222              $272         $415       $331      $394    $302

     Consumer Services      Non-Litigation Partner     20          $640              $947        $1,217      $905      $656    $562

     Financials Excluding   Litigation     Partner     339         $350              $430         $585       $481      $472    $471
     Insurance
                            Non-Litigation Partner     387         $484              $660         $834       $656      $643    $622

                                           Associate   271         $339              $445         $578       $471      $428    $406

     Health Care            Litigation     Partner     44          $414              $536         $652       $539      $525    $516

                                           Associate   30          $222              $329         $416       $313      $284    $252

                            Non-Litigation Partner     28          $418              $483         $559       $477      $498    $501

                                           Associate   18          $240              $315         $325       $288      $307    $331

     Industrials            Litigation     Partner     32          $324              $391         $441       $405      $400    $425

                                           Associate   23          $180              $275         $321       $282      $254    $271

                            Non-Litigation Partner     69          $335              $433         $512       $455      $448    $469

                                           Associate   45          $210              $263         $345       $279      $305    $295

     Technology and     Litigation         Partner     19          $440              $518         $537       $501      $477    $470
     Telecommunications
                                           Associate   18          $211              $279         $355       $291      $275    $264

                            Non-Litigation Partner     82          $398              $474         $594       $497      $499    $516

                                           Associate   47          $252              $309         $394       $318      $302    $301




     141 Real Rate Report | Q3 2018                                                                                 wkelmsolutions.com
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     CanadaCanada
19                                                         By Firm Size




     By Firm Size
              By Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     Q3 2018   Q3 2017   Q3 2016
                                               Quartile                   Quartile

     50 Lawyers or           Partner     82     $347       $370            $467       $405      $396      $402
     Fewer
                             Associate   91     $185       $270            $330       $267      $256      $249

     51-200 Lawyers          Partner     145    $365       $473            $622       $498      $522      $518

                             Associate   113    $220       $300            $394       $332      $337      $331

     201-500 Lawyers         Partner     339    $441       $598            $805       $621      $585      $577

                             Associate   249    $297       $392            $500       $419      $377      $369

     501-1,000 Lawyers       Partner     246    $483       $578            $752       $612      $595      $587

                             Associate   221    $306       $396            $505       $425      $379      $363




     142 Real Rate Report | Q3 2018                                                            wkelmsolutions.com
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     France France
19                                                       By Role




     By Role       By Role


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals            Trend Analysis (Mean)

                 Role           n        First      Median          Third     Q3 2018   Q3 2017   Q3 2016
                                        Quartile                   Quartile

     Partner                   123       $431        $506           $611       $534      $538      $517

     Associate                 233       $257        $311           $403       $347      $331      $344

     Paralegal                  39       $175        $223           $261       $222      $189      $161




     143 Real Rate Report | Q3 2018                                                     wkelmsolutions.com
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     France France
19                                                     By Practice Area and Matter Type




     By Practice       Area and Matter Type
        By Practice Area and Matter Type


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

       Practice Area    MatterType       Role     n     First             Median           Third     Q3 2018    Q3 2017   Q3 2016
                                                       Quartile                           Quartile

     Commercial        Litigation     Partner     11      $367              $482           $573       $470       $449      $403

                       Non-Litigation Partner     15      $457              $470           $523       $482       $502      $478

                                      Associate   17      $234              $257           $309       $259       $257      $364

     Corporate:       Non-Litigation Associate    13      $311              $620           $735       $561       $398      $372
     Mergers,
     Acquisitions and
     Divestitures
     Corporate:        Litigation     Associate   13      $311              $327           $451       $368       $345      $369
     Other
                       Non-Litigation Partner     47      $362              $477           $554       $482       $477      $450

                                      Associate   68      $200              $260           $372       $307       $316      $307

                                      Paralegal   12      $174              $220           $256       $223       $200      $135

     Corporate:        Non-Litigation Partner     15      $472              $584           $635       $573       $535      $492
     Regulatory and
                                      Associate   20      $274              $311           $361       $343       $297      $314
     Compliance
     Employment        Non-Litigation Associate   11      $285              $335           $380       $339       $328      $309
     and Labor:
     Other
     Intellectual      Litigation     Associate   16      $275              $291           $413       $342       $306      $329
     Property:
     Patents
     Intellectual      Non-Litigation Associate   11      $232              $333           $360       $311       $282      $291
     Property:
     Trademarks




     144 Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     France France
19                                                          By Industry Group and Matter Type




     ByByIndustry      Group and Matter Type
          Industry Group and Matter Type


     Q3 2018 -- Real Rates for Partners and Associates                                                     Trend Analysis (Mean)

        Industry Group       MatterType       Role     n         First            Median         Third     Q3 2018 Q3 2017   Q3 2016
                                                                Quartile                        Quartile

     Financials Excluding   Non-Litigation Partner     45         $390              $480         $590       $499     $535     $533
     Insurance
                                           Associate   78         $220              $303         $411       $337     $340     $349

     Health Care            Litigation     Partner     11         $566              $630         $736       $659     $580     $589

                                           Associate   29         $282              $313         $487       $382     $344     $395

                            Non-Litigation Partner     15         $540              $611         $713       $620     $540     $531

                                           Associate   23         $250              $306         $352       $312     $285     $316

     Industrials            Non-Litigation Associate   21         $319              $462         $729       $535     $430     $372

     Technology and     Non-Litigation Partner         26         $470              $474         $528       $510     $494     $489
     Telecommunications
                                       Associate       39         $246              $280         $327       $285     $280     $284




     145 Real Rate Report | Q3 2018                                                                                wkelmsolutions.com
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     France France
19                                                         By Firm Size




     By Firm Size
              By Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     Q3 2018   Q3 2017   Q3 2016
                                               Quartile                   Quartile

     50 Lawyers or           Partner     20     $335       $374            $480       $434      $421      $407
     Fewer
                             Associate   29     $150       $220            $260       $222      $226      $228

     51-200 Lawyers          Partner     12     $470       $470            $499       $474      $481      $460

                             Associate   24     $236       $271            $305       $261      $244      $261

     More Than 1,000         Partner     53     $520       $590            $708       $630      $594      $572
     Lawyers
                             Associate   123    $300       $383            $475       $408      $376      $386




     146 Real Rate Report | Q3 2018                                                            wkelmsolutions.com
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     Section V: International Analysis
     Germany
19                                                       By Role


          Germany
     By Role       By Role


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals            Trend Analysis (Mean)

                 Role           n        First      Median          Third     Q3 2018   Q3 2017   Q3 2016
                                        Quartile                   Quartile

     Partner                   278       $368        $484           $654       $515      $488      $474

     Associate                 415       $325        $370           $451       $393      $363      $376

     Paralegal                 87        $176        $206           $246       $204      $205      $194




     147 Real Rate Report | Q3 2018                                                     wkelmsolutions.com
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     Germany
19                                                     By Practice Area and Matter Type


          Germany
     By By
        Practice       Area and Matter Type
           Practice Area and Matter Type


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                   Trend Analysis (Mean)

       Practice Area    MatterType       Role     n     First             Median           Third     Q3 2018    Q3 2017   Q3 2016
                                                       Quartile                           Quartile

     Commercial        Non-Litigation Partner     27      $336              $381           $476       $411       $401      $374

                                      Associate   38      $309              $327           $341       $353       $312      $312

     Corporate:       Non-Litigation Partner      12      $432              $503           $799       $593       $705      $479
     Mergers,
                                     Associate    31      $360              $471           $537       $442       $391      $400
     Acquisitions and
     Divestitures
     Corporate:        Litigation     Associate   16      $361              $414           $463       $431       $438      $430
     Other
                       Non-Litigation Partner     13      $380              $477           $595       $533       $479      $459

                                      Associate   15      $298              $341           $415       $373       $351      $347

     Corporate:        Non-Litigation Partner     47      $352              $411           $544       $479       $464      $462
     Regulatory and
                                      Associate   68      $319              $339           $382       $372       $353      $384
     Compliance
     Employment        Non-Litigation Associate   15      $321              $380           $479       $409       $427      $440
     and Labor:
     Other
     Finance and     Non-Litigation Associate     33      $392              $479           $580       $497       $519      $455
     Securities:
     Investments and
     Other Financial
     Instruments
     Finance and       Non-Litigation Partner     32      $604              $696           $730       $674       $617      $547
     Securities: Loans
     and Financing
     Intellectual      Litigation     Partner     34      $446              $573           $714       $575       $521      $498
     Property:
                                      Associate   33      $341              $374           $433       $387       $350      $348
     Patents
                                      Paralegal   12      $185              $210           $251       $207       $185      $175

                       Non-Litigation Partner     63      $346              $389           $484       $436       $428      $421

                                      Associate   57      $302              $364           $376       $346       $342      $377

     Intellectual      Non-Litigation Partner     11      $339              $448           $623       $473       $409      $472
     Property:
                                      Associate   21      $325              $355           $403       $363       $345      $356
     Trademarks




     148 Real Rate Report | Q3 2018                                                                            wkelmsolutions.com
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     Germany
19                                                           By Industry Group and Matter Type


          Germany
     ByByIndustry      Group and Matter Type
          Industry Group and Matter Type


     Q3 2018 -- Real Rates for Partners and Associates                                                      Trend Analysis (Mean)

        Industry Group       MatterType       Role     n          First            Median         Third     Q3 2018 Q3 2017   Q3 2016
                                                                 Quartile                        Quartile

     Financials Excluding   Non-Litigation Partner     54          $608              $702         $761       $686     $675     $589
     Insurance
                                           Associate   107         $365              $438         $542       $466     $425     $405

     Health Care            Litigation     Partner     33          $416              $572         $705       $565     $557     $543

                                           Associate   49          $347              $392         $467       $404     $372     $410

                            Non-Litigation Partner     45          $383              $432         $503       $473     $462     $492

                                           Associate   67          $282              $346         $418       $355     $348     $417

     Industrials            Litigation     Associate   14          $368              $463         $539       $469     $311     $342

                            Non-Litigation Partner     31          $352              $377         $605       $467     $399     $429

                                           Associate   43          $341              $447         $533       $426     $359     $395

     Technology and     Litigation         Partner     19          $428              $562         $618       $550     $524     $502
     Telecommunications
                                           Associate   24          $325              $335         $398       $357     $364     $342

                            Non-Litigation Partner     90          $344              $381         $525       $434     $405     $400

                                           Associate   112         $319              $336         $375       $343     $331     $331




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     Section V: International Analysis
     Germany
19                                                         By Firm Size


          Germany
     By Firm Size
              By Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     Q3 2018   Q3 2017   Q3 2016
                                               Quartile                   Quartile

     50 Lawyers or           Partner     18     $343       $399            $485       $393      $398      $386
     Fewer
                             Associate   22     $290       $362            $423       $366      $374      $374

     51-200 Lawyers          Partner     13     $362       $392            $413       $404      $348      $395

                             Associate   15     $295       $325            $347       $324      $281      $383

     201-500 Lawyers         Partner     49     $344       $401            $466       $418      $385      $371

                             Associate   53     $324       $332            $347       $339      $320      $317

     501-1,000 Lawyers       Associate   18     $279       $306            $341       $324      $319      $346

     More Than 1,000         Partner     108    $556       $645            $742       $641      $589      $559
     Lawyers
                             Associate   224    $350       $425            $508       $439      $388      $396




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     Section V: International Analysis
     United  Kingdom
19                                                       By Role


        United Kingdom
     By Role       By Role


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals            Trend Analysis (Mean)

                 Role           n        First      Median          Third     Q3 2018   Q3 2017   Q3 2016
                                        Quartile                   Quartile

     Partner                   576       $540        $696           $871       $718      $696      $720

     Associate                 978       $350        $457           $601       $487      $454      $474

     Paralegal                 285       $175        $208           $264       $221      $218      $217




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     Section V: International Analysis
     United  Kingdom
19                                                      By Practice Area and Matter Type 1


        United Kingdom
     By Practice       Area and Matter Type
        By Practice Area and Matter Type


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                      Trend Analysis (Mean)

       Practice Area    MatterType       Role     n        First             Median           Third     Q3 2018    Q3 2017   Q3 2016
                                                          Quartile                           Quartile

     Commercial        Litigation     Partner     13         $532              $671           $750       $661       $658      $616

                                      Associate   17         $310              $432           $585       $491       $460      $436

                       Non-Litigation Partner     57         $508              $607           $686       $607       $584      $624

                                      Associate   57         $307              $359           $484       $399       $379      $405

     Corporate:       Non-Litigation Partner      28         $665              $682           $815       $753       $799      $804
     Mergers,
                                     Associate    66         $416              $472           $666       $547       $467      $566
     Acquisitions and
     Divestitures
     Corporate:        Litigation     Partner     23         $595              $754           $851       $772       $755      $773
     Other
                                      Associate   24         $368              $462           $534       $448       $540      $509

                       Non-Litigation Partner     50         $615              $744           $826       $730       $705      $758

                                      Associate   73         $419              $459           $577       $490       $453      $470

                                      Paralegal   16         $179              $205           $248       $220       $206      $179

     Corporate:        Litigation     Associate   19         $434              $594           $646       $548       $442      $455
     Regulatory and
                       Non-Litigation Partner     64         $619              $738           $860       $763       $665      $690
     Compliance
                                      Associate   83         $375              $458           $606       $500       $438      $443

     Corporate: Tax    Non-Litigation Associate   11         $443              $588           $660       $581       $603      $625

     Employment        Non-Litigation Partner     13         $463              $540           $570       $539       $518      $508
     and Labor:
     Agreements
     Employment        Non-Litigation Associate   12         $349              $462           $541       $459       $532      $509
     and Labor:
     Compensation
     and Benefits
     Employment        Litigation     Partner     12         $796              $827           $884       $820       $739      $756
     and Labor:
                                      Associate   24         $377              $452           $585       $487       $532      $557
     Other
                       Non-Litigation Partner     44         $446              $590           $725       $625       $645      $612

                                      Associate   54         $298              $373           $545       $435       $439      $438

     Finance and     Non-Litigation Partner       77         $671              $790           $951       $835       $804      $859
     Securities:
                                    Associate     140        $361              $495           $645       $514       $489      $552
     Investments and
     Other Financial                Paralegal     53         $167              $200           $253       $224       $204      $266

     Instruments
     Finance and       Non-Litigation Partner     72         $815              $991          $1,134      $950       $858      $798
     Securities: Loans
                                      Associate   129        $471              $601           $732       $610       $509      $446
     and Financing
                                      Paralegal   31         $244              $281           $293       $278       $251      $285




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     Section V: International Analysis
     United  Kingdom
19                                                     By Practice Area and Matter Type 2


        United Kingdom
     By Practice       Area and Matter Type
        By Practice Area and Matter Type


     Q3 2018 -- Real Rates for Partners, Associates, and Paralegals                                     Trend Analysis (Mean)

       Practice Area    MatterType       Role     n       First             Median           Third     Q3 2018    Q3 2017   Q3 2016
                                                         Quartile                           Quartile

     Intellectual      Non-Litigation Partner     22        $281              $287           $358       $361       $425      $436
     Property: Other
                                      Associate   18        $232              $255           $289       $255       $359      $323

     Intellectual      Litigation     Partner     21        $663              $821           $855       $733       $706      $741
     Property:
                                      Associate   59        $396              $456           $602       $490       $446      $456
     Patents
                                      Paralegal   12        $257              $287           $290       $275       $221      $218

                       Non-Litigation Partner     40        $286              $427           $489       $421       $442      $441

                                      Associate   43        $258              $262           $394       $319       $305      $335

                                      Paralegal   22        $174              $195           $235       $212       $200      $201

     Intellectual      Non-Litigation Partner     19        $496              $600           $650       $562       $539      $579
     Property:
                                      Associate   38        $294              $340           $410       $387       $379      $405
     Trademarks
                                      Paralegal   29        $190              $196           $205       $200       $202      $205




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     Section V: International Analysis
     United  Kingdom
19                                                           By Industry Group and Matter Type


        United Kingdom
     ByByIndustry      Group and Matter Type
          Industry Group and Matter Type


     Q3 2018 -- Real Rates for Partners and Associates                                                      Trend Analysis (Mean)

        Industry Group       MatterType       Role     n          First            Median         Third     Q3 2018 Q3 2017   Q3 2016
                                                                 Quartile                        Quartile

     Financials Excluding   Litigation     Partner     25          $800              $874        $1,022      $893     $876     $830
     Insurance
                                           Associate   52          $385              $527         $649       $529     $527     $476

                            Non-Litigation Partner     226         $697              $828        $1,075      $863     $796     $804

                                           Associate   408         $405              $527         $671       $553     $498     $510

     Health Care            Litigation     Partner     33          $595              $821         $886       $752     $683     $725

                                           Associate   57          $436              $544         $641       $529     $446     $452

                            Non-Litigation Partner     60          $519              $641         $775       $648     $598     $645

                                           Associate   70          $304              $405         $486       $419     $378     $417

     Industrials            Litigation     Partner     18          $490              $638        $1,003      $705     $674     $620

                                           Associate   25          $297              $413         $516       $405     $407     $401

                            Non-Litigation Partner     52          $286              $350         $616       $459     $609     $680

                                           Associate   54          $259              $297         $449       $383     $443     $511

     Technology and     Litigation         Partner     17          $631              $741         $786       $688     $696     $728
     Telecommunications
                                           Associate   42          $350              $420         $493       $429     $454     $442

                            Non-Litigation Partner     126         $477              $616         $689       $597     $604     $638

                                           Associate   225         $320              $392         $480       $405     $377     $395




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     Section V: International Analysis
     United  Kingdom
19                                                         By Firm Size


        United Kingdom
     By Firm Size
              By Firm Size


     Q3 2018 -- Real Rates for Partners and Associates                                Trend Analysis (Mean)

           Firm Size             Role    n      First     Median           Third     Q3 2018   Q3 2017   Q3 2016
                                               Quartile                   Quartile

     50 Lawyers or           Partner     11     $166       $600            $647       $449      $458      $488
     Fewer
                             Associate   19     $333       $371            $417       $381      $383      $364

     51-200 Lawyers          Partner     37     $286       $286            $466       $422      $497      $535

                             Associate   43     $259       $264            $367       $331      $340      $341

     201-500 Lawyers         Partner     39     $528       $615            $686       $607      $623      $686

                             Associate   68     $344       $408            $480       $417      $385      $446

     501-1,000 Lawyers       Partner     27     $738       $911           $1,092      $917      $870      $770

                             Associate   53     $441       $561            $695       $588      $517      $471

     More Than 1,000         Partner     311    $646       $773            $947       $801      $756      $791
     Lawyers
                             Associate   569    $386       $493            $635       $521      $484      $508




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 Section VI:
 Matter Staffing
 Analysis




                                             17364    $4 8 1
                                              165 21    $3 59
                                                154 79    $2 38



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    Section VI: Matter Staffing Analysis
    Short Litgaton Matters, 40 to 100 Total Hours Billed
    2016 to 2018 -- Percentage of Hours Billed per Matter


                                                                  Partners     Associates    Paralegals            n

     Bankruptcy and
         Collections
                                           53%                               29%                  18%              708

         Commercial                   49%                                    39%                    12%            549

Corporate: Regulatory
     and Compliance
                                       50%                                     44%                      6%         69

    Corporate: Other                         56%                                   37%                  8%         614

        Employment
          and Labor
                                       50%                                     44%                        6%       496

      Environmental                  44%                          31%                         25%                  114

         Finance and
            Securities
                                           52%                                 37%                  11%            75

     General Liability               45%                              37%                         18%              1,623

   Insurance Defense                   51%                                   37%                    13%            6,320

         Intellectual
    Property: Patents
                                     42%                                     54%                          4% 290

          Intellectual
      Property: Other
                                            55%                                    41%                    3% 20

       Marketing and
         Advertising
                              28%                           44%                             28%                    16

          Real Estate                        57%                                   36%                  7%         688

                         0%                                 50%                                              100%

                         0                                  50                                               100




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    Section VI: Matter Staffing Analysis
    Long Litgaton Matters, More Than 100 Total Hours Billed
    2016 to 2018 -- Percentage of Hours Billed per Matter


                                                                   Partners      Associates    Paralegals           n

     Bankruptcy and
                                            57%                                    34%                   8%         264
         Collections

         Commercial              39%                                44%                            17%              610

Corporate: Regulatory
                              32%                                   58%                                 9%          165
     and Compliance

    Corporate: Other            41%                                        50%                           8%         716

        Employment
          and Labor
                              35%                                   51%                              14%            566

      Environmental                        58%                                   27%                15%             117

         Finance and
            Securities
                                 41%                                      51%                            8%         122

     General Liability          38%                               41%                             21%               1,666

   Insurance Defense                 45%                                39%                        16%              4,314

         Intellectual           39%                                       51%                           10%         523
    Property: Patents

Intellectual Property:          37%                                       58%                               5% 13
          Trademarks

          Intellectual           43%                                      46%                           11%         30
      Property: Other

       Marketing and
         Advertising
                                41%                                        49%                          10%         34

          Real Estate                      57%                                     35%                   8%         582

                         0%                                 50%                                               100%

                         0                                  50                                                100




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    Section VI: Matter Staffing Analysis
    Short Non-Litgaton Matters, 40 to 100 Total Hours Billed
    2016 to 2018 -- Percentage of Hours Billed per Matter


                                                                   Partners    Associates        Paralegals            n

     Bankruptcy and
                                            65%                                           27%               7%         196
         Collections

         Commercial                   55%                                       39%                         7%         444
  Corporate: Mergers,
      Acquisitions &                  51%                                      45%                            4% 89
         Divestitures

Corporate: Regulatory
     and Compliance
                                     51%                                       41%                          7%         398

    Corporate: Other                  53%                                      39%                        8%           704

        Employment
          and Labor
                                      53%                                           41%                       6%       582

      Environmental                               74%                                           24%            2% 41

         Finance and
                               36%                                44%                                 20%              1,187
            Securities

Government Relatons                  49%                                      44%                           7%         28

         Intellectual
                               36%                                      53%                             11%            1,648
    Property: Patents

Intellectual Property:
                               35%                                45%                               20%                129
          Trademarks

          Intellectual
      Property: Other
                                     50%                                      41%                       9%             73

       Marketing and
         Advertising
                                      54%                                       43%                            3% 16

          Real Estate                      59%                                      35%                       6%       1,212

                         0%                                 50%                                                  100%

                         0                                  50                                                   100




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    Section VI: Matter Staffing Analysis
    Long Non-Litgaton Matters, More Than 100 Total Hours Billed
    2016 to 2018 -- Percentage of Hours Billed per Matter


                                                                          Partners         Associates    Paralegals           n

     Bankruptcy and
                                                      60%                                     32%                  8%         130
         Collections

         Commercial                        46%                                       44%                         9%           541
  Corporate: Mergers,
      Acquisitions &          19%                           37%                                   44%                         242
         Divestitures

Corporate: Regulatory
     and Compliance
                                          42%                                       47%                         11%           540

    Corporate: Other                      41%                                       49%                         10%           1,011

        Employment
          and Labor
                                           45%                                        46%                          9%         562

      Environmental                             50%                                        41%                     9%         60

         Finance and
                                    30%                                       60%                               10%           1,487
            Securities

Government Relatons                         49%                                             49%                         2% 42

         Intellectual
                                          45%                                        47%                           8%         252
    Property: Patents

Intellectual Property:
                                28%                                     55%                                  17%              129
          Trademarks

          Intellectual
      Property: Other
                                    31%                                  54%                                  15%             82

       Marketing and
         Advertising
                                          45%                                   37%                          17%              39

          Real Estate                             57%                                      34%                     9%         800

                         0%                                       50%                                                   100%

                         0                                        50                                                    100




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 Appendix:
 Data Methodology




                                             17364    $4 8 1
                                              165 21    $3 59
                                                154 79    $2 38



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Appendix: Data Methodology


Invoice Information                                  Non-Invoice Information

Most of the data in Wolters Kluwer’s ELM             To capture practice area details, the matter ID
Solutions reference database and in the 2018         within each invoice was associated with matter
Real Rate Report were taken from invoice line        profiles containing areas of work in the systems
item entries contained in invoices received and      of each company. The areas of work were then
approved by participating companies.                 systematically categorized into legal practice
                                                     areas. Normalization of practice areas was done
Invoice data were received in the Legal Electronic   based on company mappings to system-level
Data Exchange Standard (LEDES) format (LEDES.        practice areas available in the ELM Solutions
org). The following information was extracted        system and by naming convention.
from those invoices and their line items:
                                                     The majority of analyses included in this report
• Law firm (which exists as a random number in       have been mapped to one of 12 practice areas,
  the ELM Solutions reference database)              further divided into sub-areas and litigation/
• Timekeeper ID (which exists as a random            non-litigation (for more information on practice
  number in the ELM Solutions reference              areas and sub-areas, please refer to pages 167-
  database)                                          170).

• Matter ID (which exists as a random number in      To capture location and jurisdiction details,
  the ELM Solutions reference database)              law firms and timekeepers were systematically
• Timekeeper’s position (role) within the law firm   mapped to the existing profiles within ELM
  (partner, associate, paralegal, etc.)              Solutions systems, as well as with publicly
                                                     available data sources for further validation and
• Uniform Task-Based Management System Code          normalization. Where city location information
  Set, Task Codes, and Activity Codes (UTBMS.        is provided, it includes any address within that
  com)                                               city’s defined Core-Based Statistical Area (CBSA)
• Date of service                                    as defined by the Office of Management and
                                                     Budget (OMB). The CBSAs are urban centers
• Hours billed                                       with populations of 10,000 or more and include
• Hourly rate billed                                 all adjacent counties that are economically
                                                     integrated with that urban center.
• Fees billed
                                                     Where the analyses focus on partners, associates,
                                                     and paralegals, the underlying data occasionally
                                                     included some sub-roles, such as “senior
                                                     partner” or “junior associate.” In such instances,
                                                     those timekeeper sub-roles were placed within
                                                     the broader partner, associate, and paralegal
                                                     segments.

                                                     Demographics regarding law firm size, location,
                                                     and lawyer years of experience were augmented
                                                     by incorporating publicly available information.




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Appendix: Data Methodology
A Note on US Cities
Throughout the report, we have used city names to refer to CBSA and consistently used the principal city
in the CBSA to refer to the entire area. The following are the shorthand city names used in this report and
the corresponding CBSA designations, as defined by the OMB.


Principal City                         CBSA Name

Akron, OH                             Akron, OH
Albany, NY                            Albany-Schenectady-Troy, NY
Albuquerque, NM                       Albuquerque, NM
Atlanta, GA                           Atlanta-Sandy Springs-Alpharetta, GA
Atlantic City, NJ                     Atlantic City-Hammonton, NJ
Austin, TX                            Austin-Round Rock-Georgetown, TX
Baltimore, MD                         Baltimore-Columbia-Towson, MD
Beaumont, TX                          Beaumont-Port Arthur, TX
Birmingham, AL                        Birmingham-Hoover, AL
Boise City, ID                        Boise City, ID
Boston, MA                            Boston-Cambridge-Newton, MA-NH
Bridgeport, CT                        Bridgeport-Stamford-Norwalk, CT
Buffalo, NY                           Buffalo-Cheektowaga, NY
Burlington, VT                        Burlington-South Burlington, VT
Charleston, SC                        Charleston-North Charleston, SC
Charleston, WV                        Charleston, WV
Charlotte, NC                         Charlotte-Concord-Gastonia, NC-SC
Chicago, IL                           Chicago-Naperville-Elgin, IL-IN-WI
Cincinnati, OH                        Cincinnati, OH-KY-IN
Clarksburg, WV                        Clarksburg, WV
Cleveland, OH                         Cleveland-Elyria, OH
Columbia, SC                          Columbia, SC
Columbus, OH                          Columbus, OH
Dallas, TX                            Dallas-Fort Worth-Arlington, TX
Dayton, OH                            Dayton-Kettering, OH
Denver, CO                            Denver-Aurora-Lakewood, CO
Des Moines, IA                        Des Moines-West Des Moines, IA
Detroit, MI                           Detroit-Warren-Dearborn, MI
Fresno, CA                            Fresno, CA
Grand Rapids, MI                      Grand Rapids-Kentwood, MI
Greensboro, NC                        Greensboro-High Point, NC
Greenville, SC                        Greenville-Anderson, SC


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Appendix: Data Methodology
A Note on US Cities


Principal City                    CBSA Name

Harrisburg, PA                   Harrisburg-Carlisle, PA
Hartford, CT                     Hartford-East Hartford-Middletown, CT
Honolulu, HI                     Urban Honolulu HI
Houston, TX                      Houston-The Woodlands-Sugar Land, TX
Indianapolis, IN                 Indianapolis-Carmel-Anderson, IN
Jackson, MS                      Jackson, MS
Jacksonville, FL                 Jacksonville, FL
Kansas City, MO                  Kansas City, MO-KS
Knoxville, TN                    Knoxville, TN
Lafayette, LA                    Lafayette, LA
Las Vegas, NV                    Las Vegas-Henderson-Paradise, NV
Lexington, KY                    Lexington-Fayette, KY
Little Rock, AR                  Little Rock-North Little Rock-Conway, AR
Los Angeles, CA                  Los Angeles-Long Beach-Anaheim, CA
Louiseville, KY                  Louisville/Jefferson County, KY-IN
Madison, WI                      Madison, WI
Manchester, NH                   Manchester-Nashua, NH
Miami, FL                        Miami-Fort Lauderdale-Pompano Beach, FL
Milwaukee, WI                    Milwaukee-Waukesha, WI
Minneapolis, MN                  Minneapolis-St. Paul-Bloomington, MN-WI
Nashville, TN                    Nashville-Davidson--Murfreesboro--Franklin, TN
New Haven, CT                    New Haven-Milford, CT
New Orleans, LA                  New Orleans-Metairie, LA
New York, NY                     New York-Newark-Jersey City, NY-NJ-PA
Oklahoma City, OK                Oklahoma City, OK
Omaha, NE                        Omaha-Council Bluffs, NE-IA
Orlando, FL                      Orlando-Kissimmee-Sanford, FL
Philadelphia, PA                 Philadelphia-Camden-Wilmington, PA-NJ-DE-MD
Phoenix, AZ                      Phoenix-Mesa-Chandler, AZ
Pittsburgh, PA                   Pittsburgh, PA
Portland, ME                     Portland-South Portland, ME
Portland, OR                     Portland-Vancouver-Hillsboro, OR-WA
Providence, RI                   Providence-Warwick, RI-MA
Raleigh, NC                      Raleigh-Cary, NC



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Appendix: Data Methodology
A Note on US Cities


Principal City                    CBSA Name

Richmond, VA                     Richmond, VA
Rochester, NY                    Rochester, NY
Sacramento, CA                   Sacramento-Roseville-Folsom, CA
Salt Lake City, UT               Salt Lake City, UT
San Diego, CA                    San Diego-Chula Vista-Carlsbad, CA
San Francisco, CA                San Francisco-Oakland-Berkeley, CA
San Jose, CA                     San Jose-Sunnyvale-Santa Clara, CA
San Juan, PR                     San Juan-Bayamon-Caguas, PR
Savannah, GA                     Savannah, GA
Seattle, WA                      Seattle-Tacoma-Bellevue, WA
St. Louis, MO                    St. Louis, MO-IL
Syracuse, NY                     Syracuse, NY
Tallahassee, FL                  Tallahassee, FL
Tampa, FL                        Tampa-St. Petersburg-Clearwater, FL
Toledo, OH                       Toledo, OH
Trenton, NJ                      Trenton-Princeton, NJ
Tulsa, OK                        Tulsa, OK
Virginia Beach, VA               Virginia Beach-Norfolk-Newport News, VA-NC
Washington, DC                   Washington-Arlington-Alexandria, DC-VA-MD-WV
Wheeling, WV                     Wheeling, WV-OH
Winston, NC                      Winston-Salem, NC




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Appendix: Data Methodology

Anonymization of the Dataset                         “Real Rate” Definition
Prior to inclusion in the ELM Solutions reference    The information in this report consists of data
database, we systematically scrubbed the             taken from client invoices submitted by law
data of any information that would identify a        firms for work performed from 10/1/2015 through
particular matter, company, law firm, invoice, or    9/30/2018. All invoices were submitted through
timekeeper (individual). To ensure relationships     the ELM Solutions e-billing systems and approved
necessary for analysis, those variables were         prior to 10/1/2018.
assigned randomly generated numbers. To
                                                     The analyses contained in this report are
maintain data integrity and allow for proper
                                                     derived from aggregating hours, fees, and rates
analysis, these numbers are linked across data
                                                     submitted asline items on those invoices. For a
tables to enforce their associations.
                                                     line item to qualify for inclusion in this report,
To further ensure anonymity and confidentiality:     it had to undergo multiple and rigorous testing
                                                     processes to ensure its validity.
• The information is published in such a manner
  as to make it reasonably impervious to reverse     For example, for a rate to be loaded to the ELM
  analysis should some attempt be made to            Solutions reference database and used in this
  determine what data might pertain to any           report, it must have been part of an invoice line
  company, law firm, timekeeper, invoice, or         entry in which all of the following items were
  matter;                                            included:
• The 2018 Real Rate Report will not reveal which    • Name of the biller
  ELM Solutions client or clients are included or    • Role of the biller
  excluded in its analyses;                          • Date of activity
• Clients are not and will not be informed as        • Hourly rate charged
  to whether their data are included within a        • Time charged
  particular facet of analysis; and
                                                     • UTBMS code associated with the time charged
• No textual description of any legal work
                                                     • Total amount charged for the activity
  performed by any individual exists in the
  ELM Solutions reference database.                  In addition, each line item’s hourly rate was
                                                     validated against its “real rate” (calculated by
A Note on Insurance Litigation                       dividing the total amount charged for the activity
Our aim is to provide a point of comparison          by the time charged). Any line items with an
for companies purchasing law firm services. To       hourly rate that did not align closely with the real
improve comparability, we removed data related       rate were not loaded to the reference database.
to insurance company defense litigation for all      Real Rate = Line Item Total/Line Item Hours
analyses unless noted otherwise. Insurance           (Units) Example: $4,000/10 Hours = Real Rate of
litigation tends to be less expensive than           $400
other types of litigation, as it is typically more
repetitive and less complex.                         Adjustments the client made to line item amounts
                                                     subsequent to submission are not factored into
                                                     the dataset. These types of adjustments may
                                                     impact the effective rate paid by the client to the
                                                     law firm but do not reflect the real rate billed.




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Appendix: Data Methodology

In short, the real rate is the rate appearing on an     All data included within this report have been
approved invoice at the invoice line item level.        mapped to a corresponding practice area. The
                                                        majority of our analyses focus on the following 12
Aggregations of data taken from millions of these
                                                        practice areas:
line item–level invoice entries are the core of the
information analyzed.                                   • Bankruptcy and Collections
                                                        • Commercial
A Note on Negotiated Rates and Billing
                                                        • Corporate
Practices law firms can generally follow vary for       • Employment and Labor
submitting “negotiated” rates on invoices. Firms
                                                        • Environmental
may submit the negotiated rate as the hourly rate
identified on the invoice line item, insert a vendor    • Finance and Securities
line item adjustment to ensure compliance,              • General Liability
or provide a vendor invoice level adjustment            • Government Relations
to bring the total amount of the fees into              • Insurance Defense
compliance with agreed-on discounts. Although
the former two are considered part of the real          • Intellectual Property
rate calculation, the latter can be problematic. It     • Marketing and Advertising
is not directly linked to a line item, and therefore,   • Real Estate
for the purposes of determining the rate, it
                                                        Within each client’s areas of work, sub-areas are
should not be assumed that the adjustment
                                                        often identified. The lists that follow identify
is related to a specific line item. Invoice-level
                                                        client areas of work and, within those areas, the
adjustments may represent a credit or some
                                                        sub-areas underneath each practice area. Often,
other type of adjustment placed on the invoice.
                                                        the same sub-area appears within different
To ensure these types of adjustments would not
                                                        practice areas. For example, the sub-area
adversely impact the analysis contained within
                                                        “General/Other” when listed under “Commercial
the 2018 Real Rate Report, the team reviewed
                                                        and Contracts” refers to general work provided
the population of invoices and line items to
                                                        regarding Commercial and Contracts matters.
determine what the deviation of the real rate
                                                        When listed under the “Employment and Labor”
might be based on inclusion or exclusion. The
                                                        practice area, the same sub-area refers to work
analysis demonstrated that the variance was not
                                                        provided on Employment and Labor. Where
significant (less than 1%).
                                                        applicable and practicable, each area and sub-
As such, we decided not to include the vendor-          area has been further subdivided into litigation
level adjustments in the report.                        and non- litigation work for the purposes of
                                                        granular analysis.
Types of Matters Included in the Analysis
Matters within the ELM Solutions system are             Bankruptcy and Collections
associated with areas of work described and             Chapter 7
defined by ELM Solutions clients. Those areas           Chapter 9
of work were analyzed and systematically                Chapter 11
categorized into legal practice areas.                  Chapter 15
Normalization of practice areas was supported by        Collections
mappings to system-level practice areas available       General/Other
in the ELM Solutions system and by naming               Preference Claims
convention.                                             Receivership
                                                        Workouts and Restructuring




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Appendix: Data Methodology

Commercial (Commercial Transactions and Agreements)
Contract Breach or Dispute                     General/Other
General, Drafting, and Review

Corporate1
Antitrust and Competition                                               Partnerships and Joint Ventures
Corporate Development                                                   Regulatory and Compliance
General/Other                                                           Safety and Security
Governance                                                              Strategic Asset Management
Information and Technology                                              Tax
International                                                           Treasury
Mergers, Acquisitions, and Divestitures                                 White Collar/Fraud/Abuse

Employment and Labor
ADA                                                                     Immigration
Agreements                                                              OFCCP
Compensation and Benefits                                               OSHA
Discrimination, Retaliation, and Harassment/EEO                         Union Relations and Negotiations/NLRB
Employee Dishonesty/Misconduct                                          Wages, Tips, and Overtime
ERISA                                                                   Whistleblower
FMLA                                                                    Workers Compensation
General/Other                                                           Wrongful Termination

Environmental
Air                                                                     Noise
General/Other                                                           Permits
Hazardous Materials                                                     Superfund
Health and Safety                                                       Waste/Remediation
Mining                                                                  Water

Finance and Securities
Commercial Loans and Financing
Debt/Equity Offerings
Fiduciary Services
General/Other
Initial Public Offerings
Investments and Other Financial Instruments
Leveraged Finance
Loans and Financing
Non-Commercial Loans and Financing
Routine Financial Transactions
Sarbanes-Oxley
SEC Filings and Financial Reporting
Securities and Banking Regulations


1 All references to “Corporate: General/Other” in the 2018 Real Rate Report are the aggregation of all Corporate subareas excluding the
  Mergers, Acquisitions, and Divestitures sub-area and the Regulatory and Compliance sub-area.


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Appendix: Data Methodology

General Liability
Advertising Injury                                                       Mass Tort
Asbestos/Mesothelioma                                                    Medical Malpractice
Auto and Transportation                                                  Personal Injury/Wrongful Death
Completed Operations                                                     Policy Coverage Dispute
Construction Defect                                                      Pollution
Consumer Related Claims                                                  Premises
Crime, Dishonesty, and Fraud                                             Product and Product Liability
Directors and Officers                                                   Professional Liability
Discrimination                                                           Property Damage
Employment                                                               Sexual Abuse
Errors and Ommissions                                                    Subrogation
Fire                                                                     Toxic Tort
General/Other                                                            Workers Compensation Coverage
Hospital                                                                 Workplace Safety

Government Relations
Agency and Policy Hearings                                               Legislative Drafting/Review
General/Other                                                            Lobbying and Relations

Insurance Defense
Advertising Injury                                                       Insurer Work Comp
Asbestos/Mesothelioma                                                    Lawyer Liability
Auto and Transportation                                                  Marine
Auto PD                                                                  Medical Malpractice
Bond                                                                     Personal Injury/Wrongful Death
Completed Operations                                                     Policy Coverage Dispute
Construction Defect                                                      Pollution
Consumer Related Claims                                                  Premises
Crime, Dishonesty and Fraud                                              Product and Product Liability
Directors and Officers                                                   Professional Liability
Employment                                                               Property Damage
Errors and Omissions                                                     Sexual Abuse
Fire                                                                     Subrogation
Garage                                                                   Toxic Tort
General/Other                                                            Workers Compensation Coverage
Insurer Benefit Plans                                                    Workplace Safety
Insurer ERISA

Intellectual Property2
Copyrights                                                               Opinions
General/Other                                                            Patents
Licensing                                                                Trade Secrets
Maintenance and Administration                                           Trademarks


2 All references to “Intellectual Property: General/Other” in the 2018 Real Rate Report are the aggregation of all Intellectual Property
  sub-areas excluding the Patents and Trademarks sub-areas.


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Appendix: Data Methodology

Marketing and Advertising
Communication                             Media
Defamation, Libel, and Slander            Promotions and Sweepstakes
General/Other

Real Estate
Commercial                                Land Use/Zoning/Restrictive Covenants
Condemnation                              Landlord/Tenant Issues
Construction/Development                  Leasing
Easement and Right of Way                 Liens
Eminent Domain                            Property/Land Acquisition or Disposition
Fair Housing                              Titles
General/Other




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About Wolters Kluwer’s ELM Solutions
Wolters Kluwer’s ELM Solutions is the market-leading provider of enterprise legal spend and matter
management and legal analytics solutions. Corporate legal and insurance claims departments and
their law firms worldwide trust our flexible, multi-solution approach to help ensure compliance,
                                                               ________ the highest rated ELM
control costs and collaborate more effectively. This includes Passport,
                                                                               ____________
solution in the 2017 Hyperion Marketview™ Legal Market Intelligence Report; TyMetrix   360°, the
                                                                                    __________
industry’s leading SaaS-based e-billing and matter management solution; and the LegalVIEW®
portfolio of legal analytics solutions based upon the industry’s largest and most comprehensive
legal spend database, with more than $128 billion in invoices.




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                     1                                             PROOF OF SERVICE

                     2             I, Dolores M. Rivera, declare:

                     3          I am a citizen of the United States and employed in the City and County of San Francisco,
                         California. I am over the age of eighteen years and not a party to the within entitled action. My
                     4   business address is One Market, Spear Street Tower, San Francisco, CA 94105-1126. On May
                     5   22, 2020, I served a copy of the within document(s):

                     6                      DECLARATION OF GARRICK Y. CHAN IN SUPPORT OF DEFENDANT
                                             BMW OF NORTH AMERICA, LLC’S OPPOSITION TO PLAINTIFF’S
                     7                       MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                     8                     BY E-FILE: I caused such documents to be transmitted by e-file with the Clerk of
                               
                     9                     the Court by using the CM/ECF system, which will send a notice of electronic filing
                                           to the following:
                    10
                         Gregory Sogoyan, Esq.                                Michael H. Rosenstein, Esq.
                    11   Strategic Legal Practices, APC                       Law Offices of Michael H. Rosenstein, LLC
                         1840 Century Park East, Ste 430                      10900 Wilshire Blvd., Suite 300
                    12   Los Angeles, CA 90067                                Los Angeles, CA 90024
                         Telephone:     (310) 929-4900                        Telephone:    310.286.0275
                    13
                         E-mail:gsogoyan@slpattorney.com                      Email: mrosenstein@rose-lawoffice.com
                    14           emailservices@slpattorney.com

                    15   Dara Tabesh, Esq.
                         EcoTech Law Group, P.C.
                    16   5 Third St. Ste. 700
                         San Francisco, CA 94103
                    17
                         Telephone:      (415) 503-9164
                    18   E-mail:dara.tabesh@ecotechlaw.com
                         Attorney for Plaintiff,
                    19   Frederick J. Jurosky
                    20             Executed on May 22, 2020 at San Francisco, California.
                    21           I declare under penalty of perjury, under the laws of the State of California and the United
                    22   States of America, that I am employed in the office of a member of the bar of this court at whose
                         direction the service was made.
                    23

                    24                                                                     Dolores M. Rivera
                    25

                    26

                    27

                    28
MORGAN, LEWIS &
                                                                              1
 BOCKIUS LLP                  PROOF OF SERVICE OF DECLARATION OF GARRICK Y. CHAN IN SUPPORT OF DEFENDANT’S
 ATTORNEYS AT LAW
 SAN FRANCISCO
                                 OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEY FEES, COSTS AND EXPENSES
                         DB2/ 38975893.1
